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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


    In re                                                 Chapter 11
    WESTINGHOUSE ELECTRIC COMPANY LLC,                    Case No. 17-10751 (MEW)
    et al.,                                               (Jointly Administered)
                                          Debtors.


    WESTINGHOUSE ELECTRIC COMPANY LLC, as
    reorganized
                                                          Adv. Proc. No. 19-01109 (MEW)
                                          Plaintiff,

    v.

    SOUTH CAROLINA PUBLIC SERVICE
    AUTHORITY

                                           Defendant.




                    WESTINGHOUSE ELECTRIC COMPANY LLC’S
                 OPPOSITION TO SOUTH CAROLINA PUBLIC SERVICE
              AUTHORITY’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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                     Reorganized Westinghouse Electric Company LLC (“WEC”), by and through

 undersigned counsel, respectfully submits this opposition (the “Opposition”) to South Carolina

 Public Service Authority’s (“Santee Cooper”) Motion to Dismiss Plaintiff’s Complaint filed on

 May 8, 2019 [ECF No. 5-1] (the “Motion to Dismiss” or “Mot.”).

                                     PRELIMINARY STATEMENT

                     1.        WEC is seeking to recover equipment from Santee Cooper that vested in

 WEC under the terms of the Plan Funding Agreement, Plan of Reorganization, and Confirmation

 Order entered by this Court, and WEC’s ownership of the equipment results directly from the

 application of federal bankruptcy law and this Court’s orders issued thereunder. For that reason

 alone, this adversary proceeding raises claims with a close nexus to the bankruptcy proceedings

 of Westinghouse Electric Company LLC and certain of its affiliates (collectively, the

 “Debtors”).1 Accordingly, the Court has jurisdiction under 28 U.S.C. § 1334.

                     2.        As a threshold matter, under the terms of the EPC Agreement, the

 equipment at issue only became property of Santee Cooper once it was paid for in full. Santee

 Cooper has not and cannot show that WEC ever received full payment under the terms of the

 EPC for the equipment, and WEC has proffered evidence that the opposite is true.                         This

 equipment was property of the Debtors’ estates during the Chapter 11 Cases. WEC also has

 established that the dispute over title arose during the Chapter 11 Cases, that in light of actual

 and constructive notice to Santee Cooper of WEC’s ownership interest. If Santee Cooper wanted

 to preserve any rights or assert any claims as to this equipment, it had ample opportunity to do so

 during the pendency of the Debtors’ chapter 11 cases through, among other things, objections to

 the PFA, Plan, and Confirmation Order or the filing of a rejection damages claim on the

 1
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
 Adversary Complaint [ECF No. 1] (the “Complaint”).


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 Effective Date of the Plan.2 The equipment in question can no longer be subject to Santee

 Cooper’s claims because any such claims have been discharged under the terms of the Plan and

 Confirmation Order. Thus, in WEC’s Complaint its right to the equipment it seeks to recover is

 directly based on federal bankruptcy law – i.e., Santee Cooper’s failure to assert any rights or

 claims related to the equipment during the Chapter 11 Cases.

                     3.        While WEC’s claim involves state law questions, they are mainly

 threshold issues to determine whether the equipment at issue was property of the estate in the

 first place—a core bankruptcy issue. If the equipment was property of the Debtors’ estate, the

 questions of federal bankruptcy law described above determine whether title to the equipment

 vested in WEC, and what rights, if any, Santee Cooper has to such equipment.

                     4.        As the Court knows, Santee Cooper has belatedly asserted a complaint

 in South Carolina based on claims grounded in the breach of the EPC Agreement.                                See

 Complaint [ECF No. 1, Case No. 2:19-cv-01432-RMG] (the “South Carolina Complaint”).

 Such claims arose at the latest upon rejection of the EPC Agreements in the Chapter 11 Cases (as

 defined below). Santee Cooper’s complaint is replete with references to the bankruptcy or to

 events that occurred during bankruptcy. Underlying Santee Cooper’s complaint are the same

 claims it should have raised during the pendency of the Chapter 11 Cases: Had WEC not

 rejected the EPC Agreement, the Owners would have satisfied the contractual requirements to

 obtain, and would have obtained, title to the equipment. Santee Cooper also alleges that the

 WEC Equipment was not specifically listed in the Debtors’ Schedules and SOFAs and therefore

 could not transfer to WEC under the PFA upon the Effective Date of the Plan – a core issue to be


 2
  See e.g., 11 U.S.C. § 502(b)(9): Confirmation Order; Notice of Occurrence of Effective Date of Debtors’ Modified
 Second Amended Joint Chapter 11 Plan of Reorganization [ECF No. 3705] [Case No. 17-10751] (giving creditors
 notice of the Confirmation Order’s terms); Fed. R. Bankr. P. 3002(c)(4).



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 determined by a bankruptcy court. In earlier correspondence with WEC and indeed before this

 Court, Santee Cooper has also challenged the application of the EPC Agreement to the issues in

 dispute, claiming that the Debtors’ rejection of that agreement invalidates the applicable terms

 therein, and such an argument underlies the South Carolina Complaint, again an issue best

 decided by a bankruptcy court.           Santee Cooper’s South Carolina action violates the Plan

 Injunction and, as WEC also seeks relief under and to enforce this Court’s orders, bankruptcy

 jurisdiction lies for that reason as well.

                     5.        Santee Cooper’s Motion to Dismiss further delays both WEC and Santee

 Cooper’s ability to sell the equipment to a buyer, Southern Company, who stands ready to

 purchase such equipment and to put the sale proceeds in escrow pending a resolution to this

 ownership dispute.            Despite WEC and Santee Cooper’s fundamental disagreement over

 ownership of the equipment, once thing is certain: a rapid sale of the equipment to Southern is in

 both Santee Cooper and WEC’s best interest. The loss of this sale opportunity due to Santee

 Cooper’s actions amounts to a frustration of the court-confirmed Plan (an issue with a close

 nexus to the bankruptcy proceedings), and will also likely lead to the equipment only having

 scrap resale value, which will inevitably lead to WEC filing a damages claim against Santee

 Cooper should WEC prevail in this ownership dispute for multiple lost sale opportunities to

 Southern.

                     6.        Santee Cooper’s Motion to Dismiss should be denied.      This Court

 clearly has jurisdiction under 28 U.S.C. § 1334.

                                              BACKGROUND

 I.        The Chapter 11 Cases

                     7.        On March 29, 2017 (the “Petition Date”), Westinghouse Electric

 Company LLC and certain of its affiliates (collectively, the “Debtors”) commenced voluntary

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 cases (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code (the

 “Chapter 11 Cases”) in this Court. The Debtors filed the Chapter 11 Cases as a result of

 significant cost overruns at the construction of nuclear power plants in the United States.

 II.       The EPC Agreement

                     8.        One such construction project was for the design, engineering,

 procurement, installation of equipment and materials, and construction and testing of two

 AP1000 nuclear power plants (the “Project”) at the V.C. Summer Site (“V.C. Summer Site”).

 WEC, as contractor, and its affiliate Stone & Webster, Inc., entered into the Engineering,

 Procurement, and Construction Agreement dated May 23, 2008 (the “EPC Agreement”) with

 South Carolina Electric & Gas Company (“SCE&G”) for itself and as agent for Santee Cooper

 (collectively, the “Owners”), which agreement governed the parties’ relationship regarding the

 Project at the V.C. Summer Site. See Declaration of David Durham in Support of Opposition

 (“Durham Decl.”) at ¶ 2.

                     9.        Under the EPC Agreement, WEC, as Contractor, was obligated, in part,

 to place orders and procure Equipment be used for the V.C. Summer Project. Durham Decl. at ¶

 3.    The EPC Agreement defines “Equipment” as “machinery, computer hardware and its

 associated software, apparatus, components, articles, materials, systems and structures, and items

 of any kind that shall become a permanent part of the Facility to be provided by Contractor to

 Owner under this Agreement, but excluding the Nuclear Fuel.” EPC Agreement, attached to the

 Durham Decl. as Ex. A, at 4. A subset of Equipment as defined in the EPC Agreement is

 “Major Equipment,” which includes:

           “steam generators, reactor vessel and reactor vessel head, control rod drive mechanisms,
           main turbine, main turbine generator, turbine deaerator, reactor coolant pumps,
           containment vessel, cooling towers, main turbine condenser, reactor internals, main step-
           up transformers, pressurizer, diesel generators, feedwater pumps, circulating water
           pumps, polar crane, core makeup tanks, moisture separator reheaters, and any other

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           equipment for which the contract(s) with the Subcontractor is for an amount in excess of
           $10,000,000 or that Owner and Contractor agree shall be designated as Major
           Equipment.” EPC Agreement, at 8.

                     10.       Any materials that fall within the definition of Equipment—items

 specifically listed therein, or “items of any kind that shall become a permanent part of the

 Facility”—but are not part of the defined subset of “Major Equipment” are described herein as

 “Non-Major Equipment.”

                     11.       Passage of title to Equipment from WEC to the Owners is governed by

 Section 21.1 of the EPC Agreement. Under Section 21.1, title to Equipment “shall pass to

 Owner upon payment in full by Owner to Contractor for such item of Equipment.” (emphasis

 added).

                     12.       Additionally, the EPC Agreement contained a venue and jurisdiction

 provision providing for the parties’ consent to “the exclusive jurisdiction of the United States

 District Court for the Southern District of New York or, if such court does not have jurisdiction

 … the courts of the State of New York located in the City and County of New York, for any

 legal proceedings that” arise out of or in connection with the EPC Agreement. EPC Agreement

 § 27.7.        This provision specifically provides that “each Party accepts, generally and

 unconditionally, the jurisdiction of the aforesaid court for legal proceedings arising out of or in

 connection with this Agreement” and “waives any right to stay or dismiss any action or

 proceeding … on the basis of forum non-conveniens or improper venue.”              Id.   The EPC

 Agreement also contained a governing law provision designating the laws of the State of New

 York as those that govern the “validity, construction and performance,” of the EPC Agreement.

 See EPC Agreement § 34.1. In the next section, the EPC Agreement provides for the parties’

 waiver of any right to trial by jury they may have relating to the EPC Agreement. Id. § 34.2.

           A.        The EPC Agreement Governs the Owners’ Payments for Equipment

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                     i.        Non-Major Equipment (F.1.3, F.1.5)

                     13.         Pursuant to the EPC Agreement, Non-Major Equipment costs were

 allocated to the Firm/Fixed price component of the EPC Agreement payment structure. See EPC

 Agreement, §§ 8.1(a), 8.2; Exhibit F-1. Specifically, the Debtors would recover costs associated

 with its multiple cost categories (including Non-Major Equipment), if at all, when it received

 Project Milestone Payments, or payments under the Fixed/Firm Price category pursuant to the

 Section F.1.3 and F.1.5 payment schedules of Exhibit F-1 to the EPC Agreement.              These

 Milestone Payments were made based on general construction progress, covered several

 categories of the Debtors’ costs (e.g. overhead, labor, materials, and Non-Major Equipment), and

 were not directly correlated to the Debtors’ purchases of Non-Major Equipment. Durham Decl.

 at ¶ 6, 7. Supporting invoices for Non-Major Equipment purchases were neither required nor

 necessary to satisfy Construction Milestone Payments (as part of the Fixed/Firm Price), and

 therefore were not submitted. Id. at ¶ 6. The final payment of the Fixed/Firm Price would

 constitute payment in full for the Non-Major Equipment—even if payment was insufficient to

 cover WEC’s actual procurement costs. Id. at ¶ 7.

                     ii.       Major Equipment (F.1.1.)

                     14.         The EPC Agreement contained a payment schedule specifically

 applicable to pieces of Major Equipment, which was Section F.1.1 of Exhibit F-1. See Durham

 Decl. at ¶ 11. Under that payment schedule, the Debtors issued separate invoices for payments

 toward Major Equipment as part of the Fixed/Firm Price component of the EPC Agreement

 pursuant to Section 8.2. EPC Agreement, § 8.2, Exhibit F-1.

                     iii.       The Owners’ Fixed Price Option Election

                     15.         The Owners elected to convert the EPC Agreement into a Fixed Price

 agreement effective November 2016 (the “Fixed Price Option”). Durham Decl. at ¶ 8; Ex. 2 to

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 Durham Decl. (“Fixed Price Option Agreement”). Pursuant to the Fixed Price Option, the

 Debtors would only receive payments upon achieving certain Construction Milestones pursuant

 to the new Construction Milestone Payment Schedule developed by the parties. Id. The Owners

 would make payments solely in accordance with this schedule, and the Debtors remained

 obligated to complete construction of the Project regardless of its costs (and the extent to which

 they exceeded the Owners’ Fixed Price payments). See Fixed Price Option Agreement § 1.

 When the Owners elected the Fixed Price Option, they ensured that so long as they paid the full

 Fixed Price amount, they would own all Equipment (Major and Non-Major) at the Project,

 regardless of what it would cost the Debtors to complete construction. Durham Decl. at ¶ 8.

                     iv. The Owners Did Not Pay in Full For the Equipment at Issue in this Adversary
                         Proceeding

                     16.       Due to significant cost overruns, the Debtors’ actual costs for the Project

 far exceeded the payments made by the Owners. Durham Decl. at ¶ 9. For example, as of June

 30, 2017, the Owners had paid the Debtors approximately $ 7.1 billion, while the Debtors had

 incurred approximately $ 7.8 billion in costs. Id.

                     17.       Even before the Owners’ election of the Fixed Price Option, the Owners

 did not pay the Debtors the full Milestone Payments or otherwise the full amount of the

 Fixed/Firm Price portion of the Contract Price. Durham Decl. at ¶ 10. After the Owners’

 election of the Fixed Price Option in November 2016, the Owners did not pay the Debtors the

 full Fixed Price and subsequently cancelled the project prior to doing. Id.

                     18.       The Owners’ payments made towards items of Major Equipment under

 payment schedule F.1.1 of the EPC Agreement were recorded by the Debtors and reconciled

 post-cancellation of the Project by the Owners to determine title. Id. at ¶ 12. By the terms of the

 EPC Agreement, Santee Cooper owns only the pieces of Major Equipment for which it had paid


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 in full. See id.; EPC Agreement, § 21.1. As a result, the Debtors retained title to certain pieces

 of Major Equipment because the Owners did not make full payment.

                     19.       With regards to the Non-Major Equipment, the Owners at never paid the

 full amounts due under the EPC Agreement, either before or after exercise of the Fixed Price

 Option. Durham Decl. at ¶ 13. Accordingly, the Owners have not paid in full for the Non-Major

 Equipment and the Debtors retained title thereto.

 III.      Schedules and SOFAs

                     20.       On May 26, 2017, the Debtors filed their schedules of assets and

 liabilities and statement of financial affairs for their various entities. ECF Nos. 567-625 [Case

 No. 17-10751] (the “Schedules and SOFAs”). In the Schedules and SOFAs, the Debtors made

 disclosures related to equipment, disclosing that they held “other machinery, fixtures and

 equipment,” “automobiles and trucks,” “work in progress,” “raw materials,” “finished goods,”

 and “various” office equipment and supplies. See id. at ECF No. 569.

 IV.   WEC And Santee Cooper Discussed Title to the Equipment and Negotiated
 Regarding its Potential Sale Throughout the Pendency of the Chapter 11 Cases

           A.        Negotiations Prior to the PFA and Plan

                     21.       Throughout WEC’s negotiations with Santee Cooper (or SCANA, as

 agent for Santee Cooper) regarding the ownership and disposition of the Equipment, which

 began in Fall 2017, just months after the Petition Date, and continued through the filing of the

 Complaint, the Chapter 11 Cases proceeded. Durham Decl. at ¶ 15. During that time, various

 filings and orders were entered implicating Santee Cooper’s purported claim to title in the

 Equipment, giving Santee Cooper over a year to assert any such claims, objections or

 reservations of rights it had regarding ownership of the WEC Equipment. Id. In addition, the

 Debtors took numerous actions during those negotiations making clear their claim that the WEC


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 Equipment was property of the bankruptcy estate (and thus passed to WEC upon the Effective

 Date pursuant to the Plan and PFA). Id.

                     22.       On July 31, 2017, Santee Cooper and SCE&G publicly announced that

 they were abandoning construction of the V.C. Summer Project. Id. at ¶ 17. After their

 cancellation of the V.C. Summer Project, Santee Cooper and SCE&G permitted the Debtors only

 limited access to the V.C. Summer Site. Id. Santee Cooper never paid in full for certain items of

 Equipment, including Equipment that remained at the V.C. Summer Site, and Santee Cooper

 does not hold legal title to that Equipment under the plain terms of the EPC Agreement, the PFA,

 and the Plan. See id.

                     23.       On June 28, 2017 the Court established September 1, 2017 (the “Bar

 Date”) as the deadline to file a proof of claim in the case. See ECF No. 788 [Case No. 17-

 10751]. Any holder of a claim who failed to file a claim by the Bar Date was “forever barred,

 estopped and enjoined from asserting such a claim against the Debtors, their property, or their

 estates[.]” Id. On August 31, 2017, SCE&G, for itself and as agent of Defendant, filed identical

 unsecured and unliquidated proofs of claim in the Chapter 11 Cases. See Proofs of Claim Nos.

 2440, 2444, 3088, and 3089. The claims are described in a two-page addendum, which states

 that SCE&G, as agent of the Defendant, “asserts against WEC any and all claims based upon,

 arising under, on account of, in connection with, or related to, the V.C. Summer Project and the

 EPC Agreement.” Id. at ¶ 6. The claims purport to include “any and all equitable and common

 law claims against WEC arising from, related to or in connection with its relationship or

 transactions with Claimant, including but not limited to, breach of the implied covenant of good

 faith and fair dealing, unjust enrichment, and conversion.” Id. During the course of the Chapter

 11 Cases, on or about September 28, 2017, Defendant and SCE&G transferred their claims to



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 Citigroup Financial Products, Inc. (“Citi”) for approximately $2 billion, which subsequently

 filed amended proofs of claim. See ECF Nos. 1411, 1412, 1413, and 1414 [Case No. 17-

 10751].3

                     24.       In the fall of 2017, WEC began communicating with SCANA, as agent

 for Santee Cooper, regarding ownership of the Equipment and the potential disposition and/or

 sale of the abandoned Equipment. Durham Decl. at ¶ 21. At an October 16, 2017 meeting the

 Debtors informed SCANA of their position that the Debtors owned the WEC Equipment (due to

 the Owners’ failure to pay in full per the terms of the EPC Agreement) and SCANA set forth its

 conflicting position. Id. Just four days later, and again two weeks subsequently, the parties met

 again to work towards an agreement regarding the Equipment; the Debtors reiterated their

 position at each meeting. Id. at ¶¶ 22, 23. On November 14, 2017 the Debtors sent SCANA a

 table listing each piece of Major Equipment and a notation of whether, according to the Debtors’

 payment records, such piece of Major Equipment was owned by the Debtors or the Owners

 (depending on whether the Owners paid in full for each such piece of Equipment). Id. at ¶ 24.

 V.        The Plan and PFA Provide for the Transfer of the WEC Equipment—then Property
           of the Estate—to WEC

                     25.       Santee Cooper has been on notice of the provisions of the PFA, Plan,

 and Confirmation Order affecting their claims related to the equipment since such documents

 were initially filed in the Chapter 11 Cases, and has never objected to these filings or any

 provisions contained herein.




 3
   Section 17.2 of the EPC Agreement capped the Debtors’ liability related in any way to the EPC Agreement at 25%
 of Owners’ total payments towards the Project, and Owners paid a total of $7.8 billion. See Durham Decl. at ¶ 20.
 As such, this payment to Owners of $2 billion exceeded the Debtors’ Maximum Total Liability to Owners
 (including the Defendant) pursuant to the EPC Agreement.



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                     26.       On January 12, 2018, Brookfield WEC Holdings LLC, Toshiba Nuclear

 Energy Holdings (UK) Limited and TSB Nuclear Energy Services Inc. executed a Plan Funding

 Agreement (as amended, the “PFA”), pursuant to which Brookfield WEC Holdings Inc. acquired

 WEC (through the acquisition of newly issued stock in reorganized TSB Nuclear Energy

 Services Inc.) and Brookfield WEC EMEA Holdings Ltd. (together with Brookfield WEC

 Holdings Inc., “Brookfield”) acquired existing equity of Westinghouse Electric (UK) Holdings

 Limited. See Durham Decl. at ¶ 25.

                     27.       On January 28, 2018, the Debtors filed their Joint Chapter 11 Plan of

 Reorganization (the “Initial Plan”). ECF No. 2325 [Case No. 17-10751]. The Initial Plan’s

 provision regarding the rejection of executory contracts mirrors that in the confirmed Plan in

 providing that “[o]n the Effective Date, except as otherwise provided in the Plan, each

 [e]xecutory [c]ontract and [u]nexpired [l]ease not previously rejected, assumed, or assumed and

 assigned by the Debtors during the Chapter 11 Cases shall be deemed automatically rejected

 pursuant to sections 365 and 1123 of the Bankruptcy Code.” Initial Plan, § 9.1 (emphasis

 added). Given this provision of the Initial Plan, Santee Cooper was on notice as of January 28,

 2018 that the EPC Agreement, which was not assumed by the Debtors prior to the Effective

 Date, would be rejected as of the Effective Date. See Durham Decl. at ¶ 26.

                     28.       In addition, Section 5.1 of the Initial Plan put Santee Cooper on notice

 that on “[o]n the Effective Date…all property of the Debtors’ Estates other than Excluded

 Assets…shall vest in the Reorganized Debtors [then owned by Brookfield] free and clear of all

 Claims, liens, encumbrances, charges and other interests.”           Initial Plan § 5.1.   The WEC

 Equipment was not identified as an Excluded Asset in Schedule 2.02(a) of the PFA. The Debtors

 had informed SCANA, the Defendant’s agent, repeatedly prior to the filing of the PFA and



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 Initial Plan, of WEC’s position that it held title to the WEC Equipment, therefore property of the

 estate, and as such, pursuant to the terms of the PFA and Initial Plan, such title would vest in the

 Reorganized Debtors on the Effective Date. Durham Decl. at ¶ 27. These terms in the PFA, as

 amended, and Initial Plan are identical to the corresponding final terms in the confirmed Plan and

 final PFA. See id.

                     29.       On February 22, 2018, the Debtors further reiterated their position to the

 Defendant’s executives that under the terms of the EPC Agreement, Initial Plan, and PFA, the

 Debtors held title to the WEC Equipment as property of the estate. Id. at ¶ 28. Subsequently,

 negotiations stalled while the Defendant worked with its former Project co-owner, SCE&G, to

 enter into an agreement assuming ownership of all the Project Owners’ assets. Id.

                     30.       On March 28, 2018 the Court entered the Confirmation Order

 confirming the Debtors’ Modified Second Amended Joint Chapter 11 Plan of Reorganization

 (the “Plan”), which was filed the same day. ECF Nos. 2986, 2988 [Case No. 17-10751]. The

 Plan went effective on August 1, 2018 (the “Effective Date”). The Plan contains language

 describing the automatic rejection of executory contracts identical to that in the Initial Plan, filed

 two months earlier. Plan § 9.1. Given this provision of the Plan (identical to that in the Initial

 Plan), the Defendant had more than six months’ notice that the EPC Agreement, which was not

 assumed by the Debtors prior to the Effective Date, would be, and was, rejected as of the

 Effective Date (August 1, 2018). See Durham Decl. at ¶ 31. In addition, on the Effective Date,

 the Notice of Effective Date was sent to the Debtors’ entire creditor matrix, putting creditors on

 notice of the occurrence of the Effective Date, the rejection of any contracts by the Debtors that

 were not otherwise assumed by WEC, and requiring a rejection damages claim to be filed within

 30 days. The Defendant never filed a rejection damages claim.



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                     31.       The PFA transaction closed on August 1, 2018, concurrent with WEC’s

 emergence from chapter 11 (the “Closing”). Under the PFA (as amended pursuant to an order

 entered by the Court on July 27, 2018), (i) all assets owned by the Debtors immediately prior to

 the Closing (other than those explicitly identified as “Excluded Assets,” which did not include

 Equipment), pursuant to the terms of the PFA, remained assets of WEC and (ii) all liabilities of

 the Debtors explicitly designated as “Assumed Liabilities” were assumed by WEC, in each case,

 upon WEC’s acquisition by Brookfield at the Closing. The Excluded Assets and all liabilities of

 the Debtors (other than the Assumed Liabilities) were transferred by the Debtors to Wind Down

 Co. immediately prior to the Closing. Pursuant to the Plan and PFA, on the Effective Date, all

 property of the Debtors’ estates, other than Excluded Assets (as defined in the PFA), and

 including the WEC Equipment, vested in WEC. Specifically, under section 5.1 of the Plan:

                     On the Effective Date, pursuant to sections 1141(b) and (c) of the
                     Bankruptcy Code, all property of the Debtors’ Estates other than Excluded
                     Assets and any Cause of Action preserved for the benefit of Wind Down
                     Co under Section 5.12 or Section 11.2 hereof shall vest in the Reorganized
                     Debtors free and clear of all Claims, liens, encumbrances, charges and
                     other interests, except as provided pursuant to the Plan Funding
                     Agreement, this Plan and the Confirmation Order. From and after the
                     Effective Date, the Reorganized Debtors may operate their businesses and
                     use, acquire, and dispose of property without supervision by the
                     Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
                     Bankruptcy Rules, other than those restrictions expressly imposed by the
                     Plan and the Confirmation Order.

                     32.       Equipment was not identified as an Excluded Asset in Schedule 2.02(a)

 of the PFA. Neither Santee Cooper nor its agent (SCANA) filed a proof of claim based on the

 Debtors’ proposed rejection of the EPC Agreement, or objected or otherwise reserved rights

 based on the Debtors’ asserted ownership interest in connection with the PFA, Plan, or

 Confirmation Order. See Durham Decl. at ¶ 33. As a result, on the Effective Date, title to the

 WEC Equipment vested in WEC and, in accordance with the EPC Agreement, WEC currently


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 has title to the WEC Equipment and Santee Cooper has none. Nevertheless, Santee Cooper has

 prevented WEC from securing its property.

           A.        The Plan Retained Jurisdiction for the Court to Hear This Dispute Related to the
                     Plan, the PFA, the Confirmation Order, and the Implications of the Debtors’
                     Rejection of the EPC Agreement

                     33.       Pursuant to the Confirmation Order, the Court has exclusive jurisdiction

 over all matters arising out of, and related to, the Chapter 11 Cases, the Plan, the Plan Injunction

 (as defined herein), and the implementation of the Confirmation Order, including the matters set

 forth in section 1142 of the Bankruptcy Code. See Confirmation Order ¶ 48. Section 11.9 of the

 Plan contains the Plan Injunction (the “Plan Injunction”), which provides as follows:

                     Except as otherwise provided in the Plan or the Confirmation
                     Order, all entities who have held, hold, or may hold Claims or
                     interests, obligations, suits, judgments, damages, demands, debts,
                     rights, causes of action or liabilities that: (1) are subject to
                     compromise and settlement pursuant to the terms of the Plan; (2)
                     have been released pursuant to section 11.6 hereof; (3) have been
                     released pursuant to section 11.7 hereof; (4) are subject to
                     exculpation pursuant to section 11.8 hereof (but only to the extent
                     of the exculpation provided in section 11.8); or (5) are otherwise
                     stayed or terminated pursuant to the terms of the Plan, shall be
                     permanently enjoined and precluded, from and after the Effective
                     Date, from taking any of the following enforcement actions against
                     the Debtors, the Reorganized Debtors, the Released Parties or
                     any of their respective assets or property on account of any Claims,
                     interests, obligations, suits, judgments, damages, demands, debts,
                     rights, causes of action or liabilities that have been waived,
                     discharged or released pursuant to the Plan: (a) commencing or
                     continuing in any manner any action or other proceeding of any
                     kind, including on account of any Claims, interests, causes of
                     action, or liabilities that have been released, compromised or
                     settled; (b) enforcing, levying, attaching, collecting, or recovering
                     by any manner or means any judgment, award, decree, or order; (c)
                     creating, perfecting, or enforcing any lien, claim, or encumbrance
                     of any kind; (d) asserting any right of setoff, subrogation, or
                     recoupment of any kind against any debt, liability, or obligation
                     due to the Debtors, Reorganized Debtors, or Released Parties; and
                     (e) commencing or continuing any act, in any manner, or in
                     any place to assert any Claim, or send any notice or invoice in
                     respect of any claim, waived, discharged or released under this

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                     Plan or that does not otherwise comply with or is inconsistent
                     with the provisions of this Plan….

 Plan, § 11.9 (emphases added). Under the Plan, the Court explicitly retained jurisdiction:

               “[T]o issue injunctions, enter and implement other orders, and take such
                other actions as may be necessary or appropriate to restrain interference
                by any Person with the Consummation, implementation or enforcement of
                the Plan, the Confirmation Order, or any other order of the Bankruptcy
                Court; . . .

               to hear and determine disputes arising in connection with the
                interpretation, implementation, or enforcement of the Plan, the PFA, the
                Confirmation Order, the Plan Oversight Board By-Laws, or any agreement,
                instrument, or other document governing or relating to any of the foregoing;
                ...

               to take any action and issue such orders as may be necessary to construe,
                interpret, enforce, implement, execute, and consummate the Plan or to
                maintain the integrity of the Plan following Consummation; . . . [and]

               to hear and determine any rights, Claims or Causes of Action held by or
                accruing to the Reorganized Debtors pursuant to the Bankruptcy Code or
                pursuant to any federal statute or legal theory.”

 Plan, § 13 (emphases added).

 VI.       WEC Seeks Resolution of the Equipment Ownership Dispute In the Proper and
           Binding Venue While Santee Cooper Forum Shops By Filing a Mirror-Image Action
           in South Carolina Over a Month Later

                     34.       On April 5, 2019, after months of attempted negotiations to resolve the

 ownership dispute consensually out-of-court, WEC filed the Complaint in this Court, seeking an

 order requiring Santee Cooper to allow WEC access to the VC Summer Site to recover its

 property. See Adv. Proc. ECF No. 1. Santee Cooper’s actions leading up to the filing of the

 Complaint and its refusal to continue negotiations with WEC have already caused WEC to lose

 significant Equipment sales opportunities, including millions of dollars worth of sales to the only

 potential customer for the Equipment in the United States. See Durham Decl. at ¶ 35.




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                     35.       On May 14, 2019, Santee Cooper filed the South Carolina Action,

 seeking (1) to quiet title to the Equipment, including the WEC Equipment, (2) a declaration that

 Santee Cooper has rights, title and legal interest to the Equipment and the proceeds from any

 sale, and (3) that neither WEC nor the Plan Investor have any interest therein. See Complaint

 [ECF No. 1, Case No. 2:19-cv-01432-RMG] (the “South Carolina Complaint”). This

 lawsuit was filed more than a month after WEC filed the Complaint and more than a week after

 the Motion to Withdraw the Reference was filed.

                     36.       The South Carolina complaint is replete with references to the

 bankruptcy4 and to events that occurred during bankruptcy.5 More importantly, Santee Cooper

 does not allege that it paid in full for the Equipment as required to gain title under the EPC

 Agreement; rather, it repeatedly alleges that WEC breached the EPC Agreement. See South

 Carolina Compl. at ¶¶ 23, 32, 43. Santee Cooper’s claim, in spite of the labels used, is obviously

 a breach of contract claim that, but for the Debtors’ breach, Santee Cooper would have paid the

 Debtors in full under the fixed fee and obtained title to the Equipment. Santee Cooper also

 alleges that the WEC Equipment was not specifically listed in the Schedules and SOFAs and

 therefore did not transfer to WEC under the PFA upon the Effective Date of the Plan. See South

 Carolina Compl. at ¶¶ 44-45. In earlier correspondence with WEC, Santee Cooper has also

 challenged the application of the EPC Agreement to the issues in dispute, claiming that the



 4
   See South Carolina Complaint ¶ 23 (alleging the Debtors’ filing of chapter 11 petition “breach[ed] the EPC and
 g[ave] Westinghouse [] the option to reject executory contracts, such as the EPC”); id. ¶ 43 (alleging that the
 Debtors’ non-assumption of the EPC Agreement, thereby rejecting it as matter of law, constitutes “a Bankruptcy
 Court-sanctioned breach of the EPC by Westinghouse”); id. ¶ 57(contending WEC waived claims to ownership or
 title of WEC Equipment due to actions in bankruptcy).
 5
   See South Carolina Complaint ¶ (“As part of the bankruptcy, Westinghouse asked for permission to collect certain
 identified items that it owned from the VCS Site.”); id. ¶¶ 24-25 (noting the Court’s approval of IAA and actions
 taken pursuant to IAA).



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 Debtors’ rejection of that agreement invalidates the applicable terms therein, and the same

 argument underlies the South Carolina Complaint. See, e.g., South Carolina Compl. ¶ 43.

                                               ARGUMENT

 I.        The Adversary Complaint and Santee Cooper’s Legal Arguments Implicate Core
           Bankruptcy Issues That the Court Has Jurisdiction to Adjudicate

           A.           Legal Standard

                     37.       “When challenging jurisdiction under Rule 12(b)(1), evidence outside of

 the pleadings, including affidavits, may be considered.” In re Jesup & Lamont, Inc., No. 10 B

 14133 AJG, 2012 WL 3822135, at *2 (Bankr. S.D.N.Y. Sept. 4, 2012) (citing Kamen v.

 American Tel. & Tel. Co., 791, F.2d 1006, 1011 (2d Cir. 1986)).               WEC, as “[t]he party

 advocating jurisdiction has the burden of proving its existence by a preponderance of the

 evidence.” Id. (citing Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000). To that end,

 WEC has attached the Durham Declaration which, in conjunction with the argument set forth

 below and the facts as pled in the Complaint, demonstrate that WEC has met its burden of

 establishing this Court’s jurisdiction.

                     38.       Title 28 U.S.C. § 1334 provides the statutory basis for bankruptcy

 jurisdiction; pursuant to subsection (a), district courts “have original and exclusive jurisdiction of

 all cases under title 11,” and pursuant to subsection (b), “have original but not exclusive

 jurisdiction of all civil proceedings arising under title 11, or arising in or related to cases under

 title 11.” 28 U.S.C. § 1334. “Section 1334 of title 28 does not distinguish between a court’s pre-

 confirmation and post-confirmation jurisdiction. However, if a lawsuit is filed after a business

 has reorganized and emerged from bankruptcy the ‘conceivable effect’ test often gives way to a

 more limited ‘close nexus’ test.” In re Stillwater Asset Backed Offshore Fund Ltd., 559 B.R.

 563, 573 (Bankr. S.D.N.Y. 2016) (quoting ACE Am. Ins. Co. v. DPH Holdings Corp. (In re DPH


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 Holdings Corp.), 448 F. App’x 134, 137 (2d Cir. 2011). “Under the ‘close nexus’ test, ‘related

 to’ jurisdiction does not exist unless (a) a dispute has a close nexus to the bankruptcy case (as

 when a matter requires interpretation or administration of the confirmed plan), and (b) the plan

 retains jurisdiction over the dispute.” Id. (quoting Savoy Senior Hous. Corp. v. TRBC Ministries,

 LLC, 401 B.R. 589, 597 (S.D.N.Y. 2009)).6

                     39.        Notably, while the jurisdiction of a bankruptcy court may shrink, it

 “does not disappear entirely.” Binder v. Price Waterhouse & Co. (In re Resorts Int’l, Inc.), 372

 F.3d 154, 165 (3d Cir. 2004) (noting that all post-confirmation jurisdiction would be barred if

 courts applied the “effect on the bankruptcy estate” language literally); see also Neilson v.

 Straight–Out Promotions, LLC (In re Michael G. Tyson), No. 05–02210, 2007 WL 2379624 at

 *3 (Bankr. S.D.N.Y. Aug. 17, 2007) (“jurisdiction ... after confirmation of a plan may shrink, but

 it does not disappear”).

           B.        There is a Close Nexus Between the Complaint, the Plan, and the Bankruptcy
                     Proceedings

                     iv.        The Complaint, and Santee Cooper’s Responses, Raise Key Bankruptcy
                               Issues That This Court Has Jurisdiction to Decide
                     40.        Santee Cooper’s Motion to Dismiss rises and falls on its claim that the

 Complaint does not bear a “close nexus” to the Plan and bankruptcy. Mot. at 8-10. In arguing

 that this Court lacks jurisdiction, Santee Cooper attempts to paint WEC’s right to the equipment

 as being entirely based on state law. See id. at 8. This is simply incorrect.

                     41.        WEC’s claim to the WEC Equipment ultimately depends on whether

 applying federal bankruptcy law and this Court’s orders give WEC title to the WEC Equipment.

 WEC contends that Santee Cooper could have, but did not, preserve its rejection damage claim

 6
  Cf. In re Touch Am. Holdings, Inc., 401 B.R. at 117 (the close nexus test only applies to non-core proceedings; a
 proceeding may still be considered core post-confirmation and, if so, the bankruptcy court maintains jurisdiction).



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 or any other claims to the WEC Equipment as it was required to do during the bankruptcy and,

 therefore, pursuant to the Plan and PFA, the assets of the Debtors’ estates (including the WEC

 Equipment at issue in the adversary proceeding) vested in WEC upon the Effective Date of the

 Plan.

                     42.       Santee Cooper myopically focuses on a state law contract question of

 whether, under the EPC Agreement, the Debtors had title – or a claim to have such title – to the

 WEC Equipment during the Chapter 11 Cases.                But that state law issue is a threshold

 determination, and even it implicates a core issue of whether the WEC Equipment was property

 of the estates. As the court recognized in In re Touch America Holdings, Inc., “[v]arious courts

 have concluded that matters requiring a declaration of whether certain property comes within the

 definition of ‘property of the estate’ as set forth in Bankruptcy Code § 541 are core

 proceedings.” 401 B.R. 107, 117 (Bankr. D. Del. 2009); see also In re Olympia Office LLC, 585

 B.R. 661, 668-69 (E.D.N.Y. 2018) (finding bankruptcy court had post-confirmation jurisdiction

 because “[d]eciding the rightful owners of the [] Properties ‘strikes at the heart of the []

 liquidation plan’”) (citation omitted); Grantham v. Timothy Cory & Assocs., No. 2:11-cv-01549,

 2012 WL 174398, at *2 (D. Nev. Jan. 20, 2012) (referring proceeding to bankruptcy court as

 plaintiffs’ claims were “core proceedings because Plaintiffs challenge whether the real estate was

 property of the estate at the commencement of the bankruptcy proceedings”).

                     43.       In opposition to the Motion to Dismiss, WEC has submitted evidence to

 demonstrate that the WEC Equipment was property of the estates and therefore Santee Cooper’s

 assertions that it wholly owned title to the equipment before, during and after the bankruptcy is

 groundless and unsupported. Under the EPC Agreement, Santee Cooper was required to pay “in

 full” for the WEC Equipment, otherwise title remained with the Debtors. Santee Cooper’s



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 failure to pay the full price for certain pieces of Major Equipment as governed by payment

 schedule F.1.1 to the EPC Agreement, or pay the full Fixed Price portion of the Contract Price,

 which governed payment for Non-Major Equipment, demonstrate this condition was never

 achieved. See Durham Decl. at ¶¶ 12, 13. Instead, during the bankruptcy, Santee Cooper

 canceled the projects without paying for the WEC Equipment in full as required under the EPC

 Agreement.

                     44.       The remainder of WEC’s claim turns entirely on the application of

 federal bankruptcy law and this Court’s orders. First, WEC will demonstrate that the Debtors

 listed the WEC Equipment in general categories on their Schedules and SOFAS.                                More

 importantly, during the bankruptcy and prior to Santee Cooper’s receipt of notice that it must file

 a rejection damages claim and object to the Plan and Confirmation Order or otherwise would its

 claims would be cancelled vesting WEC with title to the WEC Equipment, the Debtors gave

 actual notice to the Owners that the WEC Equipment belonged to the estates. See Durham Decl.

 at ¶¶ 15, 21-24, 28-30. As a result, federal law dictates WEC owns the WEC Equipment due to

 Santee Cooper’s inaction. See 11 U.S.C. § 502(b)(9); Fed. R. of Bankr. P. 3002(c)(4); see, e.g.,

 In re Spiegel Inc., 337 B.R. 816, 820-21 (Bankr. S.D.N.Y. 2006) (disallowing late filed proofs of

 claim for rejection damages).

                     45.       While Santee Cooper may dispute the effects of its failure to file a

 rejection damages claim against the estates during the pendency of the bankruptcy proceedings,

 resolution of that question clearly implicates this Court’s bankruptcy jurisdiction.7 See, e.g., In

 re Chateaugay Corp., 193 B.R. 669, 674 (S.D.N.Y. 1996) (finding matter core where resolution
 7
   Contrary to Santee Cooper’s contention (Mot. at 8-9), the turnover action cases cited by Santee Cooper are
 inapposite. In those cases, the turnover action under Section 542 was brought post-confirmation, which the courts
 found to be improper. This is not a turnover action under Section 542. Most importantly, the claims asserted in the
 complaints in those cases were entirely based on state law, whereas here WEC’s right to the equipment turns on the
 application of federal bankruptcy law and the Court’s orders, as well as enforcement of the Confirmation Order.



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 required determination of when claim arose under the Bankruptcy Code and whether it was

 discharged).

                     46.          Santee Cooper’s failure to properly preserve its asserted rights or

 interests in the WEC Equipment by filing a rejection damages claim in the bankruptcy—with any

 such rights or interests being forever discharged and enjoined under the Plan—and its

 interference with this Court’s Plan, providing for the transfer of the WEC Equipment to WEC

 under the PFA, are core issues that require enforcement Confirmation Order. Therefore, WEC’s

 complaint is within the Court’s bankruptcy jurisdiction under 28 U.S.C. § 1334.

                     2.        The Court Retained Jurisdiction to Hear This Dispute in the Plan and
                               Confirmation Order

                     47.          Contrary to Santee Cooper’s arguments, the Court explicitly retained

 broad jurisdiction under the Plan to hear the adversary proceeding, given that it plainly hinges on

 the Plan, PFA, and Confirmation Order. See Plan, § 13. More specifically, the Court retained

 jurisdiction post-Effective Date:

          (b) to determine any motion, adversary proceeding, application, contested matter, or other
           litigated matter pending on or commenced after the Confirmation Date;

          (f) to issue injunctions, enter and implement other orders, and take such other actions as
           may be necessary or appropriate to restrain interference by any Person with the
           Consummation, implementation or enforcement of the Plan, the Confirmation Order,
           or any other order of the Bankruptcy Court;

          (i) to hear and determine disputes arising in connection with the interpretation,
           implementation, or enforcement of the Plan, the Plan Funding Agreement, the
           Confirmation Order, the Plan Oversight Board By-Laws, or any agreement, instrument,
           or other document governing or relating to any of the foregoing;

          (j) to take any action and issue such orders as may be necessary to construe, interpret,
           enforce, implement, execute, and consummate the Plan or to maintain the integrity of
           the Plan following Consummation;

          (k) to determine such other matters and for such other purposes as may be provided in the
           Confirmation Order;


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          (o) to hear and determine any other matters related hereto and not inconsistent with the
           Bankruptcy Code and title 28 of the United States Code;

          (q) to enforce all orders previously entered by the Court;

          (r) to recover all assets of the Debtors and property of the Estates, wherever located;

 Id. (emphases added). These are not “general statements about retention of jurisdiction” (Mot. at

 9), but specifically cover the adversary proceeding. For example, the District Court in In re

 Jesup & Lamont, Inc., found that a plan’s retention of jurisdiction provision substantially similar

 to section 13(b) was sufficient to satisfy the second prong of the jurisdictional test (i.e., the plan

 retained jurisdiction over the dispute). See No. 10 B 14133 AJG, 2012 WL 3822135, at *5

 (Bankr. S.D.N.Y. Sept. 4, 2012) (finding plan sufficiently retained jurisdiction over post-

 confirmation dispute based on retention of jurisdiction to “‘decide or resolve any … adversary

 proceedings … and any other Causes of Action that are pending as of the Confirmation Date or

 that may be commenced in the future.’”).


                     48.       There is no requirement, as Santee Cooper contends, that the Court

 specifically identify the precise nature of the dispute and the exact parties in its retention of

 jurisdiction and Santee Cooper cites no cases holding otherwise.8 See In re Jesup, 2012 WL

 3822135, at *5 (rejecting defendants’ argument that court lacked subject matter jurisdiction

 because plan’s retention of jurisdiction provision did not specifically preserve causes of action

 against particular defendants); U.S. Tr. v. Gryphon at Stone Mansion, Inc., 216 B.R. 764, 769

 (W.D. Pa. 1997), aff’d, 166 F.3d 552 (3d Cir. 1999) (“A retention of jurisdiction provision within


 8
   See also Golf Club at Bridgewater, L.L.C. v. Whitney Bank, No. 8:09-BK-10430-CED, 2013 WL 1193182, at *4
 (M.D. Fla. Mar. 22, 2013) (“The Court finds it prudent to adopt the position that, where the bankruptcy court’s core
 jurisdiction is predicated on its power to interpret and enforce its own orders, no such [jurisdiction-retention]
 provisions are necessary to confer subject matter jurisdiction on the bankruptcy court.”).



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 a confirmed plan does not grant a bankruptcy court jurisdiction. Similarly, the absence of a

 provision retaining jurisdiction in a confirmed plan does not deprive a bankruptcy court of

 jurisdiction. Hence, the lack of a jurisdiction provision within the confirmed plan does not affect

 the bankruptcy court’s jurisdiction.”) (citing In The Matter of Holly’s, Inc., 172 B.R. 545, 555

 (Bankr. W.D. Mich. 1994)). In fact, the District Court in which Santee Cooper’s Motion to

 Withdraw the Reference [ECF No. 6] is pending held as much in a recent decision in In re

 Lehman Bros. Holdings Inc., in which it rejected an argument that “the Plan does not provide for

 jurisdiction over [the] claims because it does not reference the claims in express terms.” No. 18-

 CV-8986-VEC, 2019 WL 2023723, at *7 (S.D.N.Y. May 8, 2019). The District Court found that

 the argument “lacks merit” stating “[a]s one court stated when rejecting a similar argument, the

 Movants fail to ‘cite any caselaw requiring that the [Plan’s] retention of jurisdiction provision

 include an express reference to the particular cause of action being asserted, and the broad

 language in the catch-all provision clearly evidences the parties’ intent to preserve post-

 confirmation federal jurisdiction to the maximum extent permissible under the statute.’” Id. at 7

 n.7 (quoting Krys, 2008 WL 4700920, at *9)). The one case Santee Cooper does cite, In re

 Johns-Mansville, Corp., 7 F.3d 32, 34 (2d. Cir. 1993), simply requires that the Plan provide for

 retention of jurisdiction over the dispute. Here, section 13 of the Plan does just that.

                     49.       Accordingly, given the close nexus between the adversary proceeding

 and the interpretation of the Confirmation Order, Plan, and PFA, as well as the Court’s retention

 of jurisdiction over this dispute, dismissal of the Complaint for lack of jurisdiction is

 inappropriate.

           C.        Santee Has Submitted to the Court’s Jurisdiction by Filing Proofs of Claim

                     50.       Beyond the close nexus between the Complaint and the bankruptcy

 proceeding, including the Plan, Santee Cooper has submitted to this Court’s jurisdiction by filing

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 proofs of claim related to the subject matter of the dispute. In fact, Santee Cooper concedes that

 “[u]ndeniably, creditors subject themselves to a bankruptcy court’s equity jurisdiction by

 submitting a claim against the bankruptcy estate.” Mot. at 10 (citing Granfinanciera, S.A. v.

 Nordberg, 492 U.S. 33, 59 n.14 (1989)). Santee Cooper’s only response is that: (1) such

 submission to the Court’s jurisdiction by filing a claim is not “dispositive” of this Court’s ability

 to assert bankruptcy jurisdiction over the Complaint; and (2) the Complaint is not concerned with

 determining Santee Cooper’s claim against the estate. Id. at 11. Santee Cooper’s contentions

 miss the mark.

                     51.       First, Santee Cooper’s filing of proofs of claim in the bankruptcy

 proceedings is one of the many connections to the bankruptcy and reasons for this Court’s clear

 subject matter jurisdiction over this dispute. See, e.g., In re Petrie Retail, Inc., 304 F.3d 223, 230

 (2d Cir. 2002) (dispute in post-confirmation adversary proceeding involve issue previously

 before bankruptcy court as part of consideration of claim against the estate and, as such, dispute

 “uniquely affected and was uniquely affected by the core bankruptcy functions as to ‘matters

 concerning the administration of the estate,’ 28 U.S.C. § 157(b)(2)(A) (2001), and the ‘allowance

 or disallowance of claims against the estate’ 28 U.S.C. § 157(b)(2)(B) (2001),” which were core

 matters); see also In re Manville Forest Prods. Corp., 896 F.2d 1384, 1390 (2d Cir.1990) (“[A]

 claim filed against the estate is a core proceeding because it could arise only in the context of

 bankruptcy.”) (citation omitted). In In re Petrie, like here, the creditor’s proof of claim required

 the bankruptcy court to interpret the contract giving rise to the claim at issue—here the EPC

 Agreement, in Petrie, a lease—in “order to determine what assets of the debtors’ estate should be

 distributed to” the creditor. In re Petrie, 896 F.2d at 1390. “Thus, the interpretation of the




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 [contract] was originally raised as part of the bankruptcy court’s core function of determining

 whether to allow [creditor]’s claim in the administration of the estate.” Id.

                     52.       Second, the Complaint is clearly concerned with Santee Cooper’s

 bankruptcy claim against the estates. It sold its original claim, and failed to file a rejection

 damages claim, which as explained above is integral to WEC’s rights to the WEC Equipment.

 See Durham Decl. at ¶ 20. The treatment and assertion of Santee Cooper’s claims in bankruptcy

 are material and are core issues raised by WEC’s complaint. See, e.g., In re Ames Dep’t Stores,

 Inc., 542 B.R. 121, 138–39 (Bankr. S.D.N.Y. 2015) (finding issues raised in post-confirmation

 adversary proceeding initiated by debtor “overlap[ped] significantly with the issues raised in”

 creditors’ proofs of claim, such that creditors’ filing claim against bankruptcy estate conferred

 core status to resolution of both the claims themselves and the debtor’s responsive claims).

                     53.       Under the very case Santee Cooper cites, In re S.G. Phillips

 Constructors, Inc., (Mot. at 11), the Court has jurisdiction: (1) to determine whether Santee

 Cooper’s asserted interests in the Equipment were part of its proofs of claims, (2) whether those

 claims were satisfied under the Plan and Confirmation Order, and (3) whether those claims were

 fully discharged in the bankruptcy. Santee Cooper’s attempt to distinguish In re China Fishery

 Group Limited and In re Adelphia Communications Corp. (Mot. at 11) falls flat because the

 courts there asserted jurisdiction for the same reason the Court here should: The party had

 submitted proofs of claim in the bankruptcy and the dispute at issue related to those proofs of

 claim, a quintessentially core bankruptcy function. Thus, Santee Cooper’s proofs of claims serve

 as one of many bases of the Court’s jurisdiction in this matter.

           D.        The EPC Agreement’s Venue Provision Still Binds the Parties Post-Rejection and
                     Is Not Being Used to Confer Bankruptcy Jurisdiction on the Court




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                     54.       Lastly, contrary to Santee’s assertion, WEC is not relying upon the EPC

 Agreement’s venue and jurisdictional provisions (which provide for New York federal or state

 court as the exclusive venue of any EPC Agreement-related disputes) to confer subject matter

 jurisdiction. See Mot. at 12 (citing Compl. ¶ 12). That provision, however, clearly shows that

 Santee Cooper’s South Carolina Action is improper and threatens the Court’s jurisdiction and

 orders.

                     55.       In addition, Santee Cooper’s insistence that WEC cannot rely on the

 EPC Agreement’s venue and jurisdictional provisions merely because WEC rejected the EPC

 Agreement is incorrect.9 Mot. at 12. Santee Cooper misapprehends the role and effect of a

 debtor’s section 365 power to reject an executory contract like the EPC Agreement. That WEC

 rejected the EPC Agreement pursuant to the Plan—while such rejection does create an unsecured

 damages claim for Santee Cooper as if the EPC Agreement was breached on the day before the

 petition was filed—does not mean that the EPC Agreement was terminated and its provisions no

 longer control. “[W]hile rejection is treated as a breach, it does not completely terminate the

 contract.” In re Lavinge, 114 F.3d 379, 386-87 (2d Cir. 1997). “Thus, ‘[r]ejection merely frees

 the estate from the obligation to perform; it does not make the contract disappear.’” Id. (quoting

 In re The Drexel Burnham Lambert Group, 138 B.R. 687, 703 (Bankr. S.D.N.Y. 1992)).


 9
   Santee Cooper has argued otherwise to avoid the provisions in the EPC Agreement where the parties consented to
 jurisdiction in New York federal or state court and to the application of New York law. See Mot. at 12. Given
 Santee Cooper’s position, the Court must also determine the effect of that rejection on the application of the EPC
 Agreement to the dispute. See, e.g., In re Lehman Bros. Holdings, Inc., No. 14 CIV. 7643 ER, 2015 WL 5729645, at
 *6 (S.D.N.Y. Sept. 30, 2015), aff’d sub nom. In re: Lehman Bros. Holdings Inc., 663 F. App’x 65 (2d Cir. 2016)
 (“The rejection of an executory contract is also considered a fundamental issue of bankruptcy law ‘unique to the
 Bankruptcy Code’ and ‘challenges to the effects of rejection orders are core proceedings because they are claims
 that would not exist independent of the bankruptcy case.’”) (quoting In re Great Atl. & Pac. Tea Co., Inc., 467 B.R.
 44, 58 (S.D.N.Y. 2012), aff’d sub nom. Grocery Haulers, Inc. v. Great Atl. & Pac. Tea Co., Inc., 508 F. App’x 63
 (2d Cir. 2013); In re General Growth Properties, Inc., 460 B.R. 592, 598 (Bankr. S.D.N.Y. 2011) (“A bankruptcy
 court always has jurisdiction to interpret its own orders”). Resolution of this core bankruptcy issue further
 strengthens the Court’s jurisdiction over the Complaint.




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                     56.       As the Court recognized at the initial pretrial conference, “when a venue

 provision talks about where disputes over breaches are going to be,” the fact that a party to the

 agreement may have breached the agreement is “kind of a given.” May 22, 2019 Hr’g Tr. 15:3-

 6. Here, the fact that WEC rejected the EPC Agreement, potentially giving rise to breach of

 contract damages, does not invalidate the venue provision. Numerous courts around the country

 have held as much, finding that other dispute-resolution provisions typically found in

 agreements, including arbitration provisions, survive rejection under section 365 and continue to

 control. See, e.g., In re Flemings Companies, Inc., 325 B.R. 687, 693-94 (Bankr. D. Del. 2005)

 (finding rejection of executory contract does not nullify arbitration provision therein);

 Southeastern PA Transp. Authority v. AWS Remediation Inc., No. Civ. A. 03-695 2003, WL

 21994811, at *3 (E.D. Pa. Aug. 18, 2003) (“A rejection in bankruptcy does not alter the

 substantive rights of the parties that formed pre-petition. While a debtor may reject a contract in

 its ‘entirety,’ it may not invalidate freely negotiated methods of dispute resolution as they apply

 to pre-petition acts.”) (internal citations omitted)); In re Paragon Offshore PLC, 588 B.R. 735,

 749 (Bankr. D. Del. 2018) (rejecting argument that arbitration provision was extinguished as part

 of rejection of contract in bankruptcy proceedings “[f]or the rejection of an executory contract is

 only ‘a breach of a contract, and the terms of the contract still control the relationship of the

 parties.’ In other words, the Court cannot now erase the contractual obligations the parties have

 agreed to under the Agreements, at least as it relates to the Arbitration Provision”) (internal

 citation omitted)). Thus “[w]hile it is true that a specific provision in an executory contract

 cannot be held enforceable if the contract as a whole has been rejected [], forum selection clauses

 and arbitration provisions address the procedural framework pursuant to which a contract dispute

 will be processed, rather than the substantive provisions that create and define the legal



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 relationships between the parties.” In re All Am. Semiconductor, Inc., No. 07-12963-BKC-LMI,

 2010 WL 2854153, at *9 (Bankr. S.D. Fla. July 20, 2010), aff’d sub nom. Sirius Computer Sols.,

 Inc. v. AASI Creditor Liquidating Tr., No. 10-23406-CIV, 2011 WL 3843943 (S.D. Fla. Aug. 29,

 2011) (“To argue that a party cannot modify or waive a forum selection provision for a contract

 that has been breached would render absurd any venue waiver case since presumably, litigation

 over a contract, whether terminated, completed, rejected or ongoing, only occurs when there has

 been a breach.”). Accordingly, Santee Cooper’s forum-shopping attempt to have this dispute

 adjudicated in the South Carolina District Court by contending that this Court lacks jurisdiction

 to hear this dispute (it does not) and that the venue provision in the EPC Agreement is not

 binding anymore by virtue of rejection (also not true) should be rejected.

                                              CONCLUSION

                     For the reasons set forth above, WEC respectfully requests that the Court deny the

 Motion to Dismiss.


 Dated: June 3, 2019
        New York, New York
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                                                  Reorganized Westinghouse Electric Company LLC




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re                                                       Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY LLC,                          Case No. 17-10751 (MEW)
 et al.,                                                     (Jointly Administered)
                                          Debtors.


 WESTINGHOUSE ELECTRIC COMPANY LLC, as
 reorganized
                                                             Adv. Proc. No. 19-01109 (MEW)
                                          Plaintiff,

 v.

 SOUTH CAROLINA PUBLIC SERVICE
 AUTHORITY

                                           Defendant.



       DECLARATION OF DAVID DURHAM IN SUPPORT OF WESTINGHOUSE
      ELECTRIC COMPANY LLC’S OPPOSITION TO SOUTH CAROLINA PUBLIC
      SERVICE AUTHORITY’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

           I, David Durham, hereby declare under penalty of perjury:

           1.     I currently serve as the President, Plant Solutions of reorganized Westinghouse

 Electric Company LLC (“WEC”). In that role, I am responsible for the development of key growth

 areas for WEC related to the specific stages of plant lifecycle solutions, including ongoing AP1000
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 plant projects, new AP1000 plant business development and delivery, plant decommissioning and

 remediation services, government services, and staffing services. I joined Westinghouse Electric

 Company LLC in 2015.

             I.   The EPC Agreement

        2.        Westinghouse Electric Company LLC, along with Stone & Webster, Inc., entered

 into the Engineering, Procurement, and Construction Agreement (the “EPC Agreement”), dated

 May 23, 2008, with South Carolina Electric & Gas Company (“SCE&G”) for itself and as agent

 for the South Carolina Public Service Authority (“Santee Cooper”) (collectively, “Owners”).

 Pursuant to the EPC Agreement, SCE&G would act as agent for Santee Cooper with respect to the

 Project. The EPC Agreement provided for the design, engineering, procurement, installation of

 equipment and materials, and construction and testing of two AP1000 nuclear power plants (the

 “Project”) at the Virgil C. Summer Nuclear Station in Jenkinsville, South Carolina (“V.C.

 Summer Site”).

                     a. EPC Provisions Governing the Definition of Equipment and Passage of
                        Title to Equipment

        3.        Under the EPC Agreement, WEC, as Contractor, was obligated, in part, to place

 orders and procure Equipment to be used for the Project.          The EPC Agreement defines

 “Equipment” as “machinery, computer hardware and its associated software, apparatus,

 components, articles, materials, systems and Structures, and items of any kind that shall become a

 permanent part of the Facility to be provided by Contractor to Owner under this Agreement, but




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 excluding Nuclear Fuel.” EPC Agreement, at 4, attached hereto as Exhibit 1.1 A subset of

 Equipment as defined in the EPC Agreement is “Major Equipment,” which includes:

              a. “steam generators, reactor vessel and reactor vessel head, control rod drive
                 mechanisms, main turbine, main turbine generator, turbine deaerator, reactor
                 coolant pumps, containment vessel, cooling towers, main turbine condenser,
                 reactor internals, main step-up transformers, pressurizer, diesel generators,
                 feedwater pumps, circulating water pumps, polar crane, core makeup tanks,
                 moisture separator reheaters, and any other equipment for which the contract(s)
                 with the Subcontractor is for an amount in excess of $10,000,000 or that Owner
                 and Contractor agree shall be designated as Major Equipment.” EPC Agreement,
                 at 8.

         Any materials that fall within the definition of Equipment—items specifically listed

 therein, or “items of any kind that shall become a permanent part of the Facility”—but are not part

 of the defined subset of “Major Equipment” are described in this declaration as “Non-Major

 Equipment.”

         4.      The EPC Agreement sets forth the requirements necessary for the Owners to obtain

 title to all types of Equipment from WEC: “Except as otherwise expressly provided in this

 Agreement, title to an item of Equipment shall pass to Owner upon payment in full by Owner to

 Contractor for such item of Equipment.” EPC Agreement, § 21.1 (emphasis added). As such,

 under the EPC Agreement, the Owners only obtained title to Equipment from WEC upon paying

 WEC in full for that Equipment. Otherwise, WEC retained title in the Equipment. The Equipment

 at issue in this proceeding comprises that subset of Equipment (including both Major and Non-

 Major Equipment) for which Owner did not pay WEC in full (“WEC Equipment”), and not

 Equipment for which Owners had paid WEC in full (“Santee Cooper Equipment,” and

 collectively with the WEC Equipment, “Equipment”).


 1
    The EPC Agreement is also available publicly as part of one of the Owners’ SEC filings at
 https://www.sec.gov/Archives/edgar/data/91882/000075473717000030/epc201710qacontractexhibit.htm (last visited
 June 3, 2019).



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                    b. EPC Provisions Governing Payment for Equipment

        5.      Pursuant to the EPC Agreement, Non-Major Equipment costs were allocated to the

 Firm/Fixed Price component of the EPC Agreement payment structure. EPC Agreement, §§

 8.1(a), 8.2; Exhibit F-1.

        6.      Specifically, WEC would recover costs associated with its multiple cost categories

 (including Non-Major Equipment), if at all, when it received Project Milestone Payments, or

 payments under the Fixed/Firm Price category pursuant to the Section F.1.3 and F.1.5 payment

 schedules of Exhibit F-1 to the EPC Agreement. These Milestone Payments were made based on

 general construction progress, and were not directly correlated to WEC’s purchases of Non-Major

 Equipment. Section F.1.3, for example, lists “Westinghouse Milestone Payments” associated with

 the completion of certain portions of Work on the Project, along with the projected achievement

 date for such completion and the corresponding amount to be paid once each Milestone was

 reached for Units 2 and 3 of the Project. See EPC Agreement, Ex. F-1, § F.1.3. One Milestone

 listed in Section F.1.3 is “Completion of Stator Core- Unit 2,” with a target completion date of

 October 2011, and “Invoice Amounts” of approximately $3.3 million for Unit 2 and $5.5 million

 for Unit 3. Id. Section F.1.5 lists the “Stone & Webster Firm Price Milestone Payment Schedule”

 for payments associated with the completion of listed “Activities,” such as “Plac[ing] Concrete for

 Unit 2 Nuclear Island Basemat,” due to be started on October 3, 2011 with an associated payment

 of approximately $3.2 million. See EPC Agreement, Ex. F-1, § F.1.5. Supporting invoices for the

 Non-Major Equipment purchases were neither required nor necessary to satisfy Construction

 Milestone Payments (as part of the Fixed/Firm Price), and therefore were not submitted.

        7.      Instead, the Owners were obligated to pay WEC according to the applicable

 schedule under the Fixed/Firm Price component of the Contract Price that covered several




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 categories of WEC’s costs (e.g., overhead, labor, materials, and Non-Major Equipment). As the

 Project progressed, the Owners would pay the entire amount of the Fixed/Firm Price. The final

 payment would constitute payment in full for the Non-Major Equipment – even if payment was

 insufficient to cover WEC’s actual costs of procuring the Non-Major Equipment.

          8.      Once the Owners elected to convert the EPC Agreement into a Fixed Price

 agreement, effective in November 2016, WEC would only receive payments upon achieving

 certain Construction Milestones pursuant to the new Construction Milestone Payment Schedule

 developed by the parties.2          Owners would make payments solely in accordance with the

 Construction Milestone Payment Schedule, and WEC remained obligated to complete construction

 of the Project regardless of its costs (and the extent to which they exceeded Owners’ Fixed Price

 payments). See Fixed Price Option Amendment, § 1 (“all remaining work shall be converted to

 a Fixed Price…The remaining Contract Price adjustment represents the cost to complete the

 Project…”) (emphasis added). Under EPC Agreement provisions unchanged by the October 2015

 EPC Amendment, WEC was required to purchase Equipment as soon as required for the Project.3

 In electing the Fixed Price Option, the Owners also ensured that so long as they paid the full Fixed




 2
   See October 2015 Amendment to the EPC Agreement (“October 2015 EPC Amendment”), attached hereto as
 Exhibit 2, § 2 (setting November 1, 2016 as the “Option Deadline” by which Owners were required to exercise the
 “Option Amendment”), § 12; Exhibit D to October 2015 EPC Amendment, § 1 (“Fixed Price Option Amendment”)
 (providing that once effective, all “Work under the EPC Agreement…shall be converted to a Fixed Price in exchange
 for the remaining Contract Price being adjusted to $6.082 billion…”). The October 2015 EPC Amendment and Fixed
 Price Option Amendment are also available publicly as part of one of the Owners’ SEC filings at
 https://www.sec.gov/Archives/edgar/data/91882/000075473715000076/a20150930-exhibit1005.htm (last visited
 June 3, 2019).

 3
   See EPC Agreement, § 3.3(a) Project Schedule (“Contractor shall…allocate resources and place Equipment orders
 in such a manner that will enable Contractor to meet the agreed date for Substantial Completion of the Units as shown
 in the Project Schedule.”).



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 Price amount, they would own all Equipment (Major and Non-Major) at the Project, regardless of

 what it would cost WEC to complete construction.4

         9.        Due to significant cost overruns, WEC’s actual costs for the Project far exceeded

 the payments made by the Owners. For example, as of June 30, 2017, the Owners had paid WEC

 approximately $ 7.1 billion, while WEC had incurred approximately $ 7.8 billion in costs.

         10.       Notably, prior to their election of the Fixed Price Option, the Owners did not pay

 WEC the full Milestone Payments or otherwise the full amount of the Fixed/Firm Price portion of

 the Contract Price. After Owners’ election of the Fixed Price Option in November 2016, Owners

 did not pay WEC the full Fixed Price given that Owners cancelled the Project soon after.

         11.       The EPC Agreement contained a payment schedule specifically applicable to Major

 Equipment, which was Section F.1.1 of Exhibit F-1. Under that payment schedule, WEC issued

 separate invoices for payments toward Major Equipment as part of the Fixed/Firm Price

 component of the EPC Agreement pursuant to Section 8.2. EPC Agreement, § 8.2, Exhibit F-1.

          II.      The Owners’ Did Not Pay For In Full For the Major Equipment And Non-
                   Major Equipment At Issue In this Adversary Proceeding

                a. Major Equipment

         12.       The Owners’ payments made towards items of Major Equipment under payment

 schedule F.1.1 of Exhibit F-1 of the EPC Agreement were recorded by WEC and reconciled post-

 cancellation of the Project by Owners to determine title. By the terms of the EPC Agreement, and

 given that there was only one payment schedule governing payments for Major Equipment, Santee

 Cooper owns only those pieces of Major Equipment for which it paid in full. See EPC Agreement,



 4
  See EPC Agreement, § 21.1 (providing that title to Equipment passes to Owners upon “payment in full by Owner to
 Contractor”); Fixed Price Option Amendment, § 5 (providing that “[a]ll provisions of the EPC Agreement not
 modified” by the Fixed Price Option Amendment “remain in full force and effect”).



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 § 21.1. As a result, WEC retains title to certain pieces of Major Equipment (“WEC’s Major

 Equipment”) because the Owners neglected to make full payment.

               b. Non-Major Equipment

         13.        The Owners at no time paid the full amounts due under the EPC Agreement, either

 before or after their exercise of the Fixed Price Option. As a result, Owners have not paid in full

 for the Non-Major Equipment.

          III.    WEC Put Santee Cooper on Notice Regarding WEC’s Claim to Title in the
                  WEC Equipment During the Bankruptcy Proceedings, Santee Cooper Sold its
                  Claim up to the Maximum Damages Provision Under the EPC Agreement,
                  And Santee Cooper Failed to Assert its Purported Interest in the WEC
                  Equipment As Part of Any Rejection Damages Claim

         14.      On March 29, 2017 (the “Petition Date”), Westinghouse Electric Company LLC

 and certain of its affiliates (collectively, the “Debtors”) commenced voluntary cases (the

 “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code in the Bankruptcy

 Court for the Southern District of New York. The Debtors filed the Chapter 11 Cases as a result

 of significant cost overruns at the construction of nuclear power plants in the United States,

 including the Project at the V.C. Summer Site.

         15.      Throughout WEC’s negotiations with Santee Cooper (or SCANA, as agent for

 Santee Cooper) regarding the ownership and disposition of the Equipment, which began in the fall

 of 2017, just months after the Petition Date, and continued through the filing of the Complaint, the

 Chapter 11 Cases proceeded, giving Santee Cooper over a year to assert any claims, objections, or

 reservations of rights it had regarding the ownership of the WEC Equipment.5 In addition, the




 5
   Santee Cooper appeared in the Chapter 11 Cases through its counsel, Reed Smith LLP, on March 29, 2017, the day
 after the filing of the Petition. As such, Santee Cooper has had notice of each and every filing made in the Chapter
 11 Cases since the Petition was filed.



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 Debtors took numerous actions during that time making clear their claim that WEC Equipment

 was property of the estate.

          16.   On May 26, 2017, the Debtors filed their schedules of assets and liabilities and

 statement of financial affairs for their various entities. Case No. 17-10751, ECF Nos. 567-625 (the

 “Schedules and SOFAs”). In the Schedules and SOFAs, the Debtors made disclosures related to

 equipment, disclosing that they held “other machinery, fixtures, and equipment,” “automobiles

 and trucks,” “work in progress,” “raw materials” “finished goods,” and “various” office equipment

 and supplies. See ECF No. 569.

          17.   On July 31, 2017, Santee Cooper’s Board of Directors voted to suspend

 construction of the Project at the V.C. Summer site, and Santee Cooper and its co-owner, SCE&G,

 publicly announced that they were cancelling the Project. Thereafter, the Owners allowed WEC

 only limited access to the V.C. Summer Site. Their actions left a large amount of Equipment

 sitting idle on the abandoned V.C. Summer Site and raised questions as to both the ownership of

 this Equipment and the best way for both WEC and the Owners to recoup some portion of the

 value of the highly specialized Equipment WEC had procured for the Project by finding a suitable

 buyer.

          18.   The Bankruptcy Court-established deadline to file a proof of claim in the Chapter

 11 Cases was September 1, 2017, set by Court Order on June 28, 2017 (the “Bar Date”). See Case

 No. 17-10751, ECF No. 788. This filing stated that any holder of a claim who failed to file such

 claim by the Bar Date was “forever barred, estopped and enjoined from asserting such a claim

 against the Debtors, their property, or their estates[.]” On August 31, 2017, SCE&G, for itself and

 as agent of Santee Cooper, filed identical unsecured and unliquidated proofs of claim in the

 Chapter 11 Cases. See Proofs of Claim Nos. 2440, 2444, 3088, and 3089. In the proofs of claim,




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 SCE&G “asserts against WEC any and all claims based upon, arising under on account of, in

 connection with, or related to, the V.C. Summer Project and the EPC Agreement.” Id. at ¶ 6.

        19.     On or about September 28, 2017, and during the pendency of the Chapter 11 Cases,

 Santee Cooper and SCE&G sold these claims for approximately $2 billion to Citigroup Financial

 Products, Inc. (“Citi”). See Case No. 17-10751, ECF No. 1411.

        20.     As to WEC’s Maximum Total Liability to Owners pursuant to the EPC Agreement,

 Section 17.2 provides that “with respect to a Unit,” Contractor’s “total aggregate liability under

 this Agreement, arising out of or in connection with the Work or this Agreement…shall not exceed

 an aggregate amount equal to twenty-five percent (25%) of the payments for such Unit that have

 been made to Contractor as of the date of the event or circumstance giving rise to the claim (the

 “Maximum Liability Amount”).” EPC Agreement, § 17.2. The Owners paid WEC a total of

 approximately $7.8 billion for Work performed on the Project; therefore, Citi’s payment of

 approximately $2 billion to Owners for their asserted claims against WEC related to Project was

 actually in excess of WEC’s Maximum Liability Amount to Owners pursuant to the EPC

 Agreement.

        21.     In the fall of 2017, I directed my staff to begin communicating with SCANA, as

 agent for Santee Cooper, regarding ownership of the Equipment and the potential disposition

 and/or sale of abandoned Equipment. This was just months after the Owners’ decision to cancel

 the Project. On Monday, October 16, 2017, representatives from my staff at WEC met with

 leadership at SCANA to discuss developing an inventory of Equipment, documenting cost and

 payments towards Equipment, the ownership of such Equipment, potential strategies to sell the

 Equipment, and the allocation of proceeds from any Equipment sales. At this meeting, WEC

 informed SCANA of its position that WEC owned the WEC Equipment (due to Owners’ failure




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 to pay in full per the terms of the EPC Agreement), and SCANA set forth its conflicting position.

 In the days after this meeting, members of my staff and SCANA continued to discuss these issues

 by email and planned to meet again in the next few weeks to further iron out a comprehensive plan

 to account for, determine ownership of, and dispose of the Equipment. During this time, WEC

 worked internally to develop a “Framework for Cooperation” on the sale of Equipment and other

 materials at the V.C. Summer site.

        22.     On October 25, 2017, the parties met again to work towards an agreement

 regarding Equipment inventory, accounting for payments towards Equipment, and determining

 ownership of the Equipment in preparation for any sale. Following the meeting, members of my

 staff and SCANA continued to communicate regarding these issues and the scheduling of

 additional meetings to discuss the same.

        23.    On Thursday, November 8, 2017, members of my staff again met with their

 counterparts at SCANA in Charlotte, NC to discuss issues regarding the Equipment. As part of

 this discussion, WEC again reiterated its position that SCANA owned only certain Equipment for

 which it had paid in full, and that WEC retained title to the remainder per the terms of the EPC

 Agreement.

        24.    The following Tuesday, November 14, 2017, my staff sent SCANA a table listing

 each piece of Major Equipment, payment for which was governed by Section F.1.1 of Exhibit F-1

 to the EPC Agreement, and noting whether, according to WEC’s payment records, each piece of

 Major Equipment was owned by WEC or the Owners. The table notes that where WEC marked

 an item of Major Equipment as owned by SCANA/the Owners it was because SCANA/the Owners

 had “paid in full” for such item, and conversely where WEC owned an item of Major Equipment,

 SCANA/the Owners had not paid in full.




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        25.     On January 12, 2018, Brookfield WEC Holdings LLC, Toshiba Nuclear Energy

 Holdings (UK) Limited and TSB Nuclear Energy Services Inc. executed a Plan Funding

 Agreement (as amended, the “PFA”), pursuant to which Brookfield WEC Holdings Inc. acquired

 WEC.

        26.     On January 28, 2018, WEC filed its original Joint Chapter 11 Plan of

 Reorganization (“Initial Plan”). Case No. 17-10751, ECF No. 2325. The Initial Plan’s provision

 regarding the rejection of goexecutory contracts mirrors that in the final, confirmed Plan in

 providing that “[o]n the Effective Date, except as otherwise provided in the Plan, each [e]xecutory

 [c]ontract and [u]nexpired [l]ease not previously rejected, assumed, or assumed and assigned by

 the Debtors during the Chapter 11 Cases shall be deemed automatically rejected pursuant to

 sections 365 and 1123 of the Bankruptcy Code.” Initial Plan, § 9.1 (emphasis added). Given this

 provision of the Initial Plan and Santee Cooper’s appearance in the Chapter 11 Cases, Santee

 Cooper was on notice as of January 28, 2018 that the EPC Agreement, which was not assumed by

 the Debtors prior to the Effective Date, would be rejected as of the Effective Date.

        27.     In addition, Section 5.1 of the Initial Plan put Santee Cooper on notice that on “[o]n

 the Effective Date…all property of the Debtors’ Estates other than Excluded Assets…shall vest in

 the Reorganized Debtors [then owned by Brookfield] free and clear of all Claims, liens,

 encumbrances, charges and other interests.” Initial Plan, § 5.1. The WEC Equipment was not

 identified as an Excluded Asset in Schedule 2.02(a) of the PFA. As described herein, my staff at

 WEC had informed SCANA, agent for Santee Cooper, repeatedly prior to the filing of the PFA

 and Initial Plan of WEC’s position that it held title to the WEC Equipment, which, pursuant to the

 terms of the PFA and Initial Plan, would vest in the Reorganized Debtors on the Effective Date.




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 These terms in the PFA, as amended, and Initial Plan are identical to the corresponding final terms

 in the confirmed Plan and final PFA.

           28.    As discussed in my Declaration in Support of Westinghouse Electric Company

 LLC’s Adversary Complaint, dated April 5, 2019 [ECF No. 2], on February 22, 2018, the Debtors

 further reiterated their position to Santee Cooper executives that under the terms of the EPC

 Agreement, Santee Cooper owned certain Equipment and the Debtors owned other Equipment.

           29.    At the same time, the Debtors also made clear that their expertise and position as

 owners of intellectual property, necessary certifications, and an export control license related to

 the Equipment, combined with the Debtors’ established relationship with their existing AP1000

 customers (the only potential customers for much of the Equipment), would allow the Debtors to

 obtain a superior price for the sale of all Equipment. Santee Cooper appeared to agree with the

 Debtors’ assertion regarding the Debtors’ unique ability to sell most of the Equipment and began

 to work with the Debtors on a cooperative strategy to sell the Equipment.

           30.    However, subsequent to the February 22, 2018 meeting, negotiations stalled while

 Santee Cooper worked with its former Project co-owner, SCE&G, to enter into an agreement

 assuming ownership of all the Project Owners’ assets.6

           31.    Meanwhile, on March 28, 2018 the Debtors filed their Modified Second Amended

 Joint Chapter 11 Plan of Reorganization (the “Plan”), and the same day the Bankruptcy Court

 entered an order confirming the Plan (the “Confirmation Order”). Case No. 17-10751, ECF Nos.

 2986, 2988. On August 1, 2018, the Plan became effective and the Debtors filed their Notice of

 Occurrence of Effective Date of Debtors’ Modified Second Amended Joint Chapter 11 Plan of

 Reorganization (the “Notice of Effective Date”). Case No. 17-10751, ECF No. 3705. The Plan


 6
     Santee Cooper assumed ownership of 100% of the Owners’ Project interests in December 2018.



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 contains language describing the automatic rejection of executory contracts identical to that in the

 Initial Plan, filed two months earlier. Plan, § 9.1. Given this provision of the Plan (identical to

 that in the Initial Plan), Santee Cooper had more than six months’ notice that the EPC Agreement,

 which was not assumed by the Debtors prior to the Effective Date, would be rejected as of the

 Effective Date (August 1, 2018). When the Notice of Effective date was sent to all of the Debtors’

 creditors, it further stated that a rejection damages claim for any such contract had to be filed

 within 30 days. Santee Cooper never filed a rejection damages claim, e.g., claiming that, but for

 WEC’s alleged breach of the EPC Agreement, Owners would have acquired title to the WEC

 Equipment or, in light of WEC’s alleged breach, should obtain title to it.

        32.     Also on August 1, 2018, the PFA transaction closed. Under the Plan and the PFA,

 on the Effective Date, all property of the Debtors’ estates (other than explicitly identified

 “Excluded Assets,” which did not include Equipment) vested in the Reorganized Debtors. The

 Plan, like the Initial Plan filed on January 28, 2018, specifically provides that such property “shall

 vest in the Reorganized Debtors free and clear of all Claims, liens, encumbrances, charges, and

 other interests…” on the Effective Date. Plan, § 5.1.

        33.     Despite Santee Cooper’s knowledge, for more than six months, of what would

 occur on the Effective Date, neither Santee Cooper nor its agent (SCANA) filed a proof of claim

 based on the Debtors’ proposed rejection of the EPC Agreement or objected or otherwise reserved

 rights based on the Debtors’ asserted ownership in the WEC Equipment in connection with the

 PFA, Plan, or Confirmation Order.

        34.     On March 1, 2019, I met with Santee Cooper staff regarding the ownership and

 potential disposition of the Equipment, again asserting WEC’s position regarding the pieces of

 Equipment it owned and those that Santee Cooper owned. At this meeting, Santee Cooper took




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 the position—for the first time—that it owns all of the Equipment. Shortly thereafter, on March

 18, 2019, Santee Cooper informed WEC (again, for the first time) that it intended to sell, and was

 actively attempting to sell, all of the Equipment at the V.C. Summer site, including WEC

 Equipment it does not own. Santee Cooper’s actions in March of 2019 were entirely inconsistent

 with the parties’ prior negotiations and Santee Cooper’s prior assertions (or lack thereof) regarding

 its ownership of the Equipment.

        35.     As I described in my declaration in support of the Adversary Complaint [ECF No.

 2, at ¶ 11-18], Santee Cooper’s actions during this time and refusal to continue negotiations with

 WEC have already caused WEC to lose significant Equipment sales opportunities, including sales

 to the only potential customer for the Equipment in the United States. In fact, within the last two

 weeks, counsel for Southern (owner of the Vogtle AP1000 project in Georgia) has reached out

 again, to both representatives of WEC and Santee Cooper, providing a list of certain Equipment

 that Southern needs to order for the Vogtle project. Southern’s counsel indicated that Southern

 would prefer to purchase those items—and additional materials and Equipment in the next three

 months, worth millions of dollars—from the V.C. Summer Project inventory, but it needed a way

 to do so in a manner that protected it (Southern) from adverse claims of title or ownership. Santee

 Cooper’s repeated intransigence and interference with WEC’s property rights in the Equipment is

 costing WEC millions of dollars worth of sales.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

 Dated: June 3, 2019                           /s/ David Durham
                                                   David Durham




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                         EXHIBIT 1
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           ENGINEERING, PROCUREMENT AND CONSTRUCTION
                           AGREEMENT

                                         BETWEEN

  SOUTH CAROLINA ELECTRIC & GAS COMPANY, FOR ITSELF AND
     AS AGENT FOR THE SOUTH CAROLINA PUBLIC SERVICE
                  AUTHORITY, AS OWNER

                                              AND

    A CONSORTIUM CONSISTING OF WESTINGHOUSE ELECTRIC
   COMPANY LLC AND STONE & WEBSTER, INC., AS CONTRACTOR

                                              FOR

                         AP1000 NUCLEAR POWER PLANTS

                              DATED AS OF MAY 23, 2008
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                                           EXHIBITS

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 A                                        Scope of Work/Supply and Division of

                                          Responsibilities

 B                                        Contractor Organization Chart

 C                                        Owner and Contractor Permits

 D                                        Project Execution Plan Processes

 E                                        Project Schedule

 F-1                                      Milestone Payment Schedule

 F-2                                      Payment Plan

 G                                        Time and Materials Rates and Charges

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 I-1                                      Toshiba Parent Guaranty

 I-2                                      Shaw Parent Guaranty

 J                                        Price Adjustment Provisions

 K                                        Costs

 L                                        Net Electric Guarantee Conditions and Load List

 M-1                                      Software License

 M-2                                      AP1000 Intellectual Property License (WEC)

 M-3                                      AP1000 Intellectual Property License (S&W)

 N                                        Industry Codes and Standards

 O-1                                      Proprietary Data Agreement

 O-2                                      List of Intellectual Property Subject to Third Party
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 Exhibit                                  Description of Exhibit

 P-1                                      Major Subcontractors

 P-2                                      Subcontractors for Site Construction and Related Field
                                          Services

 Q                                        Equipment with Owner-Designated Witness and Hold
                                          Points

 R                                        Description of Site

 S                                        EEO and Small Business Regulations

 T                                        [Not Used]

 U                                        OCIP Description

 V                                        Limited Agency Agreement

 W                                        Extended Equipment Warranty Special Terms




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        ENGINEERING, PROCUREMENT AND CONSTRUCTION AGREEMENT

         This ENGINEERING, PROCUREMENT AND CONSTRUCTION AGREEMENT (the
 "Agreement") is entered into as of the 23rd day of May, 2008 (the "Effective Date"), by and
 between SOUTH CAROLINA ELECTRIC & GAS COMPANY ("SCE&G"), for itself and as
 agent for the South Carolina Public Service Authority, a body corporate and politic created by
 the laws of South Carolina ("Santee Cooper") pursuant to the Limited Agency Agreement
 between SCE&G and Santee Cooper dated May 23, 2008 attached hereto as Exhibit V (the
 "Limited Agency Agreement"); and a consortium consisting of WESTINGHOUSE ELECTRIC
 COMPANY LLC, a Delaware limited liability company having a place of business in
 Monroeville, Pennsylvania ("Westinghouse"), and STONE & WEBSTER, INC., a Louisiana
 corporation having a place of business in Charlotte, North Carolina ("Stone & Webster"). Except
 where the context otherwise requires, Westinghouse and Stone & Webster hereinafter are
 individually referred to as a "Consortium Member" and collectively as "Contractor". Without
 limiting the authority of SCE&G to act as agent on behalf of Santee Cooper as provided in
 Section 3.6(a) hereof, references herein to "Owner" shall mean each of SCE&G and Santee
 Cooper. Owner and Contractor may be referred to individually as a "Party" and collectively as
 the "Parties".

                                          RECITALS

         WHEREAS, Owner desires to develop, license, procure and have constructed a nuclear-
 fueled electricity generation facility;

        WHEREAS, Westinghouse is engaged in the business of designing, developing and
 supplying commercial nuclear facilities and has developed a pressurized water Nuclear Power
 Plant known as the AP1000 (the "AP1000 Nuclear Power Plant") for which the U.S. Nuclear
 Regulatory Commission has issued a Standard Design Certification in the form of a rule set forth
 in Appendix D to 10 C.F.R. Part 52;

         WHEREAS, Stone & Webster is engaged in the business of designing and constructing
 industrial and power generation facilities;

         WHEREAS, Westinghouse and Stone & Webster desire to assist Owner in the licensing
 of and to design, engineer, procure, construct, and test one or two AP1000 Nuclear Power Plants
 and related facilities, structures and improvements at the V.C. Summer station;

        WHEREAS, Owner and Contractor now desire to enter into this Agreement to provide
 for, among other things, the design, engineering, procurement and installation of equipment and
 materials, and construction and testing of the Facility;

        NOW, THEREFORE, in consideration of the recitals, the mutual promises herein and
 other good and valuable consideration, the receipt and sufficiency of which the Parties
 acknowledge, the Parties, intending to be legally bound, stipulate and agree as follows:
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                                  ARTICLE 1 – DEFINITIONS

 For purposes of this Agreement, the following words and expressions shall have the meanings
 hereby assigned to them, except where the context clearly indicates a different meaning is
 intended. These definitions may be supplemented by any definitions contained in any of the
 documents incorporated by reference herein, but in case of any conflict or inconsistencies, the
 definitions set forth below shall prevail:

 "AAA" means the American Arbitration Association.

 "Additional Amount" has the meaning set forth in Section 22.4(d).

 "AEA" means the Atomic Energy Act of 1954, as amended, 42 U.S.C. § 2011 et seq.

 "Affiliate" means, with respect to any Party, any other Person that (a) owns or controls, directly
 or indirectly, the Party, (b) is owned or controlled by the Party, or (c) is under common
 ownership or control with the Party, where "own" means ownership of fifty percent (50%) or
 more of the equity interests or rights to distributions on account of equity of the Party and
 "control" means the power to direct the management or policies of the Party, whether through
 the ownership of voting securities, by contract, or otherwise.

 "Agreement" has the meaning set forth in the first paragraph above and shall include all Exhibits,
 and amendments hereto (including Change Orders).

 "Ancillary Facilities" means the facilities, structures and improvements at the Site that are within
 Contractor's Scope of Work as provided in Exhibit A but are not part of a Unit.

 "AP1000 Facility Information" means the information within Contractor's Scope of Work, in the
 form of electronic databases, documents, and drawings that pertain to Facility design,
 engineering, licensing, analysis, installation, performance, testing, operation and maintenance
 and shall be maintained by Contractor. Collectively, this information, either directly or by
 reference, shall reflect the current approved AP1000 Nuclear Power Plant associated with
 Contractor's Scope of Work at any point in time. A portion of this information, as defined in
 Exhibit A, shall be provided to Owner via an Information Management System (IMS).

 "AP1000 Nuclear Power Plant" has the meaning set forth in the Recitals.

 "Arbitral Panel" has the meaning set forth in Section 27.5(b).

 "Bankruptcy Code" means the United States Bankruptcy Code, Title 11 of the United States
 Code.

 "Business Day" means every calendar day other than Saturday, Sunday or a legal holiday
 recognized by the State of South Carolina.

 "CCIP" has the meaning set forth in Section 16.2(a).

 "Chairman" has the meaning set forth in Section 27.5(b).


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 "Change" has the meaning set forth in Section 9.1.

 "Change Dispute" has the meaning set forth in Section 27.2.

 "Change Dispute Notice" has the meaning set forth in Section 27.2.

 "Change in Law" means (a) any adoption or change, after the Effective Date, of or in the judicial
 or administrative interpretation of any Laws (excluding any Laws relating to net income Taxes),
 which is inconsistent or at variance with any Laws in effect on the Effective Date, (b) the
 imposition after the Effective Date of any requirement for a new Governmental Approval or (c)
 the imposition after the Effective Date of any condition or requirement (except for any
 conditions or requirements which result from the acts or omissions of Contractor or any
 Subcontractor) not required as of the Effective Date affecting the issuance, renewal or extension
 of any Government Approval; that, in each case, is germane to the obligations of the Parties set
 forth in this Agreement.

 "Change Order" means the written agreement regarding a Change contemplated by Section 9.4.

 "Claim" has the meaning set forth in Section 27.1.

 "Combined License" or "COL" means the combined construction and operating license issued
 pursuant to 10 C.F.R. Part 52 for the Facility.

 "Combined License Application" or "COLA" means the COL application for the Facility at the
 Site that has been submitted to the NRC, as such application may be updated or changed from
 time to time.

 "Consortium Member" has the meaning set forth in the opening paragraph of this Agreement.

 "Construction and Installation Tests" means the tests conducted as provided in Section 11.2.

 "Construction Equipment" means equipment, machinery, materials and/or test equipment used in
 the excavation, civil work, mechanical/electrical installation and/or testing of the Facility, until
 such equipment is no longer needed for tasks associated with Contractor's Scope of Work, and
 which shall not become a permanent part of the Facility.

 "Contract Price" means the sum of the Firm Price, Fixed Price, Target Price and the Time and
 Materials Charges as set forth in Exhibit H.

 "Contractor" has the meaning set forth in the opening paragraph of this Agreement.

 "Contractor Disclosable Information" has the meaning set forth in Section 19.3(a).

 "Contractor Interests" means Contractor and its (or their) members, and its (or their) respective
 Affiliates, successors and assigns, including any tier of the foregoing, its (or their)
 Subcontractors (including suppliers) of any tier, and employees of all the foregoing, this being
 limited to any activity connected in any way with this Agreement.



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 "Contractor Non-Disclosable Information" has the meaning set forth in Section 19.3(a).

 "Contractor Permits" means the Governmental Approvals identified as Contractor Permits in
 Exhibit C.

 "Contractor's Project Director" means the Person whom Contractor designates in writing to
 administer this Agreement on behalf of Contractor.

 "Costs" has the meaning set forth in Exhibit K.

 "Credit Rating" has the meaning set forth in Section 8.6(b).

 "Day" as used in the Agreement means a calendar day and includes Saturdays, Sundays and legal
 holidays.

 "Delay Liquidated Damages" has the meaning set forth in Section 13.1.

 "Design Control Document" or "DCD" means the revision of the AP1000 Nuclear Power Plant
 Design Control Document, APP-GW-GL-700, that is in effect as of the Effective Date.

 "Documentation" means the documents that Contractor has agreed to provide in its Scope of
 Work as set forth in Exhibit A.

 "DOE" means the U.S. Department of Energy and its staff.

 "Effective Date" means the date of this Agreement first above written.

 "Employment Taxes" has the meaning set forth in Section 26.1.

 "Equipment" means machinery, computer hardware and its associated software, apparatus,
 components, articles, materials, systems and structures, and items of any kind that shall become a
 permanent part of the Facility to be provided by Contractor to Owner under this Agreement, but
 excluding the Nuclear Fuel.

 "Equipment Warranty" has the meaning set forth in Section 14.1(a)(i).

 "Exhibit" means each one of the documents Exhibit A through W annexed to this Agreement.

 "Existing Confidentiality Agreement" has the meaning set forth in Section 19.2(c)(i).

 "Extended Equipment Warranty" has the meaning set forth in Section 14.5.

 "Extended Equipment Warranty Period" has the meaning set forth in Section 14.5.

 "Facility" means the Unit or Units and the Ancillary Facilities, and is more fully described in
 Exhibit A.




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 "Facility Documentation" means the Documentation of the applicable Consortium Member plus,
 if not included within the Documentation, material and information within the possession or
 control of such Consortium Member or its Subcontractors and that Consortium Member has the
 right to transfer, sublicense or pass-through, that is reasonably necessary for a Qualified Entity to
 engage in the Unit Completion Purposes required to achieve the equivalent of Substantial
 Completion in relation to the Facility, including, without limitation, any listing and/or
 description of the AP1000 Nuclear Power Plant’s functional, operational and performance
 capabilities, all user, operator, system administrator, technical, support and other manuals, and
 listings of functional specifications, help files, flow charts, logic diagrams, accepted and as built
 plans, if any, blueprints, architectural and engineering drawings; in each case whether written,
 printed, electronic, or other format. Facility Documentation does not include software or its
 associated documentation that is the subject of Exhibit M-1, Software License.

 "Facility Manuals" means those manuals provided by Contractor for use by the Operator in
 connection with the operation and maintenance of the Facility.
 "Facility Purposes" has the meaning set forth in Section 19.2(b)(i).
 "Field Change" means a non-material change made to support installation that does not require a
 change to P&IDs, one-line electrical diagrams or the equipment arrangement drawings. Field
 changes are not contrary to the COL or the DCD, and are determined through a technical
 evaluation not to adversely affect the form, fit or function of the system, structure or component.

 "Final Completion" means that a Unit has achieved all the conditions set forth in Section 12.6.

 "Final Completion Punch List" has the meaning set forth in Section 12.5.

 "Final Payment Invoice" has the meaning set forth in Section 8.3.

 "Firm Price" means the portion of the Contract Price that is identified as Firm Price in Exhibit H
 as adjusted pursuant to Articles 7 and 9 and Exhibit J.

 "First Wave Customers" means Owner, Southern Company and its Affiliates, Duke Energy
 Corporation and its Affiliates, and Progress Energy, Inc. and its Affiliates.

 "Fixed Price" means the portion of the Contract Price that is identified as Fixed Price in Exhibit
 H, as adjusted pursuant to Article 9, but which is not subject to adjustment pursuant to Article 7.

 "Full Notice to Proceed" means the written notice that Owner gives to Contractor authorizing
 Contractor to proceed with the remainder of the Work, subject to the limitations set forth in
 Section 3.2(b).

 "G&A" means Stone & Webster's general and administrative costs as set forth in Exhibit G.

 "Good Industry Practices" means any of the practices, methods, standards and acts engaged in
 and generally acceptable to the nuclear power industry in the United States that, at a particular
 time, in the exercise of reasonable judgment in light of the facts known at the time a decision




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 was made could have been expected to accomplish the desired result consistent with good
 business practices, reliability, economy and safety.

 "Government Approval" means any authorization, consent, approval, clearance, license, ruling,
 permit, tariff, certification, exemption, filing, variance, order, judgment, no-action or no-
 objection certificate, certificate, decree, decision, declaration or publication of, notices to,
 confirmation or exemption from, or registration by or with any Government Authority relating to
 the design, engineering, procurement, construction, testing, financing, completion, ownership or
 operation of the Facility.

 "Government Authority" means any federal, state, county, city, local, municipal, foreign or other
 government or quasi-governmental authority or any department, agency, subdivision, court or
 other tribunal of any of the foregoing that has jurisdiction over Owner, Contractor, the Facility or
 the activities that are the subject of this Agreement.

 "Guaranteed Substantial Completion Date" for a Unit means the date set forth for such event in
 the Project Schedule as such date may be extended due to a Change or otherwise pursuant to the
 terms hereof.

 "Hazardous Materials" means any substance or material regulated or governed by any
 Governmental Authority, or any substance, emission or material now or hereafter deemed by any
 court or Government Authority having jurisdiction to be a "regulated substance", "hazardous
 substance", "toxic substance", "pesticide", "hazardous waste", or any similar classification,
 including by reason of deleterious properties, ignitability, corrosivity, reactivity, carcinogenicity,
 or reproductive toxicity, and shall include those substances defined as a "source", "special
 nuclear" or "by-product" material pursuant to Section 11 of the AEA (42 U.S.C. Section 2014 et
 seq.) and those substances defined as "residual radioactive material" in Section 101 of the
 Uranium Mill Tailings Radiation Control Act of 1978 (42 U.S.C. Sections 7901 et seq.).

 "Hold Point" means a critical step in a manufacturing or testing process beyond which
 Contractor or a Subcontractor cannot proceed except pursuant to the provisions in Section 5.6.

 "House Loads" means those loads which receive power from the low voltage side of the main
 step-up transformer and the unit auxiliary transformers.

 "Industry Codes and Standards" means the codes and standards set forth in Exhibit N.

 "Insolvent" means, with respect to a Person, that such Person (i) makes any general assignment
 or any general arrangement for the benefit of creditors, (ii) files a petition or otherwise
 commences, authorizes, defaults as to or acquiesces in the commencement of a case, petition,
 proceeding or cause of action under any bankruptcy, insolvency or similar law for the protection
 of debtors or creditors, or has such a case, petition, proceeding or cause of action involuntarily
 filed or commenced against it and such case, petition, proceeding or cause of action is not
 withdrawn or dismissed within sixty (60) Days after such filing, (iii) otherwise becomes
 adjudicated a debtor in bankruptcy or insolvent (however evidenced), (iv) is unable (or admits in
 writing its inability) generally to pay its debts as they become due, (v) is dissolved (other than
 pursuant to a consolidation, acquisition, amalgamation or merger), (vi) has a resolution passed


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 for its winding-up, official management or liquidation (other than pursuant to a consolidation,
 acquisition, amalgamation or merger), (vii) seeks, or becomes subject to the appointment of an
 administrator, provisional liquidator, conservator, assignee, receiver, trustee, custodian or other
 similar entity or official for all or substantially all of its assets, (viii) has a secured party take
 possession of all or substantially all of its assets or has a distress, levy, execution, attachment,
 sequestration or other legal process levied, enforced or sued on or against all or substantially all
 of its assets and such secured party maintains possession, or any such process is not dismissed,
 discharged, stayed or restrained, in each case within sixty (60) Days thereafter, (ix) causes or is
 subject to any event with respect to which, under the applicable laws of any jurisdiction, said
 event has an analogous effect to any of the events specified in clauses (i) to (viii) (inclusive); or
 (x) takes any action in furtherance of, or indicating its consent to, approval of, or acquiescence
 in, any of the foregoing acts.

 "Invitees" means, with respect to a Person, such personnel or other Persons as have been
 permitted entry onto the Site by such Person.

 "ITAAC" means the NRC inspections, tests and analyses and their associated acceptance criteria
 which are approved and issued for the Facility pursuant to 10 C.F.R. § 52.97(b)(1).

 "Joint Test Working Group" has the meaning set forth in Section 11.1(b).

 "Labor Shortage" means that the number of appropriately skilled, qualified, trained and
 experienced personnel sufficient to maintain the Project Schedule is not available at cost
 acceptable to Owner where the Work is to be completed.

 "Law" means (a) any constitution, statute, law, rule, regulation, code, treaty, ordinance,
 judgment, decree, writ, order, concession, grant, franchise, license, agreement, directive,
 requirement, or other governmental restriction or any similar form of decision of or
 determination by, or any binding interpretation or administration of any of the foregoing by, any
 Government Authority, whether now or hereafter in effect or (b) any requirements or conditions
 on or with respect to the issuance, maintenance or renewal of any Government Approval or
 applications therefore, whether now or hereafter in effect.

 "Licensing Basis" means the NRC requirements applicable to the Facility as set forth in, until
 such time as the COL is issued, the DCD and, upon its issuance, the COL.

 "Lien" means any lien, mortgage, pledge, encumbrance, charge, security interest, option, right of
 first refusal, other defect in title or other restriction of any kind or nature.

 "Limited Agency Agreement" has the meaning set forth in the opening paragraph of this
 Agreement.

 "Limited Notice to Proceed" means the written notice that Owner gives to Contractor authorizing
 Contractor to proceed with the Work in a limited manner in accordance with Section 3.2(a).

 "Long Lead Material Payment" means the initial payment equal to seventy million dollars
 (($70,000,000) received by Contractor from Owner for the reactor vessel, reactor vessel


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 internals, steam generators, reactor coolant pumps, pressurizer, accumulator tanks, core make-up
 tanks, passive RHR heat exchanger, reactor coolant loop hot leg, squib valves, control rod drive
 mechanisms, integrated head package, containment vessel and CA 20 modules.

 "Maintenance Procedures" means the procedures, written or electronic, required to perform
 predictive, corrective, and preventive maintenance of the Facility systems, components and
 structures, and those procedures required for calibration and testing of instrumentation and
 measurement systems and other components that are required for operation and maintenance of
 the Facility.

 "Major Equipment" means the following equipment: steam generators, reactor vessel and reactor
 vessel head, control rod drive mechanisms, main turbine, main turbine generator, turbine
 deaerator, reactor coolant pumps, containment vessel, cooling towers, main turbine condenser,
 reactor internals, main step-up transformers, pressurizer, diesel generators, feedwater pumps,
 circulating water pumps, polar crane, core makeup tanks, moisture separator reheaters, and any
 other equipment for which the contract(s) with the Subcontractor is for an amount in excess of
 $10,000,000 or that Owner and Contractor agree shall be designated as Major Equipment.

 “Major Equipment Purchase Order” has the meaning set forth in Section 3.7(c)(i).

 “Major Equipment Vendor” has the meaning set forth in Section 3.7(c)(i).

 "Major Subcontract" means a contract with a Major Subcontractor.

 "Major Subcontractor" means the Subcontractors (or category of Subcontractors) identified on
 Exhibit P-1. For the avoidance of doubt, Major Subcontractors may include, but are not limited
 to, suppliers of Major Equipment.

 "Mandatory Spare Parts" means those items to be identified in Exhibit A as Mandatory Spare
 Parts and required to support initial plant startup and to perform routine maintenance of the
 Equipment during the first two (2) years of plant operation.

 "Maximum Liability Amount" has the meaning set forth in Section 17.2.

 "Member" has the meaning set forth in Section 27.5(b).

 "Milestone" means an event or series of events in the execution of the Work as set forth in
 Exhibit F-1.

 "Milestone Payment" means the payment due with respect to a completed Milestone.

 "Milestone Payment Schedule" means the Milestone Payment Schedule set forth in Exhibit F-1.

 "Net Unit Electrical Output" means the electrical power of the Unit measured at the high side of
 the step-up transformer, with the conditions as stated in Exhibit L.

 "Net Unit Electrical Output Guarantee" has the meaning set forth in Section 11.6.



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 "Net Unit Electrical Output Test" has the meaning set forth in Section 11.5(b).

 "NRC" means the U.S. Nuclear Regulatory Commission and its staff.

 "Non-Standard Plant" means the portions of the Facility that are not part of the Standard Plant.

 "Nuclear Fuel" means fabricated nuclear fuel and services meeting the principal design
 requirements referenced in the DCD.

 "Nuclear Incident" means any occurrence that causes bodily injury, sickness, disease or death, or
 loss of or damage to property, or loss of use of property, arising out of or resulting from the
 radioactive, toxic, explosive, or other hazardous properties of source material, special nuclear
 material, or by-product material which is used in connection with the operation of the Facility.
 "Source material", "special nuclear material", and "by-product material", as applicable to this
 Agreement shall have those meanings assigned by the AEA.

 "NuStart" means NuStart Energy Development, LLC.

 "OCIP" has the meaning set forth in Section 16.2(a).

 "Operating Procedures" means the procedures, written or electronic, required to operate the
 AP1000 Nuclear Power Plant under normal, abnormal, emergency, shutdown, or startup
 conditions.

 "Operational Cycle" means, as to the first such cycle, the time period from the first fueling of a
 Unit until the Unit has achieved the conditions required to be met for performance of the Net
 Unit Electrical Output Guarantee after the first Nuclear Fuel reload, and for subsequent cycles,
 the time period from the end of an Operational Cycle until the beginning of the next one. For the
 avoidance of doubt, the foregoing does not mean that the Net Unit Electrical Output Test shall be
 re-performed at the end of an Operational Cycle.

 "Operator" means Operator of a Unit and/or the Facility, it being understood that Contractor
 shall not be deemed to be the Operator of a Unit and/or the Facility under any circumstances.

 "Optional Spare Parts" means those items that may be required to perform major maintenance of
 the Equipment, such as periodic overhaul, or that could fail based on industry experience and for
 which replacement parts may require longer lead times to obtain from the original equipment
 manufacturers.

 "OSHA" has the meaning set forth in Section 23.3.

 "OSHA Standards" has the meaning set forth in Section 23.3(b).

 "Other Customer" has the meaning set forth in Section 6.2.

 "Owner" has the meaning set forth in the opening paragraph of this Agreement.

 "Owner Letter of Credit" has the meaning set forth in Section 8.6(d).


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 "Owner Permits" means the Government Approvals identified as Owner Permits in Exhibit C.

 "Owner's Engineer" means the Person(s) designated by Owner to perform services for Owner in
 connection with the Facility and solely for Facility Purposes, who is (are) subject to the prior
 written approval of Contractor (such approval not to be unreasonably withheld, conditioned or
 delayed) and who has entered into a non-disclosure agreement with Owner relative to Facility
 Documentation, substantially on the terms of Exhibit O-1. Notwithstanding the above, no
 written approval is required from Contractor for Owner to designate an Owner’s Engineer in the
 event of a termination of the Agreement under Section 22.2(a).

 "Owner's Project Director" means the Person who Owner designates in writing to act on behalf
 of Owner under this Agreement.

 "P&IDs" means piping and instrumentation diagrams.

 "Party" and "Parties" has the meaning set forth in the opening paragraph of this Agreement.

 "Payment Plan" has the meaning set forth in Section 8.1(a).

 "Performance Bonus" has the meaning set forth in Section 13.3.

 "Performance Liquidated Damages" means the liquidated damages paid pursuant to Section 13.2
 for failure to meet the Net Unit Electrical Output Guarantee.

 "Performance Liquidated Damages Cap" has the meaning set forth in Section 13.2.

 "Performance Test" means the tests conducted as provided in Section 11.5.

 "Person" means any individual, corporation, company, partnership, joint venture, association,
 trust, unincorporated organization or Government Authority.

 "Personnel" means, with respect to a Person, such Person's employees, officers, directors, agents,
 personnel, representatives, subcontractors of any tier (including, for Contractor, its
 Subcontractors), vendors and any other third party independent contractors with whom such
 Person has contracted.

 "Phase I" means the portion of the Work described in Section 3.2(a).

 "Phase II" means the portion of the Work described in Section 3.2(b).

 "PQAP" has the meaning set forth in Section 5.1(a).

 "PQAPIP" has the meaning set forth in Section 5.1(a).

 "Preoperational Test Completion" has the meaning set forth in Section 12.2(b).

 "Preoperational Test Group" has the meaning set forth in Section 11.3(b).



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 "Preoperational Tests" means the tests conducted as provided in Section 11.3.

 "Price Adjustment Provisions" means the terms set forth in Article 7 and Exhibit J.

 "Prime Rate" means, as of a particular date, the prime rate of interest as published on that date in
 The Wall Street Journal, and generally defined therein as "the base rate on corporate loans posted
 by at least 75% of the nation's 30 largest banks." If The Wall Street Journal is not published on a
 date for which the interest rate must be determined, the prime interest rate shall be the prime rate
 published in The Wall Street Journal on the nearest-preceding date on which The Wall Street
 Journal was published. If The Wall Street Journal discontinues publishing a prime rate, the
 prime interest rate shall be the prime rate announced publicly from time to time by Bank of
 America, N.A. or its successor.

 "Pro Rata Profit" means the portion of the Profit that is associated with a specific portion of the
 Work.

 "Profit" means the aggregate of the Profit for each Consortium Member for each element of the
 Contract Price as determined pursuant to Section H.2.7 of Exhibit H as of the Effective Date.

 "Project Execution Plan" means the plan to be developed by Contractor and approved by Owner
 as provided in Section 3.5(h) setting forth the processes and procedures that shall enable the
 Work to be managed in an effective and efficient manner and in accordance with the
 requirements of this Agreement.

 "Project Schedule" means the schedule of key dates for completion of the Work as set forth in
 Exhibit E.

 "Proprietary Data" means the terms of this Agreement and any and all information, data,
 software, matter or thing of a secret, confidential or private nature relating to the business of the
 disclosing Party or its Affiliates, including matters of a technical nature (such as know-how,
 processes, data and techniques), matters of a business nature (such as information about costs,
 profits, markets, sales, customers, suppliers, the Parties' contractual dealings with each other and
 the projects that are the subject-matter thereof), matters of a proprietary nature (such as
 information about patents, patent applications, copyrights, trade secrets and trademarks), other
 information of a similar nature, and any other information which has been derived from the
 foregoing information by the receiving Party; provided, however, that Proprietary Data shall not
 include information which: (a) is legally in possession of the receiving Party prior to receipt
 thereof from the other Party; (b) the receiving Party can show by suitable evidence to have been
 independently developed by the receiving Party or its employees, consultants, affiliates or
 agents; (c) enters the public domain through no fault of the receiving Party or others within its
 control; (d) is disclosed to the receiving Party, without restriction or breach of an obligation of
 confidentiality to the disclosing Party or (e) is legally required to be disclosed; provided that the
 receiving Party subject to such a requirement uses its reasonable best efforts to notify the other
 Party of any request or subpoena for the production of any Proprietary Data and provides such
 Party with an opportunity to resist such a request or subpoena.

 "Qualified Entity" has the meaning set forth in Exhibit M-2.


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 "Quality Assurance Program" has the meaning set forth in Section 5.1(a).

 "Ready for Performance Test Date" has the meaning set forth in Section 11.5(c).

 "Ready for Startup Test Date" has the meaning set forth in Section 11.4(c).

 "Recipient" has the meaning set forth in Section 19.2(c)(i).

 "Recoverable Costs" has the meaning described in Exhibit K.

 "Sales Tax" means any sales, use or similar tax imposed on Contractor, any Subcontractor or
 Owner with respect to the Work by any Government Authority.

 "Santee Cooper" has the meaning set forth in the opening paragraph of this Agreement.

 "SCE&G" has the meaning set forth in the opening paragraph of this Agreement.

 "Scope of Work" means the scope of work and supply and division of responsibilities between
 Owner and Contractor set forth in Exhibit A.

 "Screening Measures" has the meaning set forth in Section 24.1.

 "Services" means all labor, transportation, packaging, storage, designing, drawing, creating,
 engineering, demolition, Site preparation, manufacturing, construction, commissioning,
 installation, testing, equipping, verification, training, procurement, Documentation, licenses to
 intellectual property or otherwise and other work, services and actions (including pursuant to any
 warranty obligations) to be performed by Contractor hereunder (whether at the Site or otherwise)
 in connection with, or relating to, the Facility (or any component thereof, including any
 Equipment).

 "Services Warranty" has the meaning set forth in Section 14.2.

 "Services Warranty Period" has the meaning set forth in Section 14.2.

 "SGA" means Westinghouse's sales, general and administrative costs developed as provided in
 Section H.2.5 of Exhibit H.

 "Shaw" means The Shaw Group, Inc.

 "Site" means the premises (or portion thereof) owned or leased by Owner on which the Facility
 shall be located, and including any construction laydown areas, as more specifically described in
 Exhibit R.

 "Software" has the meaning set forth in Exhibit M.

 "Specifications" means the design specifications and drawings, and changes thereto, prepared by
 Contractor or its Subcontractors for the design, engineering and construction of the Facility.



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 "SSDs" has the meaning set forth in Section 19.3(b)(viii).

 "Standard Equipment Warranty Period" has the meaning set forth in Section 14.1(a)(ii).

 "Standard Plant" means the plant design features and buildings or structures in the scope of the
 AP1000 Nuclear Power Plant certification as shown in the DCD Site Plan, Figure 1.2-2.

 "Startup Test Completion" has the meaning set forth in Section 12.3(b).

 "Startup Test Group" has the meaning set forth in Section 11.4(b).

 "Startup Tests" means the tests conducted as provided in Section 11.4.

 "Stone & Webster" has the meaning set forth in the opening paragraph of this Agreement.

 "Stone & Webster Bond" has the meaning set forth in Section 8.6(b).

 "Subcontract" means any contract, purchase order or other writing between Contractor and any
 Subcontractor under which the Subcontractor performs or provides any portion of the Work.

 "Subcontractor" means (a) any Person other than Contractor performing or providing any portion
 of the Work, whether hired directly by Contractor or by a Person hired by Contractor and
 including every tier of subcontractors, sub-subcontractors and so forth, and (b) any Person
 providing or supplying all or a portion of the equipment or materials and supplies required by
 any Person performing or providing any portion of the Work to perform or provide the Work,
 whether or not incorporated into the Facility, including, any materialman, vendor or supplier,
 whether hired directly by Contractor or by a Person hired by Contractor and including every tier
 of subcontractors, sub-subcontractors and so forth.

 "Substantial Completion" means that a Unit shall have achieved all the conditions set forth in
 Section 12.4.

 "Substantial Completion Date" means the date on which Substantial Completion has occurred.

 "Target Price" means the portion of the Contract Price identified as Target Price as set forth in
 Exhibit H, and as such amount is adjusted pursuant to the terms hereof.

 "Target Price Basis" means that Contractor shall be compensated for the charges for Personnel,
 Services and Equipment, materials and other expenses pursuant to Section H.2.2. of Exhibit H.

 "Target Price Work" means Work performed on a Target Price Basis.

 "Taxes" means all present and future license, documentation, recording and registration fees, all
 taxes (including income, gross receipts, unincorporated business income, payroll, sales, use,
 personal property (tangible and intangible), real estate, excise and stamp taxes), levies, imports,
 duties, assessments, fees (customs or otherwise), charges and withholdings of any nature
 whatsoever, and all penalties, fines, additions to tax, and interest imposed by any Government
 Authority.


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 "Technical Support" includes providing qualified manpower and furnishing of technical
 guidance, advice and counsel with respect to Owner or its Personnel at the Site, and includes
 recommending a course of action with respect to Owner's operation of a Unit or the Facility
 based upon current design, engineering, construction and testing practices, but does not include
 or require any supervision, regulation, control, arbitration or measurement of Owner's Personnel.

 "Termination Costs" means with respect to a termination under Section 22.3, 22.4, or 22.5, the
 aggregate of the following costs: (a) for Westinghouse, (i) the Recoverable Costs, not yet paid,
 that were incurred by Westinghouse prior to the date of notice of termination and (ii) the
 Recoverable Costs incurred by Westinghouse to bring the Work to an orderly conclusion,
 including the costs to demobilize and cancel Equipment or material orders placed, and including
 but not limited to cancellation charges paid by Westinghouse to third parties plus (iii) SGA and
 Pro Rata Profit on the amounts in (i) and (ii), and (b) for Stone & Webster, (i) any amounts, not
 yet paid, that are due for Work performed by Stone & Webster prior to the date of notice of
 termination and (ii) charges on a Time and Materials Basis incurred by Stone & Webster to bring
 the Work to an orderly conclusion, including the costs to demobilize and cancel Equipment or
 material orders placed, and including but not limited to cancellation charges paid by Stone &
 Webster to third parties. All such expenses, proceeds and payment shall be substantiated by
 documentation reasonably satisfactory to Owner and subject to audit as set forth in Article 25.

 "Third Party Claim" means any claim, demand or cause of action of every kind and character by
 any Person other than Owner or Contractor.

 "Threshold Amount" means (i) for a monetary Claim, that a Party has in good faith alleged that
 such Claim involves an amount in controversy of greater than Twenty-Five Million Dollars
 ($25,000,000) and/or (ii) for a Claim involving an adjustment to the Project Schedule, that a
 Party has in good faith alleged that such Claim involves an adjustment to the Project Schedule in
 excess of seventy-five (75) Days. If a Claim alleges both an amount and adjustment to the
 Project Schedule in controversy, such Claim will fall below the Threshold Amount only if both
 (i) the amount in controversy is equal to or less than Twenty-Five Million Dollars ($25,000,000)
 and (ii) the adjustment to the Project Schedule in controversy is equal to or less than seventy-five
 (75) Days.

 "Time and Materials Basis" means that Contractor shall be compensated for the charges for
 Personnel and Equipment, materials and other expenses pursuant to Section H.2.3 of Exhibit H,
 using the rates and charges in Exhibit G.

 "Time and Materials Charges" means the portion of the Contract Price identified as Time and
 Materials Charges, as set forth in Exhibit H.

 "Time and Materials Work" means Work performed on a Time and Materials Basis.

 "Toshiba" means Toshiba Corporation.

 "Turnover" has the meaning set forth in Section 12.1(a).




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 "Uncontrollable Circumstance" means any event or condition beyond the reasonable control of a
 Party despite its reasonable efforts to prevent, avoid, delay or mitigate such acts, events or
 occurrences, which prevents, impacts or delays a Party from performing its obligations under this
 Agreement, including but not limited to the following:

                (a)     An act of God, including landslide, lightning, earthquake, fire, explosion,
 storm, flood, unusual or severe weather conditions, including hurricanes, tornadoes; and any
 precautionary actions taken in connection therewith;

                (b)    Acts of a public enemy, war, blockade, embargo, insurrection, riot or civil
 disturbance, sabotage or similar occurrence or any exercise of the power of eminent domain,
 police power, any act of terrorism, epidemic, condemnation or other taking by or on behalf of
 any public, quasi-public or private entity; any strike or other concerted labor actions; and any
 precautionary action or evacuation taken in connection with any of the foregoing;

                (c)     The suspension, termination, interruption, denial, delay in obtaining or
 failure of renewal or issuance of any Government Approval relating in any way to the Work or
 operation of the Facility that is not the result of willful or negligent action by the Party claiming
 the Uncontrollable Circumstance;

                 (d)     An order or other action by a Government Authority that is not the result
 of willful or negligent action by the Party claiming the Uncontrollable Circumstance;

                 (e)     Labor Shortage; provided; however, the circumstances described in the
 definition of Labor Shortage shall not be considered a "Labor Shortage" to the extent they are the
 result of Contractor's failure to take commercially reasonable steps to plan for the needed work
 force in advance of the project staffing (e.g., prepare estimates of the labor requirements and
 advertise, recruit and train in accordance with industry practices); or

               (f)    Delays due to accidents in shipping or transportation provided that such
 accidents are not the result of negligence or willful misconduct by the Party claiming
 Uncontrollable Circumstance.

 Westinghouse’s obligations under those certain “Preferential Rights Agreements”, each of which
 requires that Westinghouse give preference to the completion date for an AP1000 Nuclear Power
 Plant facility of another customer upon the occurrence of certain procedures as set forth therein,
 shall not constitute an Uncontrollable Circumstance.

 "Unit" means each AP1000 Nuclear Power Plant to be constructed hereunder at the Site. "First
 Unit" or "Unit 2" refers to the first such Unit to be constructed and "Second Unit" or "Unit 3"
 refers to the second such Unit to be constructed.

 "Unit Completion Purposes" has the meaning set forth in Exhibit M-2.

 "Unit Mechanical Completion" has the meaning set forth in Section 12.2(a).

 "Warranties" means the obligations of Contractor under Article 14.



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 "Warranty" refers to either the Equipment Warranty or the Services Warranty, as the case may
 be.

 "Warranty Period" means the Standard Equipment Warranty Period or Extended Equipment
 Warranty Period, as applicable.

 "Westinghouse" has the meaning set forth in the opening paragraph of this Agreement.

 "Westinghouse Bond" has the meaning set forth in Section 8.6(c).

 "Whistleblower Provisions" has the meaning set forth in Section 24.4.

 "Witness Point" means a critical step in a manufacturing or testing process that is subject to
 witnessing by Owner or its authorized representative in accordance with the procedures set forth
 in Section 5.6.

 "Work" means the supervision, labor, Services, material, equipment, tools, vehicles,
 transportation, storage, design, engineering, procurement, site preparation, construction,
 installation, equipping, testing, and other things and actions to be supplied by or through
 Contractor necessary to furnish and install the Facility at the Site consistent with Contractor's
 Scope of Work and necessary to bring the Unit(s) to Final Completion subject to and in
 accordance with the terms of this Agreement.

                              ARTICLE 2 – INTERPRETATION

 A.      Titles, headings, and subheadings of the various articles and paragraphs of this
 Agreement are used for convenience only and shall not be deemed to be a part thereof or be
 taken into consideration in the interpretation or construction of this Agreement.

 B.     Words importing the singular only shall also include the plural and vice versa where the
 context requires. Words in the masculine gender shall be deemed to include the feminine gender
 and vice versa.

 C.    Unless the context otherwise requires, any reference to a document shall mean such
 document as amended, supplemented or otherwise modified and in effect from time to time.

 D.     Unless otherwise stated, any reference to a party shall include its successors and
 permitted assigns, and any reference to a Government Authority shall include any entity
 succeeding to its functions.

 E.      Wherever a provision is made in this Agreement for the giving of notice, consent or
 approval by any person, such notice, consent or approval shall be in writing, and the word
 "notify" shall be construed accordingly.

 F.     This Agreement and the documentation to be supplied hereunder shall be in the English
 language.




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 G.      Unless the context requires otherwise, with regard to general oversight of the Work,
 review of the drawings and Specifications and other documents, access to the Site and Work and
 other similar rights of Owner, the term Owner shall mean the Owner's Project Director or his
 designee. Unless the context requires otherwise any reference contained herein to this
 Agreement or any other agreement or any schedule, Exhibit or attachment hereto or thereto shall
 mean this Agreement or such other agreement or such schedules, Exhibits and attachments, as
 they may be amended or supplemented, unless otherwise stated.

 H.     Words and abbreviations not otherwise defined in this Agreement which have well-
 known nuclear industry meanings in the United States are used in this Agreement in accordance
 with those recognized meanings.

 I.      Neither Contractor nor Owner shall assert or claim a presumption disfavoring the other
 by virtue of the fact that this Agreement was drafted primarily by legal counsel for the other, and
 this Agreement shall be construed as if drafted jointly by Owner and Contractor and no
 presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
 authorship of any of the provisions of this Agreement.

 J.    In the event the due date for any payment falls on a day that is not a Business Day,
 payment shall be due on the next Business Day.

                               ARTICLE 3 – SCOPE OF WORK

        3.1      General.    Contractor shall perform the Work identified as Contractor's
 responsibility in the Scope of Work (Exhibit A). The Work shall be performed in two phases, as
 more fully described in Section 3.2. Owner, as licensee under the COL, shall be ultimately
 responsible for the execution of all obligations and responsibilities under such COL; provided,
 however, that the Parties agree and acknowledge that Owner’s responsibility under the COL does
 not relieve Contractor of any its obligations and responsibilities in the performance of
 Contractor’s Work under the Agreement as described more fully herein.

         3.2     Phases of the Work.

                (a)     Phase I. Phase I of the Work shall consist of Contractor's engineering
 support and other services required by Owner to support Owner's licensing efforts for the
 Facility (including receipt of approvals from the Public Service Commission of the State of
 South Carolina), continuation of design work (other than design work performed under the
 NuStart program), project management, engineering and administrative support to procure long
 lead time Equipment, the procurement of long lead time Equipment, construction mobilization
 and Site preparation work, all as more specifically described in Exhibit A. Phase I shall
 commence upon the Effective Date and shall continue until the earlier of issuance of the Full
 Notice to Proceed or termination of this Agreement in accordance with Article 22; provided,
 however, that Phase I Site Work must be authorized by Owner pursuant to one or more Limited
 Notices to Proceed. By mutual agreement of the Parties as set forth in a Change Order issued
 pursuant to Article 9, additional Site Work identified as part of Phase II in the Scope of Work
 may be moved to Phase I and authorized by Owner to proceed by means of an additional Limited
 Notice to Proceed. In the event that any Phase I Work that was commenced under separate


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 purchase orders between Owner and one or both of the Consortium Members (the "Purchase
 Orders") remains to be completed as of the Effective Date, then as of June 1, 2008, the Purchase
 Orders shall be terminated and the remaining work thereunder will be subsumed by this
 Agreement.

                (b)     Phase II. Phase II of the Work shall consist of the remainder of the Work
 as described in Exhibit A, to commence upon issuance of a notice (the "Full Notice to Proceed")
 and to continue until Final Completion unless the Agreement is earlier terminated in accordance
 with Article 22. The Parties acknowledge that the Full Notice to Proceed will not be issued
 unless and until the COL is received.

         3.3     Project Schedule.

               (a)     A Project Schedule is attached to this Agreement as Exhibit E. The
 Project Schedule includes milestones for key activities, such as the placement of orders for long
 lead-time Equipment. Contractor shall update the Project Schedule quarterly prior to the
 commencement of on-Site construction work and monthly thereafter to reflect the most current
 information concerning the scheduled Milestones and provide the updated Project Schedule to
 Owner for its review and comment. Contractor shall, to the extent such matters are within its
 reasonable control, allocate resources and place Equipment orders in such a manner that will
 enable Contractor to meet the agreed date for Substantial Completion of the Units as shown in
 the Project Schedule. Except as otherwise permitted hereunder, Contractor shall not take any
 action to give priority to the requested completion date of another customer for an AP1000
 Nuclear Power Plant required under a contract between Contractor and such customer if, by
 taking such action to give priority to such other customer, Contractor shall not be able to meet
 the Guaranteed Substantial Completion Date of a Unit. Subject to the preceding sentences,
 Changes to the Guaranteed Substantial Completion date(s) shall be in accordance with Article 9
 of this Agreement.

                 (b)    If Owner desires to cancel the Second Unit, it shall provide written notice
 of such intent to Contractor on or before issuance of the Full Notice to Proceed. The Guaranteed
 Substantial Completion Dates of the First Unit and Second Unit are April 1, 2016, and January
 1, 2019, respectively. The nuclear island concrete basemat shall be poured prior to December
 31, 2013 on both Units. The Guaranteed Substantial Completion Dates are based on a Full
 Notice to Proceed being received no later than fifty-four (54) months prior to the Guaranteed
 Substantial Completion Date for the First Unit, at which time first safety-related concrete must
 be placed. Prior to placing the first safety-related concrete, preparatory work, including the mud
 mat and rebar placement must be performed. Should the NRC review schedule for the COLA not
 support this schedule, Contractor shall be entitled to a Change Order pursuant to Article 9. In
 preparing such Change Order, the Parties will work toward the goal of maintaining the
 Guaranteed Substantial Completion Dates as stated above.

         3.4     Not Used.




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         3.5     Contractor Responsibilities.

                (a)    Industry Standards. Subject to Article 9, Contractor shall perform and
 complete its obligations under this Agreement in accordance with applicable Laws, this
 Agreement, Industry Codes and Standards, and Good Industry Practices. In the event of any
 conflict between any of the authorities in the foregoing sentence, applicable Laws shall control
 over the terms of this Agreement, Good Industry Practices and Industry Codes and Standards;
 the terms of this Agreement shall control over Good Industry Practices and Industry Codes and
 Standards; and Industry Codes and Standards shall control over Good Industry Practices.

                (b)     Contractor's Key Personnel. Exhibit B contains a chart of Contractor's
 intended organization for its performance under this Agreement, including those positions to be
 designated as "key" management for the performance of the Work. For such key management
 positions, Contractor shall provide Owner with the resumes of the persons filling such positions
 for Owner's approval, which shall not be unreasonably withheld. Once Owner has approved any
 such person, Contractor shall not remove such person for its key management position described
 in Exhibit B without Owner's consent, which shall not be unreasonably withheld. If at any time
 during the performance of the Work, any of Contractor's personnel becomes, for any reason,
 unacceptable to Owner, then, upon notice from Owner, Contractor shall replace such
 unacceptable individual with an individual reasonably acceptable to Owner. Contractor's Project
 Director shall act as Contractor's liaison with Owner and shall have the authority to administer
 and manage this Agreement on behalf of Contractor, subject to any limitations on such authority
 notified by Contractor to Owner in writing.

                (c)     AP1000 Facility Information. The AP1000 Facility Information shall be
 controlled and maintained by Contractor for such period of time as is required pursuant to
 Contractor's Quality Assurance Program or, for information not covered by such Quality
 Assurance Program in accordance with Contractor’s document retention procedures. The
 AP1000 Facility Information shall contain Facility deliverable documents and information, either
 directly or by reference. A means to access and print out documentation and information in the
 AP1000 Facility Information shall be made available to Owner through an information
 management system. Documentation required to be provided to Owner as set forth in Exhibit A
 shall be provided in accordance with the Project Schedule.

                 (d)     Control of Work. Contractor shall be solely responsible for all
 construction means, methods, techniques, sequences, procedures, safety and quality assurance,
 and quality control programs in connection with the performance of Contractor's Work. Under
 the conditions stated in Section 3.1 of this Agreement, Owner, as licensee under the COL, shall
 be ultimately responsible for the execution of all obligations and responsibilities under such
 COL. As such and under this Agreement, Owner has delegated to Contractor the overall control
 and implementation of all aspects of the Work. Accordingly, Contractor will develop a Project
 Execution Plan as provided in Section 3.5(h) which will identify all necessary interfaces between
 Contractor and Owner to assure that each Party can adequately fulfill its respective
 responsibilities under this Agreement and the applicable regulatory requirements.

                (e)     Emergencies. In the event of any emergency endangering life or property,
 Contractor shall take all actions as may be reasonable and necessary to prevent, avoid or mitigate


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 injury, damage or loss and shall promptly report each such emergency, and Contractor's
 responses thereto, to Owner. In any event, Contractor shall use commercially reasonable efforts
 to report an emergency to Owner in sufficient time to allow Owner to make any required reports
 to any Government Authority in accordance with applicable Laws.

                 (f)     Office Facilities. During construction, Contractor shall provide Owner
 with office facilities on the Site as specified in Exhibit A.

                 (g)    Periodic Reports and Meetings.

                       (i)     Status Report. On a monthly basis, Contractor shall submit to
 Owner a written status report covering the prior month. The report shall be prepared in a format
 reasonably acceptable to Owner, and, for Work performed on a Time and Materials Basis or
 Target Price Basis, shall be based on a time phased budget, at the cost account level, against
 which program performance can be measured. The report also shall include (w) a description of
 the progress of the Work, (x) a statement of any significant issues which remain unresolved and
 Contractor's recommendations for resolving the same, (y) a summary of any significant Facility
 events which are scheduled or expected to occur during the following interval, and (z) additional
 information reasonably requested by Owner.           The monthly report may be delivered
 electronically.

                       (ii)    Attendance and Participation. From the Effective Date until Final
 Completion, Contractor shall attend and participate in regular meetings with Owner which shall
 occur monthly (or upon such other interval as the Parties agree) for the purpose of discussing the
 status of the Work and anticipating and resolving any problems. Such meetings may be held by
 conference call or video conference. Contractor shall prepare and promptly deliver to Owner
 written minutes of each meeting, to which Owner shall respond in writing within a reasonable
 time if it has any comments.

                         (iii)   Schedule Requirements; Updates. Contractor shall prepare and
 make available to Owner following the Effective Date, at the Site or such other location mutually
 agreed upon by the Parties, a current Project Schedule depicting critical path activities and
 illustrating the progress which has been made on the Work against such schedule, including
 critical path activities interconnected by schedule logistics, for Owner's review and comment.
 Unless otherwise mutually agreed upon by the Parties, Contractor shall revise and update the
 Project Schedule quarterly prior to the commencement of on-Site construction work and monthly
 thereafter and shall provide a copy to Owner, which may be provided electronically; provided,
 however, that the Guaranteed Substantial Completion Dates for the Units shall not be revised
 other than pursuant to Article 9. Portions of the schedule may be updated weekly to provide
 information necessary to support weekly invoices (if applicable). Such partial updates shall not
 be deemed to imply an update to the entire Project Schedule.

                (h)    Within sixty (60) Days following the Effective Date, Contractor shall
 provide a Project Execution Plan as described in Exhibit D to Owner for its review and approval.

              (i)   Contractor shall provide Owner with documentation to support Owner's
 compliance with Federal Energy Regulatory Commission and South Carolina Public Service


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 Commission cost reporting requirements. The detailed process to provide this documentation
 shall be included in the Project Execution Plan, using the guidelines provided in Exhibit H.

         3.6    Owner's Responsibilities. Owner shall perform the responsibilities set forth in
 this Article and elsewhere in this Agreement, including Exhibit A, at its own expense and at
 those times as may be required by this Agreement for the successful completion of the Work in
 accordance with the Project Schedule.

                 (a)    Appointment of Agent. Santee Cooper has appointed SCE&G as its agent
 pursuant to the Limited Agency Agreement, which is attached hereto as Exhibit V, for all
 purposes under this Agreement, with the power and authority to bind Santee Cooper to its
 obligations herein, subject to the limitations specifically set forth in the Limited Agency
 Agreement. Owner shall notify Contractor promptly in writing if there is any change in the
 limits of SCE&G's authority set forth in the Limited Agency Agreement. Contractor shall have
 the right to rely on any representation by SCE&G that it has the authority to act on behalf of
 Santee Cooper with respect to any and all matters pertaining to this Agreement, except with
 respect to those matters where Santee Cooper’s prior written consent is required under the
 Limited Agency Agreement. With respect to those matters set forth in the Limited Agency
 Agreement, where Santee Cooper’s prior written consent is required, SCE&G shall provide
 Contractor with evidence of Santee Cooper's written consent to any actions taken by SCE&G in
 connection with such matters.

                (b)    Owner's Representative. Owner shall appoint Owner's Project Director
 (and shall have the right to appoint any successor or replacement Project Director) with whom
 Contractor may consult at all reasonable times, and whose instructions, requests and decisions
 shall be binding upon Owner as to all matters pertaining to this Agreement.

                 (c)    Access. From and after the time the Project Schedule indicates that
 Contractor is required to have access to the Site, Owner shall provide Contractor, at no additional
 cost to Contractor, rights of access to such portions of the Site as Contractor may reasonably
 require for the construction of the Facility and for Contractor's office, warehouse, shop buildings,
 welding facilities, Contractor's equipment storage, laydown area, and employee parking. Owner
 shall cooperate with Contractor so as to minimize disruption by Owner of Contractor's
 performance of the Work, and Contractor shall cooperate with Owner so as to minimize
 disruption of operation of the Units and the existing unit at the Site.

                (d)     Site Conditions and Site Parameters. Owner is responsible for all
 investigations required to determine the suitability of the Site for the Facility. This information
 has been furnished to Contractor. Contractor has conducted a reasonable visual inspection of the
 Site at Owner's expense and has notified Owner that there are no Site conditions that were
 evident or readily discernible that shall affect the cost or schedule for the construction of the
 Facility. Any subsurface or other site conditions subsequently discovered at the Site or changes
 in the Site parameters that do not conform to the information provided by Owner or were not
 evident or readily discernible upon Contractor's inspection shall entitle Contractor to a Change
 Order pursuant to Article 9.




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                (e)    Utilities, Consumables and Services. Owner shall provide the electrical
 interconnect for power to be exported from the Facility at the interconnection points identified or
 to be identified in Exhibit A. The Scope of Work specifies the division of responsibilities
 between Owner and Contractor for utilities during construction and for the supply of certain
 consumables and services by Owner during construction and testing of the Facility. All such
 items to be supplied by Owner shall be supplied at the times required pursuant to the Project
 Schedule. Owner shall provide all Nuclear Fuel.

                 (f)      Spare Parts.

                        (i)    Mandatory Spare Parts. Within eighteen (18) months after
 finalization of the AP1000 Nuclear Power Plant design as specified in the then current Project
 Schedule, Contractor shall provide Owner with a list of spare parts for the Facility referred to as
 "Mandatory Spare Parts." The Parties shall determine a mutually agreeable price for such
 Mandatory Spare Parts, an estimate for which has been provided in Exhibit H. Mandatory Spare
 Parts will be provided on a Time and Materials Basis unless otherwise agreed by the Parties. As
 part of Contractor's Scope of Work, Contractor shall provide such Mandatory Spare Parts to
 Owner by the completion of the Startup Tests or as otherwise agreed to in the Project Schedule.
 All of the foregoing spare parts shall be considered to be parts supplied to Owner under this
 Agreement, and title thereto shall pass to Owner in accordance with Section 21.1. During the
 Warranty Period, Owner shall use commercially reasonable efforts to maintain an inventory of
 spare parts equivalent to the Mandatory Spare Parts and shall make such spare parts available to
 Contractor.

                       (ii)    Optional Spare Parts.        Within eighteen (18) months after
 finalization of the AP1000 Nuclear Power Plant design as specified in the then current Project
 Schedule, Contractor shall provide Owner with a list of Optional Spare Parts that are
 recommended by Contractor and vendors of Equipment comprising the Facility. At least two (2)
 years prior to the scheduled completion of the Startup Tests or as otherwise agreed to in the
 Project Schedule, Owner shall identify to Contractor the Optional Spare Parts which Owner
 wants Contractor to procure. Contractor shall be entitled to a Change Order pursuant to Article 9
 to cover the additional costs of such Optional Spare Parts. Owner shall make such procured
 Optional Spare Parts available to Contractor for use during its performance of the Work (as
 supplements for the Mandatory Spare Parts procured by Contractor pursuant to Section 3.6(f)(i)).

                         (iii)  Use and Replacement of Spare Parts. Contractor shall have the
 right to use spare parts that are in Owner's inventory specifically during the performance of the
 Work or to remedy a Warranty item; however, prior to Substantial Completion of the Second
 Unit (or if there is no Second Unit, the First Unit) or in response to the use of a spare during a
 Warranty repair, Contractor shall repair, replace and/or pay for (as consented to by Owner, such
 consent not to be unreasonably withheld) the replacement cost for such spare parts used by
 Contractor, plus expediting fees if expediting is deemed necessary by the Parties. Contractor
 shall coordinate with Owner concerning the delivery and storage of spare parts.

                 (g)    Operation and Maintenance Staff. For those activities supported and/or
 conducted by Owner under Articles 11 "Testing" and 12 "Stages of Completion", Owner shall
 provide fully trained and qualified operation and maintenance personnel for testing and operation


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 and maintenance of a Unit or the Facility consistent with Contractor's requirements as
 determined during Phase I and as set forth upon such determination in Exhibit A. If as a result of
 circumstances encountered during testing, Contractor determines that additional operation and
 maintenance personnel are needed (and provided that such determination has been made in
 accordance with Good Industry Practices), Contractor shall have the right to require that
 additional operation and maintenance personnel be provided by Owner upon reasonable advance
 notice to, and following discussions with, Owner.

                 (h)    Job Site Rules. From the Effective Date until Final Completion of the
 Second Unit (or if there is no Second Unit, the First Unit), each Party, its representatives and
 agents shall abide by the Site safety rules promulgated by the other Party.

         3.7     Subcontractors.

                 (a)    Selection of Subcontractors. Contractor shall have the right to have
 portions of the Work performed by Subcontractors. Subcontractors designated as Major
 Subcontractors are identified in Exhibit P-1. After the Effective Date, Contractor shall provide
 periodic updates to the Exhibit P-1 list and shall submit the updated list to Owner for review.
 Owner shall identify to Contractor any added Major Subcontractors that are unacceptable to
 Owner and provide to Contractor a reasonable basis for Owner's rejection of any such added
 Major Subcontractors. Exhibit P-2 contains a list of potential Subcontractors that may be used
 for Site construction and related field services. Contractor shall work proactively with Owner to
 choose acceptable Subcontractors for performance of the Work that is not part of the Standard
 Plant. In the event Contractor desires to use any Subcontractors that are not listed in Exhibit P-2
 to conduct its Scope of Work on Owner's property with respect to both the Standard Plant and on
 work that is not part of the Standard Plant, Contractor shall notify Owner and, within five (5)
 Business Days of such notice, Owner shall notify Contractor if such proposed Subcontractor is
 not acceptable to Owner (such acceptance not to be unreasonably withheld). If Owner rejects any
 such selected Subcontractor and the use of a different Subcontractor would affect Contractor's
 costs for performance of the Work or the Project Schedule, Contractor shall be entitled to a
 Change Order pursuant to Article 9. If, however, Owner fails to provide such notice to
 Contractor within the five (5) Business Day period, then Owner shall be deemed to have
 approved such proposed Subcontractor. Subject to the prior provisions of this Section 3.7(a) with
 respect to Major Subcontractors, Contractor is not obligated to consult with Owner on its
 selection of Subcontractors not working on Owner's property. Owner shall have the right to
 recommend additions to Exhibit P-1 and P-2 from time to time, subject to Contractor's approval.
 Contractor shall be responsible for the actions and omissions of all Subcontractors.

                 (b)     Affiliated Subcontractors. If Contractor enters into a Subcontract with an
 Affiliate of either Consortium Member, Contractor agrees that such Subcontract shall reflect
 terms no less favorable than would be available from a Person who is not an Affiliate. In the
 event that after the Effective Date, Contractor selects any Affiliate of either Consortium Member
 as a Subcontractor for Target Price Work or Time and Materials Work, Contractor shall notify
 Owner and Owner shall have the right to review such information as is reasonably necessary to
 assure Owner that the Subcontract reflect terms no less favorable than would be available from a




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 Person who is not an Affiliate. If any such Affiliate has been selected on a sole source basis,
 Contractor shall provide a justification for such selection.

                 (c)      Performance by Contractor and Major Equipment Vendors; Owner’s Cure
 Rights.

                       (i)     Contractor warrants and represents that it shall in good faith fully
 and promptly perform and observe all of the agreements, terms, covenants and conditions
 required to be performed and observed by the Contractor under any material provision of a
 Subcontract for Major Equipment (a “Major Equipment Purchase Order”). Upon demand,
 Contractor shall furnish to Owner a certification that Contractor has paid all sums that each
 Major Equipment Purchase Order requires Contractor to pay, subject to Contractor’s dispute
 rights under any such Major Equipment Purchase Order, and Owner may request verification
 from Contractor regarding the payment information related to such Major Equipment Purchase
 Order. Such rights of verification of payment are in addition to Owner’s right to request
 additional documentation under Section 8.4(a) and audit rights under Section 25.4 herein. In the
 event that Contractor, despite acting in good faith, potentially does not satisfy this section as a
 result of a legitimate dispute with a Subcontractor of Major Equipment (“Major Equipment
 Vendor”), Contractor shall (a) notify Owner in writing of the issue and (b) if requested by
 Owner, tender any disputed amounts to Owner to be held in escrow, pending resolution of the
 issue.

                        (ii)   Upon Contractor’s receipt of the first payment from Owner for the
 purpose of procuring an item of Major Equipment, Contractor shall designate the schedule
 reservation for such item of Major Equipment to Owner and thereafter may not designate such
 schedule reservation to any third party without Owner’s prior written consent.

                          (iii)  Contractor shall promptly notify Owner in writing of: (a) any
 default, alleged default, notice claiming default, or event that, with the giving of notice or lapse
 of time, or both, would constitute a default by Contractor or the Major Equipment Vendor in the
 performance or observance of any of the material terms, covenants or conditions on the part of
 Contractor or the Major Equipment Vendor to be performed or observed under the Major
 Equipment Purchase Order; (b) the receipt by Contractor of any notice from the Major
 Equipment Vendor of any termination of the Major Equipment Purchase Order pursuant to the
 terms thereof or otherwise, (c) any action, proceeding, motion or notice commenced or filed in
 respect of a Major Equipment Purchase Order under the Bankruptcy Code or other insolvency
 proceeding, and (d) any claim, action or proceeding (including, but not limited to, any request for
 arbitration or institution of such arbitration) made by any party to a Major Equipment Purchase
 Order, and the progress thereof and any determination made by the court and/or arbitrators
 thereunder. Contractor shall promptly provide Owner with a copy of each such notice. In the
 event that Contractor fails to pay a Major Equipment Vendor all undisputed sums due and owing
 within thirty (30) Days after the applicable due date, Owner thereafter shall have the right to
 participate in any claim, action or proceedings relating to such payment default as an interested
 party until such time when Contractor has made such payment.

                    (iv)  If Contractor is in default of a payment obligation pursuant to a
 Major Equipment Purchase Order, Owner may make the applicable payment due and owing


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 under such Major Equipment Purchase Order in order to cure such payment default; provided,
 however, that Owner shall not make such payment if, and so long as (a) Contractor shall take all
 steps necessary to challenge or take any action to cure such payment default; and (b) during such
 challenge or cure: (i) the interests of Owner may not be materially adversely affected, (ii) no
 time limits or grace periods under the Major Equipment Purchase Order would expire which
 would give Major Equipment Vendor any right or option to terminate the Major Equipment
 Purchase Order, and (iii) no additional right or remedy would become available to the Major
 Equipment Vendor by reason of the deferral by Owner of any action to effect a cure of the
 payment default. All such payments shall be offset and applied to all obligations under this
 Agreement.

              (d)       Owner’s Consent for Termination or Modification of Major Equipment
 Purchase Orders.

                         (i)     In the event that Contractor fails to pay a Major Equipment Vendor
 all undisputed sums due and owing within forty-five (45) Days after the applicable due date,
 without providing advance notice to Owner demonstrating to Owner’s satisfaction that any
 Major Equipment provided under such Major Equipment Purchase Order shall be timely
 delivered at no additional charge and at terms that are no less favorable to Owner, Contractor
 shall not (A) terminate, cancel, release or assign such Major Equipment Purchase Order (nor
 permit any of the foregoing to occur), whether under Section 365 of the Bankruptcy Code (or
 any successor provision) or under any similar law or right of any nature, or otherwise; nor (B)
 modify, abridge, change, supplement, alter or amend any material provision of such Major
 Equipment Purchase Order, either orally or in writing, and no agreement seeking to modify,
 abridge, change, supplement, alter or amend a material provision of such Major Equipment
 Purchase Order shall be valid or binding without the prior written consent of Owner; nor (C)
 waive any of its material rights against the Major Equipment Vendor under such Major
 Equipment Purchase Order; nor (D) agree to or acquiesce in any rejection or termination of such
 Major Equipment Purchase Order by such Major Equipment Vendor or such Major Equipment
 Vendor's trustee in bankruptcy, whether under Section 365 of the Bankruptcy Code (or any
 successor provision) or under any similar law or provision, and any such abandonment,
 termination, cancellation, release, modification, change, supplement, alteration, amendment,
 waiver, agreement or acquiescence that negatively impacts Owner (i.e., increased cost or delayed
 delivery) shall be ineffective as against Owner. Such provisions shall apply until such time when
 Contractor has made the payments described above.

                        (ii)   To the extent Owner has paid at least one-third of the total price of
 any Major Equipment Purchase Order, Contractor shall not, without the prior written consent of
 Owner, which consent shall not be unreasonably withheld: (a) terminate, cancel, release or assign
 such Major Equipment Purchase Order (nor permit any of the foregoing to occur), whether under
 Section 365 of the Bankruptcy Code (or any successor provision) or under any similar law or
 right of any nature, or otherwise; nor (b) modify, abridge, change, supplement, alter or amend
 any material schedule, performance, or payment requirements under such Major Equipment
 Purchase Order, either orally or in writing, and no agreement seeking to modify, abridge, change,
 supplement, alter or amend a material schedule, performance, or payment requirements under
 such Major Equipment Purchase Order shall be valid or binding without the prior written consent


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 of Owner; nor (c) waive any of its material rights against the Major Equipment Vendor under
 such Major Equipment Purchase Order; nor (d) agree to or acquiesce in any rejection or
 termination of such Major Equipment Purchase Order by such Major Equipment Vendor or
 Major Equipment Vendor's trustee in bankruptcy, whether under Section 365 of the Bankruptcy
 Code (or any successor provision) or under any similar law or provision, and any such
 abandonment, termination, cancellation, release, modification, change, supplement, alteration,
 amendment, waiver, agreement or acquiescence without Owner's prior written consent shall be
 ineffective as against Owner.

                 (e)     Bankruptcy or Insolvency Proceedings Affecting Major Equipment
 Purchase Orders. If there shall be filed by or against Contractor a petition under the Bankruptcy
 Code, and Contractor shall determine to reject the Major Equipment Purchase Order pursuant to
 Section 365 of the Bankruptcy Code, Contractor shall give the Owner not less than ten (10)
 Days' prior written notice of the date on which Contractor shall apply to the bankruptcy court for
 authority to reject such Major Equipment Purchase Order. Owner shall have the right, but not
 the obligation, to serve upon Contractor within such ten (10) Day period a notice stating that (A)
 Owner demands that Contractor assume and assign such Major Equipment Purchase Order to the
 Owner pursuant to Section 365 of the Bankruptcy Code and (B) Owner covenants to cure (or
 provide adequate assurance of prompt cure of) all defaults and provide adequate assurance of
 future performance under such Major Equipment Purchase Order. If Owner serves upon
 Contractor the notice described in the preceding sentence, Contractor shall not seek to reject such
 Major Equipment Purchase Order and shall comply with the demand provided for in clause (A)
 of the preceding sentence within thirty (30) Days after the notice shall have been given, subject
 to the performance by Owner of the covenant provided for in clause (B) of the preceding
 sentence.

                (f)     Subcontract Terms. Contractor shall use commercially reasonable efforts
 to include in each Major Equipment Purchase Order provisions in substantially the following
 form for the protection of Owner. If Contractor is unable to obtain such agreement in advance
 from a Major Equipment Vendor, it shall promptly notify Owner; however, in the event that this
 Agreement is terminated, Contractor shall work cooperatively with Owner to obtain the
 agreement of the Major Equipment Vendor to assignment of its Subcontract or the relevant
 portion thereof at that time. It should be noted that the Subcontracts that Contractor will have
 with ABB Ltd. and Emerson Process Management for the supply of instrumentation and control
 related equipment associated with the Work will not be directly assignable to Owner in the event
 of termination of this Agreement.

                       (i)    Major Equipment Vendor agrees that upon termination of the
 Agreement between Contractor and Owner for any reason other than Owner’s default or Owner’s
 termination for convenience, Owner, or its nominee, shall have the option to succeed
 automatically, without the necessity of further action by Contractor, to all rights and obligations
 of Contractor under this Major Equipment Purchase Order related to Owner scope of supply.

                       (ii)    Subject to Section 3.7(c)(iv), Owner shall have the right, in its sole
 discretion, to make any late payment due and owing by Contractor hereunder in order to cure a




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 default by Contractor of a payment obligation hereunder, and Major Equipment Vendor shall
 accept such payment by the Owner with the same force and effect as if made by Contractor.

                        (iii)  Prior to exercising any right to terminate a Major Equipment
 Purchase Order for default or breach by Contractor, Major Equipment Vendor shall give Owner
 at least ten (10) Business Days notice of Major Equipment Vendor’s intent to terminate the
 Major Equipment Purchase Order and shall not terminate the Major Equipment Purchase Order
 if Owner, or its nominee, shall cure all defaults of Contractor with respect to the Facility which
 are susceptible of being cured by Owner within such extended cure periods, and if Owner, shall
 not itself be subject to any bankruptcy or other proceedings which would entitle Major
 Equipment Vendor to terminate the Major Equipment Purchase Order, then Major Equipment
 Vendor shall not have the right to terminate the Major Equipment Purchase Order by reason of
 the existence of default of the Contractor or bankruptcy or other proceedings relating to the
 Contractor.

                        (iv)   Notwithstanding any other provision of the Major Equipment
 Purchase Order to the contrary, if the Major Equipment Purchase Order is terminated by reason
 of a default of Contractor, or as a result of the rejection or deemed rejection of the Major
 Equipment Purchase Order in a bankruptcy proceeding of Contractor, and if, within a reasonable
 period of time after such termination, the Owner by written notice to Major Equipment Vendor,
 requests Major Equipment Vendor to enter into a new contract directly with the Owner, then
 Major Subcontractor shall enter into a new contract directly with the Owner (or its nominee)
 within a reasonable period of time after such notice by the Owner. Such new contract shall
 commence as of the date of termination of the Major Subcontract and shall be upon all of the
 terms, covenants, conditions and agreements which were in force and effect on the date of
 termination of the Major Subcontract. Owner, simultaneously with the delivery of the new
 contract, shall pay to Major Subcontractor all sums then due and owing to Major Subcontractor
 under the Major Subcontract, plus all costs and expenses incurred by Major Subcontractor in
 connection with such termination, less the amount of any pending claim by Major Subcontractor
 under any lien bond, payment bond or third party undertaking or indemnity.

                    (v)    Title to an item of Major Equipment shall pass to Contractor upon
 payment in full by Contractor to the Major Equipment Vendor for such item of Major
 Equipment.

            ARTICLE 4 – FACILITY LICENSES, PERMITS AND APPROVALS

        4.1      Owner Permits. Owner shall be responsible for obtaining, maintaining and
 paying for Owner Permits (including the COL) and for all communications with any
 Government Authorities regarding such Government Approvals. Contractor shall provide
 support to Owner in connection with such Government Approvals, including making personnel
 available to testify at formal and informal government proceedings, and providing all documents
 and information reasonably requested by Owner, including review and comment to sections
 prepared by others, and any amendments thereto, to address formal NRC licensing questions on a
 schedule that supports the Project Schedule and licensing support services. Contractor shall be
 compensated for such services on a Time and Materials Basis. Owner shall provide as much
 advance notice as practical for the testimony of Contractor's Personnel at proceedings before


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 Government Authorities. Contractor provides no assurance or guarantee that the COL or any
 other Owner Permit required to be obtained by Owner shall be obtained by Owner.

        4.2     Contractor Permits. Contractor shall be responsible for obtaining, maintaining
 and paying for the Contractor Permits. Owner shall provide Contractor reasonable cooperation
 and assistance in obtaining and maintaining Contractor Permits.

         4.3     ITAACs.

                (a)     Contractor shall be responsible for those ITAACs associated with each
 Unit as are set forth in the Design Control Document. Any new or additional ITAAC, or any
 changes or modification to the ITAAC contained in the Design Control Document that Owner
 proposes be added to Contractor's Scope of Work shall be subject to agreement by Contractor
 and Owner pursuant to Section 9.1(a) and, upon such agreement, shall entitle Contractor to a
 Change Order pursuant to Article 9.

                (b)      Contractor shall be responsible for conducting, or causing to be conducted
 the inspections, tests and analyses associated with each Unit's ITAAC within Contractor's Scope
 of Work. Upon completion of such inspections, tests and analyses, Contractor shall be
 responsible for preparing and delivering to Owner the Documentation or other deliverables to
 demonstrate and confirm that the related acceptance criteria associated with such inspections,
 tests and analyses as applicable to each Unit within Contractor's Scope of Work have been met.

                              ARTICLE 5 – QUALITY ASSURANCE

         5.1     Quality Assurance.

                (a)    Contractor has sole responsibility for the quality assurance and quality
 control of the Work. Contractor has provided to Owner its quality assurance program consisting
 of each Consortium Member’s Quality Assurance Program that has been approved by the NRC
 (“Quality Assurance Program”). The Quality Assurance Program and any changes thereto shall
 meet the requirement of 10 C.F.R. Part 50, Appendix B and ASME NQA-1 – 1994 and be
 accepted by the NRC and accepted by Owner. Contractor’s Quality Assurance Program is
 subject to review and audit by Owner for compliance with 10 C.F.R. Part 50 Appendix B and
 ASME NQA-1 - 1994. Contractor has prepared AP1000 Project-specific clarifications and
 modifications with respect to the Quality Assurance Program and has set forth such items in the
 Project Quality Assurance Program Interface Plan (“PQAPIP”). The PQAPIP will be included in
 the Project Execution Plan and shall be delivered to Owner for its review and approval. Owner's
 review and acceptance of the PQAPIP shall not relieve Contractor from its obligations to comply
 with the requirements of this Agreement and 10 C.F.R. Part 50, Appendix B. The Quality
 Assurance Program and the PQAPIP will collectively be the “Project Quality Assurance
 Program” or “PQAP”. Contractor shall provide Owner with five (5) copies of the PQAP and
 Quality Assurance Program or make them available electronically. Contractor shall follow the
 PQAP throughout its performance of the Work. The PQAP and associated policies and
 procedures shall address Contractor’s Scope of Work, including, without limitation, systems,
 structures and components in a manner consistent with their classification with respect to their
 importance to nuclear safety (i.e., safety related, important to safety, non-safety related) or their


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 importance to the capacity, operability and reliability of the Facility as classified in the DCD.
 The PQAP shall support Owner's compliance with 10 C.F.R. Part 50, Appendix B and ASME
 NQA-1 – 1994 and shall be subject to review and audit by the Owner at the Owner's request.
 For purposes of the American Society of Mechanical Engineers (ASME) Code, Contractor shall
 be designated as Owner’s agent.

                (b)     Subcontractor Quality Assurance. In accordance with the PQAP,
 Contractor shall also require Major Subcontractors to establish, implement and maintain
 appropriate quality assurance programs (which may either be the PQAP or such other quality
 assurance program capable of being audited to the requirements of the PQAP) for their
 respective portions of the Work consistent with the nuclear safety quality classification of their
 portion of the Work. Such programs shall be made available for review by Owner. Major
 Subcontractor audit reports shall be made available for review by Owner or its authorized
 representative. At its own cost, Owner or its authorized representative may participate in
 scheduled audits of Subcontractors performed by Contractor.

         5.2      Reporting of Defects, Noncompliance, Failures and Breakdowns of QA Programs.
 Contractor shall comply with the provisions of 10 C.F.R. Part 21, "Reporting of Defects and
 Noncompliance," and 10 C.F.R. Part 50.55, "Conditions of construction permits, early site
 permits, combined license, and manufacturing licenses," in the performance of its obligations
 under this Agreement. Without limiting the foregoing, Contractor shall act as the "dedicating
 entity," as defined in 10 C.F.R. § 21.3 and 10 C.F.R. § 50.55(e)(1), and comply with the
 requirements of 10 C.F.R. § 21.21(c) and 10 C.F.R. § 50.55(e)(4). Contractor shall comply with
 the posting requirements of 10 C.F.R. § 21.6 and 10 C.F.R. § 50.55 at the Site and shall permit,
 and cause each Subcontractor to permit, the NRC to inspect records, premises, activities and
 basic components as necessary to accomplish the purposes of 10 C.F.R. Part 21, including
 permitting the NRC the opportunity to inspect records pertaining to basic components that relate
 to the identification and evaluation of deviations, and the reporting of defects and failures to
 comply, including any advice given to purchasers or licensees on the placement, erection,
 installation, operation, maintenance, modification, or inspection of a basic component.
 Contractor shall comply with the provisions of 10 C.F.R. § 50.55(e)(1)(iii)(C) for reporting any
 significant breakdown in any portion of the Contractor's or Subcontractor's quality assurance
 program conducted under the requirements of Appendix B to 10 C.F.R. Part 50 which could have
 produced a defect in a basic component. Contractor shall require in each contract with its first
 tier Subcontractors to perform any of the Services or to furnish any Equipment, at the Site or
 elsewhere, and that are subject to the provisions of 10 C.F.R. Part 21 and 10 C.F.R. 50.55, that
 such Subcontractor shall comply with the provisions of 10 C.F.R. Part 21 and 10 C.F.R. Part
 50.55. Additionally, Contractor shall require that each Subcontractor include in each contract
 with its first tier Subcontractors to perform any of the Services or to furnish any Equipment, at
 the Site or elsewhere, and that are subject to the provisions of 10 C.F.R. Part 21 and 10 C.F.R.
 Part 50.55 a provision stating that such Subcontractor shall comply with the provisions of 10
 C.F.R. Part 21 and 10 C.F.R. Part 50.55. Contractor shall, and shall require that each of its first
 tier Subcontractors, provide Owner with copies of all notices and other documentation that
 Contractor or such Subcontractor, as applicable, may disclose to the NRC pursuant to 10 C.F.R.
 Part 21 or 10 C.F.R. Part 50.55 concurrently with such disclosure to the NRC (or, if concurrent
 disclosure is not practical, as soon as reasonably practicable following such disclosure).


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 Additionally, each Subcontractor shall require that each of its first tier Subcontractors provide
 Owner with copies of all notices and other documentation that such Subcontractor or its
 Subcontractors, as applicable, may disclose to the NRC pursuant to 10 C.F.R. Part 21 or 10
 C.F.R. Part 50.55 concurrently with such disclosure to the NRC (or, if concurrent disclosure is
 not practical, as soon as reasonably practicable following such disclosure).

         5.3     Quality Control and Inspection Activities. Contractor shall be responsible to
 perform the quality control and inspection activities in accordance with the PQAP. The quality
 control and inspection activities shall be consistent with the nuclear safety quality classification
 of the system, structure or component under evaluation. The Persons performing quality
 assurance and control functions for Contractor shall have sufficient authority and organizational
 freedom to identify quality problems; to initiate, recommend, or provide solutions; and to verify
 implementation of solutions. Such Persons performing quality assurance and control functions
 shall report to a management level such that this required authority and organizational freedom,
 including sufficient independence from cost and schedule when opposed to safety considerations,
 are provided.

         5.4     Access and Auditing at Contractor Facilities. Contractor shall provide Owner and
 its authorized representatives with reasonable access during normal working hours to the Work
 at Contractor's facilities, and all pertinent documentation relating to the Work, for observation
 and inspection, including auditing of activities for conformance with the requirements of the
 PQAP and all requirements of this Agreement. Inspections and audits of Contractor shall be
 coordinated with Contractor.

          5.5    Access and Audits at Subcontractors' Facilities. Contractor shall include in its
 Subcontracts with Major Subcontractors the right of Owner to have access to such
 Subcontractors' facilities as follows. During working hours, Owner and its authorized
 representatives shall have the right of access to Contractor's and Major Subcontractors' premises
 and working facilities for quality assurance and quality control activities. Contractor shall
 provide Owner and its authorized representatives with necessary information and assistance to
 carry out Owner's quality assurance and quality control activities. Quality assurance and quality
 control activities at Major Subcontractors shall be limited to participation in scheduled audits and
 execution of Witness Points identified as the Witness Points and Hold Points in the
 manufacturing and fabrication plans for the Equipment, such as in-process testing and final
 product review for acceptance. Quality assurance and quality control activities at Major
 Subcontractors include activities necessary to address quality issues which may arise at sub-
 suppliers. In cases where Contractor incurs additional cost or delay in the Project Schedule from
 its Major Subcontractors due to Owner's request to perform additional quality assurance and
 quality control activities beyond these activities, Contractor shall be entitled to a Change
 pursuant to Article 9. Contractor shall implement, and require its Major Subcontractors to
 implement measures necessary to be taken to ensure compliance with this Agreement where such
 measures are identified as a result of a quality assurance audit or surveillance carried out by
 Owner's authorized representatives. The rights of access described above are subject to
 restrictions which may be identified by a Major Subcontractor related to access to proprietary
 information, additional costs for access beyond routine audits and Witness Points, reasons of
 national security or access by foreign nationals.


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         5.6     Witness and Hold Points.

                 (a)     Following the selection of a specific vendor for Equipment identified in
 Exhibit Q that is part of the Standard Plant and for which there are contractual Witness Points
 and Hold Points, Contractor shall identify the associated Witness Points and Hold Points via
 inclusion of the Witness Points and Hold Points in the manufacturing and fabrication plans for
 the Equipment. After review, Owner may identify additional Witness Points and Hold Points
 and Owner shall notify Contractor of any Owner-designated Witness Points or Hold Points that
 they shall attend. In cases where Contractor incurs additional cost or delay in the Project
 Schedule from its Major Subcontractors due to Owner's request to add additional Witness Points
 and/or Hold Points beyond those identified by Contractor, Contractor shall be entitled to a
 Change Order pursuant to Article 9. Contractor shall provide Owner access to or copies of these
 manufacturing and fabrication schedules for Equipment identified in Exhibit Q and the regular
 updates to these schedules, such that Owner has advance notice of approaching scheduled
 Witness Points and Hold Points. Owner shall be notified in writing by Contractor of Owner-
 designated Witness Points and Hold Points as soon as practicable but no later than ten (10)
 Business Days prior to the scheduled activity. Owner shall acknowledge the notification of
 Owner-designated Hold Points within five (5) Business Days and indicate whether or not it
 intends to attend the activity that is the subject of the Hold Point.

                 (b)      Work may proceed with and beyond Owner-designated Witness Points in
 the absence of Owner's or its authorized representative's participation without a written waiver.
 Work may not proceed with or beyond Owner-designated Hold Points without a written waiver
 from Owner. If proper notification has been given and Owner has responded that it intends to
 attend the activity that is the subject of the Owner-designated Hold Point, but Owner or its
 authorized representative is unavailable at the designated time, or Owner does not respond as to
 whether or not it intends to attend the activity that is the subject of the Owner-designated Hold
 Point, the work shall not proceed, Contractor shall be entitled to a Change Order pursuant to
 Article 9. Requests by Owner to witness tests or conduct surveillance after the scheduled point
 in time designated for a Witness Point or Hold Point shall be accommodated by Contractor only
 if technically feasible, shall entitle Contractor to a Change Order pursuant to Article 9.

                (c)     Witnessing of tests or other surveillance by Owner shall be at Owner's
 expense. If Owner performs the surveillance or elects not to perform a surveillance, such
 surveillance or waiver shall not relieve Contractor of its obligations under this Agreement.

                (d)    Any nonconformance or deviation from design requirements for the
 Equipment listed in Exhibit Q which results in "repair" or "accept as is" dispositions to design
 requirements shall be submitted to Owner for its written approval, which shall not be
 unreasonably withheld. Repaired and reworked items shall be re-inspected to verify conformance
 to the requirements specified by the disposition. A nonconformance which represents significant
 conditions adverse to quality submitted for Owner's approval shall include the identification of
 the cause of the nonconformance and the corrective action to prevent recurrence.




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         5.7     Owner's Right to Inspect and Stop Work.

                 (a)    Owner's Right to Inspect. Owner shall have the right to have its
 authorized representatives inspect the Work in order to assure that the Work complies with the
 requirements of this Agreement, including Contractor's PQAP. Inspection by Owner shall not be
 deemed to be supervision by Owner of Contractor and shall not relieve Contractor of any
 responsibility for performing the Work in accordance with this Agreement. Any acceptance or
 approval by Owner shall not be deemed to constitute final acceptance of same by Owner, but
 shall be only for the purpose of assuring that the Work complies with this Agreement. Owner
 may report to Contractor any unsafe or improper conditions or practices observed at the Site for
 action by Contractor in correction or enforcement.

                 (b)     Defective Work. If Owner's inspection reveals any non-compliance or any
 other defects in any portion of Work, then Contractor shall, promptly upon its receipt of notice
 from Owner, take such actions as are required with respect to such defective Work in accordance
 with its Quality Assurance Program. If Contractor is not taking the actions required with respect
 to defective Work in accordance with the PQAP, Owner shall have the right to cause Contractor
 to take corrective action.

                (c)    Right to Stop Work for Cause. If Contractor fails to take corrective action
 for defective Work as required under Section 5.7(b), then Owner, by written order, may order
 Contractor to stop performance of the portion of the Work affected thereby, until the cause of
 such order has been eliminated. In addition, Owner, by written order, may order Contractor to
 stop performance if the activities of Contractor at the Site reasonably appear to Owner to cause
 or threaten to cause danger to life or damage to property. Contractor shall not be entitled to a
 Change Order for stop Work orders properly issued pursuant to the terms of this Section 5.7(c).

                 (d)   Uncovering of Work. Prior to the commencement of the Warranty Period,
 in the event Owner requests that any Work be uncovered to determine whether it is deficient,
 Contractor shall be entitled to a Change Order pursuant to Article 9 unless the Work is found to
 be deficient. If the Work is found to be deficient, Contractor shall repair or replace it or take
 other appropriate corrective action. During the Warranty Period, the provisions of Article 14
 shall apply to any Work that does not conform to the Warranties.

                              ARTICLE 6 – CONTRACT PRICE

         6.1     Components of the Contract Price. The Contract Price is divided by Unit and by
 Consortium Member, as further described in Exhibit H. In accordance with the procedures set
 forth in Exhibit H, and by agreement of the Parties, portions of the Target Price may be moved to
 the Fixed Price or Firm Price during the performance of the Work.

        6.2     Most Favored Customer. In the event that a First Wave Customer other than
 Owner (such Person, an "Other Customer") enters into a contract with Contractor for the
 engineering, procurement and construction of an AP1000 Nuclear Power Plant after the Effective
 Date but prior to December 31, 2008, and such Other Customer's contract (as of the date the
 price of such contract is finalized in accordance with the terms thereof, but not including
 subsequent adjustments to such price due to escalation, changes in target prices or change orders)


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 provides for a lower contract price on a $/KWe basis than the Contract Price hereunder as such
 price is determined as of the Effective Date, and without regard to subsequent adjustments made
 to the Contract Price pursuant to Exhibit J or as a result of Changes, increases in the Target Price
 or increases in the Time and Materials Charges as such charges are estimated as of the Effective
 Date, and after adjustment for differences in scope, Site characteristics, technical requirements,
 the schedule for completion of the Other Customer's project, and other quantifiable factors that
 create price differentials between the Facility and the Other Customer's facility, Contractor shall
 offer to Owner a reduction in the Contract Price to a price equivalent to that provided to the
 Other Customer, after adjustment, as stated, for differences in scope, Site characteristics,
 technical requirements, the schedule for completion of the Other Customer's project, and other
 quantifiable factors that create price differentials between the Facility and the Other Customer's
 facility. Within a reasonable period of time following the execution of an engineering,
 procurement and construction contract with an Other Customer, Contractor shall furnish to
 Owner a letter stating that Contractor has performed the comparison required to determine if the
 provisions of this Section 6.2 are applicable and that, as a result thereof, either (i) that no
 reduction in the Contract Price hereunder is applicable or (ii) offering Owner a reduction in the
 Contract Price as provided for in this Section 6.2.

         6.3     Future Fuel Agreement and Services Agreement.

                 (a)     Westinghouse and Owner intend to enter into negotiations for
 establishing a long term services agreement and a fuel fabrication agreement, as provided below:

                        (i)    The services agreement would be typical of existing alliance
 agreements that Westinghouse holds with its existing customers and would be tailored to both
 Parties’ specific needs and business objectives. The contract structure would contain provisions
 for agreed upon exclusive scopes and preferred vendor scopes, and include provisions for price
 protections and performance incentives based on Westinghouse and overall Unit performance.
 The initial agreement would be for future services on Units 1, 2 and 3, starting on a mutually
 agreeable schedule.

                        (ii)   The intent of the fuel fabrication agreement would provide
 Westinghouse the fuel fabrication for a period through year 2033, for Unit 1 fuel reloads beyond
 the current contract and the fuel fabrication for the first core and future reloads on Units 2 & 3
 through 2033.

                        (iii)   Throughout the development and negotiation of these agreements,
 each of Owner and Contractor will evaluate its individual business case to determine the
 prudency of entering into long term agreements. At any point during this period, either Party
 may terminate negotiations. In the event that Westinghouse and Owner have not, on or before
 December 30, 2008, entered into (x) services agreement for long term services, and/or (y) a fuel
 fabrication agreement for long term fuel fabrication for Owner's existing nuclear power plant at
 the V.C. Summer station and the Units, (each such agreement to be on mutually agreed terms
 and conditions) the Contract Price shall be increased pursuant to a Change Order by the amount
 of fifty million dollars ($50,000,000) or a lesser amount based on the scope of any negotiated
 services.



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                (b)    Owner shall use best efforts to engage Shaw to perform certain
 maintenance services for Owner, provided that Shaw and Owner mutually agree to commercially
 reasonable terms and conditions to govern Shaw's performance of such maintenance services.

                      ARTICLE 7 – PRICE ADJUSTMENT PROVISIONS

 The amounts payable to Contractor under this Agreement (other than the Fixed Price portion of
 the Contract Price) shall be subject to the Price Adjustment Provisions described in Exhibit J.
 The Price Adjustment Provisions apply uniquely and separately for the Firm Price, Target Price
 and Time and Materials Charges as well as uniquely and separately for the individual
 Consortium Members. The specific indices will be selected to provide a representative price
 adjustment for the applicable items addressed in each cost category as set forth in Exhibit J. For
 the Firm Price, each of the payments is adjusted using the procedure set forth in Exhibit J. For
 the Target Price, payments are based on the actual charges incurred and the Price Adjustment
 Provisions are used to adjust the Target Price. For Time and Materials Charges, the rates will be
 adjusted as set forth in Exhibit J. In the event that any of the indices in Exhibit J are found by
 either Party to not be appropriately tracking inflation or other changes in costs, the Parties shall
 negotiate in good faith to determine substitute indices and/or an equitable adjustment to the
 Contract Price. If the Parties cannot agree on substitute indices and/or such equitable adjustment,
 either Party may refer the matter to dispute resolution in accordance with the provisions of
 Article 27.

                                   ARTICLE 8 – PAYMENTS

         8.1     Target Price and Time and Materials Payments.

                 (a)     Payment for Target Price. Prior to the commencement of any Target Price
 Work, Contractor shall provide to Owner a projected payment plan, broken down by calendar
 quarter, for the remainder of 2008, and monthly thereafter, for the Target Price portion of the
 Contract Price (the "Payment Plan", to be appended to this Agreement as Exhibit F-2). By
 Monday, 5:00 p.m. Eastern time of each week, Contractor shall deliver to Owner an invoice (in
 electronic form) for the Target Price Work based on costs invoiced to Contractor or incurred by
 Contractor due to hours worked or otherwise during the prior week. Payment shall be due in the
 form of an electronic transfer of funds from Owner to Contractor's account by Thursday, 5:00
 p.m. Eastern time of such week. On at least a monthly basis, the Parties shall review the
 Payment Plan and the actual documented costs incurred to determine whether changes are
 required to the Payment Plan to account for any amounts over or under invoiced by Contractor.
 The Payment Plan shall be revised and resubmitted to Owner by Contractor as a result of such
 review. In addition, cost and schedule performance shall be evaluated on a monthly basis, the
 results of which shall be provided to Owner, and corrective actions shall be developed to remedy
 deficiencies identified by this review.

                 (b)    Payment for Time and Materials Charges. Unless otherwise agreed by the
 Parties, billings for Time and Materials Work shall be subject to the same procedures and
 payment processes as set forth in Section 8.1(a). Time and Materials Charges shall be set forth in
 separate invoices from invoices for the Target Price Work. In addition, cost and schedule
 performance shall be evaluated on a monthly basis, the results of which shall be provided to


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 Owner, and corrective actions shall be developed to remedy deficiencies identified by this
 review.

         8.2    Milestone Payments. Contractor shall be paid for the portion of the Contract
 Price constituting the Firm Price and Fixed Price in accordance with the Milestone Payment
 Schedule in Exhibit F-1. The applicable portion of the Firm Price and Fixed Price shall be
 invoiced by Contractor upon the completion (or substantial completion as provided below) of
 each Milestone. Invoices for Milestone Payments for Major Equipment shall be issued separately
 from invoices for other Milestone Payments. The Milestone Payment due upon Substantial
 Completion of a Unit shall be two percent (2%) of the Firm Price and Fixed Price for the Unit.
 Submittal of each invoice by Contractor for a Milestone Payment shall constitute a
 representation by Contractor that it has performed and provided the Work required for such
 payment in accordance with this Agreement or otherwise covered by such invoice. Payment shall
 be due from Owner within twenty (20) Days for Milestone Payments for Major Equipment and
 within thirty (30) Days for other Milestone Payments, in each case, following receipt of the
 invoice. Milestones are not required to be completed in the sequence set forth in Exhibit F-1, nor
 must invoices for completed Milestones be submitted in the sequence set forth in Exhibit F-1,
 and Milestones may be performed and invoiced ahead of the time for the performance of such
 Work under the Project Schedule, provided that Contractor may not submit an invoice for a
 Milestone performed out of sequence or ahead of time to the extent that the total invoiced for
 Milestones during any calendar month would exceed the aggregate of the Milestones for such
 calendar month as set forth in Exhibit F-1 plus (a) twenty-five million dollars ($25,000,000) or
 less, unless Owner has agreed to such out of sequence or early Milestone Payment, such
 agreement not to be unreasonably withheld; (b) more than twenty-five million dollars
 ($25,000,000) but not more than fifty million dollars ($50,000,000), Contractor has notified
 Owner at least ninety (90) Days in advance of submission of an invoice that would cause such
 amount to be exceeded, and Owner has agreed to such out of sequence or early Milestone
 Payment, such agreement not to be unreasonably withheld; and (c) more than fifty million
 dollars ($50,000,000), Contractor has notified Owner at least one hundred eighty (180) days in
 advance of submission of an invoice that would cause such amount to be exceeded, and Owner
 has agreed to such out of sequence or early Milestone Payment. If agreed by Owner, Contractor
 shall have the option to invoice for substantially completed Milestones on a pro rata basis. The
 agreement between Owner and Contractor shall be set forth in a Change Order, provided,
 however, that the provisions pertaining to Change Disputes shall not apply to the request by
 Contractor to invoice for a Milestone on a pro rata basis or the Change Order resulting
 therefrom.

          8.3    Final Payment. Upon achievement of Final Completion for each Unit, Contractor
 shall submit to Owner an invoice for the final Milestone Payment for such Unit and other
 payments due under this Agreement (the "Final Payment Invoice") which shall set forth the
 remaining amounts due to Contractor pursuant to this Agreement (minus any amounts that are
 still being held for Final Completion Punch List items for such Unit that cannot be completed
 until the next Nuclear Fuel re-load, as provided in Section 12.5). Payment of the Final Payment
 Invoice shall be due from Owner within thirty (30) Days of its submission to Owner. When
 submitting the Final Payment Invoice for a Unit, Contractor shall: (i) submit a written discharge,
 in form and substance reasonably satisfactory to both Parties, confirming that the total of the


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 Final Payment Invoice (minus any such Final Completion Punch List items) represents full and
 final settlement of the monies due to Contractor for the performance of the Work under this
 Agreement with respect to such Unit, (ii) include a waiver against any mechanic's and
 materialman's liens; provided that the waiver shall be conditioned on Contractor receiving
 payment pursuant to the Final Payment Invoice and (iii) with the Final Payment Invoice for the
 Second Unit, return all Sales Tax exemption certificates issued to Contractor and Subcontractors
 to Owner or provide a statement that all such certificates have been destroyed or have expired.

         8.4     Supporting Documentation; Payment Disputes.

                (a)     Contractor shall submit invoices in a format agreed to by Owner.
 Contractor shall make available such documentation and materials as Owner may reasonably
 require substantiating Contractor's right to payment of any invoice. If any invoice is deficient in
 any material respect, Contractor may be required by Owner to resubmit that invoice in proper
 form; provided, however, that Owner shall pay any portion of it that is not deficient or subject to
 dispute. Owner shall review each invoice and shall make exceptions, if any, by providing
 Contractor with written notice by the earlier of (i) such date the invoice is paid by Owner or (ii)
 fifteen (15) Days after Owner receives the invoice along with evidence which reasonably
 documents the contractual basis of such exceptions. If Owner provides no exceptions within such
 time, Owner shall pay Contractor within the time specified for payment above.

                (b)    Payment shall not waive Owner's right to dispute an invoice. Any amount
 of an invoice that Owner disputes shall be resolved in accordance with Article 27.

                       (i)    Should such dispute not be settled within thirty (30) Days of the
 due date, Owner shall pay all disputed amounts including, without limitation, amounts disputed
 with respect to a Change (except Owner may hold back ten percent (10%) of disputed amounts
 which exceed one million dollars ($1,000,000)).

                         (ii)   Once the dispute is resolved, Owner shall pay any additional
 amount due or Contractor shall refund any amount by which it was overpaid, as applicable,
 within thirty (30) Days after the date of the final resolution, together with interest at a rate equal
 to the Prime Rate plus one percent (1%) per annum, applied from (i) the original due date of the
 payment for Firm Price or Fixed Price payments and Time and Materials Charges or (ii) the
 original due date for Target Price payments, until paid (or in the case of any overpayment, from
 the date paid until refunded by Contractor).

                 (c)     If for any reason Owner fails to pay Contractor for all undisputed sums
 due and owing by the due date or, for disputed amounts, by the date required as set forth in (b)(i)
 above, Contractor shall notify Owner of the overdue payment, and a late payment charge shall
 accrue at a rate equal to the Prime Rate plus one percent (1%) per annum. If Owner fails to make
 payment of any undisputed amount due within seven (7) Days following the due date or fails to
 make payment of any disputed amount within seven (7) Days following the date set forth in
 (b)(i) above, Contractor shall provide a second notice to Owner in writing. If Owner fails to
 make payment of the undisputed amount due within fifteen (15) Days following its receipt of this
 second notice, Contractor has the right to suspend performance of the Work as if Owner had
 ordered a suspension in accordance with Section 22.1.


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                (d)    Owner may take advantage of any discount identified in Contractor's
 invoice for prompt payment.

        8.5     No Acceptance by Payment. Owner's payment of any invoice does not constitute
 approval or acceptance of any item or cost in that invoice nor shall Owner's payment be
 construed to relieve Contractor of any of its obligations under this Agreement.

         8.6     Security for Payment and Performance.

                (a)      Simultaneously with the execution of this Agreement, (i) Westinghouse
 agrees to supply to Owner a parent company guaranty from Toshiba in the form set forth as
 Exhibit I-1 and (ii) Stone & Webster agrees to supply to Owner a parent company guaranty from
 Shaw in the form set forth as Exhibit I-2.

                 (b)     Following the Effective Date, and upon Owner's request, Stone & Webster
 shall provide a payment and performance bond in the name of Stone & Webster from an issuer
 having a long-term senior unsecured debt rating of A- or higher by Standard & Poor's or A3 or
 higher by Moody's, with total assets of at least ten billion dollars ($10,000,000,000) to secure
 Stone & Webster's obligations hereunder through Substantial Completion (the "Stone & Webster
 Bond") as soon as reasonably practicable but in no event later than sixty (60) Days after
 Contractor’s receipt of a written notice from Owner requiring Contractor to provide the Stone &
 Webster Bond. If Stone & Webster procures the Stone & Webster Bond pursuant to this Section,
 Owner shall be responsible for the cost of the Stone & Webster Bond which shall be a direct
 pass-through to Owner, without any markups whatsoever, including without limitation overhead
 or profit. The value of the Stone & Webster Bond shall be adjusted on an annual basis to be
 equal to fifteen percent (15%) of the highest, projected three (3) months billing for Stone &
 Webster's portion of the Work during the applicable year as set forth in Exhibit F-2 but, under no
 circumstances, shall the value of the bond be less than ten million dollars ($10,000,000) or such
 lower amount as mutually agreed by the Parties, or greater than one hundred million dollars
 ($100,000,000). Stone & Webster shall not be required to continue to maintain the Stone &
 Webster Bond in the event that either of Shaw's Standard & Poor's or Moody's senior unsecured
 credit rating (or issuer rating in the absence of a senior unsecured debt rating) ("Credit Rating")
 is equal to BBB (by Standard and Poor's) or Baa2 (by Moody's), or higher. Conversely, subject
 to the provisions of this Section, such requirement of Stone & Webster to provide the Stone &
 Webster Bond shall be renewed if Shaw's Credit Rating subsequently drops below those ratings.

                (c)    Following the Effective Date, and upon Owner's request, if the Credit
 Rating of Toshiba is below both of BBB (by Standard and Poor's) and Baa2 (by Moody's),
 Westinghouse shall provide a payment and performance bond in the name of Westinghouse from
 an issuer having a long-term senior unsecured debt rating of A- or higher (by Standard & Poor's)
 or A3 or higher (by Moody's), with total assets of at least ten billion dollars ($10,000,000,000) to
 secure Westinghouse's obligations hereunder through Substantial Completion (the
 "Westinghouse Bond") as soon as reasonably practicable but in no event later than sixty (60)
 Days after Contractor’s receipt of a written notice from Owner requiring Contractor to provide
 the Westinghouse Bond. If Westinghouse procures the Westinghouse Bond pursuant to this
 Section, Owner shall be responsible for the cost of the Westinghouse Bond which shall be a
 direct pass-through to Owner, without any markups whatsoever, including without limitation


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 overhead or profit. The value of the Westinghouse Bond shall be adjusted on an annual basis to
 be equal to fifteen percent (15%) of the highest, projected three (3) months billing for
 Westinghouse's portion of the Work during the applicable year as set forth in Exhibit F-1 but,
 under no circumstances, shall the value of the bond be less than ten million dollars ($10,000,000)
 or such lower amount as mutually agreed by the Parties, or greater than one hundred million
 dollars ($100,000,000). In the event that Westinghouse provides the Westinghouse Bond
 pursuant to this Section, and subsequently Toshiba's Credit Rating is equal to or greater than
 either of BBB (by Standard and Poor's) or Baa2 (by Moody's), Westinghouse shall not be
 required to continue to maintain the Westinghouse Bond. Conversely, subject to the provisions
 of this Section, such requirement of Westinghouse to provide the Westinghouse Bond shall be
 renewed if Toshiba's Credit Rating subsequently drops below those ratings.

                 (d)    Following the Effective Date, if at any time the Credit Rating of SCE&G
 or Santee Cooper, as applicable, is below both of BBB (by Standard and Poor's) and Baa2 (by
 Moody's), then SCE&G or Santee Cooper, as applicable, shall be required to provide Contractor
 with an irrevocable, standby letter of credit in form and substance acceptable to Contractor
 ("Owner Letter of Credit") from a bank having a long-term senior unsecured debt rating of A- or
 higher (by Standard & Poor's) or A3 or higher (by Moody's), with total assets of at least ten
 billion dollars ($10,000,000,000) as soon as reasonably practicable but in no event later than
 sixty (60) Days after Owner’s receipt of a written notice from Contractor. The value of the
 Owner Letter of Credit shall be adjusted on an annual basis to be equal to fifteen percent (15%)
 of the highest, projected three (3) months billing for the Work during the applicable year as set
 forth in Exhibit F-1 and Exhibit F-2 but, under no circumstances, shall the value of the Owner
 Letter of Credit be less than ten million dollars ($10,000,000), or greater than one hundred
 million dollars ($100,000,000). In the event that Owner provides the Owner Letter of Credit
 pursuant to this Section, and subsequently the Credit Rating of SCE&G and/or Santee Cooper, as
 applicable, is equal to or greater than either of BBB (by Standard and Poor's) or Baa2 (by
 Moody's), Owner shall not be required to continue to maintain the Owner Letter of Credit.
 Conversely, subject to the provisions of this Section, such requirement of Owner to provide the
 Owner Letter of Credit shall be renewed if SCE&G or Santee Cooper's, as applicable, Credit
 Rating subsequently drops below those ratings. If the Parties agree to reduce the value of the
 Stone & Webster Bond or the Westinghouse Bond pursuant to Section 8.6(b) or (c), then such
 reduction shall also be applied to the Owner Letter of Credit.

        8.7    Separate Payments for Consortium Members. Each Contractor invoice shall
 designate the amount of the payment due to each Consortium Member. Owner shall make
 payment to each Consortium Member as indicated.

                          ARTICLE 9 – CHANGES IN THE WORK

         9.1    Entitlement to Change Order. The following, to the extent that they impact the
 obligations of Contractor under this Agreement (each, a "Change"), shall entitle Contractor to a
 Change Order in accordance with the provisions of this Article 9:

               (a)    any addition to, deletion from, or modification of the Facility or any
 change in the Work, that is agreed by the Parties or that arises as a result of the issuance of the
 COL;


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                 (b)      an Uncontrollable Circumstance;

                 (c)      a Change in Law;

                (d)       issuance of new ITAAC or revisions to ITAAC in existence as of the
 Effective Date;

                (e)    Contractor encountering conditions at or affecting the Site not made
 known to Contractor or are not evident or readily discernible upon Contractor's inspection of the
 Site as provided in Section 3.6(d) and/or encountering Hazardous Materials for which it is not
 responsible;

                 (f)      the circumstances that entitle Contractor to a Change Order as provided
 for in Section 5.6;

                (g)    uncovering of the Work (unless the Work is found to be deficient) as
 provided for in Section 5.7(d);

                 (h)    any breach of this Agreement by Owner of its obligations under this
 Agreement (including, without limitation, the obligations under Section 3.6) or delay or other
 demonstrable adverse impact on Contractor's or a Subcontractor's activities under this Agreement
 resulting from delay by Owner in giving any required approvals or in performing any of Owner's
 responsibilities under Section 3.6 (other than any delay for which Contractor is responsible) or
 interference by Owner or Owner's Personnel or Invitees (other than Contractor or its
 Subcontractors or their Personnel or Invitees);

                 (i)     suspension of the Work pursuant to Article 22 except to the extent that it
 arises as a result of Contractor's act, omission or default;

                (j)     failure of Owner to issue the Full Notice to Proceed or Limited Notices to
 Proceed in time to support Contractor's required activities to maintain the Project Schedule as
 further described in Section 3.3;

              (k)    an instruction by Owner to Contractor to accelerate the performance of the
 Work accepted by Contractor; or

                 (l)   any other event or circumstance specifically identified in this Agreement
 as constituting a Change or entitling Contractor to a Change Order.

        9.2     Owner-Directed Changes. It is the intent of the Parties to preserve the design of
 the Standard Plant, including the approach to the supply chain, construction, licensing, operation
 and maintenance. However, Owner may request any Change, provided it is technically feasible,
 with the understanding that such Change may cause the Facility to no longer qualify as a
 Standard Plant, subject again to Sections 9.3 through 9.5.

        9.3    Effect of Changes. To the extent that a Change adversely affects Contractor's or
 its Subcontractors' ability to perform the Work, increases the costs for the Work, affects



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 Contractor's ability to achieve the Net Unit Electrical Output Guarantee or Warranties or its other
 obligations under this Agreement, or causes a delay in the Project Schedule, Contractor shall be
 entitled to an equitable adjustment as appropriate to the Contract Price, the Project Schedule, the
 Milestone Payment Schedule, the Guaranteed Substantial Completion Dates, the Scope of Work
 and/or such other parts of this Agreement as may be affected by such Change. Similarly, to the
 extent that a Change enhances Contractor's or its Subcontractors' ability to perform the Work,
 reduces the cost of the Work or its other obligations under this Agreement, or shortens the
 Project Schedule, Owner shall be entitled to an equitable adjustment as appropriate to the
 Contract Price, the Project Schedule, the Milestone Payment Schedule, the Guaranteed
 Substantial Completion Dates, the Scope of Work and/or such other parts of this Agreement as
 may be affected by such Change. Any increase or decrease in the Contract Price resulting from a
 Change shall be determined and shall be payable as follows:

                      (i)    by fixed or firm price in an amount proposed by Contractor and
 accepted by Owner (to be payable as the Parties may agree); or

                         (ii)   if Owner does not accept the fixed or firm price amount proposed
 by Contractor, on a Time and Materials Basis, using the rates in Exhibit G, provided that for any
 such Change, Contractor shall have the right to make a Claim for the costs of Work affected by
 the Change that are not covered in the Time and Materials Charges for the Change. Such
 additional costs shall be subject to audit in accordance with the terms of Section 25.4.

        9.4    Change Orders. Contractor shall submit written notice of a Change to Owner as
 soon as reasonably practicable under the circumstances after becoming aware of the Change.
 Such notice shall include (or where not possible, be followed by) notice of the following as such
 information becomes available:

                 (a)      details of the effect of the Change on the provisions of the Agreement;

               (b)        options to mitigate the costs or delays or enhance the savings associated
 with the Change;

                 (c)      an evaluation of the impact on the Licensing Basis as of the date of the
 Change;

                 (d)      a written proposal for executing the Work insofar as it has changed; and

                 (e)    changes that are needed to the Milestone Payment Schedule so that it
 reflects the changes to the Project Schedule.

 Change Orders shall be agreed to in writing by the Parties. Each Change Order shall show the
 adjustments agreed to by the Parties. If Owner requests a proposal for a Change in the Work
 from Contractor or should Contractor submit a notice for a Change under Section 9.1, a Change
 Order shall be issued to reimburse Contractor for any charges incurred, or to compensate Owner
 for any resulting savings, including but not limited to charges for or savings in estimating
 services, design services or preparation of proposed revisions to the Agreement. Any changed



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 Work performed by Contractor prior to the execution of a Change Order shall be at Contractor's
 risk.

        9.5    Disputes over Changes. In the event the Parties are unable to agree on any aspect
 of a Change Order, the dispute shall be resolved in accordance with the provisions of Article 27.

         9.6     Changes for Contractor's Convenience.

                (a)     Contractor shall have the right to take any action at its own expense that is
 generally consistent with this Agreement and that is reasonably necessary to meet the
 requirements of this Agreement, including performing its obligations in accordance with Good
 Industry Practices. With respect to Equipment or materials or aspects of the Work that are part
 of the Standard Plant, Contractor shall have the right to make substitutions of Equipment or
 materials set out in the Specifications, or deletions from or modifications to the Facility or the
 Work as described in the Scope of Work or the Licensing Basis, so long as such substitutions,
 deletions or modifications are equivalent or better as to function and reliability on a life cycle
 basis and do not cause the Equipment or materials or aspects of the Work to no longer conform
 to the Standard Plant. Contractor shall provide notice of and the rationale for any such Change to
 Owner.

                 (b)    In the event that Contractor desires to make substitutions of Equipment or
 materials set out in the Specifications, or deletions from or modifications to the Facility or the
 Work as described in the Scope of Work or the Licensing Basis and such action (i) would cause
 the Equipment or materials or such aspect of the Work (following the finalization of the design
 of the applicable system, component or structure) to no longer conform to the Standard Plant, or
 (ii) would be contrary to the COL or the DCD, Contractor shall obtain Owner's written approval
 prior to undertaking such Change.

                 (c)   In the event that Contractor desires to make material modifications to the
 Non-Standard Plant that are contrary to the COL or Contractor's issued station P&IDs, one-line
 electrical diagrams or the equipment arrangement drawings, Contractor shall obtain Owner's
 written approval thereof. Changes to Facility drawings and other documentation shall be
 documented and documents controlled in accordance with Contractor's PQAP and shall be
 submitted or made available to Owner for its review, but such Changes shall not be subject to
 Owner's approval.

                 (d)    Owner's prior written approval shall not be required for a Field Change
 that is made in accordance with Contractor's PQAP.

                (e)   Contractor shall provide its design change and configuration control
 procedure(s) to Owner for its review and comment.

                (f)    Contractor shall not be entitled to any adjustment to the Contract Price,
 Guaranteed Substantial Completion Date, Net Unit Electrical Output Guarantee, Warranties or
 any other term or condition of this Agreement in respect of any Change permitted pursuant to
 this Section 9.6. The provisions of this section 9.6(f) do not limit any of Contractor's rights to
 such adjustments for Changes that are made pursuant to Sections 9.1 or 9.2.


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        9.7    Optional Services and Equipment. The Parties acknowledge and agree that
 Exhibit A sets forth certain additional Services and Equipment, one or more of which, at the
 option of Owner, shall be included in the Work. If Owner desires to exercise such option, it shall
 provide Contractor written notice thereof, in which case such item shall be included in the Work
 and the Firm Price and/or Fixed Price and such other provisions shall be modified as set forth in
 Exhibit A.

         9.8     Changes in Import Fees and Duties. In the event that there is a Change in Law
 after the Effective Date that results in a reduction of the import fees or duties on the Equipment
 to be paid by Contractor, Owner shall be entitled to a Change Order for a reduction in the
 Contract Price to reflect such reduction in import fees or duties in accordance with the provisions
 of this Article 9.

                     ARTICLE 10 – UNCONTROLLABLE CIRCUMSTANCES

         10.1 Performance Excused. No Party shall be considered to be in default or in breach
 of its obligations under this Agreement to the extent that performance of such obligations is
 prevented, impacted or delayed by any Uncontrollable Circumstance which arises. Amounts due
 and payable for Work performed shall not be excused due to an Uncontrollable Circumstance.
 Without limiting Contractor's right to seek a Change Order, to the extent the Work is affected by
 an Uncontrollable Circumstance, Contractor shall work diligently to cure, remove, otherwise
 correct, minimize and contain costs and expenses attendant on or arising from each
 Uncontrollable Circumstance. In the event that an Uncontrollable Circumstance affects the
 Work and such Uncontrollable Circumstance has affected work for other AP1000 Nuclear Power
 Plant customers in the same manner and to the same extent as the Work hereunder, and the
 actions to be taken by Contractor to mitigate the effects of such Uncontrollable Circumstance
 and to resume full performance of Work using commercially reasonable efforts are the same for
 Owner and such other customers, Contractor shall not alter the priority between the Guaranteed
 Substantial Completion Dates set forth in the Project Schedule and the guaranteed substantial
 completion dates of such other customers as a result of such Uncontrollable Circumstance.
 Contractor shall provide information to Owner to explain its determination of the manner in
 which the Uncontrollable Circumstance has affected Owner and such other customers.

         10.2 Notice. If a Party's performance of its obligations under this Agreement is
 prevented, impacted or delayed by an Uncontrollable Circumstance, then it shall notify the other
 Party of the obligations, the performance of which is prevented, impacted or delayed, and the
 nature and cause of the event in writing within thirty (30) Days after the notifying Party or its
 Project Director becomes aware of the Uncontrollable Circumstance. The Party affected by an
 Uncontrollable Circumstance shall provide the other Party with weekly updates (i) estimating its
 expected duration, the cost of any remedial action, and the probable impact on the performance
 of its obligations hereunder, (ii) of the actions taken to remove or overcome the Uncontrollable
 Circumstance and (iii) of the efforts taken to mitigate or limit damages to the other Party. The
 Party affected by an Uncontrollable Circumstance shall also provide written notice to the other
 Party when it ceases to be so affected.




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                                    ARTICLE 11 – TESTING

         11.1    Scope and Objective of Testing.

                (a)    The scope of testing associated with this Article covers that testing which
 takes place for each Unit at the Site. The testing that shall be performed on-Site consists of
 Construction and Installation Tests, Preoperational Tests, Startup Tests and the Performance
 Test, each as described in this Article 11. Contractor shall provide on a Time and Materials
 Basis the assistance to Owner during the Preoperational Tests, the Startup Tests and the
 Performance Test (including without limitation Technical Support) required hereunder.

                 (b)     The "Joint Test Working Group" consists of an organizational group of
 representative personnel from each Party performing testing services, technical supervision
 and/or field support working with Owner's operating organization. The Joint Test Working
 Group shall oversee the implementation of the Preoperational Tests program and the Startup
 Tests program, including planning, scheduling and performance of all Preoperational Tests and
 Startup Tests. Owner shall delegate to Contractor the implementation and direction of the Joint
 Test Working Group. Contractor shall have overall responsibility and authority for technical
 direction of the initial test program, consisting of the Construction and Installation Tests, and
 Preoperational Tests for conducting those tests in accordance with the Project Schedule, and will
 act as the chairman of the Joint Test Working Group. Upon Unit Mechanical Completion, the
 Joint Test Working Group chairman will continue to have overall responsibility and authority for
 the technical direction of the Start-up Test program, but operation and control of the Unit shall
 reside entirely with Owner. Owner shall be responsible for conducting the Startup Tests and the
 Performance Tests in accordance with the Project Schedule and any delay in performance of the
 tests not due to the fault of Contractor or its Personnel shall entitle Contractor to a Change Order
 pursuant to Article 9. The Joint Test Working Group shall review and evaluate Construction and
 Installation Tests, Preoperational Tests and Startup Tests results and test turnover packages and
 recommend acceptance of the Turnover to Owner. Owner is responsible for a startup
 administrative manual and administrative procedures that provide detailed requirements and
 govern the execution of activities associated with the conduct of the test program, including the
 organization, structure and functional relationships of the Joint Test Working Group and the
 startup organization. The startup administrative manual shall provide direction for interface
 control of the internal and external transfer of information, design data, test results and other
 documents from one organization to another and the Turnover of systems and Equipment from
 Contractor to Owner. The startup administrative manual shall be prepared by Contractor for
 Owner on a Time and Materials Basis.

         11.2    Construction and Installation Tests.

                 (a)    The adequacy of construction and installation of components and systems
 shall be verified by construction inspection and installation tests. During the construction period,
 Contractor erects the structure, installs plant equipment and performs construction verification
 and inspection tests. All of these activities are executed, controlled, and documented in
 accordance with Contractor's approved procedures.




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 During construction, Contractor completes the Construction and Installation Test program in
 which various electrical and mechanical tests are performed including but not limited to the
 following:

                 ·      Cleaning and flushing

                 ·      Hydrostatic testing

                 ·      Checks of electrical wiring

                 ·      Valve testing

                 ·      Energization and operation of equipment

                 ·      Calibration of instrumentation


                (b)     During construction, Contractor completes the building of components
 associated with the various systems. The associated piping, wiring, equipment, and controls are
 verified to be installed in accordance with approved final design drawings. Construction and
 Installation Tests are performed and all appropriate documentation and exceptions to
 construction verification or tests, or incomplete tests shall be recorded as Turnover exceptions.
 On a system basis, completion of this program demonstrates that the system is ready for
 preoperational testing. The system shall be turned over to the Joint Test Working Group.

         11.3 Preoperational System Tests. Following the Construction and Installation Tests
 of the particular components and systems, the preoperational system tests are conducted.
 Activities during the Preoperational Tests are conducted in accordance with a Startup
 Administrative Manual as provided in the Project Execution Plan. Initially, the Joint Test
 Working Group prepares the system/components for dynamic testing. Systems are flushed,
 tuned, and prepared for preoperational and acceptance testing. The Joint Test Working Group,
 while coordinating any remaining functional testing, shall typically direct Owner's operations
 personnel in the initial starting and operation of the various systems.

                (a)    Preoperational Tests shall be performed to demonstrate that the
 components and systems perform in accordance with selected design requirements so that initial
 Nuclear Fuel loading, initial criticality, and subsequent power operation can be safely undertaken
 in accordance with Law and applicable Government Approvals. Preoperational Tests at elevated
 pressure and temperature are referred to as hot functional tests. Contractor shall provide ten (10)
 Days advance notice to Owner of the scheduled testing dates via updates to the Project Schedule.

 The general objectives of the Preoperational Test program are the following:

                 ·      Demonstrate that essential plant components and systems, including
                        alarms and indications, meet appropriate requirements based on the
                        design.




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                 ·      Provide documentation of the performance and condition of the
                        components and systems.

                 ·      Provide baseline test and operating data on equipment and systems for
                        future use and reference.

                 ·      Operate Equipment for a sufficient period to demonstrate performance in
                        accordance with the Preoperational Test procedures.

                 ·      Demonstrate that the systems operate on an integrated basis.

 Abstracts for the Preoperational Tests for portions of systems/components that perform
 safety-related functions; perform defense-in-depth functions; contain, transport, or isolate
 radioactive material; and for other applicable systems are specified in Chapter 14 of the Design
 Control Document.

                (b)     Contractor shall develop the Preoperational Test procedures consistent
 with its procedures for the Standard Plant and shall provide the Preoperational Test procedures to
 Owner in advance of the testing. A team referred to as the "Preoperational Test Group" shall be
 established by the Joint Test Working Group and be manned by each Party's personnel as
 mutually agreed by the Parties. The Preoperational Test Group shall consist of engineering test
 leads and test personnel. The Preoperational Test Group is responsible for conducting the
 Preoperational Tests in accordance with the Project Schedule.

               (c)     Facility equipment used in the performance of Preoperational Tests shall
 be operated by Owner in accordance with appropriate operating procedures, thereby giving
 Owner's operating staff an opportunity to gain experience in using these procedures and
 demonstrating their adequacy prior to plant initial criticality.

               (d)    Contractor shall review the results of the Preoperational Tests with the
 Preoperational Test Group and notify Owner when it may proceed with the Startup Test
 program.

         11.4    Startup Tests Objectives and Protocol.

                (a)    The Startup Test program begins with initial Nuclear Fuel loading after
 the Preoperational Tests necessary for Nuclear Fuel loading have been successfully completed.
 Startup Tests can be grouped into four broad categories:

                 ·      Tests related to initial Nuclear Fuel loading.

                 ·      Tests performed after initial Nuclear Fuel loading but prior to initial
                        criticality.

                 ·      Tests related to initial criticality and those performed at low power (less
                        than five percent (5%)).

                 ·      Tests performed at power levels greater than five percent (5%)


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 During performance of the Startup Test program, Owner's operating staff shall have the
 opportunity to obtain practical experience in the use of appropriate operating procedures while a
 Unit progresses through heatup, criticality, and power operations.

                 (b)    The general objectives of the Startup Test program are to:

                 ·      Install the Nuclear Fuel in the Unit reactor vessel in a controlled and safe
                        manner.

                 ·      Verify that the Unit reactor core and components, equipment, and systems
                        required for control and shutdown have been assembled according to
                        design and meet specified performance requirements.

                 ·      Achieve initial criticality and operation at power in a controlled and safe
                        manner.

                 ·      Verify that the operating characteristics of the Unit reactor core and
                        associated control and protection equipment are consistent with design
                        requirements and accident analysis assumptions.

                 ·      Obtain the required data and calibrate equipment used to control and
                        protect the Facility.

                 ·      Verify that the Unit responds to the transient tests as described in the
                        Design Control Document.

                 ·      Verify the operating characteristics of the Unit secondary plant equipment
                        (turbine, generator, isophase bus duct and main power transformer, heater
                        balance, main steam, extraction steam, steam dump, condenser,
                        condensate, feedwater, make-up water, cooling tower, main feedwater
                        pumps, etc.) and associated control equipment.

 Abstracts of the Startup Tests are provided in Chapter 14 of the Design Control Document.
 Contractor shall develop the Startup Test procedures per the guidelines documented in Chapter
 14 of the Design Control Document, in accordance with its procedures for the Standard Plant and
 shall provide the Startup Test procedures to Owner in advance of the testing. A team referred to
 as the "Startup Test Group" shall be established by the Joint Test Working Group and be manned
 by each Party's personnel as mutually agreed by the Parties. The Startup Test Group shall
 consist of engineering test leads and test personnel. The Startup Test Group is responsible for
 conducting the Startup Tests in accordance with the agreed upon Project Schedule. Contractor
 shall provide Technical Support to Owner during these tests.

               (c)     Contractor shall give notice to Owner of the date (the "Ready for Startup
 Test Date") when the Unit is ready, or would have been ready within the next ninety (90) Days
 except for a delay caused by Owner or its Personnel or resulting from an Uncontrollable
 Circumstance, for the Startup Tests on such Unit to begin; provided, however, that such notice
 shall not be given until the Construction and Installation Tests are completed and the



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 Preoperational Tests are underway such that the Unit will be ready for Startup Tests within
 ninety (90) Days from such notice.

                        (i)     In the event of any such delay, the provisions of Article 9 shall
 apply. If the Work is suspended as a result of the delay, the Parties shall determine as part of the
 Change Order process such matters as (A) maintenance procedures for the Unit to be followed
 by Owner until the Startup Test can occur, (B) whether or not Contractor should demobilize its
 forces for the duration of the suspension, (C) if demobilization is to occur, Contractor Personnel
 that shall either remain on the Site and/or be permitted to examine the Unit and Owner's
 maintenance records on a routine basis to determine whether the agreed maintenance procedures
 are being followed and (D) validation procedures to be undertaken on the Unit to re-determine its
 readiness for the Startup Test prior to conducting the Startup Test.

                         (ii)    To the extent that a delay caused by Owner or its Personnel or
 resulting from an Uncontrollable Circumstance delays any Startup Test by more than one
 hundred eighty (180) Days from the Ready for Startup Test Date, Contractor shall be entitled to
 the Milestone Payments that would be due upon or prior to Startup Test Completion, minus the
 direct costs attributable to the Technical Support to have been provided by Contractor for such
 Startup Test(s).

                       (iii)   At such time as Owner is ready for the Startup Test to be
 conducted, Contractor shall (if applicable) re-mobilize at the Site on a mutually agreed date and
 shall proceed to provide the Technical Support required for the Startup Test, followed by the
 Performance Test and the other activities required to achieve Substantial Completion and Final
 Completion. Prior to initiating the Startup Test, Contractor shall have the right, pursuant to the
 agreed validation procedures determined as described in clause (i) above, to determine whether
 any degradation of the Unit has occurred. If degradation of the Unit has occurred, Contractor
 shall be entitled to a Change Order pursuant to Article 9 for the costs and time required to
 perform corrections to the Unit to return it to a state ready for the Startup Test.

                       (iv)     If the delay caused by Owner or its Personnel or resulting from an
 Uncontrollable Circumstance delays any Startup Test by more than one (1) year from the Ready
 for Startup Test Date, then (x) the Startup Test shall be deemed to have been completed and
 Substantial Completion shall be deemed to have occurred for purposes of the Warranties, Section
 22.2 and any other provisions of the Agreement pertaining to the Guaranteed Substantial
 Completion Date; (y) Contractor shall be entitled to the remaining Milestone Payments; and (z)
 Final Completion shall be deemed to have occurred provided that Contractor completes such
 other Work that can be completed notwithstanding the inability to conduct the Startup Test and
 Performance Test. At such time, if any, as Owner is ready for the Startup Test to be conducted,
 Contractor's sole responsibility hereunder with respect to such Startup Test shall be to provide
 Technical Support for the testing on a Time and Materials Basis.

         11.5    Performance Tests.

               (a)     Contractor shall develop the Performance Test procedures consistent with
 its procedures for the Standard Plant and shall provide the Performance Test procedures to
 Owner six (6) months in advance of the testing for review. Performance Test procedures must


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 be approved by Owner, such approval not to be unreasonably withheld. Owner shall provide all
 consumables, semi-skilled and skilled labor, fully trained and licensed operators and any other
 material or services required for the tests. Contractor shall maintain a minimal construction staff
 and labor on Site to support the testing process.

                 (b)     A test (the "Net Unit Electrical Output Test") shall be run to determine
 whether the Unit meets the Net Unit Electrical Output Guarantee. The Net Unit Electrical
 Output Test for the Unit shall be conducted in general compliance with Power Test Code 46
 (PTC-46) with the NSSS power no less than 99.5% of rated power measured using the
 Secondary Calorimetric Methodology and for the periods and duration discussed below. The test
 shall consist of four test runs at least 2 hours in duration. If upon evaluation of the data more
 than two of the test runs are found unacceptable for reasons of equipment failure or
 environmental instability, additional runs will be made. Test run duration may be extended if
 necessary to reduce the random uncertainty in the test results to less than 0.25%. Data collected
 within each test run will be averaged and the results corrected to guarantee reference conditions.
 The final Net Unit Electrical Output shall be the average of the corrected net electrical output for
 all of the successful test runs.

 Corrections shall be applied to the measured net electrical output for NSSS power, electrical
 power factor at the high side of the main step-up transformer, ambient wet and dry bulb
 temperature and temperature of the makeup water to the cooling tower.

 The Net Unit Electrical Output Test for the Unit shall be determined during a period of
 continuous operation of one hundred (100) hours. Such Net Unit Electric Output Test shall be
 satisfactorily completed when the Unit has demonstrated its capability of meeting the Net Unit
 Electrical Output Guarantee as described above. The measurement frequency shall be in
 compliance with PTC-46 throughout the test.

                (c)      Contractor shall give notice to Owner of the date (the "Ready for
 Performance Test Date") when the Unit is ready, or would have been ready within the next
 ninety (90) Days except for a delay caused by Owner or its Personnel or resulting from an
 Uncontrollable Circumstance, for the Performance Test on such Unit to begin; provided,
 however, that such notice shall not be given until the Construction and Installation Tests and the
 Preoperational Tests are completed and the Startup Tests are underway and would be completed
 within the next ninety (90) Days unless there has been a delay as described in Section 11.4(c). In
 the event that there has been a delay in conducting the Startup Test due to a delay caused by
 Owner or its Personnel or resulting from an Uncontrollable Circumstance, then the Ready for
 Performance Test Date shall be one hundred eighty (180) Days after the Ready for Startup Test
 Date plus the number of Days of performance of the Performance Test if performed pursuant to
 the original schedule for the test plus the number of Days of any delay incurred in performance
 of the Startup Test that results from circumstances other than a delay caused (i) by Owner or its
 Personnel or (ii) resulting from an Uncontrollable Circumstance.

                       (i)    In the event of any such delay, the provisions of Article 9 shall
 apply. If the Work is suspended as a result of the delay, the Parties shall determine as part of the
 Change Order process such matters as (A) maintenance procedures for the Unit to be followed
 by Owner until the Performance Test can occur, (B) whether or not Contractor should


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 demobilize its forces for the duration of the suspension, (C) if demobilization is to occur,
 Contractor Personnel that shall either remain on the Site and/or be permitted to examine the Unit
 and Owner's maintenance records on a routine basis to determine whether the agreed
 maintenance procedures are being followed and (D) validation procedures to be undertaken on
 the Unit to re-determine its readiness for the Performance Test prior to conducting the
 Performance Test.

                         (ii)    To the extent that a delay caused by Owner or its Personnel or
 resulting from an Uncontrollable Circumstance delays any Performance Test by more than one
 hundred eighty (180) Days from the Ready for Performance Test Date, Contractor shall be
 entitled to the Milestone Payment that would be due upon Substantial Completion, minus the
 direct costs attributable to the Technical Support to have been provided by Contractor for such
 Performance Test.

                         (iii)  At such time as Owner is ready for the Performance Test to be
 conducted, Contractor shall (if applicable) re-mobilize at the Site on a mutually agreed date and
 shall proceed to conduct the Performance Test, followed by the other activities required to
 achieve Substantial Completion and Final Completion of the Unit. Prior to initiating the
 Performance Test, Contractor shall have the right, pursuant to the agreed validation procedures
 determined as described in clause (i) above, to determine whether any degradation of the Unit
 has occurred. If degradation of the Unit has occurred, Contractor shall (without duplication of
 Changes to which Contractor is entitled under Section 11.4(c)(iii)) be entitled to a Change Order
 pursuant to Article 9 for the costs and time required to perform corrections to the Unit to return it
 to a state ready for the Performance Test.

                       (iv)    If the delay caused by Owner or its Personnel or resulting from an
 Uncontrollable Circumstance delays the Performance Test by more than one (1) year from the
 Ready for Performance Test Date, then (x) the Performance Test shall be deemed to have been
 completed and Substantial Completion shall be deemed to have occurred for purposes of the
 Warranties, Section 22.2 and any other provisions of the Agreement pertaining to the Guaranteed
 Substantial Completion Date and the Net Unit Electrical Output Guarantee; (y) Contractor shall
 be entitled to the remaining Milestone Payments; and (z) Final Completion will be deemed to
 have occurred provided that Contractor completes such other Work that can be completed
 notwithstanding the inability to conduct the Performance Test. At such time, if any, as Owner is
 ready for the Performance Test to be conducted, Contractor's sole responsibility hereunder with
 respect to such Performance Test and the Net Unit Electrical Output Guarantee shall be to
 provide Technical Support for the testing on a Time and Materials Basis.

                        (v)     Except as provided in Section 11.5(c)(iv), should a Unit when
 tested be assessed to have not fully met the Net Unit Electrical Output Guarantee, Contractor
 shall proceed as provided below in Section 11.6. Contractor shall promptly notify Owner of the
 Unit's readiness for any required retest, specifying the time and date of such test, such date being
 not less than seven (7) Days from the date of notification.

        11.6 Net Unit Electrical Output Guarantee. Subject to the limits of liability set forth in
 Section 13.2, and subject to the provisions of this Agreement and in accordance with the
 Operating Procedures and Maintenance Procedures and Facility Manuals, Contractor guarantees


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 that the Net Unit Electrical Guarantee for a Unit, when loaded with the Nuclear Fuel, shall be
 1101 MWe (the "Net Unit Electrical Output Guarantee") determined using the conditions and
 calculation as set forth in Exhibit L based on mechanical draft cooling towers and measured at
 the high side of the main transformer including designated House Loads pursuant to Exhibit L, as
 evidenced by the Net Unit Electrical Output Test. Meeting the Net Unit Electrical Output
 Guarantee demonstrates that the Unit shall be capable of producing an average annual Net Unit
 Electrical Output of 1,117 MWe.

                (a)      In the event a Unit does not meet the Net Unit Electrical Output Guarantee
 as of the Guaranteed Substantial Completion Date, Contractor shall, at its sole option, (i)
 perform, at its own expense, such repair, replacement or adjustment or modification to enable
 such Unit to produce the guarantee or (ii) subject to the provisions below in this Section 11.6(a),
 pay the applicable Performance Liquidated Damages. The decision to repair, replace, adjust or
 modify shall be made by Contractor, after consultation with Owner. Contractor also shall provide
 to Owner an analysis of the cause that led to the failure of the Unit to meet the Net Unit
 Electrical Output Guarantee and an estimate of the efforts that would be needed to effect the
 repair, replacement, adjustment or modification. Contractor's repair, replacement, adjustment or
 modifications to a Unit shall not interfere with Owner's commercial operation of such Unit. The
 time period during which Contractor shall have this right to repair, replace, adjust or modify the
 Unit to improve performance shall terminate at the end of the first Operational Cycle; provided,
 however, if the equipment or component required to remedy the problem has long lead
 requirements that preclude the remedy in this time period, Contractor shall have until the end of
 the second Operational Cycle to remedy the problem. If Contractor has not already paid the
 Performance Liquidated Damages pursuant to the terms hereof and, (subject to the proviso in the
 preceding sentence) as of the end of the first Operational Cycle, the Net Unit Electrical Output
 Guarantee has not been met, Contractor shall pay the applicable Performance Liquidated
 Damages. Contractor also shall have the right to terminate its efforts to improve the performance
 of the Unit and pay the applicable Performance Liquidated Damages at any time during the first
 Operational Cycle. If Contractor has previously paid Performance Liquidated Damages and, as a
 result of Contractor's efforts, as of the end of the first Operational Cycle (or the second
 Operational Cycle if long lead equipment or components are involved in the remedy) the Unit is
 able to meet the Net Unit Electrical Output Guarantee or Contractor has been able to increase the
 Net Unit Electrical Output from the level at which the Performance Liquidated Damages were
 previously paid, in each case as demonstrated by a Net Unit Electrical Output Test, Contractor
 shall be entitled to a refund of all or the applicable portion of the Performance Liquidated
 Damages paid by Contractor, calculated as provided in Section 13.2. Amounts expended by
 Contractor in its efforts to meet the Net Unit Electrical Output Guarantee shall not limit or affect
 Contractor's obligation to pay Performance Liquidated Damages.

                 (b)    The Net Unit Electrical Output Guarantee is subject to the conditions
 stated in Section 14.4(c) and to the following:

                         (i)     Owner has provided access to the electrical grid and sufficient
 electrical load to perform the test; and




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                        (ii)   The Net Unit Electrical Output Guarantee is based upon the
 conditions specified in Exhibit L. If conditions during the test differ from those specified,
 adjustments shall be made accordingly to the Net Unit Electrical Output using graphs, tables and
 other data as prepared by Contractor, after consultation with Owner, to establish the Net Unit
 Electrical Output to compare to the Net Electric Output Guarantee.

                (c)    Necessary auxiliary equipment for producing the Net Unit Electrical
 Output shall include only the Equipment loads provided in Exhibit L.

                (d)     The Net Unit Electrical Output Guarantee shall be demonstrated by the
 Net Unit Electrical Output Test to be conducted at the times and subject to the conditions set
 forth herein. Satisfactory completion of such test or re-test, or the payment of Performance
 Liquidated Damages to Owner shall relieve Contractor of any further obligation with respect to
 the Net Unit Electrical Output Guarantee.

                         ARTICLE 12 – STAGES OF COMPLETION

         12.1    Turnover.

                (a)    Turnover refers to the sequential mechanical completion of each system
 and structure of a Unit. "Turnover" of a system or structure shall occur upon the satisfaction of
 the following conditions:

                        (i)    Such system, structure or component (A) shall be mechanically
 and electrically sound; (B) shall have been cleaned out as necessary to perform the Construction
 and Installation Tests for such system or structure; and (C) the subsystems comprising such
 system, structure or component shall have been checked for alignment, lubrication, and electrical
 continuity and hydrostatic and pneumatic pressure integrity; and

                        (ii)   the Construction and Installation Tests for such system or structure
 shall have been completed such that Owner can confirm that the criteria for the Construction and
 Installation Tests have been met; and

                      (iii)   Structures, systems and components or portions thereof shall be
 completed, necessary coatings applied, and the area cleaned; and

                        (iv)    The Preoperational Test has validated compliance with the design
 specifications to the extent permitted under the Unit's configuration status. (For example, some
 design requirements cannot be validated until after Nuclear Fuel loading.)

                (b)    Notice and Acceptance of Turnover. When Contractor believes the
 provisions of Section 12.1(a) have been satisfied with respect to each system or structure,
 Contractor shall deliver a written notice of such determination through the Joint Test Working
 Group to Owner with sufficient detail to enable Owner to determine whether Contractor has
 achieved such requirements. Turnover of such system or structure shall be deemed to have
 occurred within ten (10) Business Days following delivery of such determination to Owner,
 unless within such ten (10) Business Days period, Owner has notified Contractor in writing of


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 why it disagrees that Turnover has occurred, in which case (and without prejudice to Contractor's
 right to submit a Claim) Contractor shall take such corrective actions as are necessary and
 resubmit its written notice of determination to Owner in accordance with this Section 12.1(b).
 Upon Turnover of a system or structure, Contractor shall turn over risk of loss and care, custody,
 control and operation of such system, structure or component to Owner in accordance with
 Section 21.2.

         12.2    Preoperational Test Completion.

               (a)    Unit Mechanical Completion. “Unit Mechanical Completion” shall be
 achieved when the conditions as stated in Section 11.4(a) for the commencement of Nuclear Fuel
 loading the Unit have been achieved. When submitting its written notice of determination for
 such Unit Mechanical Completion, Contractor shall include notice that Turnover has occurred.

               (b)     "Preoperational Test Completion" for a Unit shall be deemed to have
 occurred upon satisfactory completion of the Preoperational Tests for the Unit.

                 (c)   Contractor shall notify Owner when the provisions of Section 12.2(b) have
 been satisfied. Owner shall accept such Unit as having achieved Preoperational Test Completion,
 by delivering to Contractor notice of that acceptance within ten (10) Business Days following
 receipt of Contractor's notice that Preoperational Test Completion has occurred; alternatively,
 Owner may disagree that Preoperational Test Completion has occurred by notifying Contractor
 in writing of why it disagrees that Preoperational Test Completion has occurred. If no notice is
 issued by Owner within the required time period, Owner shall be deemed to have accepted that
 Preoperational Test Completion has occurred. The date of Preoperational Test Completion shall
 be the date the Unit has achieved Preoperational Test Completion and not the date of Owner's
 acceptance.

         12.3    Startup Test Completion.

                (a)     Prior to commencing the Startup Tests, the Parties shall have jointly
 determined and agreed upon a punch list of the remaining Work for each Unit. The items on the
 punch list that are required to be completed before the commencement of the Startup Tests for
 reasons of safety or compliance with applicable Laws shall have been completed prior to the
 commencement of the Startup Tests.

                (b)     "Startup Test Completion" for a Unit shall be deemed to have occurred
 upon satisfactory completion of the Startup Test for the Unit or the deemed completion of a
 Startup Test pursuant to Section 11.4(c)(iv).

                (c)     Contractor shall notify Owner when the provisions of Section 12.3(b) have
 been satisfied. Owner shall accept such Unit as having achieved Startup Test Completion, by
 delivering to Contractor notice of that acceptance within forty-five (45) Days following receipt
 of Contractor's notice that Startup Test Completion has occurred; alternatively, Owner may
 disagree that Startup Test Completion has occurred by notifying Contractor in writing of why it
 disagrees that Startup Test Completion has occurred. If no notice is issued by Owner within the
 required time period, Owner shall be deemed to have accepted that Startup Test Completion has


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 occurred. The date of Startup Test Completion shall be the date the Unit has achieved Startup
 Test Completion and not the date of Owner's acceptance.

         12.4    Substantial Completion.

               (a)    "Substantial Completion" for a Unit shall have occurred upon satisfactory
 completion of a Performance Test, the deemed completion of a Performance Test pursuant to
 Section 11.5(c)(iv), or the payment of applicable Performance Liquidated Damages by
 Contractor.

                 (b)    Contractor shall notify Owner when the provisions of Section 12.4(a) have
 been satisfied. Owner shall accept such Unit as having achieved Substantial Completion, by
 delivering to Contractor notice of that acceptance within sixty (60) Business Days following
 receipt of Contractor's notice that Substantial Completion has occurred; alternatively, Owner
 may disagree that Substantial Completion has occurred by notifying Contractor in writing of why
 it disagrees that Substantial Completion has occurred. If no notice is issued by Owner within the
 required time period, Owner shall be deemed to have accepted that Substantial Completion has
 occurred. The date of Substantial Completion shall be the date the Unit has achieved Substantial
 Completion and not the date of Owner's acceptance.

         12.5 Punch List. Prior to Substantial Completion of a Unit, the Parties shall jointly
 determine and agree upon a comprehensive list of remaining Work, which shall be of a minor
 nature and not prevent commercial operation of the Unit (the "Final Completion Punch List").
 Owner shall have the right to withhold from the Milestone Payment due upon Substantial
 Completion of a Unit an amount of money equal to one hundred twenty-five percent (125%) of
 the expected cost of completion of the Final Completion Punch List, which amount shall be
 released to Contractor upon Final Completion of the Unit. In the event that any items on the
 Final Completion Punch List cannot be performed until the next Nuclear Fuel re-load, Final
 Completion of a Unit shall be deemed to have been achieved for purposes of this Agreement
 provided that Contractor agrees in writing with Owner to return to complete such Work at the
 time of the next Nuclear Fuel re-load, and Owner shall have the right to continue to retain one
 hundred twenty-five percent (125%) of the expected cost of completion of such items until such
 Work is completed. In lieu of the retention described in this Section 12.5, Contractor shall have
 the right to provide a letter of credit or a bond, in form and substance reasonably satisfactory to
 Owner, for the completion of the Final Completion Punch List, in which case the amount
 retained for the Final Completion Punch List shall be released to Contractor.

         12.6    Final Completion.

               (a)   Subject to 12.5, "Final Completion" of a Unit shall be deemed to have
 occurred upon the completion of the Final Completion Punch List and the other Work required
 under the Agreement with the exception of obligations under the Warranties.

                 (b)   Contractor shall notify Owner when the provisions of Section 12.6(a) have
 been satisfied. Owner shall accept the Unit as having achieved Final Completion by delivering to
 Contractor notice of that acceptance within thirty (30) Days following receipt of Contractor's
 notice that Final Completion has occurred; alternatively, Owner may reject the Unit as having


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 achieved Final Completion by notifying Contractor in writing of why it disagrees that Final
 Completion has occurred. If no notice is issued by Owner within the required time period, Owner
 shall be deemed to have accepted that Final Completion has occurred. The date of Final
 Completion shall be the date the Unit has achieved Final Completion and not the date of Owner's
 acceptance.

                (c)    In the event that Contractor is unable to achieve Final Completion within
 six (6) months following Substantial Completion of the Second Unit (or if there is no Second
 Unit, the First Unit) due to the fact that Owner limits Contractor's access to the Facility or
 otherwise does not allow Contractor to take the necessary actions to achieve Final Completion,
 Final Completion shall be deemed to have occurred; provided that the foregoing shall not apply
 with respect to Final Completion Punch List items that cannot be completed until the next
 Nuclear Fuel re-load as provided in Section 12.5.

                               ARTICLE 13 – LIQUIDATED DAMAGES

         13.1 Delay Liquidated Damages. The Parties agree that it would be extremely difficult
 and impracticable under presently known and anticipated facts and circumstances to ascertain
 and fix the actual damages Owner would incur if a Unit does not achieve Substantial Completion
 by the Guaranteed Substantial Completion Date for such Unit and, accordingly, if a Unit does
 not achieve Substantial Completion by such Unit's Guaranteed Substantial Completion Date due
 to Contractor's fault, Owner's remedy for such delay shall be to recover from Contractor as
 liquidated damages, and not as a penalty, liquidated damages ("Delay Liquidated Damages") as
 follows:

             Number of Days           Delay Liquidated Damages (per
             After Guaranteed            Day or portion thereof):
                Substantial
             Completion Date:

                      1-30                        $100,000

                      31-90                       $150,000

                     91-150                       $200,000

                     151-365                      $250,000

               366 or beyond                          $0



 If a delay in achieving Substantial Completion of a Unit continues beyond three hundred sixty-
 five (365) Days after the Guaranteed Substantial Completion Date for such Unit, no additional
 Delay Liquidated Damages shall be due. Payment of the Delay Liquidated Damages shall be
 Owner's sole and exclusive remedy for Contractor's failure to achieve Substantial Completion of
 a Unit on or before the Guaranteed Substantial Completion Date for such Unit; however, Delay


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 Liquidated Damages are intended only to cover damages suffered by Owner as a result of delay
 and shall not affect the right of Owner to terminate the Agreement pursuant to Section
 22.2(a)(iii) or its remedies provided for in Section 22.2 as a result of such termination.

         13.2 Performance Liquidated Damages. If the Unit does not meet the Net Unit
 Electrical Output Guarantee due to Contractor's fault, Owner's remedy for such failure shall be to
 recover from Contractor Performance Liquidated Damages of two thousand dollars ($2,000) for
 each whole KWe that the Net Unit Electrical Output, as demonstrated by a Net Unit Electrical
 Output Test, is below the Net Unit Electrical Output Guarantee. The Parties agree that it would
 be extremely difficult and impracticable under presently known and anticipated facts and
 circumstances to ascertain and fix the actual damages Owner would incur in the event that the
 Unit fails to meet the Net Unit Electrical Output Guarantee, and, accordingly Owner's remedy for
 such failure shall be to recover from Contractor as liquidated damages, and not as a penalty, the
 Performance Liquidated Damages. In the event that Contractor has paid the Performance
 Liquidated Damages and as of the end of the first Operational Cycle (or the second Operational
 Cycle if long lead equipment or components were involved in the remedy) has been able to
 achieve the Net Unit Electrical Output Guarantee or has improved the Net Unit Electrical
 Output, Contractor shall be entitled to receive a refund of all or the applicable portion of the
 Performance Liquidated Damages paid, based on the difference between the Performance
 Liquidated Damages paid and the Performance Liquidated Damages due following Contractor's
 repair, replacement, adjustment or modifications to the Unit as demonstrated by a Performance
 Test, minus seven hundred fifty dollars ($750) per MW below the Net Unit Electrical Output
 Guarantee for each Day that the Unit operated below the Net Unit Electrical Output Guarantee.
 In no event shall the total Performance Liquidated Damages due under this Agreement exceed
 seven and one-half percent (7.5%) of the Contract Price per Unit (the "Performance Liquidated
 Damages Cap").

         13.3 Performance Bonus. Following Substantial Completion, the Net Unit Electrical
 Output for the Unit will be measured when the Unit is at one hundred percent (100%) reactor
 power to determine an average Net Unit Electrical Output. If, as of the completion of the second
 Operational Cycle (a) the Unit capacity factor is above eighty percent (80%); and (b) the average
 Net Unit Electrical Output achieved by a Unit exceeds the Net Unit Electrical Output Guarantee,
 then Owner shall pay to Contractor a bonus (the “Performance Bonus”) of five million dollars
 ($5,000,000) for each whole MWe the Unit achieves above 1,117 MWe. For the purposes of the
 foregoing, "capacity factor" shall mean the ratio of the megawatt-hours produced compared to
 the megawatt-hours the Unit is capable of producing at rated power during an Operational Cycle,
 stated as a percentage, and any hours that the Unit is not producing megawatt-hours that are not
 attributable to the fault of Contractor shall be included as hours of production.

         13.4 Payment. Delay Liquidated Damages and Performance Liquidated Damages, if
 due for a Unit, shall be due and payable by Contractor to Owner within thirty (30) Days
 following agreement by the Parties that such amount is due. The Performance Bonus, if due for a
 Unit, shall be paid within thirty (30) Days following the end of the second Operational Cycle of
 such Unit. If the payment of any such amount is disputed, then once the dispute is resolved, the
 additional amount due, if any, shall be paid, or the excess amount paid, if any, shall be refunded,
 by the applicable Party, within thirty (30) Days after the date of the final resolution, together


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 with interest at a rate equal to the Prime Rate plus one percent (1%) per annum, applied from the
 original due date of the payment, until paid (or in the case of any overpayment, from the date
 paid until refunded by the Party).

                                   ARTICLE 14 – WARRANTY

         14.1    Equipment.

                 (a)      Equipment Warranty.

                       (i)   Contractor warrants that the Equipment and each Unit shall be free
 from defects in design, workmanship and material and shall conform to the Specifications (the
 "Equipment Warranty").

                      (ii)   The Equipment Warranty shall commence upon the date
 scheduled for Substantial Completion of a Unit in the Project Schedule as of October 1, 2008
 plus the number of Days of delay caused by Contractor and shall expire on the date that is
 twenty-four (24) months after that date for such Unit (the "Standard Equipment Warranty
 Period"); provided, however, if Owner exercises its option in Section 14.5 for any item of
 Equipment, the Warranty Period for such item of Equipment shall be the applicable Extended
 Equipment Warranty Period (as defined in Section 14.5).

                         (iii)  In the event that after the pouring of first safety-related concrete
 for the Unit but prior to Substantial Completion of such Unit, there is any delay in the
 performance of the Work caused by Owner or its Personnel or resulting from an Uncontrollable
 Circumstance, Contractor shall use commercially reasonable efforts to obtain an extension of the
 equipment warranty(ies) from Subcontractors for that Equipment designated by Owner so that
 Contractor can extend the Standard Equipment Warranty Period. The cost to Owner of such
 extended Equipment Warrant(ies), if obtained, shall be included in the Change Order to which
 Contractor shall be entitled as a result of such delay(s). For such Change Order, Contractor shall
 only markup the amount charged by the Subcontractor for such extended Equipment
 Warranty(ies) for Westinghouse's SGA and Stone & Webster's G&A and multipliers set forth in
 Exhibit G, and shall not include a markup for Pro Rata Profit. Any Contractor costs to administer
 such extended Equipment Warranties or for Contractor to provide the extended warranty without
 Subcontractor backing shall include Westinghouse's SGA and Stone & Webster's G&A and
 multipliers set forth in Exhibit G, and Pro Rata Profit consistent with the Profit applicable to the
 Consortium Member providing the Equipment.

                         (iv)   The Equipment Warranty does not apply to consumables and
 Equipment and material such as, but not limited to, gaskets, seals, filters, electronic tubes,
 packing, fuses, transistors and light bulbs which, by normal industry practices would be expected
 to be replaced during the Standard Equipment Warranty Period.

                       (v)    For Equipment which is placed into service prior to Substantial
 Completion, the Equipment Warranty shall commence upon such date when an item is placed
 into service and shall expire on the date that is twenty four (24) months after such date. If,
 however, any such item of Equipment is placed into service prior to Substantial Completion and


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 used by Contractor to support its performance of the Work, the Equipment Warranty shall
 commence upon the Substantial Completion Date of the First Unit and shall expire on the date
 that is twenty four (24) months after such date. Contractor shall give notice to Owner within five
 (5) Business Days after such an item has been placed into service.

                 (b)   Remedy. If, for non-conforming Equipment discovered during the
 applicable Warranty Period, Owner promptly notifies Contractor, Contractor shall perform such
 repair or replacement as required to meet the Equipment Warranty. The repaired or replaced part
 shall be further warranted to be free from defects in workmanship and material for a period of
 one (1) year from the date of repair or replacement, until the end of the then-current Operational
 Cycle (for items that cannot be verified during normal operations) or until the expiration of the
 Standard Equipment Warranty Period, whichever is later; provided that in no event shall such
 warranty extend beyond five (5) years from the commencement of the Standard Equipment
 Warranty Period and provided further that the terms of the Extended Equipment Warranty shall
 govern with respect to such matters for each item of Equipment covered by an Extended
 Equipment Warranty. The decision to repair or replace shall be made by Contractor. Removal
 and reinstallation of the non-conforming Equipment shall be performed by Contractor at its
 expense; provided that, Owner shall provide working access to the Equipment (which shall
 include removing, disassembly, replacing and/or reinstalling adjacent or interfering Equipment,
 components, materials, systems or structures in the Unit to the extent necessary to permit
 Contractor to perform its warranty obligation on the non-conforming Equipment), it being
 understood that such removal, disassembly, replacing and/or reinstalling shall not adversely
 affect any warranties and, at the request of Contractor, shall furnish, without cost to Contractor,
 plant support personnel and facilities to assist in the removal, reinstallation, repair and other
 activities occasioned by this warranty as specified in Section 14.1(e). Should investigation by
 Contractor reveal that a defect is not covered by the Equipment Warranty, Owner agrees to
 reimburse Contractor for its expenses in connection therewith.

                (c)    Warranty Work Deferral. At Owner's option, Warranty Work that impacts
 operation of the Facility may be deferred until the time of the Unit's next regularly scheduled
 maintenance outage and the Warranty provisions hereunder shall apply notwithstanding that such
 outage occurs after the end of the Standard Equipment Warranty Period. If Contractor advises
 Owner that deferral of the Warranty Work can reasonably be expected to result in damage to the
 Unit and/or Equipment which occurs after Contractor's advice and results from deferral of such
 Warranty Work, Owner may elect to use the Unit and/or Equipment at its risk. In no event may
 Owner defer the Warranty Work beyond eighteen (18) months from the date it would have been
 performed by Contractor without Owner's deferral.

                (d)     Additional Owner Obligations.        As long as any Equipment supplied
 hereunder is subject to warranty, Owner shall:

                      (i)     Afford Contractor an opportunity to review Owner's system of
 developing and recording data related to Facility performance;

                        (ii)    Provide, without cost to Contractor, any required decontamination
 to reasonable limits that shall allow Contractor to perform its obligations under this Article 14



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 and all necessary personnel and facilities for the removal, reinstallation, repair and other Site
 activities that may be occasioned by the presence of radioactive contamination;

                        (iii)  Provide authorized personnel of Contractor and its Subcontractors
 reasonable access to the Facility should Contractor decide to observe the manner in which the
 Facility is operated and maintained;

                       (iv)    Provide authorized personnel of Contractor and its Subcontractors
 reasonable access to operation and maintenance records of Owner; and

                     (v)     Afford Contractor at its expense the opportunity to attend and be
 heard during the presentations to any Government Authority relating to the Facility and
 Equipment performance.

 Should Owner not provide such of the foregoing as are required by Contractor, such action shall
 cause Contractor's obligations to terminate with respect to the particular claimed defect to the
 extent that Owner's failure caused prejudice to Contractor.

               (e)     Working Access to Equipment and Plant Support Activities to be Provided
 by Owner. The plant support personnel and facilities to be provided by Owner in accordance
 with Section 14.1(b) are as follows:

                        (i)       operations support to establish the required plant conditions for the
 repairs;

                        (ii)   make the plant systems, structures, and components available and
 placed in the proper configuration;

                        (iii)     provide the valve clearances and tag-outs necessary;

                       (iv)   provide the necessary licensed operators in the control room and
 containment as required by the COL;

                      (v)   establish and maintain appropriate and acceptable industrial safety
 conditions in accordance with Laws, Good Industry Practices, and utility policy such that
 reasonably unencumbered access to the required work areas is enabled for all personnel;

                         (vi)   as appropriate, provide body harnesses and/or personal flotation
 devices in sufficient quantities such that reasonably unencumbered access to the required work
 areas is enabled for all personnel;

                        (vii)     provide safe scaffolding meeting applicable OSHA standards (as
 required);

                        (viii)    provide suitable ambient lighting;




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                      (ix)   provide free and unobstructed access to the Site, including
 maintained storage areas and roadways. Floor conditions shall be suitable for crane and truck
 operation;

                          (x)     provide access such as remove/reinstall cubicle plugs and other
 related plant facilities, such as piping, ductwork, cable trays, platforms, insulation, etc.;

                       (xi)   provide      logistics   support          and      labor      for     moving
 equipment/materials into and out of the plant and shipping;

                       (xii) provide lay down area(s) for equipment storage, set-up, staging
 and operation. Area requirements shall depend on the scope of services performed;

                       (xiii) provide areas for storage of low specific activity and clean
 equipment boxes and/or cargo containers. The area(s) shall vary depending on storage
 configurations and scope of services;

                      (xiv) establish and maintain appropriate and acceptable radiological
 conditions in accordance with Laws, Good Industry Practices, and utility policy such that
 reasonably unencumbered access to the required work areas is enabled for all personnel;

                     (xv) provide anti-contamination clothing, lockers, change area,
 dosimetry, health physics and radiation protection service and badging for Site access as
 typically required;

                      (xvi) provide official whole body exposure data for Contractor personnel
 upon personnel departure from the Site;

                        (xvii) provide Gamma isotopic analysis to determine radioactivity of
 waste;

                        (xviii) provide breathing air and respiratory protection as necessary;

                        (xix)    provide plant compressed air as required;

                        (xx)     provide air for ventilation;

                        (xxi)    provide 110V, 220V and 480V power as required;

                        (xxii) provide plant and deionized water;

                       (xxiii) make available to Contractor, and maintain in an operable
 condition those hand tools, special tools, and calibrated equipment necessary;

                        (xxiv) allow access to machine shop and welding facilities, and hot tool
 crib access, as required;




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                       (xxv) provide crane operators, including polar crane availability on an as
 scheduled basis, and any other personnel necessary to complete the tasks outside of Contractor
 scope;

                       (xxvi) provide for consumables such as wipes and rags, and disposal of
 all contaminated materials;

                        (xxvii) provide QA/QC coverage as required in the Site approved
 procedures; and

                        (xxviii) provide outside phone lines, sanitation facilities and drinking
 water.

                (f)    Conditions. Such repair or replacement shall constitute complete
 fulfillment of Contractor obligation under the Equipment Warranty, and upon the expiration of
 the applicable Warranty Period, all such obligations shall terminate.

         14.2 Services Warranty. Contractor warrants that the Services shall be performed by
 qualified persons and using competent professional knowledge and judgment and shall conform
 to Good Industry Practices and the requirements of this Agreement (the "Services Warranty"). If
 any portion of the Services fails to comply with this Services Warranty and Owner promptly
 notifies Contractor of such non-conformance along with evidence which reasonably
 demonstrates Contractor's culpability, Contractor shall promptly re-perform the non-conforming
 Services and any additional Work required under the Equipment Warranty without additional
 compensation from Owner. The Services Warranty Period shall be concurrent with the Standard
 Equipment Warranty Period (the "Services Warranty Period").

 At Owner's option, Warranty Work may be deferred until the time of the Unit's next regularly
 scheduled maintenance outage and the Warranty provisions hereunder shall apply
 notwithstanding that such outage occurs after the end of the Services Warranty Period. If
 Contractor advises Owner that deferral of the Warranty Work can reasonably be expected to
 result in damage to the Unit and/or Equipment which occurs after Contractor's advice and results
 from deferral of such Warranty Work, Owner may elect to use the Unit and/or Equipment at its
 risk. In no event may Owner defer the Warranty Work beyond eighteen (18) months from the
 date it would have been performed by Contractor without Owner's deferral.

         14.3 Warranty of Title. Contractor represents and warrants that the Work, including
 the Equipment furnished by it and its Subcontractors that become part of the Facility or are
 furnished to Owner as spare parts shall be legally and beneficially owned by Owner free from
 any Liens (other than Liens created by the actions of Owner, including non-payment). In the
 event of any nonconformity with this warranty, Contractor, at its own expense, upon written
 notice of such failure, shall indemnify, defend and hold harmless Owner from the consequences
 of such defect in title and such obligations shall survive the expiration, cancellation or
 termination of this Agreement.




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           14.4   Limitations and Disclaimers.

            (a)   THE WARRANTIES AND GUARANTEES AND RELATED
 REMEDIES SET FORTH IN THIS ARTICLE 14 ARE EXCLUSIVE AND ARE IN LIEU OF
 ALL OTHER WARRANTIES AND RELATED REMEDIES WHETHER STATUTORY,
 EXPRESS OR IMPLIED (INCLUDING WARRANTIES OF MERCHANTABILITY AND
 FITNESS FOR A PARTICULAR PURPOSE AND WARRANTIES ARISING FROM
 COURSE OF DEALING OR USAGE IN TRADE) AND WHETHER CLAIMS BY OWNER
 ARE BASED IN CONTRACT OR IN TORT (INCLUDING FAULT, NEGLIGENCE OR
 STRICT LIABILITY).

                  (b)    Any warranties not expressly made herein are expressly waived by Owner.

               (c)      Notwithstanding the foregoing provisions of this Article 14, Contractor
 shall have no liability hereunder for non-conformance or failure of Equipment, or material, or
 performance, that results, in whole or in part, from:

                      (i)     Operation of the Equipment outside of the design basis of the
 Equipment or integrated system.

                       (ii)   Following Turnover of a system or structure, improper use, or
 abnormal handling, storage, operation or maintenance of the Equipment or material therein, or
 operation outside the guidelines of the Specifications, including employment at any time for
 purposes other than those for which such Equipment and material are intended, or under other
 abnormal conditions or incompetent supervision.

                       (iii)   Alteration, abuse or misuse of the Equipment by persons other than
 Contractor, its Subcontractors and the employees and agents of either.

                      (iv)   Any operation or maintenance of the Equipment that is not in
 accordance with the Unit Operating Procedures and Maintenance Procedures.

                         (v)    Operation by personnel not qualified in accordance with Section
 3.6(g).

                 (d)     Contractor shall be relieved from fulfilling its warranty obligations as
 specified in this Article 14 if:

                       (i)     A Nuclear Incident occurs through no fault of Contractor and gives
 rise to the non-conformance, and

                      (ii)   All the consequences, including radiation, of such Nuclear Incident
 preventing Contractor from performing such warranty obligations are not removed within the
 applicable Warranty Period.




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         14.5 Extended Equipment Warranty. No later than six (6) months following issuance
 of the Full Notice to Proceed, Contractor shall provide to Owner an option for extended
 warranties for the steam generator, reactor vessel head, reactor cooling pumps, pressurizer, main
 turbine, main turbine generator and main step-up transformers. At the time of providing the
 option, Contractor also shall provide information as to the duration of such warranties, the price
 for such extended warranties (which shall be developed using the same pricing methodology as
 the pricing for the Equipment to which such extended warranties apply) and any special terms
 applicable to such extended warranties (each, an "Extended Equipment Warranty"). Owner shall
 have the right to exercise its option for any such Extended Equipment Warranty within the time
 period specified for the exercise of the option by the Equipment vendor. The terms of such
 Extended Equipment Warranties shall be set forth in Exhibit W. The time period beyond the
 Standard Equipment Warranty Period to which each such Extended Warranty applies is referred
 to as the "Extended Equipment Warranty Period" for such piece of Equipment.

         14.6 Limitation on Warranty Liability. Contractor's total liability under or in
 connection with the liabilities in this Article shall not exceed the amount provided in Section
 17.2; provided, that such limitation shall not apply to Contractor's warranty of title under Section
 14.3.

                                  ARTICLE 15 – INDEMNITY

         15.1 Contractor Indemnity. Except with respect to a Nuclear Incident, Contractor shall
 indemnify, defend and hold harmless Owner, its Affiliates, and their respective partners,
 shareholders, officers, directors, and lenders from and against Third Party Claims and costs and
 expenses associated therewith (including attorneys' fees) from any injury of or death to natural
 persons, or damage to or destruction of third party property (i.e., property other than the Facility
 or other property belonging to Owner) to the extent arising from (i) the negligent or willful acts
 or omissions of Contractor or its Personnel or Invitees acting within the scope of their
 employment or for which applicable Law would otherwise hold Contractor liable for such acts or
 omissions, (ii) any Liens arising from nonpayment to any Subcontractor in connection with the
 Work, provided that Contractor has been paid in accordance with this Agreement, or (iii) the
 release on or from the Site of any Hazardous Materials, but only to the extent such release is due
 to Contractor's or a Subcontractor's or their Personnel's or Invitees' negligence or willful
 misconduct while acting within the scope of their employment or for which applicable Law
 would otherwise hold Contractor liable for such acts or omissions. Contractor's obligations in
 this Section 15.1 are limited to the proceeds of the insurances required to be provided hereunder,
 provided that if the insurance program is a Contractor controlled insurance program, the limit
 shall be the amount of the proceeds from such insurance (or the proceeds which would have been
 received, if Contractor had not failed to obtain such insurance). Contractor's obligations in this
 Section 15.1 are further conditioned upon Owner giving Contractor prompt notice of any known
 claims for which it seeks indemnity hereunder (along with documentation which reasonably
 evidences Contractor's responsibility thereof) and Owner providing such assistance and
 cooperation in the defense of indemnified claims as Contractor shall reasonably request as set
 forth in more detail in Section 15.5. In the event that Owner or Owner Interests incur any cost,
 loss, damage or expense arising out of or resulting from any Third Party Claim for which




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 Contractor is required to indemnify Owner or Owner Interests pursuant to this Section 15.2,
 Contractor shall promptly reimburse Owner for such cost, loss, damage or expense.

         15.2 Owner's Indemnity. Except with respect to a Nuclear Incident, and subject to
 limitations on Santee Cooper's obligations as a matter of South Carolina law, Owner shall
 indemnify, defend and hold harmless Contractor and Contractor Interests from and against Third
 Party Claims and costs and expenses associated therewith (including attorneys' fees) from any
 injury of or death to natural persons, and damage to or destruction of third-party property (i.e.,
 property other than that belonging to Contractor and Contractor Interests) to the extent arising
 from (i) the negligent or willful acts or omissions of Owner or its Personnel or Invitees (other
 than Contractor or its Personnel or its Invitees) acting within the scope of their employment or
 for which applicable Law would otherwise hold Owner liable for such acts or omissions; and (ii)
 any contamination of the environment or injury to natural resources as a result of any Hazardous
 Materials on, at or under the Site to the extent such contamination or injury occurs through the
 fault, negligence, willful misconduct or strict liability of Owner or its Personnel or Invitees
 (other than Contractor or Contractor's Personnel or Invitees) acting within the scope of their
 employment or for which applicable Law would otherwise hold Owner liable for such acts or
 omissions. Owner obligations in this Section 15.2 are limited to the proceeds of the insurances
 required to be provided hereunder, provided that if the insurance program is an OCIP, the limit
 shall be the amount of the proceeds from such insurance (or the proceeds which would have been
 received, if Owner had not failed to obtain such insurance). Owner's obligations in this Section
 15.2 are further conditioned upon Contractor giving Owner prompt notice of any claims for
 which it seeks indemnity hereunder (along with documentation which reasonably evidences
 Owner's responsibility thereof) and Contractor providing such assistance and cooperation in the
 defense of indemnified claims as Owner shall reasonably request as set forth in more detail in
 Section 15.5. In the event that Contractor or Contractor Interests incur any cost, loss, damage or
 expense arising out of or resulting from any Third Party Claim for which Owner is required to
 indemnify Contractor or Contractor Interests pursuant to this Section 15.2, Owner shall promptly
 reimburse Contractor for such cost, loss, damage or expense.

         15.3 Intellectual Property Indemnity. Contractor shall assume at its sole option and
 expense, the settlement or defense of any and all claims, demands, costs, suits, actions,
 proceedings, fines and penalties (and interest thereon) brought against Owner to the extent based
 on a Third Party Claim that any Facility, Unit, Work and/or Equipment furnished by Contractor
 results in an infringement, or claim of infringement by Contractor, of any patent, trademark,
 copyright or any other similar intellectual property protection issued by a duly authorized
 Government Authority of the United States, Canada, a European Union country, or another
 country where the Equipment was manufactured in connection with the Facility, a Unit, the
 Work and/or Equipment furnished by Contractor hereunder, except where the same resulted from
 following directions, specifications, drawings, plans or procedures prepared by Owner or by
 third parties for Owner and selected by Owner. If a suit is brought against Contractor based on
 any Facility, Unit, Work and/or Equipment supplied by Contractor which implements any such
 Owner directions, specifications, drawings plans or procedures, Owner shall protect Contractor
 to the same extent that Contractor has agreed to protect Owner hereunder.




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 In the event any Facility, Unit, Work and/or Equipment so defended is held to constitute
 infringement or its use is enjoined, Contractor shall, at its own expense and option, either: (a)
 procure for Owner the right to continue to use such Facility, Unit, Work and/or Equipment; (b)
 re-perform the Work or replace the Facility, Unit and/or Equipment with substantially equivalent
 noninfringing Facility, Unit, Work and/or Equipment; or (c) modify the Facility, Unit, Work
 and/or Equipment so that it becomes noninfringing; provided, however, that such Work re-
 performed and Facility, Unit and/or Equipment replaced or modified conforms to the
 requirements of this Agreement.

 THIS IS AN EXCLUSIVE STATEMENT RELATING TO INTELLECTUAL PROPERTY
 RIGHTS AND ALL THE REMEDIES OF THE PARTIES RELATING THERETO.

         15.4    Owner's Nuclear Incident Indemnity.

                 (a)    Notwithstanding any other provision to the contrary, Owner shall, without
 cost to Contractor Interests, obtain and maintain "financial protection" and an "indemnification
 agreement", for protection against liability for Nuclear Incidents (including master worker
 coverage), both in such form and amount as shall satisfy the requirements of Section 170 of the
 Atomic Energy Act of 1954, as amended. In the event that the nuclear liability protection
 contemplated by Section 170 of the Atomic Energy Act of 1954, as amended, is repealed,
 changed, or is not renewed, Owner shall maintain in effect, to the extent available on
 commercially reasonable terms, liability protections through governmental indemnity, limitation
 of liability and/or insurance of comparable coverage which shall not result in a material
 impairment of the protection afforded Contractor Interests by such nuclear liability protection
 which is in effect as of the Effective Date, taking into account the availability and cost of such
 coverage, customary practice in the United States commercial nuclear utility industry for plants
 of similar size and character of the Facility and other relevant factors in light of the then existing
 conditions. To the extent available on commercially reasonable terms, Owner shall ensure that
 Contractor Interests are included in the omnibus definition of "insured" under such alternate
 insurance coverage or are otherwise included as an additional insured at no cost to Contractor
 Interests.

                 (b)    Owner shall prior to the initiation of Work at the Site and without cost to
 Contractor, obtain and maintain property insurance for protection against liability for Nuclear
 Incident on the Facility and the existing adjacent nuclear generation facility in a form and
 amount required by the Nuclear Regulatory Commission and the current customary industry
 practice from time to time, providing protection against loss or damage to the Facility and the
 existing adjacent nuclear generation facility. Such insurance shall cover Contractor Interests, as
 their interests may appear. Owner hereby waives all rights of recovery and subrogation on behalf
 of itself and its insurers against Contractor Interests for any loss or damage covered by such
 property insurance during the Work and thereafter, including the deductibles under any insurance
 policy.

                 (c)     None of Contractor Interests shall be liable to Owner or its insurers or any
 other party for (i) any on-Site property (and existing nuclear facility at the V.C. Summer Station)
 loss or damage due to any nuclear energy hazard, and (ii) losses or damages caused by reason of
 unavailability of the nuclear power and existing adjacent nuclear station, or by reason of


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 shutdowns of the station or other facilities or service interruptions (including loss of profits or
 revenue, inventory or use charges, cost of replacement power, cost of capital or claims by
 customers) or for any other indirect, special, incidental, punitive or consequential loss, damage
 or injury, whether or not based on any claim or a negligent or faulty act or strict liability due to
 any nuclear energy hazard. To the extent Owner or its insurers recover damages from a third
 party for damage due to the nuclear energy hazard to which the foregoing waivers apply, Owner
 shall indemnify Contractor Interests against any liability which such third party recovers over
 from Contractor and/or its Subcontractors for any such loss or damage. In the event that
 Contractor Interests incur any cost, loss, damage or expense arising out of or resulting from a
 claim by a third party based on Owner's recovery of such damages, Owner shall promptly
 reimburse Contractor for such cost, loss, damage or expense. As used in this Section 15.4, the
 term "nuclear energy hazard" shall mean radioactive, toxic, explosive or other hazardous
 properties of "source material", "special nuclear material", or "by-product material" as such
 terms are defined in the Atomic Energy Act of 1954, as amended. Owner on behalf of itself and
 its insurers, hereby waives any right of recovery and subrogation against Contractor and
 Contractor Interests for any loss or damage (whether direct, indirect, consequential or otherwise)
 whether or not based on any claim or a negligent or faulty act or strict liability, due to any
 nuclear energy hazard, during the performance of the Work and thereafter.

                 (d)     As used in this Section 15.4, the term "on-Site property" means any
 property at the site of a nuclear facility as defined in the nuclear liability policy for the Site for
 nuclear liability and indemnity purposes; the term "damage" means loss, damage or loss of use;
 the term "liable" or "liability" means liability of any kind at any time, whether in contract, tort
 (including negligence) or otherwise.

                (e)     The provisions hereof providing for limitations of or protection against
 Contractor's liability shall survive termination of this Agreement or completion of the Work
 hereunder.

         15.5    Indemnity Procedures.

               (a)     The indemnifying Party shall have the right to conduct and control,
 through counsel of its own choosing, reasonably acceptable to the indemnified Party, any Third
 Party Claim, provided that, upon acceptance of the indemnity obligations hereunder, the
 indemnifying Party shall waive any right to protest or challenge its indemnity obligations. The
 indemnifying Party shall keep the indemnified Party fully informed in the conduct of the
 proceeding. The indemnified Party shall be entitled to participate at its cost in any such action.

                 (b)     The indemnified Party may, at its election, participate in the defense
 thereof at its sole cost and expense; provided, however, that if (i) the indemnifying Party shall
 fail to defend any Third Party Claim, (ii) the Parties mutually agree in writing to allow the
 indemnified Party to assume the defense of such Third Party Claim and forego any indemnity
 claimed under this Article, (iii) in the reasonable opinion of legal counsel for the indemnified
 Party, such Third Party Claim involves the potential imposition of a criminal liability on the
 indemnified Party, its directors, officers, employees or agents, or (iv) in the reasonable opinion
 of legal counsel for the indemnified Party, an actual or potential conflict of interest exists where
 it is advisable for such indemnified Party to be represented by separate counsel, then the


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 indemnified Party shall be entitled to control and assume responsibility for the defense of such
 Third Party Claim, at the cost and expense of the indemnifying Party (except in the case of (ii)
 above, in which the indemnified Party agrees to forego the indemnity). The indemnifying Party
 may, in any event, participate in such proceedings at its own cost and expense. The indemnified
 Party shall not have the right to settle without the written consent of the indemnifying Party
 (which consent shall not be unreasonably withheld), unless, in the written opinion of the
 indemnified Party's legal counsel, such claim is meritorious.

                 (c)     The indemnifying Party, in the defense of any such litigation, other
 proceeding or other claim, shall have the right in its sole discretion to settle such Third Party
 Claim only if (i) settlement involves only the payment of money and execution of appropriate
 releases of the indemnified Party, (ii) there is no finding or admission of any violation of Law or
 violation of the rights of the indemnified Party, and (iii) the indemnified Party shall have no
 liability with respect to such compromise or settlement. Otherwise, no such Third Party Claim
 shall be settled or agreed to without the prior written consent of the indemnified Party, which
 shall not be unreasonably withheld.

                 (d)   The indemnified Party and the indemnifying Party (i) shall fully cooperate
 in good faith in connection with such defense and shall cause their legal counsel and accountants
 to do the same; (ii) shall make available to the other Party all relevant books, records, and
 information (in such Party's control) during normal business hours; and (iii) shall furnish to each
 other, at the indemnifying Party's expense, such other assistance as the other Party may
 reasonably require in connection with such defense, including making employees of the
 indemnified Parties available to testify and assist others in testifying in any such proceedings.

                                  ARTICLE 16 – INSURANCE

         16.1    Phase I Insurance Requirements.

                 (a)     Except as otherwise provided hereunder, Contractor agrees to furnish and
 maintain at all times during the course of the Phase I Work to be performed hereunder, Worker's
 Compensation, liability and other insurance coverage required hereunder and in the amounts as
 follows:

                        (i)     Worker's Compensation – Statutory. Coverage shall include U.S.
 Longshoremen's and Harbor Workers Act coverage where applicable. The insurance purchased
 pursuant to this Section 16.1(a)(i) shall include an "All States" endorsement.

                       (ii)    Employer's Liability, including an "All States" endorsement – one
 million dollars ($1,000,000). Coverage shall include U.S. Longshoremen's and Harbor Workers
 Act coverage where applicable.

                       (iii)  Commercial General Liability, (excluding professional liability)
 including Contractual, Independent Contractors, - Bodily Injury and Property Damage Combined
 Single Limit – two million dollars ($2,000,000) Each Occurrence, two million dollars
 ($2,000,000) Aggregate, Personal Injury – two million dollars ($2,000,000). Products and
 Completed Operations – two million dollars ($2,000,000).


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                       (iv)    Automobile Liability coverage including owned, hired, and non-
 owned automotive equipment used in connection with the insured operation - Bodily Injury and
 Property Damage Combined – two million dollars ($2,000,000) Each Occurrence. Owner shall
 provide similar coverage for any of its owned, hired and non-owned automotive equipment.

                      (v)     Contractor's Equipment Coverage – in the amount of the value of
 the equipment through insurance or self insurance.

                        (vi)   Pollution Liability on a project basis, which includes the sudden or
 accidental release of any material that may be considered a pollutant at or around the Site, as a
 result of the Work done by Contractor or any tier Subcontractor – one million dollars
 ($1,000,000) Each Occurrence, two million dollars ($2,000,000) Aggregate. Notwithstanding
 the foregoing, this coverage shall be taken out within ninety (90) Days after the Effective Date.

                       (vii) Open Cargo Insurance must be obtained on materials and
 equipment to be transported to the Site.

                        (viii) Umbrella Form Excess Liability Insurance with a coverage limit of
 ten million dollars ($10,000,000).

                        (ix)    Professional Liability on a project basis with a coverage limit of
 ten million dollars ($10,000,000) per claim and aggregate for the Work. Notwithstanding the
 foregoing, this coverage shall be taken out within ninety (90) Days after the Effective Date.

                  (b)     Builder's Risk Insurance, if needed, as determined by Owner in
 consultation with Contractor, shall be purchased by Owner at limits and coverages and other
 provisions as enumerated in Section 16.2(a)(ii), naming Owner, Contractor, and Subcontractors
 as additional insureds. The liability of Contractor for any loss or damage to any equipment or
 materials, Work, completed Facility and surrounding Owner property shall be as provided in
 Section 16.2(a)(ii). Should Owner decide not to procure such coverage until the commencement
 of Phase II, Contractor’s liability for any loss or damage during Phase I, whether based on
 contract, tort (including fault, negligence and strict liability) or otherwise, shall not exceed one
 hundred thousand dollars ($100,000) for any occurrence as if Owner had procured a standard
 Builder’s Risk policy subject to the limitations in Section 16.2(a)(ii). Contractor’s liability for
 the payment of such amount shall not be reimbursable hereunder. Owner shall reimburse
 Contractor on a Time and Materials Basis to remedy such loss or damage that exceed such
 amount, whether based on contract, tort (including fault, negligence and strict liability) or
 otherwise.

         16.2    Phase II Insurance Requirements.

               (a)     For Phase II, Owner shall have the option of implementing an Owner
 Controlled Insurance Program (“OCIP”), as set forth in Exhibit U. If Owner decides not to
 implement the OCIP, Contractor will have the right to implement a Contractor-Controlled
 Insurance Program (“CCIP”), implementing the provisions of Exhibit U. Contractor shall be
 reimbursed for the CCIP by Owner on a Time and Materials Basis. The Parties recognize that
 Exhibit U is written for an OCIP, and will need to be modified accordingly if a CCIP is to be


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 implemented. If neither an OCIP or a CCIP is implemented, each of Owner and Contractor, as
 applicable, shall maintain the coverages specified in Section 16.1, with the following exceptions,
 such coverages to be reimbursed by Owner on a Time and Materials Basis:

                       (i)     the coverage limit for the Umbrella Excess Liability shall be
 increased to one hundred million dollars ($100,000,000) per occurrence and aggregate.

                        (ii)    Builder's Risk Insurance, if not already obtained, shall be obtained
 at limits determined appropriate by the Parties. Such Builder's Risk policy shall (A) name
 Contractor and all Subcontractors as additional insureds (without having any liability for the
 payment of premiums); (B) cover all risks of loss or damage to the Facility (I) during
 construction, and (II) if not covered by the Open Cargo Insurance, during transportation of any
 materials and equipment, and (III) during storage, (IV) during the Work, and (V) until replaced
 by Owner's Operating Property coverages, and (VI) with limits of coverage equal to the
 maximum credible loss to the Facility as agreed to by the Parties; and (C) provide coverage for
 resultant damage due to any error in design, defects in equipment or material or faulty
 workmanship; and (D) provide delay in start-up coverage (subject to a commercially reasonable
 deductible), if available on a commercially reasonable basis. Any recovery under the delay in
 start-up coverage resulting from an event that gives rise to a covered claim under this policy shall
 reduce any Delay Liquidated Damages by the same amount. Notwithstanding any other
 provision to the contrary, Owner on behalf of itself and the insurer hereby waives all rights of
 recovery and subrogation against Contractor and its Subcontractors, and their Affiliates and
 Personnel, including any losses within the deductibles and any excess losses; provided that
 Contractor shall be liable for Owner's deductible under its property insurance policy(ies);
 provided further, and notwithstanding any other provision to the contrary, that the liability of
 Contractor and Contractor Interests for any loss or damage to any equipment, materials, Work,
 completed Facility and surrounding Owner property shall be limited to claims arising to the
 extent of Contractor's negligence and shall in no event exceed one hundred thousand dollars
 ($100,000) for any occurrence. Contractor’s liability for the payment of such amount shall not
 be reimbursable hereunder. Owner shall reimburse Contractor on a Time and Materials Basis to
 remedy such loss or damage that exceed such amount, whether based on contract, tort (including
 fault, negligence and strict liability) or otherwise; provided, however, should any such loss or
 damage not be covered by the builder’s risk coverage provided hereunder and such coverage
 would have been in effect but for the dishonest, criminal or fraudulent acts of Contractor or its
 Personnel (for which Contractor is liable under applicable Law) which cause such coverage to be
 denied to Owner due to a violation of such policy conditions, Owner shall not be obligated to
 reimburse Contractor for such corrective work. Any such denial of insurance coverage that
 allegedly results from any such insurance condition may be disputed and/or appealed by
 Contractor at law or in equity, and Owner shall reasonably cooperate with Contractor in
 connection with any such dispute or appeal. The foregoing provisions are for the sole benefit of
 Owner, and the Parties do not intend such provisions to be for the benefit of any third party,
 including without limitation any insurer.

                (b)    Regardless of whether Owner or Contractor adopts an OCIP or CCIP, as
 applicable, Contractor shall be responsible for maintaining the following insurance coverages
 during Phase II:


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                        (i)    Professional Liability: Contractor shall continue to carry
 Professional Liability Insurance described under Section 16.1(a)(ix).

                       (ii)    Pollution Liability: Contractor shall continue to carry Pollution
 Liability Insurance described under Section 16.1(a)(vi) with an increased coverage limit of two
 million dollars ($2,000,000) per occurrence and four million dollars ($4,000,000) in the
 aggregate.

                       (iii)  Employment Practices Liability:         Contractor shall carry
 Employment Practices Liability on a project basis with a coverage limit of five million dollars
 ($5,000,000) per occurrence and in the aggregate.

         16.3    Provisions Applicable to all Coverages.

                 (a)      After the execution of this Agreement and prior to the commencement of
 any Work, each Party shall have on file with the other party (and in the case of Owner, Owner's
 Supplier Relations Department) the applicable insurance certificate(s). Such certificate(s) shall
 provide that thirty (30) Days written notice be given to the other Party prior to any material
 change or cancellation of the insurance. Other than the OCIP or CCIP, as applicable, the
 Builder’s Risk Insurance and Owner’s Operating Property coverages, each Party shall name the
 other Party, its subsidiaries and their successors and assigns, as additional insured (except for
 Worker's Compensation and Professional Liability and Pollution Liability coverage) for their
 vicarious liability arising out of such Party’s negligent operations or such Party shall be covered
 under the omnibus provisions thereof. For the OCIP or CCIP, as applicable, and Owner’s
 Operating Property coverage, each Party and Contractor Interests shall be named as an additional
 insured thereon, at no cost to Contractor. All policies shall be written to include a waiver of
 subrogation in favor of the other Party and its Affiliates and Contractor Interests during the
 performance of the Work and thereafter. Owner’s policies for Builder's Risk Insurance and other
 coverages obtained pursuant to the OCIP shall be subject to the Contractor’s review and
 approval, which shall not be unreasonably withheld. Contractor's policies procured under this
 Agreement shall be subject to Owner’s review, in the event of a claim seeking damages from
 Contractor and/or Owner in excess of one million dollars ($1,000,000).

                (b)    All such insurance shall be with sound insurance companies which have
 an AM Best Rating of A- VII as the minimum and authorized to do business in the state where
 the Work is to be performed. None of the liability policies shall have any "other insurance"
 clause or language which would jeopardize the primacy of Contractor’s insurance with respect to
 Owner’s self-insured retention or excess insurance. The above Contractor requirements may be
 met by both Consortium Members providing separate certificates. Any such limits of coverages
 may be met in one or more layers of coverage.

                (c)    Neither a failure of a Party to provide the required certificate of insurance
 nor such Party's submission of a certificate of insurance not in conformance with the insurance
 requirements stated herein shall relieve such Party from the obligation to have in force the
 required insurance coverages.




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                (d)      Each Party is responsible for any deductibles associated with its policies
 of insurance or its self-insured retentions, except as otherwise provided hereunder.

               (e)    Contractor understands that Owner may have an administrator on-Site at
 all times in which Contractor or its Personnel are at the Site. Contractor shall interface and
 cooperate with Owner's administrator.          Additionally, Contractor shall follow any
 recommendations made by the NRC, Nuclear Electric Insurance Limited ("NEIL"), the Institute
 of Nuclear Power Operators ("INPO") and American Nuclear Insurers ("ANI").

                         ARTICLE 17 – LIMITATION OF LIABILITY

       17.1 No Consequential Damages. EXCEPT TO THE EXTENT THE PAYMENT OF
 LIQUIDATED DAMAGES COULD OTHERWISE BE DEEMED TO BE SUCH DAMAGES,
 IN NO EVENT SHALL CONTRACTOR OR CONTRACTOR INTERESTS BE LIABLE,
 WHETHER BASED ON CONTRACT (INCLUDING BREACH, WARRANTY, INDEMNITY,
 ETC.) OR TORT (INCLUDING FAULT, NEGLIGENCE AND STRICT LIABILITY), UNDER
 ANY WARRANTY OR OTHERWISE, RELATING TO OR ARISING OUT OF THE WORK
 OR THIS AGREEMENT, FOR ANY CONSEQUENTIAL, INDIRECT, SPECIAL, PENAL,
 OR INCIDENTAL LOSS, DAMAGE OR INJURY, INCLUDING ANY SUCH DAMAGES
 WHICH RESULT FROM LOSS OF USE OF PROPERTY, EQUIPMENT OR SYSTEMS,
 LOSS BY REASON OF FACILITY SHUTDOWN OR SERVICE INTERRUPTION, COSTS
 OF CAPITAL OR EXPENSES THEREOF, LOSS OF PROFITS OR REVENUES OR THE
 LOSS OF USE THEREOF, OR COST OF PURCHASED OR REPLACEMENT POWER
 (INCLUDING ADDITIONAL EXPENSES INCURRED IN USING EXISTING POWER
 FACILITIES) OR FROM CLAIMS OF CUSTOMERS.

       17.2 Maximum Total Liability; Time Limitation. WITH RESPECT TO A UNIT,
 NOTWITHSTANDING ANY OTHER PROVISION TO THE CONTRARY, CONTRACTOR'S
 AND CONTRACTOR INTERESTS' TOTAL AGGREGATE LIABILITY UNDER THIS
 AGREEMENT, ARISING OUT OF OR IN CONNECTION WITH THE WORK OR THIS
 AGREEMENT, WHETHER BASED ON CONTRACT (INCLUDING BREACH,
 WARRANTY, INDEMNITY, ETC.), TORT (INCLUDING FAULT, NEGLIGENCE OR
 STRICT LIABILITY) OR OTHERWISE, SHALL NOT EXCEED AN AGGREGATE
 AMOUNT EQUAL TO TWENTY-FIVE PERCENT (25%) OF THE PAYMENTS FOR SUCH
 UNIT THAT HAVE BEEN MADE TO CONTRACTOR AS OF THE DATE OF THE EVENT
 OR CIRCUMSTANCE GIVING RISE TO THE CLAIM (THE "MAXIMUM LIABILITY
 AMOUNT"). FOR THE PURPOSE OF DETERMINING WHETHER THE MAXIMUM
 LIABILITY AMOUNT HAS BEEN MET, INSURANCE PROCEEDS RECEIVED FROM
 THE INSURANCE POLICIES REQUIRED TO BE MAINTAINED UNDER THIS
 AGREEMENT SHALL NOT BE INCLUDED. THE MAXIMUM LIABILITY AMOUNT
 SHALL NOT APPLY TO A BREACH OF THE WARRANTY OF TITLE SET FORTH IN
 SECTION 14.3; PROVIDED, HOWEVER, THAT IN NO EVENT SHALL CONTRACTOR'S
 LIABILITY FOR A BREACH OF THE WARRANTY OF TITLE EXCEED THE AMOUNT
 OF THE CONTRACT PRICE PAID TO CONTRACTOR AS OF THE DATE OF SUCH
 BREACH. IN NO EVENT MAY ANY CLAIM BY OWNER AGAINST CONTRACTOR
 ARISING OUT OF OR IN CONNECTION WITH THE WORK OR THIS AGREEMENT,



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 WHETHER BASED ON CONTRACT (INCLUDING BREACH, WARRANTY, INDEMNITY,
 ETC.), TORT (INCLUDING FAULT, NEGLIGENCE OR STRICT LIABILITY) OR
 OTHERWISE BE BROUGHT, WITH RESPECT TO A UNIT, MORE THAN TWO (2)
 YEARS AFTER THE END OF THE STANDARD EQUIPMENT WARRANTY PERIOD
 (EXCEPT FOR ANY LIABILITY ASSOCIATED WITH BREACH OF AN EXTENDED
 EQUIPMENT WARRANTY, WHICH MUST BE BROUGHT NO LATER THAN SIX (6)
 MONTHS AFTER THE END OF THE EXTENDED EQUIPMENT WARRANTY PERIOD
 APPLICABLE TO SUCH ITEM OF EQUIPMENT).

         17.3    Division of Liability.

                (a)      The Consortium Members agree that they are jointly and severally liable
 for Contractor's performance obligations hereunder, except that in no event shall Stone &
 Webster have or assume any loss, damage or liability for or in connection with the supply,
 design, analyses or operation of the reactor vessel, reactor vessel head, reactor internals, reactor
 coolant pumps, steam generators, pressurizer, squib valves, or main reactor coolant loop piping,
 whether arising in contract (including breach, warranty, indemnity or otherwise) and however
 caused, including fault, negligence, strict liability or otherwise.

                 (b)    SCE&G and Santee Cooper agree that they are jointly and severally liable
 for Owner's obligations hereunder, to the extent such joint and several liability does not conflict
 with South Carolina Law applicable to Santee Cooper. To the extent the prior sentence conflicts
 with South Carolina Law, then notwithstanding that both SCE&G and Santee Cooper are named
 in this Agreement as "Owner", as between Contractor and Owner, SCE&G shall be solely liable
 for the obligations and liabilities of Owner hereunder.

                                          ARTICLE 18 – LIENS

         18.1 Liens. Contractor shall keep the Facility, the Site and the Equipment free from
 Liens (other than liens arising from acts of Owner or Owner's failure to pay amounts due to
 Contractor), and shall promptly notify Owner of any known Liens filed against the Facility, the
 Site, or the Equipment and any structures comprising the Facility or located on the Site. If
 Owner seeks Contractor's indemnification for any Lien, Owner shall:

              (a)     Give Contractor prompt written notice of any Lien of which it has
 knowledge; and applicable documentation regarding the Lien;

                 (b)    Cooperate in the defense of litigation relating to the Lien; and

                 (c)     Give Contractor sole control of the defense and settlement, to the extent of
 Contractor's liability, for the Lien if Contractor confirms in writing an obligation to indemnify
 Owner with respect to the Lien.

         18.2 Discharge or Bond. Contractor shall take prompt steps to discharge or bond any
 Lien filed against the Facility, any Equipment, and any structures comprising the Facility or
 located on the Site by any Subcontractor based on a claim for payment by Contractor in
 connection with the Work. Contractor shall have the option of providing an indemnity to Owner


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 in lieu of discharging or providing a bond, for up to a nine (9) month period to allow Contractor
 a reasonable time to resolve the cause of the filing of the Lien. If Contractor fails to indemnify,
 discharge or promptly bond any Lien, Owner shall have the right, upon notifying Contractor in
 writing and providing Contractor reasonable time to indemnify, discharge or bond the Lien, to
 take any and all reasonable actions and steps to satisfy, defend settle or otherwise remove the
 Lien at Contractor's expense, including reasonable attorneys' fees, costs and expenses. Owner
 shall have the right to recover these expenses from Contractor. Contractor shall have the right to
 contest any Lien, provided it first provides to Owner the indemnity provided for above or it may
 provide the lien holder, a court or other third Person, as applicable, a bond or other assurances of
 payment necessary to remove the Lien related to the Work from the Site and the Facility in
 accordance with the Laws of the State of South Carolina.

                              ARTICLE 19 – PROPRIETARY DATA

         19.1    Protection of Owner Proprietary Data.

                (a)     Any Proprietary Data of an Owner disclosed to Contractor shall be marked
 "Proprietary" or the like on each page in which the respective party claims a proprietary or
 confidential interest therein (or for electronic data, on the opening screen of such data). If
 Contractor receives information which it recognizes as being Proprietary Data, but which has not
 been marked as such, it shall promptly notify Owner and mark the information as Proprietary
 Data.

               (b)    In the use of any Owner Proprietary Data by Contractor for the purpose of
 providing required information to, and/or securing Government Approvals from, any
 Government Authority, Owner and Contractor shall cooperate to minimize the amount of such
 information furnished consistent with the interests of Owner and the requirements of the
 Government Authority involved.

                 (c)     Contractor agrees that it shall not, during or after the term of this
 Agreement, disclose any Proprietary Data of Owner and its Affiliates, which is provided to
 Contractor during the performance of Work under this Agreement, including but not limited to,
 their costs, charges, rates, records, operating procedures, and methods of doing business, to any
 Person (other than Subcontractors as required for the performance of the Work), or to the general
 public for any reason or purpose whatsoever without the prior written consent of Owner, and that
 such Proprietary Data received by Contractor shall be used by it exclusively in connection with
 the performance of its responsibilities relating to the Work. However, nothing herein shall
 prevent Contractor from disclosing Proprietary Data of Owner or its Affiliates as required by
 Law or an order of a Government Authority; provided that Contractor shall, if Contractor has
 adequate advance notice, give Owner reasonable notice so as to allow Owner to seek a protective
 order or similar protection, and nothing herein shall prevent Contractor from disclosing to the
 appropriate Government Authority any noncompliance with or violation of laws, rules,
 regulations, or orders within the jurisdiction of such Government Authority. If, in the opinion of
 its legal counsel and in the absence of a protective order or waiver, Contractor is legally
 compelled to disclose Owner’s Proprietary Data, Contractor will disclose only the minimum
 amount of such information or data as, in the opinion of its legal counsel, is legally required. In
 addition, Contractor shall have the right to receive and use Proprietary Data of Owner (but


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 excluding any financial information) for the purposes of performing or assisting in the
 performance of Startup, commissioning, licensing and Startup maintenance services for other
 AP1000 Nuclear Power Plant owners, and to disclose such Proprietary Data of Owner to such
 owners or Subcontractors for such purposes under provisions of confidentiality including an
 agreement substantially similar to Exhibit O-1, it being understood that in such instances, Owner
 does not warrant such data and Contractor shall indemnify Owner for any claims arising from the
 use of such data. Nothing herein grants the right to Contractor (or implies a license under any
 patent) to sell, license, lease or cause to have sold, licensed or leased, any Proprietary Data
 supplied by Owner under this Agreement.

                (d)     Title to Proprietary Data provided by Owner to Contractor and all copies
 made by or for Contractor in whole or in part from such Proprietary Data remains with Owner.
 Contractor shall include Owner’s confidential or proprietary markings as provided by Owner on
 all copies thereof and excerpts made therefrom except with respect to excerpts made or used
 internally by Contractor for Facility Purposes; provided, however, that Contractor shall destroy
 any such excerpts which do not include Owner’s confidential or proprietary markings when no
 longer needed for the purpose for which they were made.

         19.2    Protection of Contractor's Proprietary Data.

                 (a)     Any Proprietary Data of Contractor disclosed to Owner shall be marked
 "Proprietary" or the like on each page in which the respective party claims a proprietary or
 confidential interest therein (or for electronic data, on the opening screen of such data). If Owner
 receives information which it recognizes as being Proprietary Data, but which has not been
 marked as such, it shall promptly notify Contractor and mark the information as Proprietary
 Data.

                 (b)    Owner’s Use.

                          (i)     Owner agrees not to use Proprietary Data provided by Contractor
 or copies thereof unless such use is solely for the purposes of the Facility (and associated
 simulator), in connection with design, construction and installation of the Facility, the simulator,
 and ancillary facilities, trouble-shooting, response to plant events, inspection, evaluation of
 system or component performance, scheduling, investigations, initial fuel loading, refueling,
 operation, maintenance, management, procurement, testing, training, repair, licensing,
 modification, decommissioning, ensuring the safety of the Facility, simulator and ancillary
 facilities and compliance with Laws or Government Authorities (collectively, the "Facility
 Purposes"). Nothing herein grants the right to Owner (or implies a license under any patent) to
 sell, license, lease, or cause to have sold any Proprietary Data supplied by Contractor under this
 Agreement.

                       (ii)    Title to Proprietary Data provided by Contractor to Owner and all
 copies made by or for Owner in whole or in part from such Proprietary Data remains with
 Contractor. Owner shall include Contractor’s confidential or proprietary markings as provided
 by Contractor on all copies thereof and excerpts made therefrom except with respect to excerpts
 made or used internally by Owner for Facility Purposes; provided, however, that Owner shall
 destroy any such excerpts which do not include Contractor’s confidential or proprietary markings


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 when no longer needed for the purpose for which they were made. Except as otherwise provided
 under this Section 19.2 or Section 19.3, Owner agrees to keep such Proprietary Data confidential,
 to use such Proprietary Data only for the Facility Purposes and not to sell, transfer, sublicense,
 disclose or otherwise make available any of such Proprietary Data to others (other than
 Affiliates). However, nothing in this Article 19 shall prevent Owner from disclosing Proprietary
 Data of Contractor or its Affiliates as required by Law or an order of a Government Authority
 (including, without limitation, the COL); provided that Owner shall, if Owner has adequate
 advance notice, give Contractor reasonable notice so as to allow Contractor to seek a protective
 order or similar protection. If, in the opinion of Owner’s legal counsel and in the absence of a
 protective order or waiver, Owner is legally compelled to disclose Proprietary Data, Owner will
 disclose only the minimum amount of such information or data as, in the opinion of Owner’s
 legal counsel, is legally required. In any such event, Owner agrees to use good faith efforts to
 ensure that Proprietary Data that is so disclosed will be accorded confidential treatment.

                         (iii)  Contractor hereby grants to Owner and its Affiliates, officers,
 directors, employees or attorneys who have a need for access to know such Proprietary Data
 reasonably related to the exercise of any rights of the Owner hereunder a transferable (but only
 as part of the sale or transfer of the Facility or the operating responsibilities related thereto),
 royalty-free, fully paid up, perpetual and irrevocable (unless terminated for the reasons set forth
 in Sections 22.3, 22.4, or 22.5), nonexclusive license to use and copy Contractor’s Proprietary
 Data but only for the Facility Purposes (and for the associated simulator).

                        (iv)   Owner may designate one or more entities as an Owner's
 Engineer. Contractor understands and recognizes that Owner intends to utilize a Third Party or
 parties as Owner's Engineer(s) for Facility Purposes in the day-to-day overall operations,
 maintenance and service of the Facility and each Unit. Upon such designation by Owner and
 written approval from Contractor, which shall not be unreasonably withheld, delayed or
 conditioned and, provided such grant is not explicitly prohibited in Contractor’s existing
 Subcontracts, Contractor shall be deemed to have granted to the Owner's Engineer a fully paid-
 up, royalty-free, non-exclusive, nontransferable and nonassignable right and license to use the
 applicable deliverable portion of the AP1000 Facility Information (including the categories of
 information described on Table 2-1 of Exhibit A) and any released AP1000 Facility Information
 solely during the term that Owner's Engineer performs services for Owner in connection with the
 Facility and solely for the Facility Purposes. In the event a Contractor’s Subcontractor does not
 permit Contractor to sublicense Subcontractor information for this purpose, Contractor agrees to
 employ commercially reasonable efforts to jointly negotiate with Owner and said Subcontractor
 to attempt to secure a license for Owner's Engineer. Notwithstanding the above, no written
 approval is required from Contractor in the event of a termination of the Agreement under
 Section 22.2(a).

                 (c)      Owner’s Disclosure to Third Party Recipients.

                        (i)     Owner may disclose Contractor's Proprietary Data to third parties
 (hereinafter referred to as “Recipients” or “Recipient”) in accordance with the procedures and
 subject to the limitations set forth in this Section 19.2 and Section 19.3, provided that such
 disclosure is exclusively for the Facility Purposes. . Notwithstanding the foregoing, disclosures



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 of Contractor's Proprietary Data (other than Contractor Non-Disclosable Information) may be
 made to Recipients for the purpose of evaluating the potential purchase of power from the
 Facility or in the exercise of the rights of such purchasers to review Owner's generation
 expansion plans and such disclosures shall be governed exclusively by the provisions of the
 existing Non-Disclosure Agreement among SCE&G, Santee Cooper and the Consortium
 Members dated September 11, 2007, as amended (the "Existing Confidentiality Agreement").

                        (ii)   Owner shall enter into a proprietary data agreement with the
 Recipient substantially on the terms set forth in Exhibit O-1; provided, however, that the Owner
 may disclose such Proprietary Data without entering into such agreements to those persons to
 which access is required by any Government Authority or as necessary in order to comply with
 Law.

                       (iii) Should Owner discover a breach of the terms and conditions of a
 proprietary data agreement with a third party, Owner will promptly notify Contractor of such
 breach and provide to Contractor necessary information and support pertaining to any suit or
 proceeding contemplated or brought by Contractor against Recipient for such breach.

                        (iv)   Contractor shall not be responsible to Owner for the consequence
 of the use or misuse of Contractor’s Proprietary Data by third parties. Contractor makes no
 warranties, express or implied, to the extent of any such use or misuse of Contractor's Proprietary
 Data by third parties.

                        (v)   Nothing herein shall prevent Owner from disclosing to the
 appropriate Government Authority any noncompliance or violation of Laws within the
 jurisdiction of such Government Authority.

                 (d)     Owner’s Export of Technical Information. Owner agrees to comply with
 relevant United States Government regulations concerning the export of technical information,
 with respect to Contractor’s Proprietary Data provided to Owner by Contractor under this
 Agreement. This provision shall also apply to any technical information developed by Owner
 using Contractor’s Proprietary Data. Irrespective of any other provisions in this Agreement, the
 obligations set forth in this Section 19.2(d) shall be binding so long as the relevant United States
 Government regulations remain in effect.

         19.3    Special Procedures Pertaining to Contractor's Proprietary Data.

                 (a)    Categories of Contractor Proprietary Data. The Parties acknowledge and
 agree that certain Proprietary Data of Contractor delivered to Owner under this Agreement in
 accordance with Table 2 of Exhibit A may be disclosed on a confidential basis without the prior
 consent of Contractor ("Contractor Disclosable Information", as described in Section 19.3(b)),
 and that certain other Proprietary Data of Contractor may not be disclosed by Owner to any third
 parties without the prior consent of Contractor ("Contractor Non-Disclosable Information", as
 described in Section 19.3(d)). Owner agrees to abide by the provisions of this Section 19.3
 governing the disclosure of Contractor's Proprietary Data.




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                (b)     Contractor Disclosable Information. Contractor Disclosable Information
 consists of the following Proprietary Data that has been developed by Contractor, to the extent
 such Proprietary Data does not include Contractor Non-Disclosable Information as described in
 Section 19.3(d) below:

                       (i)    Descriptions of the plant, its components, or its systems (physical
 characteristics, general outline drawings, equipment lists, termination drawings, general
 arrangement drawings, electrical drawings, and basic schematic drawings);

                        (ii)    Plant, component, or system data that can be measured by plant
 sensors;

                       (iii)  Information that may be acquired by physical measurement, such
 as location, dimensions, weight and material properties;

                        (iv)    Contractor operating       and    maintenance      manuals,     and    QA
 documentation;

                       (v)    Erection and commissioning documentation such as installation
 and layout drawings, and control room panel assembly and location drawings;

                       (vi)     Information or calculations directly developed using publicly
 available methods or data;

                       (vii) Final results of calculated information or input assumptions to
 calculated information such that calculations could be recreated by a third party using the third
 party’s own then-existing methods (excluding Contractor-developed test or experience-based
 data, methodologies, correlations and models, which Contractor will not release to Owner); and

                         (viii) Design specifications for non-safety related equipment and system
 specification documents (“SSDs”) for non-safety related systems except the following: (A) all
 design specifications for non-safety Instrumentation & Control (I&C) systems, and (B) SSDs
 identified for the systems listed below:

                                (1)    Chemical and Volume Control System

                                (2)    Data Display and Processing System

                                (3)    Diverse Actuation System

                                (4)    Incore Instrumentation System

                                (5)    Operation and Control Centers

                                (6)    Plant Control System

                                (7)    Main Turbine Control and Diagnostics System



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                                 (8)    Main Generation System

                                 (9)    Special Monitoring Systems


                (c)     Information. Contractor Disclosable Information may be disclosed by
 Owner to third parties without prior notice to Contractor, provided that such disclosure is
 exclusively for the Facility Purposes and provided that:

                       (i)    Owner shall take reasonable steps to minimize the disclosure of
 Contractor's Proprietary Data to only that information necessary for a Recipient to perform its
 contracted functions;

                        (ii)    Owner shall execute an agreement with the Recipient governing
 the disclosure of Contractor's Proprietary Data consistent with Section 19.2(c)(ii);

                         (iii) Contractor has the right to audit Owner's records and the contents
 of any agreements (subject to Owner's right to protect Proprietary Data of Owner and third
 parties) executed between Owner and a Recipient governing the disclosure of Contractor's
 Proprietary Data (Owner shall have the right to redact portions of such agreements not relevant
 to confidentiality); and

                        (iv)     The provisions of Section 19.2(c)(iii), (iv) and (v) shall apply to
 such disclosure.

               (d)     Contractor Non-Disclosable Information. Contractor Non-Disclosable
 Information consists of the following information that has been developed by Contractor:

                       (i)     Calculation for safety related equipment and systems, except those
 meeting the conditions set forth in Section 19.3(b)(vi) and (vii);

                        (ii)     Plant Design Model;

                        (iii)    I&C functional, system, software and interface requirements and
 functional logic diagrams;

                        (iv)     Design specifications and qualification reports for safety related
 equipment;

                        (v)      SSDs for safety related systems;

                      (vi)   I&C architecture diagrams, I&C software verification and
 validation documentation, I&C testing procedures and test results;

                       (vii) Component data packages which include Manufacturing Deviation
 Notices, Certified Material Test Reports (CMTR) and Quality Releases (will typically be
 provided to the Owner in the final data package if the deviations exceed the official
 design/fabrication specifications); and


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                         (viii) Information which contains confidential intellectual property of
 Contractor’s Subcontractors or other Contractor utility customers which is licensed to Contractor
 and which Contractor has the right to sub-license to Owner, or confidential intellectual property
 of Contractor’s Subcontractors licensed directly to Owner. Exhibit O-2 contains the list of such
 confidential intellectual property identified as of the Effective Date, and these items are subject
 to the separate contractual or license agreements and limitations on copying and use, and Owner
 agrees to and shall be bound by the terms of any such third-party contractual or license
 agreements provided or identified. The list in Exhibit O-2 will be updated by Contractor during
 the Work as such additional third party license agreements are identified and required as part of
 the Work and to update the list for any newer versions or replacements of the software or other
 confidential information, as applicable. Contractor shall not remove an item from Exhibit O-2
 without Owner’s mutual agreement. For license agreements with such third-parties necessary for
 maintenance or operation of the Facility for items such as those identified in Exhibit O-2 but not
 previously executed, Contractor agrees to make commercially reasonable efforts to negotiate
 terms consistent with the provision of this Article 19 permitting Contractor to sub-license to
 Owner confidential information received by Contractor from Contractor's Subcontractors or
 other contractor utility customers.

                 (e)     Procedures Pertaining to Contractor Non-Disclosable Information. Upon
 written request by Owner, Contractor shall consider the release of Contractor Non-Disclosable
 Information. The request shall identify the information requested to be disclosed, the work that is
 to be performed and the name of the intended Recipient. The request shall be reviewed by
 Contractor for acceptability for disclosure based on the principle, agreed to by Owner and
 Contractor, that Contractor has the right to protect its proprietary information in which it has
 made a substantial investment and which required substantial innovation, balanced against
 whether such disclosure would jeopardize such proprietary rights of Contractor and the principle
 that Owner has the right to assure that services associated with maintenance and operation of the
 Facility are in all respects prudent, including cost, and thus may need to be performed by third
 party service providers. The determination of whether or not to disclose the information shall be
 made by Contractor in its discretion based on the above principles. Contractor shall make
 commercially reasonable efforts to respond within five (5) Business Days of receipt of a written
 request from Owner to release specific Contractor Non-Disclosable Information. If, at the end of
 fifteen (15) Business Days following such receipt by Contractor of a written request from Owner
 to release specific Contractor Non-Disclosable Information, Contractor has not rejected the
 request to release specific Contractor Non-Disclosable information, such request shall be deemed
 accepted by Contractor. If Contractor agrees to the disclosure of such information, the specific
 information to be provided to the Recipient (subject to Owner’s right to protect Proprietary Data
 of Owner and Recipient) shall be subject to review and approval by Contractor and shall be
 governed by the terms of the confidentiality agreement with the Recipient substantially in the
 forms set forth in Exhibit O-1.

                (f)    Documents Containing Combined Information. Where a document marked
 “Proprietary” or the like contains Contractor Disclosable Information and Contractor Non-
 Disclosable Information, Owner shall not disclose any Contractor Non-Disclosable Information
 without Contractor's prior written consent. Owner shall have the right to:



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                      (i)    request Contractor to prepare and verify the accuracy of a version
 of such document containing only Contractor Disclosable Information;

                     (ii)   request Contractor to prepare and verify the accuracy of a
 document which contains the specific information requested by the third party service provider;
 or

                         (iii)  itself extract the Contractor Disclosable Information from such
 document and provide the Disclosable Information to the third party service provider in
 accordance with the procedures set forth in Section 19.3(c). Owner shall make commercially
 reasonable efforts to give notice to Contractor's currently-assigned designated contact of the
 proposed disclosure of any extract of Contractor Disclosable Information and, at least five (5)
 Business Days prior to such disclosure, shall provide such extract to Contractor for review. All
 right, title and interest in Contractor Disclosable Information contained in such document or
 material prepared by Owner remains with Contractor and, for the avoidance of doubt, is hereby
 assigned to Contractor.

                         (iv)   Contractor shall be reimbursed on a Time and Materials Basis for
 the preparation and verification of documents for Owner under Section 19.3(f)(i) and (ii) above.
 Contractor shall assume no liability for, and will not warrant the accuracy or validity of, any
 version of a document containing Disclosable Information prepared by Owner pursuant to
 Section 19.3(f)(iii) above.

                (g)     Additional Procedures. Owner and Contractor shall each designate a
 contact person for the purposes of administering the disclosure of Contractor’s Proprietary Data.
 Owner's designated contact shall be responsible for (i) ensuring that an agreement is executed
 with the Recipient governing the disclosure of Contractor's Proprietary Data consistent with
 Section 19.2(b)(ii) before the information is released, and (ii) making formal requests to
 Contractor for the release of information designated as Contractor Non-Disclosable Information.
 Contractor's designated contact shall be responsible for (i) handling and expediting responses to
 Owner's requests for release of information not specifically designated as disclosable and (ii)
 conducting periodic reviews of Owner's records listing the Recipients and purposes of disclosure
 of Contractor Proprietary Data.

         19.4 Ownership of Rights in Documentation. The rights, title and interests in and to
 the copies of Documentation provided to Owner shall be owned by Owner, provided that all
 rights, title and interests in and to Contractor's or third party's Proprietary Data within the
 Documentation shall remain with Contractor or the applicable third party, subject to the
 provisions of this Article 19. The types of Documentation to be received by Owner are listed in
 Table 2 of Exhibit A.

        19.5 Ownership of Invention Rights. Contractor shall retain the ownership rights in
 any and all discoveries and inventions (patentable or unpatentable) that Contractor or any of its
 Subcontractors makes, creates, develops, discovers or produces in connection with the design,
 manufacture, testing, analysis, maintenance or construction of the Facility or performance of the
 Work; provided, however, that Contractor hereby grants to Owner a transferable (but only as part
 of the sale or transfer of the Facility), royalty-free, fully paid up, irrevocable, nonexclusive


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 license to use such discoveries and inventions for the purposes of Facility (and associated
 simulator) maintenance, operation, training, repair, decommissioning and compliance with Laws.

        19.6 Software. Software provided to Owner by Contractor shall be subject to the
 software license provisions set forth in Exhibit M-1.

         19.7 Publicity. Each Party shall use commercially reasonable efforts to consult with
 the other Party before issuing any press releases or other public announcements involving any
 details of this Agreement other than that the Parties are or have had discussions with the other,
 except that the foregoing shall not be required if necessary to comply with Law or in the case of
 an emergency.

                ARTICLE 20 – ENVIRONMENTAL; HAZARDOUS MATERIALS

         20.1 Material Safety Data Sheets. To the extent required by applicable Law,
 Contractor shall provide to Owner Material Safety Data Sheets covering Hazardous Materials to
 be furnished, used, applied, or stored by Contractor, or any of its Subcontractors, at the Site in
 connection with the Work. Contractor shall coordinate with Owner's Project Director to provide
 a listing of such Hazardous Materials and their quantities at the Site for purposes of chemical
 inventory reporting pursuant to 40 C.F.R. Part 370 and similar state regulations.

         20.2 Facility Use, Storage Removal. When the use or storage of explosives or other
 Hazardous Materials or equipment is necessary for the performance of the Work, Contractor
 shall exercise the utmost care and shall carry on its activities under the supervision of properly
 qualified personnel in accordance with applicable Laws. Before Unit Mechanical Completion of
 the Second Unit (or if there is no Second Unit, the First Unit), Contractor shall remove from the
 Site in accordance with applicable Laws any explosives and other Hazardous Materials that
 Contractor or its Subcontractors used, stored or located at the Site or any neighboring property,
 unless the same have been permanently incorporated into the Facility, provided that, if any such
 explosives and other Hazardous Materials are necessary for completion of the Work, Contractor
 shall be permitted to retain such explosives and other Hazardous Materials at the Site or any
 neighboring property but only if, and to the extent, in compliance with the COL and applicable
 Laws.

         20.3    Handling, Collection, Removal Transportation and Disposal.

                 (a)    Unless otherwise agreed by the Parties, Contractor shall be responsible for
 the proper handling, treatment, collection, containerizing and removal of Hazardous Materials
 brought onto the Site or created by Contractor or Subcontractors or spilled or introduced into or
 at the Site by Contractor or any Subcontractor, including any such Hazardous Materials
 furnished, used, applied or stored at the Site by Contractor or any Subcontractor, including used
 oils, greases, and solvents from flushing and cleaning processes performed under the Agreement.
 Prior to Unit Mechanical Completion of a Unit, Contractor shall be responsible for the proper
 handling, storage, transportation, and disposal of any Hazardous Materials brought onto the Site
 or created by Contractor or Subcontractors. Contractor shall be liable for any fines or penalties
 imposed for its or its Subcontractors' failure to comply with applicable Laws with respect to
 Hazardous Materials for which it is responsible pursuant to this Section 20.3(a).


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                (b)     At all times during the performance of the Work, Owner shall be
 responsible for the prompt and proper handling, storage, transportation and disposal of
 Hazardous Materials existing at, on or under the Site that were not brought onto the Site or
 created by Contractor or Subcontractors. After Unit Mechanical Completion of a Unit, Owner
 shall be responsible for the prompt and proper handling, storage, transportation and disposal of
 Hazardous Materials used or generated with respect to such Unit or remaining at the Site (after
 proper handling, collection and containerizing by Contractor). As between the Parties, Owner
 shall be considered the generator for Hazardous Materials existing at, on or under the Site that
 were not brought onto the Site or created by Contractor or Subcontractors, and shall retain all
 responsibility and liability with respect to such Hazardous Materials. Subject to limitations on
 Santee Cooper's obligations as a matter of South Carolina law and subject to Contractor's
 obligations under Section 20.3(a), Owner shall indemnify Contractor against any penalties levied
 by any Government Authority for allowing any collected and containerized waste remaining in
 storage for more than the period allowed by applicable Laws without permit.

                (c)     Activities performed by each Party in connection with the handling,
 storage, collection, containerizing, transportation and disposal of Hazardous Materials shall be
 performed in accordance with the requirements of all Government Authorities and all applicable
 Laws.

         20.4 Notice of Discovery. Contractor shall provide prompt written notice to Owner of
 any suspected Hazardous Materials that Contractor finds during performance of the Work not
 previously identified by Owner to Contractor. Owner shall be responsible for any further action
 required after the discovery. To the extent any such action causes an increase in Contractor's
 costs or a delay in the performance of the Work, Contractor shall be entitled to a Change Order
 pursuant to Article 9.

                              ARTICLE 21 – TITLE; RISK OF LOSS

         21.1 Transfer of Title. Except as otherwise expressly provided in this Agreement, title
 to an item of Equipment shall pass to Owner upon payment in full by Owner to Contractor for
 such item of Equipment. The passage of title to Owner shall not be deemed an acceptance or
 approval of such Equipment (or any Work), affect the allocation of risk of loss, or otherwise
 relieve Contractor or Owner of any obligation under this Agreement to provide and pay for
 transportation and storage in connection with the Equipment.

         21.2    Risk of Loss.

                 (a)     Whether or not title has passed to Owner, the risk of loss for each system
 or structure of a Unit shall remain with Contractor until, and shall pass to Owner upon Turnover
 of such system or structure. Contractor shall be obligated to replace, repair or reconstruct the
 Equipment that is lost, damaged, or destroyed before the risk of loss of the Equipment is
 transferred to Owner, provided that Contractor is reimbursed for performing such replacement,
 repair, or reconstructions, as applicable, from the Builder's Risk insurance described in Sections
 16.1(b) and 16.2(a)(ii) or as otherwise provided herein. Notwithstanding the foregoing, and
 notwithstanding any provision of this Agreement that requires a Party to bear the risk of loss to
 its own property, during the Turnover process, and until Unit Mechanical Completion and


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 thereafter, (i) if Owner or any of its Personnel or Invitees damages any part of a system or
 structure of a Unit that has not yet achieved Turnover, Owner shall reimburse Contractor on a
 Time and Materials Basis to the extent of the negligence of Owner, its Personnel or Invitees, for
 any amounts not reimbursed by the applicable insurance policy, including the insurance
 deductibles related to such loss and (ii) if Contractor or any of its Personnel or Invitees damages
 any part of a system or structure of a Unit that has achieved Turnover, Contractor shall be liable
 for the insurance deductibles related to such loss subject to and limited by Section 16.2(a)(ii).

                (b)     Risk of loss to Equipment that Contractor removes from the Facility or
 from the Site for repair, replacement or refurbishment under the Warranty shall transfer to
 Contractor at the time of its loading on the carrier at the Facility. Owner shall reassume the risk
 of loss upon completion of the unloading of the Equipment from the carrier at the Facility upon
 completion of such replacement, refurbishment or repair services.

         21.3 Risk to a Party's Property. Each Party is responsible for insuring its own property
 (including the Facility and surrounding property) during the Work and thereafter, and each Party
 shall extend the benefit of such property insurance to the other. Each Party on behalf of itself and
 its insurers hereby waives all rights of recovery (including subrogation rights) against the other
 Party (including Contractor Interests) for any loss or damage to its property during the Work and
 thereafter, including the deductibles under any insurance policy. Notwithstanding the foregoing,
 however, should a Party cause damage to the other Party's property (including the Facility and
 surrounding property), such Party shall be responsible for the other Party's deductible under its
 insurance policy, up to (and limited to) one hundred thousand dollars ($100,000). For the
 avoidance of doubt, Contractor’s liability for the payment of such amount shall not be
 reimbursable hereunder. Owner shall reimburse Contractor on a Time and Materials Basis for
 its work to remedy such loss or damage that exceeds such amount, whether based on contract,
 tort (including fault, negligence and strict liability) or otherwise. The foregoing shall apply
 notwithstanding any other provision to the contrary.

                      ARTICLE 22 – SUSPENSION AND TERMINATION

         22.1    Suspension by the Owner for Convenience.

                 (a)   Owner may, without cause, order Contractor in writing to suspend, delay
 or interrupt the Work in whole or in part for such period of time as Owner may determine. Any
 such suspension of the Work shall entitle Contractor to a Change Order pursuant to Article 9.

               (b)    Owner shall continue to meet the payment obligations to Contractor
 during any suspension, delay or interruption for Work actually performed.

                 (c)    During any suspension, Contractor shall take reasonable precautions to
 protect, store and secure the Equipment against deterioration, loss or damage and to minimize the
 charges for the suspension.

                (d)   Contractor shall resume any suspended Work promptly following receipt
 of notice from Owner to do so.



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         22.2    Termination by Owner for Cause.

                (a)   Without limiting any other rights that it may have hereunder, Owner may
 terminate the Agreement upon notice to Contractor if:

                         (i)    Contractor is in breach of a material provision of this Agreement
 and fails to cure the breach within ninety (90) Days following written notice of such breach or, if
 such breach is not capable of being cured within such ninety (90) Day period, such longer period
 as is reasonably necessary so long as Contractor has commenced the cure within such ninety (90)
 Day period and thereafter diligently pursues the cure;

                          (ii)   Contractor has failed within sixty (60) Days after receiving written
 notice of a Lien to (x) remove, (y) bond over or (z) provide a written indemnity for any Liens
 filed against the Facility, the Site or any other property of Owner by any of its Subcontractors
 (provided that all of Contractor's invoices have been paid in accordance with the Agreement) and
 has continued to fail to take any of such action within five (5) Business Days following Owner's
 notice of its intent to terminate for such failure;

                      (iii)   unless due to an Uncontrollable Circumstance, Substantial
 Completion of a Unit is delayed by more than one hundred eighty (180) Days past the
 Guaranteed Substantial Completion Date for such Unit and Contractor is not, in the reasonable
 opinion of Owner, exercising due diligence to correct same; or

                        (iv)    a Consortium Member is Insolvent.

                (b)      When Owner terminates the Agreement for one of the reasons stated in
 Section 22.2(a), Contractor shall not be entitled to receive further payment until the Work is
 finished subject to the provisions set forth in Section 22.2(c)(iii).

                (c)      Upon any termination pursuant to this Section 22.2, Owner may at its
 option elect to: (i) assume responsibility for and take title to and possession of the Facility and
 Work and Equipment remaining at the Site and Equipment located outside the Site for which
 payment in full or in part has been made by Owner; (ii) succeed automatically, without the
 necessity of any further action by Contractor, to the interests of Contractor in any or all
 Subcontracts entered into by Contractor with respect to the Work (if such Subcontracts permit),
 and shall be required to compensate such Subcontractors if acceptable to such Subcontractors
 only for compensation becoming due and payable to such parties for goods and services provided
 under the terms of their Subcontracts with Contractor from and after the date Owner elects to
 succeed to the interests of Contractor in such Subcontracts and (iii) request that Contractor
 continue to perform the Work or any portion thereof pursuant to a separate agreement. In the
 event of any termination pursuant to this Section 22.2, Owner may, at its option, finish the Work
 and other work by whatever method Owner may deem expedient.

                (d)     If the unpaid balance of the Firm Price and Fixed Price exceeds the costs
 of finishing the Firm Price and Fixed Price portion of the Work (including all reasonable
 administrative and other direct costs incurred as a result of such termination), such excess shall
 be paid to Contractor. If the cost of finishing the Firm Price and Fixed Price portion of the Work


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 (including all reasonable direct costs for Owner to administer the completion of the Work and
 other direct costs incurred by Owner as a result of such termination) exceeds the unpaid balance
 of the Firm Price and Fixed Price, Contractor shall pay the difference to Owner.

                 (e)     To enable Owner to exercise its rights upon termination, each of
 Westinghouse and Stone & Webster has granted Owner an intellectual property license on the
 date hereof, as set forth in Exhibit M-2 and Exhibit M-3, respectively.

         22.3    Termination by Owner for Convenience.

               (a)    Owner may, at any time, terminate the Agreement for Owner's
 convenience and without cause.

                (b)     In the event of termination for Owner's convenience prior to the issuance
 of the Full Notice to Proceed, Contractor shall be entitled to receive payment for its Termination
 Costs.

                 (c)     If Owner terminates for its convenience after the issuance of the Full
 Notice to Proceed, Contractor shall be entitled to receive payment for its Termination Costs and
 Owner shall pay to Contractor a termination fee of (i) in the first year after issuance of the Full
 Notice to Proceed, fourteen percent (14%) of Contractor's Profit; (ii) in the second year after
 issuance of the Full Notice to Proceed, ten percent (10%) of Contractor's Profit; (iii) in the third
 year after issuance of the Full Notice to Proceed, six percent (6%) of Contractor's Profit; (iv) in
 the fourth year after issuance of the Full Notice to Proceed, four percent (4%) of Contractor's
 Profit; and (v) in the fifth year after issuance of the Full Notice to Proceed, two percent (2%) of
 Contractor's Profit. Thereafter, no termination fee shall be required. In each instance,
 "Contractor's Profit" refers to Profit to the extent not already received in the payments made of
 the Contract Price prior to the date of such termination. In the event that Owner has exercised its
 right under Section 3.3(b) to cancel the Second Unit prior to issuance of the Full Notice to
 Proceed and, subsequent to issuance of the Full Notice to Proceed but within one (1) year
 following the cancellation of the Second Unit, terminates this Agreement for its convenience, the
 Profit shall be determined as if both Units were cancelled after issuance of the Full Notice to
 Proceed. The one (1) year period described in the preceding sentence shall be extended by the
 duration of any period of suspension of the Work pursuant to Section 22.1 that is initiated during
 such one (1) year period.

                (d)    Upon such termination and payment, the Parties shall have no further
 liability to one another other than any liability that arose prior to the termination of this
 Agreement pursuant to this Section 22.3 and the Parties' obligations under Section 22.6.

         22.4    Suspension and Termination Due to Other Circumstances.

                (a)     In the event that Owner does not issue the Full Notice to Proceed as
 established in Section 3.3(b), Contractor shall have the right to suspend its Work, demobilize its
 forces and take such other actions as are reasonably needed to address the consequences of a
 delay in the Work, including the suspension or cancellation, as applicable of the Work being
 performed under Subcontracts. Prior to initiating such suspension, Contractor shall issue a notice


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 to Owner stating the basis for such suspension. Once the event that allowed Contractor to
 suspend Work under this Section 22.4(a) has occurred, Owner and Contractor shall negotiate a
 Change in the Contract Price, Project Schedule (including the Guaranteed Substantial
 Completion Date(s)), and such other applicable terms and conditions of this Agreement to reflect
 the effect of such event, including, without limitation, the suspension of the Work, and the
 demobilization and remobilization of Contractor's and the Subcontractors' forces, as applicable.
 Contractor shall incorporate agreed upon changes in a Change Order, or, in the absence of
 agreement, shall prepare a proposed Change Order reflecting the changes it deems necessary to
 reflect the effect of such event. Within sixty (60) Days following receipt of the requested Change
 Order from Contractor, Owner shall notify Contractor whether it (i) accepts the Change Order as
 proposed by Contractor, (ii) desires to have disputed issues in the Change Order resolved under
 the terms of Article 27; provided, however, that Owner shall not have the right to refer a
 proposed Change in the Project Schedule to dispute resolution; or (iii) desires to terminate this
 Agreement. If Owner does not (x) accept the Change Order as proposed by Contractor, (y) notify
 Contractor of its desire to have disputed issues (which, as stated above, may not include a dispute
 over the Project Schedule) resolved under Article 27 or (z) issue notice of termination within
 such sixty (60) Day period, Contractor shall have the right to terminate this Agreement upon
 thirty (30) Days notice to Owner.

                (b)     Either Party may terminate this Agreement in the event that DOE fails to
 fund all NuStart AP1000 Nuclear Power Plant COL activities and AP1000 Nuclear Power Plant
 design finalization substantially on the schedule set forth in Exhibit E, and within six (6) months
 following such failure, the Parties have not agreed, pursuant to good faith negotiations, on an
 alternative funding method satisfactory to the Parties;

                 (c)     In the event that through no act or fault of Contractor or a Subcontractor,
 one or more suspensions, delays or interruptions of the Work by Owner or due to an
 Uncontrollable Circumstance constitute in the aggregate more than seven hundred thirty (730)
 Days or more than one hundred eighty (180) Days out of any three hundred sixty-five (365) Day
 period, or (unless due to a breach by Contractor of its obligations under this Agreement or a
 failure by Contractor to comply with applicable Law) an order of a Government Authority
 having jurisdiction over the Facility which requires the Work to be permanently stopped (or
 stopped for greater than one year), Contractor shall have the right to notify Owner that it intends
 to terminate the Agreement. If Owner does not agree to such termination within thirty (30) Days
 following Contractor's notice, Owner and Contractor shall negotiate a Change in accordance with
 Article 9 to reflect the effect of suspension, delay or interruption of the Work. Contractor shall
 incorporate agreed upon changes in a Change Order or, in the absence of agreement, shall
 prepare a proposed Change Order reflecting the changes it deems necessary to reflect the effect
 of the suspension, delay or interruption. Within thirty (30) Days following receipt of the
 requested Change Order from Contractor, Owner shall notify Contractor whether it (i) accepts
 the Change Order as proposed by Contractor, (ii) desires to have disputed issues in the Change
 Order resolved under the terms of Article 27 or (iii) desires to terminate this Agreement. If
 Owner does not (x) accept the Change Order as proposed by Contractor, (y) notify Contractor of
 its desire to have disputed issues resolved under Article 27 or (z) issue notice of termination
 within such thirty (30) Day period, Contractor shall have the right to terminate this Agreement
 upon thirty (30) Days notice to Owner.


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                (d)     In the event that the Agreement is terminated within ten (10) months
 immediately following the Effective Date, Contractor shall pay to Owner, within thirty (30) days
 following the date of termination, an amount equal to the Long Lead Material Payment.
 Moreover, if during the ten (10) month period immediately following the Effective Date, Owner
 terminates the Agreement solely due to the failure of the South Carolina Public Service
 Commission to approve SCE&G’s Base Load Review Filing, Contractor shall pay to Owner an
 amount (in addition to the Long Lead Material Payment) (the “Additional Amount”) equal to (i)
 the aggregate payments made by Owner for the Equipment identified with the Long Lead
 Material Payment as of the date of termination minus (ii) the Long Lead Material Payment.
 Payments of the Additional Amount will be made in three equal installments at intervals of
 twelve (12) months, twenty-four (24) months and thirty-six (36) months following the date of
 termination. In such circumstances, and notwithstanding the last paragraph of Section 22.6,
 Contractor shall retain ownership of the rights in the Equipment upon any such termination.

                 (e)    In the event of termination pursuant to this Section 22.4, Contractor shall
 be entitled to receive payment for its Termination Costs; however, if the events in 22.4(a) or (b)
 occur as a result of Contractor's breach of its obligations under this Agreement, the Termination
 Costs shall be determined without overhead or profit for Contractor (whether such overhead or
 profit are incorporated into the rates charged by Contractor or are separately stated).

         22.5    Termination by Contractor.

                 (a)      Contractor may terminate this Agreement for any of the following reasons:

                       (i)    Owner fails to make payment to Contractor in accordance with the
 Agreement for a period exceeding forty-five (45) Days after an undisputed invoice has become
 due, or Owner fails to make payment to Contractor of disputed amounts in accordance with the
 provisions of Section 8.4(b)(i) for a period exceeding forty-five (45) Days following the date
 provided for in Section 8.4(b)(i), provided, in either case, that Contractor has provided the
 notices of overdue payment as required under Section 8.4(c);

                        (ii)   Owner is in breach of a material provision of this Agreement and
 fails to cure the breach within ninety (90) Days following written notice of such breach or, if
 such breach is not capable of being cured within such ninety (90) Day period, such longer period
 as is reasonably necessary so long as Owner has commenced the cure within such ninety (90)
 Day period and thereafter diligently pursues the cure; or

                       (iii)  Either SCE&G or Santee Cooper is Insolvent unless the other of
 SCE&G or Santee Cooper has provided security for payments that would be due from such
 Insolvent Person in accordance with Section 8.6 and no other changes to this Agreement have
 resulted from proceedings involving the Person that is Insolvent.

               (b)    Upon termination of this Agreement pursuant to this Section 22.5,
 Contractor shall be entitled to receive payment from Owner as if it were a termination for
 Owner's convenience under Section 22.3.




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        22.6 Actions Required of Contractor upon Termination. Upon receipt of a notice of
 termination from Owner or the issuance of a notice of termination by Contractor, Contractor
 shall:

                (a)     in an orderly manner and consistent with safety considerations, cease
 operations as directed by Owner in the notice;

                (b)    take actions necessary, or that Owner may direct, for the protection and
 preservation of the Work (wherever located); and

                (c)     except for Work directed to be performed prior to the effective date of
 termination stated in the notice, enter into no further contracts and purchase orders.

 Upon receipt of a notice of termination for convenience from Owner, a notice of termination for
 cause from Owner pursuant to Section 22.2, or a notice of termination from Owner or
 Contractor, as applicable, pursuant to Section 22.4, Contractor shall use commercially reasonable
 efforts for a commercially reasonable time to sell to a third party the Equipment for which
 Owner has made Milestone Payments or to cancel such Equipment orders. Contractor shall
 consult with Owner with respect to such sale or cancellation to determine which is the preferred
 course of action. If Contractor sells the Equipment to a third party, then the net sales price for the
 Equipment paid to Contractor shall be remitted to Owner when received by Contractor. If
 Contractor determines that it is able to use the Equipment for another customer, the price to be
 charged to the other customer for such Equipment shall be refunded to Owner as such payments
 are received from the other customer. If Equipment for which Owner has made Milestone
 Payments cannot be sold, cancelled or designated for another customer, then, at Owner's request,
 Contractor shall assign to Owner, and Owner shall assume, all rights and obligations under such
 Subcontract. Owner shall pay Contractor for such activities on Owner's behalf as follows: (i) for
 Westinghouse, its Recoverable Costs plus SGA and Pro Rata Profit on such costs and (ii) for
 Stone & Webster, its costs and expenses on a Time and Materials Basis. In each instance under
 this Article 22 in which Termination Costs are due from Owner, such Termination Costs shall be
 determined following the performance of the undertakings of Contractor pursuant to this
 paragraph (other than the obligation to refund to Owner amounts received from a third party or
 another customer as provided above).

                      ARTICLE 23 – SAFETY; INCIDENT REPORTING

          23.1 Environmental, Health and Safety Programs. Contractor shall be responsible for
 initiating, maintaining and supervising the safety precautions and programs in connection with
 its performance of its Work under the Agreement, including necessary precautions and programs
 for the Site and any areas adjacent to the Site under its supervision and/or control. Contractor
 shall comply with applicable workplace safety Laws governing the Work and/or Site.

         23.2 Designated Contractor Safety Representative. Contractor shall designate a
 responsible, qualified person in Contractor's organization at the Site whose duty shall be the
 prevention of incidents and injuries and addressing unsafe and undesirable conditions and
 behavior for each of the following three (3) areas: environmental matters (U.S. Environmental
 Protection Agency and any applicable state agency), health matters (industrial hygiene and


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 employee health hazard prevention/mitigation) and safety matters, as each area relates to
 construction activities generally and the Work specifically. One individual may be designated
 for more than one of these three areas if the individual is qualified in the relevant areas.

        23.3 OSHA and Other Laws. Contractor shall provide notices and comply with
 applicable workplace safety Laws, including the Occupational Safety and Health Act ("OSHA")
 and provisions of the Americans with Disabilities Act relevant to workplace safety. Contractor
 shall maintain the logs required under OSHA.

               (a)     Contractor represents that it is familiar with the Site, the Work to be
 performed, the Equipment to be provided, the hazards of the Work, and, if applicable, the
 Material Safety Data Sheets for, and the hazards of, the Hazardous Materials that Contractor is
 expected to provide. Contractor represents that it is familiar with the labeling system used in the
 workplace.

                (b)     Contractor acknowledges that OSHA and regulatory standards or state
 plan equivalent (collectively, the "OSHA Standards") require that its employees be trained in
 various subjects, such as, but not limited to, the hazards of, and standards applicable to, the Work
 (29 C.F.R. § 1926.21(b)(2)) (applicable to construction work), lockout/tagout (29 C.F.R.
 § 1910.147), confined space entry (29 C.F.R. §§ 1926.21(b)(6) or 1910.146), and asbestos (29
 C.F.R. §§ 1910.1001 or 1926.1101). Prior to performing Work on the Site, Contractor's
 employees and their supervisors shall, as required, have been trained in accordance with all
 applicable OSHA Standards relating to the duties they perform or supervise, and they shall have
 been trained to recognize and avoid any hazards related to the Work, and to perform the Work
 safely and without danger to any employee or to any property.

                (c)    Contractor represents that its employees are or shall be equipped with the
 personal protective equipment required by applicable OSHA Standards in 29 C.F.R. Parts 1926
 and 1910, and with the personal protective equipment required to protect its employees against
 other serious health or safety hazards. Contractor agrees that it shall discipline its employees
 who violate any OSHA Standards or applicable Laws in accordance with its own policies and
 procedures.

                (d)     Contractor shall comply with all OSHA Standards applicable to the Work,
 including those requiring pre-employment testing of employees, such as, but not limited to,
 pulmonary testing, blood testing, urine testing, hearing testing, respirator fit testing, drug
 screening, and/or applicable medical surveillance testing.

                (e)   Contractor shall comply with its safety programs and/or any Site specific
 safety plans which Owner has reviewed and accepted.

                 (f)    Within a reasonable time following a specific request by Owner, and to
 the extent permitted by applicable Law, Contractor shall provide to Owner copies of training
 materials for its employees concerning a particular safety and health standard and/or particular
 substantive or technical training requirement of the job.




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         23.4    Worksite Safety.

               (a)     Contractor shall take reasonable precautions for the safety of, and shall
 provide reasonable protection to prevent damage, injury or loss to Persons and property resulting
 from the Work, including:

                      (i)   Contractor or Subcontractor employees and other Persons
 performing the Work and any Persons who may be affected by the performance of the Work;

                        (ii)    the Equipment to be incorporated into the Facility, whether in
 storage on or off the Site or under the care, custody or control of Contractor or Subcontractors;
 and

                     (iii)    other property at or adjacent to the Site, including trees, shrubs,
 lawns, walks, pavements, roadways, structures and utilities.

                        (iv)   Contractor shall erect, maintain or undertake, as required by
 existing conditions and the performance of the Agreement, reasonable safeguards for the safety
 and protection of Persons and property, including posting danger signs and other warnings
 against hazards, promulgating safety regulations, and notifying Owner and users of adjacent sites
 and utilities. Those precautions may include providing security guards.

                      (v)    Contractor agrees to provide to Owner the name, title, and phone
 number of its emergency contact person prior to the commencement of the Work.

        23.5 Dangerous Materials. When the use or storage of explosives or other dangerous
 materials or equipment or unusual methods are necessary for the Work, Contractor shall exercise
 utmost care and carry on its activities only under the supervision of properly qualified personnel.
 Contractor shall notify Owner's Project Director prior to bringing any explosives onto the Site.

         23.6 Cooperation in Governmental Investigations and Inspections. Contractor and its
 Subcontractors shall provide reasonable assistance to Owner in responding to requests and
 inspections by any Government Authority for information in connection with the Work involving
 Contractor or its Subcontractors. Contractor shall provide the NRC the facilities, furnishings,
 conveniences and access set forth in 10 C.F.R. § 50.70 and shall take good faith efforts to keep
 confidential the presence of any representative of the NRC at the Site as provided in 10 C.F.R. §
 50.70(b)(4).

         23.7 Audit. To the extent permitted by applicable Law, and in response to specific and
 identifiable concerns, Contractor shall permit Owner to review and copy Contractor's documents
 related to those specific and identifiable safety and health concerns at the Site.




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 ARTICLE 24 – QUALIFICATIONS AND PROTECTION OF ASSIGNED PERSONNEL

        24.1 Screening Measures. A fitness for duty and security screening program
 ("Screening Measures") shall be established for all Contractor and Subcontractor employees for
 the Work. This program shall comply with the regulations set forth in the Laws governing new
 nuclear build construction. This program shall contain:

                 ·      Prohibition of the use, transportation, sale, or possession of illegal drugs

                 ·      Prohibition of the use or possession of alcohol beverages on the Site

                 ·      Requirement that employees be fit for duty at all times while on the Site

                 ·      Requirement that employees submit to drug and alcohol testing during
                        preaccess screening, for-cause testing, and post event testing, as necessary

                 ·      Requirement that all employees must immediately report known,
                        suspected, or potential violations of this policy to supervisory personnel or
                        management

                 ·      Requirement that a subset of workers who perform important safety
                        functions be subject to random testing

                 ·      Protection of information and records to assure confidentiality

                 ·      Requirement that employees consent to a search or inspection of the
                        individual's property while on the Site.
 In addition to pre-access screening for drugs and alcohol an identity check and screening for
 criminal history shall be performed. A law enforcement criminal records check on all potential
 employees that shall include:

                 ·      Verification of identity

                 ·      A criminal history check of the individual shall be performed

                 ·      Prior to a final adverse determination, the applicant shall be informed of
                        the basis for potential denial of access to the Site to assure the accuracy of
                        the basis for such denial.
 During preaccess screening a probationary period of not to exceed thirty (30) Days shall be
 granted to allow for the testing and prescreening to be performed while the employee is put to
 work.

        24.2 Contractor's Personnel. Contractor shall comply with applicable labor and
 immigration Laws that may impact Contractor's Work under this Agreement, including the
 Immigration Reform and Control Act of 1986 and Form I-9 requirements. Contractor shall
 perform the required employment eligibility and verification checks and maintain the required
 employment records. Contractor acknowledges and agrees that it is responsible for conducting


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 adequate screening of its employees and agents prior to starting the Work. By providing an
 employee or Subcontractor under this Agreement, Contractor warrants and represents that the
 Screening Measures with respect to such employee or Subcontractor have been completed and
 that such Screening Measures did not reveal any information that could adversely affect such
 employee's or Subcontractor's suitability for employment or engagement by Contractor or
 competence or ability to perform duties under this Agreement. If in doubt whether a suitability,
 competence or ability concern exists, Contractor shall discuss with Owner the relevant facts and
 Owner shall determine, in its sole discretion, whether such Person should be allowed to perform
 the Work. Owner, in its sole discretion, shall have the option of barring from the Site any person
 whom Owner determines does not meet the qualification requirements set forth above. In all
 circumstances, Contractor shall ensure that the substance and manner of any and all Screening
 Measures performed by Contractor pursuant to this Section conform fully to applicable Law.
 Contractor shall submit to Owner for approval a set of work rules that applies to all
 Contractor and Subcontractor employees. This set of work rules shall establish Contractor's and
 Subcontractor's disciplinary action policy and hiring and termination policy. This policy shall
 detail the actions to be taken by Contractor and Subcontractors for acts of misconduct,
 negligence and incompetence of their employees. The disciplinary action program shall be
 progressive up to termination and the barring of employee from future employment.

        24.3 Training of Employees.           Contractor represents that all Contractor and
 Subcontractor personnel shall as required be trained regarding environmental, OSHA and NRC
 requirements and any other matters required by applicable Laws and relevant to the Work.

         24.4 NRC Whistleblower Provision. Contractor and its Major Subcontractors shall
 comply with the requirements of Section 211, "Employee Protection," of the Energy
 Reorganization Act of 1974, 42 U.S.C. § 5851, as amended; 10 C.F.R. § 50.7, "Protection of
 Employees Who Provide Information" and 29 C.F.R. § 24 (collectively, the "Whistleblower
 Provisions"). Contractor shall implement a program and develop procedures to advise all of
 Contractor's and the Major Subcontractors' personnel that they are entitled and encouraged to
 raise safety concerns to Contractor's management, to Owner, and to the NRC, without fear of
 discharge or other discrimination.

         24.5 Respirator Protection. For any Work at the Site that shall expose any of
 Contractor's or any Subcontractor's employees or representatives to sources of radiation or
 require them to wear respiratory protection, Contractor shall require each of these employees or
 other representatives, prior to entering any radiation area or wearing respiratory protection, to
 undergo a physical examination to determine if occupational radiation exposure or the wearing
 of respiratory protection should be avoided because of any medical condition or other
 circumstance, and in addition, to undergo such physical examination as may be required by
 applicable Law or by any Government Authority having jurisdiction. Contractor shall keep a
 record of the physical examination available for inspection by Owner. Owner shall assist
 Contractor in defining the applicable requirements, if requested.

                              ARTICLE 25 – RECORDS AND AUDIT

         25.1 Technical Documentation. Except to the extent applicable Laws require a longer
 retention, Contractor shall maintain and shall cause its Major Subcontractors to maintain all


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 technical documentation relative to the Equipment for a period of three (3) years after Final
 Completion.

         25.2 Accounting Records. Except to the extent applicable Laws require a longer
 retention, Contractor shall maintain and shall cause its Subcontractors to maintain complete
 accounting records relating to the Work performed or provided under this Agreement on a Time
 and Materials Basis or the Target Price, or other reimbursable basis in accordance with generally
 accepted accounting principles in the United States, as set forth in pronouncements of the
 Financial Accounting Standards Board (and its predecessors) and the American Institute of
 Certified Public Accountants, for a period of three (3) years after Final Completion of a Unit,
 except that records relating to Sales Taxes for such items must be retained for seven (7) years as
 specified in Section 25.5.

        25.3 Maintenance of Records Generally. Notwithstanding anything in Section 25.1 or
 25.2 to the contrary, Contractor shall ensure that its maintenance of records complies with the
 applicable provisions of 10 C.F.R. § 50.71.

          25.4 Right to Audit. If Owner requests verification of Recoverable Costs claimed by
 Contractor for reimbursement or for any Work performed or provided on a Time and Materials
 Basis or the Target Price, Owner or its authorized representative shall be permitted to examine
 and audit Contractor's records and books, and Subcontractors' where permitted by contract,
 related to those costs. The right to initiate any audit shall expire, with respect to any such cost,
 three (3) years after the cost was incurred. Such audit shall provide Owner with a reasonable
 opportunity to verify that all costs and charges have been properly invoiced in accordance with
 the terms of this Agreement. Owner shall not be entitled to any information that would enable
 Owner to determine the make-up of any agreed upon lump sum, or any fixed or established
 amounts, rates or multipliers, including the Firm Price or the Fixed Price, unless access to this
 information is needed to support a request made by Owner or Contractor for a change in indices
 in accordance with Article 7. If any audit by the auditor reveals charges to or paid by Owner as
 charges or fees which are incorrectly charged, then Owner shall be entitled upon demand for a
 refund from Contractor of such amounts, together with interest at the Prime Rate plus one
 percent (1%) per annum, measured from the date of the incorrect invoice until the date the refund
 is paid. Likewise, if any audit or if any examination by any state or local taxing agency reveals
 additional Sales Tax to be imposed upon Contractor for under collection of tax from Owner on a
 taxable sale, then Contractor shall be entitled, upon demand, to a payment from Owner of all
 such amounts, together with any interest and penalties imposed by any state or local taxing
 agency. Notwithstanding anything in this Section 25.4 to the contrary, Owner shall not be
 restricted from any audit rights, including any right to conduct audits directly without any
 intermediary, which it is required to have in order to comply with applicable Laws, including the
 regulations of the NRC.

         25.5 Sales Tax Records. Contractor shall provide or provide access to the information,
 documents, receipts, invoices, and data to Owner on a monthly basis, or as Owner may from time
 to time reasonably request and as may be specifically required by the South Carolina state tax
 regulations for non-tax exempt items, and otherwise fully cooperate with Owner in connection
 with the reporting of (a) any Sales Taxes payable with respect to the Work and (b) any



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 assessment, refund claim or proceeding relating to Taxes payable with respect to the Work. This
 may include a monthly assessment visit from the South Carolina state tax department to review
 this information. Contractor shall require its Major Subcontractors to provide to Contractor all
 information and data Contractor may reasonably request for purposes of complying with this
 Article and otherwise fully cooperate with Owner. Contractor shall retain, and shall require
 Major Subcontractors to retain, copies of such documentation and all documentation relating to
 purchases relating to the Work or the payment of Sales Taxes, if any, for a period of not less than
 seven (7) years. Contractor shall ensure that its contracts with all Major Subcontractors
 effectuate the provision of this Section 25.5. Contractor's obligations under this Section shall
 survive the termination, cancellation or expiration of this Agreement for any reason and shall last
 so long as is necessary to resolve any and all matters regarding Taxes attributable to the Work.
 This information is intended solely for the use of tax compliance.

                                     ARTICLE 26 – TAXES

         26.1 Employment Taxes. Contractor shall be responsible for payroll or employment
 compensation taxes, Social Security taxes, or for labor-related withholding taxes for Contractor
 and its Subcontractors or any of their employees ("Employment Taxes").

         26.2 Sales and Use Taxes on Contractor Tools. Contractor shall pay the taxes on
 Contractor's purchases of goods, tools, equipment, supplies and other consumables which are not
 permanently incorporated into the Facility and which remain the property of Contractor.
 Contractor shall also pay the taxes attributable to Contractor's Construction Equipment,
 temporary buildings and other property used by Contractor in its performance of this Agreement.
 Allowance for such taxes is included in the Firm Price and Fixed Price, and Contractor shall pay
 those taxes when assessed, without claim against Owner for reimbursement for Work under the
 Firm Price and Fixed Price, but shall be reimbursed for such charges for Work under the Target
 Price and for Work performed on a Time and Materials Basis. Contractor shall impose a similar
 obligation on all Subcontractors and shall ensure that no Subcontractor providing Firm Price or
 Fixed Price Work shall have any claim against Owner for reimbursement of those taxes.

        26.3 Sales and Use Tax on Equipment. Notwithstanding the above, the Firm Price,
 Fixed Price and Target Price does not include monies for the payment of any sales and use taxes
 on Equipment incorporated into the Facility. Contractor shall consult with Owner on Equipment
 purchases and work with Owner to obtain the most favorable sales and use tax benefits for
 Owner.

         26.4 State Property Taxes. Contractor and Owner agree that Owner shall be
 responsible for the filing requirements and payment obligations for all state and local taxes on
 the Site and the Equipment incorporated (and to be incorporated) into the Facility, provided that
 Contractor shall be responsible for the filing of property tax returns and the payment of state and
 local property taxes on Construction Equipment, tools and material which are not incorporated
 into the Facility and which are owned, used or leased by Contractor to perform the Work.




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         26.5    Tax Indemnification.

                (a)      Except in cases where the imposition of any Tax is the result of the
 negligence or willful or wanton misconduct by Contractor, Owner shall defend, reimburse,
 indemnify and hold Contractor harmless for the costs and expenses (including any resulting
 Taxes, interests and penalties) incurred by Contractor as a result of (i) Owner's formal protest to
 any Government Authority of any Employment Taxes or Sales Taxes paid or assessed or any
 property taxes paid or assessed by Government Authorities on the Site or the Equipment, or any
 other similar Tax, whether local, state or federal, including any litigation expenses in the event
 Owner decides to protest any such Taxes or (ii) an audit or other investigation by any
 Government Authority, including the defense and any resulting Tax liability in connection
 therewith. Owner shall not be responsible for any costs incurred by Contractor necessary to
 substantiate or verify information for any Tax audit conducted by any Government Authority in
 the normal course of business.

                 (b)    Except in cases where the imposition of any Tax is the result of the
 negligence or willful or wanton misconduct by Owner, Contractor shall defend, reimburse,
 indemnify and hold Owner harmless for the costs and expenses (including any resulting Taxes)
 incurred by Owner as a result of (i) Contractor's formal protest to any Government Authority of
 any Employment Taxes, or any Sales Tax or any property tax paid or assessed by any
 Government Authority on Contractor's Construction Equipment, tools and materials that are not
 incorporated into the Facility, or any other similar Tax, whether local, state or federal, including
 any litigation expenses in the event Contractor decides to protest any such Taxes or (ii) an audit
 or other investigation by any Government Authority, including the defense and any resulting Tax
 liability in connection therewith. Contractor shall not be responsible for any costs incurred by
 Owner necessary to substantiate or verify information for any Tax audit or investigation
 conducted by any Government Authority in the normal course of business.

         26.6 Pollution Control Equipment Information. Contractor shall supply Owner with all
 reasonable information requested by Owner for qualifying air, water or noise pollution control
 and other equipment for exemption from sales and use taxes, property taxes and any other tax
 credits, refunds or exemptions available to Owner. Owner shall supply Contractor with all
 reasonable information and cost analyses requested by Contractor for qualifying air, water or
 noise pollution control equipment for exemption from sales and use taxes, property taxes and any
 other credits, refunds or exemptions available to Contractor.

        26.7 Non-resident Contractor. Contractor shall comply with Section 12-8-550 of the
 Code of Laws of South Carolina (1976), as amended, which requires any nonresident contractor
 providing labor in the State of South Carolina to register with the South Carolina Department of
 Revenue or Secretary of State to avoid the withholding of two percent (2%) of each payment
 made to the nonresident contractor.

                              ARTICLE 27 – DISPUTE RESOLUTION

         27.1 Claims. A "Claim" is any claim, dispute or other controversy arising out of or
 relating to this Agreement, including Change Disputes. Claims must be initiated by written
 notice. The responsibility to substantiate Claims shall rest with the Party making the Claim. The


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 other Party shall provide reasonable cooperation in making available non privileged information
 in its possession or control that is relevant for purposes of substantiating the Claim.

         27.2 Change Dispute. A Party shall provide written notice to the other Party of any
 dispute or disagreement that such Party may have regarding a request for a Change or a notice of
 a Change given by either Party ("Change Dispute"), which notice shall contain such Party's
 position with respect to such Change Dispute (the "Change Dispute Notice"). Such Party shall
 provide the Change Dispute Notice to the other Party no earlier than fifteen (15) Days after such
 Party (a) submitted a notice of Change without having received either (i) a written response from
 the other Party or (ii) a response from the other Party regarding a notice of Change that is
 unsatisfactory to such Party or (b), in the case of Section 9.2, Contractor has received from
 Owner a request for a Change that Contractor does not believe conforms to the requirements of
 Section 9.2, or a dispute otherwise arises out of Section 9.2.

         27.3    Resolution by Negotiation.

                  (a)    As an express condition precedent to commencement of any further
  proceedings with respect to a Claim (except as may be provided under any applicable lien
  statute), the Party making such Claim shall notify the other Party's Project Director in writing of
  such Claim. The Contractor's Project Director and the Owner's Project Director shall meet
  within thirty (30) Days of receipt of the written notice of such Claim for the purpose of
  attempting to resolve the Claim.

                 (b)     If, after the Contractor's Project Director and the Owner's Project
  Director meet, the Claim remains unresolved or if no such meeting takes place for any reason
  within such thirty (30) Day period, then an executive vice president (or equivalent) of (i), in the
  case of Contractor, each Consortium Member (unless otherwise agreed by the Consortium
  Members) and (ii), in the case of Owner, each of SCE&G and Santee Cooper (unless otherwise
  agreed by them) shall meet to attempt to resolve such Claim, as applicable, within fifteen (15)
  Days from the end of such thirty (30) Day period.

                 (c)    If the Claim remains unresolved after the fifteen (15) Day period
  described in Section 27.3(b) and the Parties have not mutually agreed in writing to mediate such
  Claim, then:

                        (i)     with respect to a Claim that exceeds the Threshold Amount, either
 Party shall have the right to proceed to litigation of such Claim in a court of competent
 jurisdiction pursuant to Section 27.7; and

                     (ii)    with respect to a Claim that meets or falls below the Threshold
 Amount, such Claim shall be resolved pursuant to Section 27.5.

                (d)     The Parties agree to make a diligent, good faith attempt to resolve a
  Claim as expeditiously as reasonably possible as provided in this Section 27.3.




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         27.4    Mediation.

                 (a)   The Parties may mutually agree in writing to endeavor to resolve a Claim
  by mediation which, unless the Parties mutually agree otherwise, shall be in accordance with
  the Construction Industry Mediation Procedures of the AAA in effect at the time of the
  mediation. A request for mediation shall be mutually filed in writing by the Parties with the
  AAA. If the mediation has not concluded within sixty (60) Days after its commencement, then,
  as applicable:

                        (i)     with respect to a Claim that exceeds the Threshold Amount, either
 Party shall have the right to proceed to litigation of such Claim in a court of competent
 jurisdiction pursuant to Section 27.7; and

                     (ii)    with respect to a Claim that meets or falls below the Threshold
 Amount, such Claim shall be resolved pursuant to Section 27.5.

                (b)    The Parties shall share the mediator's fee and any AAA filing fees
  equally. The mediation shall be held in Charlotte, North Carolina, unless another location is
  mutually agreed upon. Agreements reached in mediation shall be enforceable as settlement
  agreements pursuant to Section 27.7.

         27.5    Arbitration of Claims Falling Below the Threshold Amount.

                   (a)    The Parties agree that any Claim meeting or falling below the Threshold
  Amount ("Arbitrable Claim") that is not resolved pursuant to Section 27.3 or 27.4 shall be
  submitted to final and binding arbitration for resolution pursuant to this Section 27.5 and in
  accordance with the Construction Industry Arbitration Rules of the AAA in effect at the time of
  the arbitration, except as modified by this Section 27.5 or otherwise agreed by the Parties.

                   (b)    Unless the Parties otherwise mutually agree in writing, the arbitral panel
  ("Arbitral Panel") shall consist of three (3) people. Within ten (10) Days after the expiration of
  the fifteen (15) Day period described in Section 27.3(b), each Party shall give written notice of
  its selection of a person to serve as a member of the Arbitral Panel ("Member"), who shall have
  no less than ten (10) years of experience in the litigation of complex disputes including
  preferably experience in the power plant construction industry. If a Party fails to notify the
  other Party of the selection of its Member within such fifteen (15) Day period, then such
  Member shall be appointed by the AAA. Within thirty (30) Days after the selection of the
  Members of the Arbitral Panel, the Members shall mutually agree in writing on their
  nomination of two (2) persons to serve as the chairman of the Arbitral Panel, who shall be
  practicing attorneys validly licensed to practice law in a jurisdiction in the United States and/or
  retired judges, and who shall have no less than twenty (20) years of experience in the litigation
  of complex disputes including preferably experience in the power plant construction industry
  (the "Chairman"). (References herein to "Member" shall include the Chairman unless the
  context otherwise requires.) The Members shall then select one of such nominated persons to
  serve as the Chairman. In the event that the Members do not mutually agree on the person to
  serve as the Chairman within such thirty (30) Day period, each Member shall submit its
  nominated person to AAA, and the AAA shall decide the nominee to serve as the Chairman.


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                  (c)    It being imperative that all Members of the Arbitral Panel be neutral, act
  impartially, and be free from any conflict of interest, the Parties shall select such persons on the
  basis that the Members and the Chairman shall:

                         (i)   have no interest financial or otherwise in either Party nor any
 financial interest in this Agreement except for payment of its fees and expenses as provided
 herein;

                       (ii)   not previously have been employed as a consultant or otherwise by
 either Party, unless any such relationship has been disclosed in writing and approved by the
 Parties;

                        (iii)  have disclosed in writing to the Parties and each other Member and
 the Chairman as applicable, before being selected and to his or her best knowledge and
 recollection, any professional or personal relationships with any director, officer or employee of
 either Party;

                       (iv)   not, for the duration of the Arbitral Panel, be employed as a
 consultant or otherwise by either Party, except as may be agreed in writing by the Parties, the
 other Members and the Chairman;

                      (v)     not give advice to either Party or its Personnel concerning the
 conduct of this Agreement, other than in accordance with this Agreement;

                          (vi)   not have any ex-parte communications with either Party at any
 time after their selection pursuant to Section 27.5(b);

                      (vii) not, while a Member or Chairman, as applicable, enter into
 discussions or make any agreement with either Party regarding employment by any of them,
 whether as a consultant or otherwise, after ceasing to act as a Member or Chairman, as
 applicable; and

                        (viii) treat the details of this Agreement and all the Arbitral Panel's
 activities and hearings as private and confidential, and not publish or disclose them without the
 prior written consent of the Parties.

                (d)     Each Party shall be responsible for one-half of the fees and expenses of
  the Arbitral Panel, unless the Arbitral Panel includes an award of fees and expenses in the
  award. Contractor shall not include such fees and expenses in any amounts invoiced to Owner
  under this Agreement.

                  (e)    Either Party shall be entitled to have any third party join into any
  proceedings hereunder as a party thereto under this Section 27.5. A Party may fully defend
  against any proceedings hereunder, provided that a Party shall not be entitled to make a
  counterclaim against the other Party unless the counterclaim arises out of the occurrence that is
  the subject of the pending Arbitrable Claim.




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                  (f)   The Arbitral Panel shall be governed by the provisions of this Agreement
  and the governing Law, and shall not be entitled to award any punitive, special, indirect, penal,
  incidental or consequential loss or damages.

                    (g)     The Parties shall promptly provide the Arbitral Panel with such
  additional information and access to such facilities and Personnel as the Arbitral Panel may
  require for purposes of resolving any submitted Arbitrable Claim. The Arbitral Panel shall use
  reasonable efforts to resolve any submitted Arbitrable Claim as promptly as reasonably
  practicable and in any event within sixty (60) Days of the appointment of the Chairman of an
  Arbitral Panel where the amount in controversy is less than five million dollars ($5,000,000)
  (per claim for monetary relief) or where a schedule dispute (per Contractor claim for schedule
  relief) is less than thirty (30) Days, or within one hundred eighty (180) Days of the appointment
  of the Chairman of an Arbitral Panel (or such other number of Days as may be proposed by the
  Arbitral Panel and accepted by both Parties (which acceptance shall not be unreasonably
  withheld)) where the amount in controversy is five million dollars ($5,000,000) (per claim for
  monetary relief) or more or where the schedule dispute (per Contractor claim for schedule
  relief) is thirty (30) Days or more. Notwithstanding the foregoing, if the Parties mutually agree
  to a deadline extension or the Chairman determines that it is not feasible to resolve the
  Arbitrable Claim within the above listed deadlines, then a deadline may be extended to provide
  additional time to resolve such Arbitrable Claim; provided, that the duration of any such
  extension shall be set taking into account the agreed upon principle that disputes are to be
  resolved as expeditiously as possible. The Parties expressly agree that the Arbitral Panel shall
  have no power to consider or award any form of damages or remedies barred by this
  Agreement.

                  (h)     The decision of the Arbitral Panel shall be issued in a writing that sets
  forth the Arbitral Panel's reasoned decision. The Arbitral Panel shall not be entitled to deviate
  from the construct, procedures or requirements of this Agreement. In the absence of bias, fraud,
  or willful misconduct by an arbitrator, any decision rendered by the Arbitral Panel in any
  arbitration shall be final and binding upon the Parties under the United States Arbitration Act 9
  U.S.C. §§ 1 et seq., and judgment thereon may be entered in the court described in Section 27.7.

         27.6 Exclusive Resolution Procedures; Equitable Remedies. The procedures specified
 in this Article shall be the sole and exclusive procedures for the resolution of Claims (except for
 lien claims which are governed by statute); provided, however, that, notwithstanding anything in
 this Article to the contrary, a Party may file a complaint in the court described in Section 27.7 to
 seek injunctive relief, sequestration, garnishment, attachment, or an appointment of a receiver.
 Despite such actions, the Parties shall continue to participate in good faith in and be bound by the
 dispute resolution procedures specified in this Article.

         27.7 Consent to Jurisdiction. The Parties agree to the exclusive jurisdiction of the
 United States District Court for the Southern District of New York or, if such court does not have
 jurisdiction of the matter, the courts of the State of New York located in the City and County of
 New York, for any legal proceedings that may be brought by a Party arising out of or in
 connection with this Agreement or for recognition or enforcement of any judgment or settlement
 agreement. By execution and delivery of this Agreement, each Party accepts, generally and



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 unconditionally, the jurisdiction of the aforesaid court for legal proceedings arising out of or in
 connection with this Agreement. Each Party hereby waives any right to stay or dismiss any
 action or proceeding under or in connection with this Agreement brought before the foregoing
 court on the basis of forum non-conveniens or improper venue.

         27.8 Continuation of Work. Pending the final resolution of any Claim, Contractor
 shall proceed diligently with the performance or provision of the Work and its other duties and
 obligations and Owner shall continue to compensate Contractor as set forth under this
 Agreement without diminution of effort; provided that Contractor is being compensated for the
 Work pursuant to the terms of this Agreement, including but not limited to the provisions of
 Article 8 and provided that the Parties agree that such duties and obligations can be safely and
 prudently performed.

                                    ARTICLE 28 – NOTICES

 All notices, communications, and approvals required or permitted to be given hereunder shall be
 in writing and shall be valid and sufficient if delivered in person or dispatched by certified mail
 (return receipt requested), postage prepaid, in any post office in the United States or by any
 national overnight express mail services (return receipt requested), and addressed as follows:

 If to Owner:

                        South Carolina Electric & Gas Company
                        Attn: President
                        Mail Code 190
                        Columbia, SC 29218
                        Telephone No.: 803-217-8097
                        Facsimile No.: 803-217-9336

                        South Carolina Public Service Authority
                        Attn: Chief Operating Officer (M602)
                        One Riverwood Drive
                        P.O. Box 2946101
                        Moncks Corner, SC 29461-6101
                        Telephone No.: 843-761-4087
                        Facsimile No.: 843-761-7037

 With a copy to:

                        South Carolina Electric & Gas Company
                        Attn: General Counsel
                        Mail Code 190
                        Columbia, SC 29218
                        Telephone No.: 803-217-8634
                        Facsimile No.: 803-217-9336




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                        South Carolina Public Service Authority
                        Attn: General Counsel (M603)
                        One Riverwood Drive
                        P.O. Box 2946101
                        Moncks Corner, SC 29461-6101
                        Telephone No.: 843-761-7007
                        Facsimile No.: 843-761-7037

 If to Westinghouse:

                        Westinghouse Electric Company, LLC
                        Attn: Daniel Lipman
                        4350 Northern Pike
                        Monroeville, PA 15146
                        Telephone No.: (412) 374-6920
                        Facsimile No.: (412) 374-6677

 With a copy to:

                        Westinghouse Electric Company, LLC
                        Attn: General Counsel
                        4350 Northern Pike
                        Monroeville, PA 15146
                        Telephone No.: (412) 374-6177
                        Facsimile No.: (412) 374-6122

 If to Stone & Webster:

                        Stone & Webster, Inc.
                        Attn: Ed Hubner
                        3 Executive Campus
                        Cherry Hill, NJ 08002
                        Telephone No.: (856) 482-4178
                        Facsimile No.: (856) 482-3155

 with a copy to:

                        Stone & Webster, Inc.
                        Attn: E.K. Jenkins
                        E&C Division Counsel
                        100 Technology Center Drive
                        Stoughton, MA 02072
                        Facsimile No.: (617) 589-1322




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 or to such other address, attention or facsimile number as such Party to whom such notice is to
 be addressed shall have hereafter furnished to the other Party in writing as provided in this
 Article.

 Notwithstanding the foregoing, any routine correspondence (as further defined in the Project
 Execution Plan) shall be sent to the appropriate project management and personnel that may be
 agreed upon by the Parties. Copies of such routine correspondence shall not be routed to the
 persons listed above.

                                 ARTICLE 29 – ASSIGNMENT

 Neither Party shall assign this Agreement in whole or in part without the prior written consent of
 the other Party. If any assignment by any Party of this Agreement or any right, interest or
 obligation therein requires the consent of, or notice to, any Government Authority, including the
 NRC, then such Party shall not effect such assignment without such consent of, or notice to, such
 Government Authority.

                                    ARTICLE 30 – WAIVER

 The failure of either Party to enforce at any time any of the provisions of this Agreement shall
 not be construed as a waiver of such provision nor shall not in any way affect the validity of this
 Agreement or the right of either Party to enforce each and every provision.

                                ARTICLE 31 – MODIFICATION

 No waiver, modification, or amendment of any of the provisions of this Agreement shall be
 binding unless it is in writing and signed by duly authorized representatives of both Parties.

                                   ARTICLE 32 – SURVIVAL

 The Parties agree that the provisions of Article 15 – Indemnity, Article 17 – Limitation of
 Liability, Article 19 – Proprietary Data, Article 27 – Dispute Resolution, Section 22.2(e) –
 Continuation of Work by a Qualified Entity, and Section 25.4 –Right to Audit, this Article and
 any other terms and conditions of this Agreement that are expressly stated to survive or limiting
 the liability of Contractor shall survive termination, cancellation or expiration of this Agreement.
 Any liability and insurance protections afforded a Party hereunder shall apply during the Work
 and thereafter, and shall survive termination, cancellation or expiration of this Agreement,
 subject to time limitations provided for in this Agreement.

                                   ARTICLE 33 – TRANSFER

 Prior to the removal of any Equipment furnished hereunder from the Facility, except temporarily
 for repair or permanently for disposal, Owner shall provide Contractor with written assurances
 from the transferee of limitation of and protection against liability following the proposed
 removal or transfer at least equivalent to that afforded Contractor and Contractor Interests under
 the provisions of this Agreement. Removal or transfer contrary to the provisions of this Article
 shall, in addition to any other legal or equitable rights of Contractor, make Owner the indemnitor



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 of Contractor and Contractor Interests against any liabilities incurred by Contractor and
 Contractor Interests in excess of those that would have been incurred had no such transfer taken
 place.

 ARTICLE 34 – GOVERNING LAW; WAIVER OF JURY TRIAL; CERTAIN FEDERAL
                               LAWS

         34.1 Governing Law. The validity, construction, and performance of this Agreement
 shall be governed by and interpreted in accordance with the laws of the State of New York,
 without giving effect to the principles thereof relating to conflicts of laws except Section 5-1401
 of the New York General Obligations Law; provided, however, that nothing in this Agreement
 shall seek to alter the rights, responsibilities and limitations applicable to Santee Cooper under
 the laws of the State of South Carolina.

      34.2 Waiver of Jury Trial. EACH PARTY HEREBY IRREVOCABLY WAIVES
 ALL RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
 (WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
 RELATING TO THIS AGREEMENT.

         34.3 Certain Federal Laws. In the performance of Work under this Agreement,
 Contractor and its Subcontractors shall comply with applicable Law, including provisions of
 Executive Order 11246, as amended, relating to equal opportunity and nonsegregated facilities,
 the Fair Labor Standards Act of 1933, the Occupational Safety and Health Act of 1970, and the
 requirements of the rules, regulations, orders, bulletins and interpretations of the NRC, and with
 the Laws as set forth in Exhibit S, to the extent applicable to Contractor or Subcontractors.
 Contractor further agrees to comply with, and agrees to require Subcontractors that are subject to
 such requirements to comply with, Owner's Government Contracting Programs requirements as
 specified in 13 CFR 125, 48 CFR 52.219-8, and 48 CFR 52.219-9.

             ARTICLE 35 – RELATIONSHIP OF OWNER AND CONTRACTOR

 Contractor is an independent contractor and nothing contained herein shall be construed as
 creating (i) any relationship between Owner and Contractor other than that of owner and
 independent contractor, (ii) any relationship whatsoever between Owner and Contractor's
 employees or Subcontractors or (iii) a fiduciary relationship between Contractor and Owner.
 Neither Contractor, nor any of its employees, are or shall be deemed to be employees of Owner.

                       ARTICLE 36 – THIRD PARTY BENEFICIARIES

 Except as expressly set forth in this Agreement, the provisions of this Agreement are intended
 for the sole benefit of Owner and Contractor and each Consortium Member, and the Parties do
 not intend to create any other third party beneficiaries or otherwise create privity of contract with
 any other Person.




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                     ARTICLE 37 – REPRESENTATIONS AND WARRANTIES

        37.1 Representations and Warranties of Contractor. Each Consortium Member hereby
 represents and warrants to Owner as follows:

                 (a)      Due Organization of Consortium Member.

                       (i)    Stone & Webster represents and warrants that it is duly organized,
 validly existing and in good standing under the laws of the State of Louisiana and has the
 requisite power and authority to own and operate its business and properties and to carry on its
 business as such business is now being conducted and is duly qualified to do business in the
 State of South Carolina and in any other jurisdiction in which the transaction of its business
 makes such qualification necessary.

                       (ii)   Westinghouse represents and warrants that it is duly organized,
 validly existing and in good standing under the laws of the State of Delaware and has the
 requisite power and authority to own and operate its business and properties and to carry on its
 business as such business is now being conducted and is duly qualified to do business in the
 State of South Carolina and in any other jurisdiction in which the transaction of its business
 makes such qualification necessary.

                (b)    Due Authorization of Consortium Member; Binding Obligation.
 Consortium Member has full power and authority to execute and deliver this Agreement and to
 perform its obligations hereunder, and the execution, delivery and performance of this
 Agreement by Consortium Member has been duly authorized by the necessary action on the part
 of such Consortium Member; this Agreement has been duly executed and delivered by such
 Consortium Member and is the valid and binding obligation of such Consortium Member
 enforceable in accordance with its terms.

               (c)     Non-Contravention. The execution, delivery and performance of this
 Agreement by Consortium Member and the consummation of the transactions contemplated
 hereby do not and shall not contravene any applicable Law or the organizational documents of
 such Consortium Member and do not and shall not conflict with or result in a breach of or default
 under any indenture, mortgage, lease, agreement, instrument, judgment, decree, order or ruling to
 which such Consortium Member is a party or by which it or any of its properties is bound or
 affected.

                 (d)     Consortium Agreement. The Consortium Members have entered into an
 agreement setting forth their consortium arrangements for the performance of this Agreement
 and their sharing of liabilities with respect thereto.

        37.2 Representations and Warranties of SCE&G and Santee Cooper. Each of SCE&G
 and Santee Cooper hereby represents, warrants and covenants to Contractor as follows:

               (a)    Due Organization of Owner. It is duly organized, validly existing and in
 good standing under the laws of the State of South Carolina and has the requisite power and
 authority to own and operate its business and properties and to carry on its business as such


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 business is now being conducted and is duly qualified to do business in State of South Carolina
 and in any other jurisdiction in which the transaction of its business makes such qualification
 necessary.

                (b)      Due Authorization of Owner; Binding Obligation. Its execution, delivery
 and performance of this Agreement has been duly and effectively authorized by the requisite
 action on the part of its governing board. This Agreement constitutes its legal, valid and binding
 obligations, enforceable against it in accordance with its terms, except as limited by applicable
 bankruptcy, insolvency, reorganization, moratorium or other Laws affecting the rights of
 creditors generally and by general principles of equity.

                 (c)    Non-Contravention. Its execution, delivery and performance of this
 Agreement and the consummation of the transactions contemplated hereby do not and shall not
 contravene any applicable Law or organizational documents or do not and shall not conflict with
 or result in a breach of or default under any indenture, mortgage, lease, agreement, instrument,
 judgment, decree, order or ruling to which it is a party or by which it or any of its properties is
 bound or affected.

 On the Effective Date, Santee Cooper shall provide a letter to Contractor making each of the
 representations set forth in this Section 37.2 on its own behalf as well as a representation that
 Santee Cooper has appointed SCE&G as its agent pursuant to the Limited Agency Agreement,
 which is attached hereto Exhibit V, for all purposes under this Agreement, with the power and
 authority to bind Santee Cooper to its obligations herein, subject to the limitations specifically
 set forth in the Limited Agency Agreement. In such letter, Santee Cooper shall also agree to
 notify Contractor promptly in writing if there is any change in the limits of SCE&G's authority
 set forth in such Limited Agency Agreement.

                       ARTICLE 38 – MISCELLANEOUS PROVISIONS

          38.1 Rights Exclusive. The rights and remedies of Owner or Contractor as set forth in
 this Agreement shall be the exclusive rights or remedies of the Parties. The limitations of
 liability, waivers, indemnities, extension of insurances and other liability protection provided
 herein for the benefit of Contractor shall also apply for the benefit of Contractor Interests and
 shall apply irrespective of the basis of such claim, whether arising at contract (including breach
 warranty, indemnity, etc.), tort or otherwise, and regardless of fault, negligence or strict liability.

        38.2 Severability. If any provision of this Agreement or the application of this
 Agreement to any Person or circumstance shall to any extent be held invalid or unenforceable by
 a court of competent jurisdiction or arbitrator under Article 27, then (i) the remainder of this
 Agreement and the application of that provision to Persons or circumstances other than those as
 to which it is specifically held invalid or unenforceable shall not be affected, and every
 remaining provision of this Agreement shall be valid and binding to the fullest extent permitted
 by Laws, and (ii) a suitable and equitable provision shall be substituted for such invalid or
 unenforceable provision in order to carry out, so far as may be valid and enforceable, the intent
 and purpose of such invalid or unenforceable provision.




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         38.3 Entire Agreement.         This Agreement contains the entire agreement and
 understanding between the parties as to the subject matter of this Agreement, and merges and
 supersedes all prior agreements, commitments, representations, writings and discussions between
 them other than the Existing Confidentiality Agreement, which shall remain in effect for the
 purposes set forth in Section 19.2(c)(i). Neither of the Parties shall be bound by any prior
 obligations, conditions, warranties, or representations with respect to the subject matter of this
 Agreement.

        38.4 Counterparts. This Agreement may be executed in two or more counterparts,
 each of which shall be deemed an original, but all of which together shall constitute one and the
 same instrument.




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 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the date first
 above written.

 SOUTH CAROLINA ELECTRIC & GAS
 COMPANY, for itself and as agent for South
 Carolina Public Service Authority
 By:
 Name: William B. Timmerman
 Title: President and CEO


 STONE & WEBSTER, INC.                             WESTINGHOUSE ELECTRIC COMPANY LLC


 By:                                               By:
 Name: David P. Barry                              Name: Aris Candris
 Title: Executive Vice President                   Title: Senior Vice President




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                                   ENGINEERING, PROCUREMENT AND CONSTRUCTION
                                                   AGREEMENT

                                                        BETWEEN

                           SOUTH CAROLINA ELECTRIC & GAS COMPANY, FOR ITSELF AND
                              AS AGENT FOR THE SOUTH CAROLINA PUBLIC SERVICE
                                           AUTHORITY, AS OWNER

                                                             AND

                                 A CONSORTIUM CONSISTING OF WESTINGHOUSE ELECTRIC
                            COMPANY LLC AND STONE & WEBSTER, INC., AS CONTRACTOR

                                                             FOR

                                             APlOOO NUCLEAR POWER PLANTS

                                                DATED AS OF MAY 23, 2008


                                                      EXHIBITS




                                                                                                                 B00K2




For Professionals' Eyes Only                                                                                Westinghouse_00001193
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                                                       EXHIBITS

             Exhibit                                  Descri~tion of Exhibit

             A                                         Scope of Work/Supply and Division of

                                                      Responsibilities

             B                                        Contractor Organization Chart

             C                                        Owner and Contractor Permits

             D                                        Project Execution Plan Processes

             E                                        Project Schedule

             F-1                                      Milestone Payment Schedule

             F-2                                      Payment Plan

             G                                        Time and Materials Rates and Charges

             H                                        Pricing

             I-1                                      Toshiba Parent Guaranty

             I-2                                       Shaw Parent Guaranty

             J                                        Price Adjustment Provisions

             K                                        Costs

             L                                        Net Electric Guarantee Conditions and Load List

             M-1                                       Software License

             M-2                                      APlOOO Intellectual Property License (WEC)

             M-3                                      APlOOO Intellectual Prope1iy License (S&W)

             N                                        Industry Codes and Standards

             0-1                                      Proprietary Data Agreement

             0-2                                      List oflnte11ectual Property Subject to Third Party
                                                      License Terms




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             Exhibit                                  Descri~tion of Exhibit

             P-1                                      Major Subcontractors

             P-2                                       Subcontractors for Site Construction and Related Field
                                                       Services

             Q                                        Equipment with Owner-Designated Witness and Hold
                                                      Points

             R                                        Description of Site

             s                                        EEO and Small Business Regulations

             T                                         [Not Used]

             u                                        OCTP Description

             V                                        Limited Agency Agreement

             w                                        Extended Equipment Wananty Special Te1ms




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                                                     EXHIBIT F-1
                                              Milestone Payment Schedule

                 This Exhibit F-1 provides the Payment Schedules for the Fixed Price and the Firm Price
                 portions of the Agreement. These payments will be invoiced in accordance with the
                 provisions of Article 8 - Payments, Exhibit H - Pricing and Exhibit J- Price Adjustment
                 Provisions.

                 Capitalized terms used herein and not defined herein have the meaning assigned in the
                 Agreement.

                 The Westinghouse Phase lA work with a value of $1.1 million and the Stone & Webster
                 Phase lA Work with a value of $9 million were paid under separate agreements. These
                 amounts are included in Exhibit H - Pricing but are not included in any of the below
                 payment schedule tables.

                 Milestone Payment Schedules will be revisited, once the Project Schedule is completed,
                 to set the payments to the appropriate set of Milestones reflecting the Work associated
                 with the payments, by November 30, 2008.




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          F.1       Fixed Price and Firm Price Payments
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 en       F .1.1    Westinghouse Equipment Milestone Payments
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'<         Estimated                                                                                               Unit 2           Unit 3
            Invoice                                                                                               Invoice          Invoice
              Date            Component         Milestone                                                         Amount           Amount            Adjustment
             Apr-08               RCP           Issue LLM PO to Fabricator - Units 2 and 3                        $6,680,000       $6,680,000           Handy
             Apr-08               S/G           Issue LLM PO To Fabricator for Unit 2 & 3                         $6,177,618       $6,177,618       Fixed 0%/year
             Apr-08               RVI           Issue LLM PO To Fabricator - Units 2 and 3                        $3,521,991                        Fixed 0%/year
             Apr-08                RV           Issue LLM PO To Fabricator - Units 2 and 3                        $1,212,714       $1,212,714       Fixed 0%/year
             Apr-08          Squib Valves       Issue PO to Fabricator - Units 2 and 3 - first payment              $611,904        $611,904        Fixed 0%/vear
             Apr-08         Passive RHR Hx      Issue PO to Fabricator - Units 2 & 3 first payment                  $246,870        $246,870        Fixed 0%/year
             Apr-08              CMT            Issue PO to Fabricator - Units 2 & 3                              $1,637,100       $1,637,100           Handy
             Apr-08               ACT           Issue PO to Fabricator - Units 2 and 3                              $958,100        $958,100            Handy
             Apr-08            RCL Pipe         Issue PO to Fabricator - Units 2 and 3 - first payment            $2,725,000       $2,725,000       Fixed 0%/year
             Apr-08               IHP           Issue PO to Fabricator - Units 2 and 3 - first payment              $675,000        $675,000        Fixed 0%/year
             Apr-08           Pressurizer       Issue PO to Fabricator - Units 2 and 3                              $308,000        $308,000        Fixed 0%/year
                                                Issue PO for LLM to Fabricator - Units 2 and 3 - first
                Apr-08           CRDMs          payment                                                            $677,450          $677,450       Fixed 0%/year
                Jul-08            RCP           Issue RCP Casing PO by Fabricator - Units 2 and 3                $6,816,765        $6,816,765           Handy
                Jul-08            VFD           Issue PO to Fabricator - Units 2 and 3                             $552,862          $552,862           Handy
                Jul-08        l&C/Simulator     Place Notice to Proceed - Units 2 and 3                         $13,360,627       $13,360,627      Fixed 6.5%/year
                Jul-08        l&C/Simulator     Issue PO - Simulator                                             $4,088,027                        Fixed 6.5%/year
                Jul-08           Project        Desiqn Finalization Payment 1                                    $3,281,250                         Fixed 0%/year
                Auq-08            VFD           Issue Transformer PO by Fabricator - Units 2 and 3               $1,382,156        $1,382,156           Handy
                Sep-08            S/G           Issue Final PO To Fabricator for Unit 2 & 3                     $10,486,734       $10,486,734       Fixed 0%/year
                Sep-08             RVI          Issue Final PO To Fabricator - Units 2 and 3                     $2,391,145        $2,391,145       Fixed 0%/year
                Sep-08             RV           Issue Final PO To Fabricator - Units 2 and 3                     $3,705,520        $3,705,520       Fixed 0%/year
                Oct-08            CMT           Material PO Issue - Units 2 & Unit 3                             $3,851,370        $3,851,370           Handy
 ~              Oct-08            ACT           Issue Material PO - Units 2 & Unit 3                               $979,695          $979,695           Handy
 CD
 ~
                Oct-08         Pressurizer      Issue LLM PO - Units 2 and 3                                     $1,254,819        $1,254,819       Fixed 0%/year
 :::J
co              Oct-08          RCL Pipe        Issue PO to Fabricator - Units 2 and 3 - second payment          $3,055,567        $3,055,567       Fixed 0%/year
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 0              Oct-08            IHP           Issue PO to Fabricator - Units 2 and 3 - second payment            $687,503          $687,503       Fixed 0%/year
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~         Estimated                                                                                             Unit 2           Unit 3
m          Invoice                                                                                             Invoice          Invoice
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CD
en           Date            Component      Milestone                                                          Amount           Amount            Adjustment
0           Oct-08             Project      Design Finalization Payment 2                                      $3,281,250                        Fixed 0%/year
:::J
'<                                          Issue PO for LLM to Fabricator - Units 2 and 3 - second
            Oct-08           CRDMs          payment                                                             $690,049          $690,049       Fixed 0%/year
            Oct-08       Passive RHR Hx     Issue PO to Fabricator - Units 2 & 3 second payment                 $483,268          $483,268       Fixed 0%/year
            Nov-08             SIG          Issue SG Tubinq PO for Unit 2 & 3                                $16,778,776       $16,778,776       Fixed 0%/year
            Jan-09             RCP          Issue Final PO to Fabricator - Units 2 and 3                      $3,408,382        $3,408,382           Handy
            Jan-09             IHP          Issue PO for LLM - Units 2 and 3                                    $458,335          $458,335       Fixed 0%/year
            Jan-09           Project        Design Finalization Payment 3                                     $3,281,250                         Fixed 0%/year
            Feb-09             RCP          Issue LLM Lot 1 PO by Fabricator - Units 2 and 3                  $3,408,382        $3,408,382           Handy
            Mar-09             ACT          Receipt of First Lot of LLM Material - Unit 2                       $732,700                             Handy
            Mar-09             ACT          Receipt of First Lot of LLM Material - Unit 3                                         $732,700           Handy
            Apr-09             T/G          Issue PO to Fabricator - Units 2 and 3                           $35,000,000       $35,000,000      Fixed 5.2%/year
            Apr-09      Main Transformers   Issue PO to Fabricator - Units 2 & 3                              $1,600,000        $1,600,000           Handy
            Apr-09           Project        Design Finalization Payment 4                                     $3,281,250                         Fixed 0%/year
            May-09         Squib Valves     Issue PO to Fabricator - Units 2 and 3 - second payment           $1,913,290        $1,913,290       Fixed 0%/year
            Jun-09             RCP          Initiate Casing Manufacturing - Units 2 and 3                     $1,360,716        $1,360,716           Handy
            Jun-09            GMT           Receipt of Material - Lower Head - Unit 2                         $1,429,378                             Handy
            Jun-09            GMT           Receipt of Material - Lower Head - Unit 3                                           $1,429,378           Handy
            Jul-09           Project        Desiqn Finalization Payment 5                                     $3,281,250                         Fixed 0%/year
            Aug-09             RCP          Issue LLM Lot 2 PO by Fabricator - Units 2 and 3                  $3,401,790        $3,401,790           Handy
            Aug-09       Passive RHR Hx     Issue Forgings PO - Unit 2 & Unit 3                               $1,224,518        $1,224,518       Fixed 0%/year
            Sep-09          Royalties       Non NuStart Royalties                                             $9,450,000                         Fixed 0%/year
            Sep-09             T/G          Issue PO for Condenser Material - Unit 2                         $45,000,000                        Fixed 5.2%/year
            Oct-09           Project        Design Finalization Payment 6                                     $3,281,250                         Fixed 0%/year
            Dec-09              RV          Receipt at Fabricator - Flange Nozzle Shell Forging Unit 2        $3,705,439                         Fixed 0%/year
            Dec-09        l&C/Simulator     Issue PO to Subvendors for Unit 2 Rad Monitor Sys                 $4,317,542                        Fixed 6.5%/year
            Dec-09        l&C/Simulator     Issue PO to Subvendor for Unit 3 Rad Monitor Sys                                    $3,085,322      Fixed 6.5%/year
~           Jan-10             RVI          Receipt of Core Shroud Material - Unit 2                           $2,391,145       $2,391,145       Fixed 0%/year
CD
 ~                                          Receipt of Insulation Support and Seismic Support Plate -
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co          Jan-10             IHP          Unit 2                                                               $916,670                        Fixed 0%/year
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            Jan-10            Project       Design Finalization Payment 7                                      $3,281,250                        Fixed 0%/year
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~         Estimated                                                                                            Unit 2            Unit 3
m          Invoice                                                                                            Invoice           Invoice
'<
CD
en           Date            Component       Milestone                                                        Amount            Amount            Adjustment
0           Feb-10              RCP          Receipt of LLM - Lot 1                                           $6,816,765                             Handy
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'<          Feb-10              T/G          Issue PO for MSR/FWH Material - Unit 2                          $30,000,000                        Fixed 5.2%/year
            Mar-10              CMT          Completion of Lower Head Fabrication - Unit 2                      $408,904                             Handy
            Mar-10            RCL Pipe       Acceptance of Raw Material - Unit 2                              $3,055,567                         Fixed 0%/year
            Mar-10            RCL Pipe       Acceptance of Raw Material - Unit 3                                                $3,055,567       Fixed 0%/year
            Mar-10           Pressurizer     Receipt of LLM - Bottom Head - Unit 2                             $1,568,524                        Fixed 0%/year
            Mar-10           Pressurizer     Receipt of LLM - Bottom Head -Unit 3                                               $1,568,524       Fixed 0%/year
            Apr-10             Project       Design Finalization Payment 8                                     $3,281,250                        Fixed 0%/year
           May-10               RVI          Receipt of Upper Guide Tube Material - Unit 2                     $3,586,718                        Fixed 0%/year
           May-10               CMT          Completion of Uooer Head Fabrication - Unit 2                       $204,452                            Handy
           May-10            Pressurizer     Perform Cladding on Bottom Head - Unit 2                            $627,410                        Fixed 0%/year
                                             Receipt of LLM for Latch Housings and Rod Travel Housings
            May-10           CRDMs           - Unit 2                                                         $4,140,140                         Fixed 0%/year
            Jun-10             RVI           Receipt of Lower Guide Tube Material - Unit 2                    $1,195,573                         Fixed 0%/year
            Jun-10       Passive RHR Hx      Receipt of Initial Forqinq                                         $979,615          $979,615       Fixed 0%/year
            Jun-10             IHP           Receipt of Shroud Materials - Unit 2                             $1,100,004                         Fixed 0%/year
            Jun-10           CRDMs           Start Machininq of Latch Housinqs - Unit 2                       $1,380,047                         Fixed 0%/year
            Jun-10        l&C/Simulator      Issue MWO for Unit 2 PMS Long-lead items                        $10,570,543                        Fixed 6.5%/year
            Jun-10        l&C/Simulator      Issue MWO for Unit 3 PMS Lonq-lead items                                           $7,598,383      Fixed 6.5%/vear
            Jul-10           Project         Design Finalization Payment 9                                     $3,281,250                        Fixed 0%/year
            Aug-10             RCP           Receipt of LLM - Lot 2                                                             $6,816,765           Handy
            Aug-10             S/G           Receipt at Fabricator - 2nd SG Tubesheet Forging Unit 2           $4,194,694                        Fixed 0%/year
                                             Completion of Outlet Nozzle Welding to Flange Nozzle Shell-
            Aug-10               RV          Unit 2                                                           $2,470,347                         Fixed 0%/year
            Aug-10              ACT          Completion of Upper Head Fabrication Complete - Unit 2             $488,858                             Handy
            Aug-10               T/G         Start Condenser Fabrication - Unit 2                            $20,000,000                        Fixed 5.2%/year
            Auq-10               T/G         Issue PO for Condenser Material - Unit 3                                          $45,000,000      Fixed 5.2%/year
~           Sep-10               RV          Completion of Closure Head Claddinq - Unit 2                      $2,470,347                        Fixed 0%/year
CD
 ~          Sep-10           Polar Crane     Issue PO to Fabricator - Unit 2 and 3                               $634,329         $634,329           Handy
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co                                           Completion of Initial Forging/Rough Machine to Hollow - Unit
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            Sep-10            RCL Pipe       2                                                                 $5,169,000                        Fixed 0%/year
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 ~         Estimated                                                                                               Unit 2           Unit 3
 m          Invoice                                                                                               Invoice          Invoice
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 en           Date             Component        Milestone                                                         Amount           Amount            Adjustment
 0          Sep-10               CRDMs          Start Machining of Latch Assembly Components - Unit 2             $1,380,047                        Fixed 0%/year
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'<          Sep-10            l&C/Simulator     Issue MWO for Unit 2 OCS Lonq-Lead items                          $8,628,455                       Fixed 6.5%/year
            Sep-10            l&C/Simulator     Issue MWO for Unit 3 OCS Lonq-Lead items                                           $6,202,358      Fixed 6.5%/year
                                                Receipt at Fabricator - 1st SG Transition Cone Forging Unit
             Oct-10               S/G           2                                                                 $4,194,694                        Fixed 0%/year
             Oct-10               ACT           Completion of Lower Head Fabrication - Unit 2                       $488,858                            Handy
             Oct-10           l&C/Simulator     Issue MWO for Unit 2 118 (Cabinets)                               $1,538,419                       Fixed 6.5%/year
             Oct-10           l&C/Simulator     Issue MWO for Unit 3 118 (Cabinets)                                                $1,105,856      Fixed 6.5%/year
             Oct-10           l&C/Simulator     Issue Simulator MWO                                               $6,822,728                       Fixed 6.5%/year
             Oct-10              Project        Desiqn Finalization Payment 10                                    $3,281,250                        Fixed 0%/year
             Oct-10           l&C/Simulator     Issue PO to Subvendors for Unit 2 Pl Temperature Sensors          $6,527,711                       Fixed 6.5%/year
             Oct-10           l&C/Simulator     Issue PO to Subvendors for Unit 3 Pl Temperature Sensors                           $4,692,290      Fixed 6.5%/year
             Nov-10               RCP           Completion of Manufacturing of Casing Unit 2                      $6,816,765                            Handy
             Nov-10                RVI          Receipt of Core Support Plate Material - Unit 2                   $1,195,573                        Fixed 0%/year
             Nov-10              CRDMs          Start Machining of Travel Housing - Unit 2                        $1,380,047                        Fixed 0%/year
             Dec-10                RV           Receipt at Fabricator - Flanqe Nozzle Shell Forqinq Unit 3                         $3,705,520       Fixed 0%/year
             Dec-10                RV           Receipt of Transition Rinq Forqinq - Unit 2                       $2,470,347                        Fixed 0%/year
             Dec-10               GMT           Completion of Lower Head to Upper Head Welding - Unit 2             $204,452                            Handy
             Dec-10             RCL Pipe        Completion of Machining, Heat Treatment and NOE - Unit 2          $2,635,426                        Fixed 0%/year
             Dec-10           l&C/Simulator     Issue PO to Subvendor for Unit 2 NIS Detectors                    $2,339,128                       Fixed 6.5%/year
             Dec-10           l&C/Simulator     Issue PO to Subvendor for Unit 3 NIS Detectors                                     $1,681,426      Fixed 6.5%/vear
             Jan-11                RVI          Receipt of Core Shroud Material - Unit 3                                           $3,586,718       Fixed 0%/year
             Jan-11                RVI          Completion of Machining of Core Shroud Panel - Unit 2             $1,195,573                        Fixed 0%/year
                                                Receipt of Insulation Support and Seismic Support Plate -
             Jan-11                IHP          Unit 3                                                                               $916,670       Fixed 0%/year
             Jan-11            Allowance        Mandatory Spares                                                $10,000,000                         Fixed 0%/year
             Jan-11            Allowance        Extended Warranty                                               $10,000,000                         Fixed 0%/year
 ~           Jan-11             Project         Design Finalization Payment 11                                   $3,281,250                         Fixed 0%/year
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             Feb-11               CMT           Satisfactory Completion of Hydrotest - Unit 2                      $204,452                             Handy
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co           Feb-11           Polar Crane       Issue PO for Main Hoist Drum and Wire Rope - Unit 2                $634,329                             Handy
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 0           Feb-11           Polar Crane       Issue PO for Main Hoist Drum and Wire Rope - Unit 3                                  $634,329           Handy
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 ~         Estimated                                                                                                  Unit 2           Unit 3
 m          Invoice                                                                                                  Invoice          Invoice
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 en           Date             Component          Milestone                                                          Amount           Amount            Adjustment
 0           Mar-11                SIG            Receipt at Fabricator - 2nd CH Forging Unit 2                      $4,194,694                        Fixed Oo/olyear
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'<           Mar-11               CMT             Shipment of Equipment to Site - Unit 2                               $204,452                            Handy
             Mar-11              CRDMs            Ship Latch Housinqs - Unit 2                                       $1,380,047                        Fixed Oo/olyear
             Apr-11                 RV            Receipt of Core Shell Forging - Unit 2                             $2,470,347                        Fixed 0%/year
             Apr-11            Squib Valves       Issue LLM PO to Sub-supplier - Unit 2                              $3,804,792                        Fixed 0%/year
             Apr-11                ACT            Completion of Support Skirt Base Plate Fabrication - Unit 2          $488,858                            Handy
             Apr-11            Polar Crane        Issue PO for Motors and Controls - Unit 2                            $951,493                            Handy
             Apr-11            Polar Crane        Issue PO for Motors and Controls - Unit 3                                             $951,493           Handy
             Apr-11              Project          Design Finalization Payment 12                                    $3,281,250                         Fixed Oo/olyear
             Apr-11                TIG            Condenser Ready to Ship - Unit 2                                 $26,000,000                        Fixed 5.2%/year
             Apr-11                TIG            Issue PO for MSR/FWH Material - Unit 3                                             $20,000,000      Fixed 5.2%/year

             May-11                VFD            Start VFD Manufacturing - Unit 2                                   $1,658,588                            Handy
             May-11                RVI            Receipt of Upper Guide Tube Material - Unit 3                                       $3,586,718       Fixed Oo/olyear
                                                  Receipt of LLM for Latch Housings and Rod Travel Housings
             May-11               CRDMs           - Unit 3                                                                            $4,140,140       Fixed Oo/olyear
             May-11            l&CISimulator      Issue MWO for Unit 2 Special Monitoring System                       $994,326                       Fixed 6.5%/year
             May-11            l&CISimulator      Issue MWO for Unit 3 Special Monitorinq System                                        $714,748      Fixed 6.5%/year
             May-11             Polar Crane       Issue PO for Steel Purchase - Unit 2                                 $951,493                            Handy
             May-11             Polar Crane       Issue PO for Steel Purchase - Unit 3                                                  $951,493           Handy
             Jun-11                 RVI           Receipt of Lower Guide Tube Material - Unit 3                                       $1,195,573       Fixed Oo/olyear
             Jun-11                 IHP           Receipt of Shroud Materials - Unit 3                                                $1,100,004       Fixed Oo/olyear
             Jun-11           Fuel Hand'I Mch     Issue PO - Unit 2 & 3                                                $508,236         $508,236           Handy
             Jun-11           Refueling Mach      PO Issue Unit 2 & 3                                                  $627,735         $627,735           Handy
             Jun-11               CRDMs           Start Machining of Latch Housings - Unit 3                                          $1,380,047       Fixed Oo/olyear
             Jul-11                RCP            Completion of Manufacturing of Casing Unit 3                                        $6,816,765           Handy


 ~           Jul-11                VFD            Issue LLM Material PO by Fabricator - Units 2 and 3                  $276,431         $276,431           Handy
 CD
             Jul-11                SIG            Receipt at Fabricator - 1st SG Tubing Unit 2                       $4,194,694                        Fixed Oo/olyear
 ~
 :::J                                             Completion of Welding of Core Shroud Panel and Flange -
co
 :::,        Jul-11                RVI            Unit 2                                                             $1,195,573                        Fixed Oo/olyear
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 ~         Estimated                                                                                                   Unit 2           Unit 3
 m          Invoice                                                                                                   Invoice          Invoice
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 CD
 en           Date             Component          Milestone                                                           Amount           Amount            Adjustment
 0           Jul-11                RV             Completion of Bottom Head Welding To Core Shell - Unit 2            $1,235,173                        Fixed 0%/year
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'<           Jul-11               ACT             Satisfactory Completion of Hydrotest - Unit 2                         $488,858                            Handy
             Jul-11            Pressurizer        Completion of Weldinq of Upper Shell to Top Head - Unit 2             $313,705                        Fixed 0%/year

             Jul-11               Project         Desiqn Finalization Payment 13                                      $3,281,250                        Fixed 0%/year
             Aug-11                S/G            Receipt at Fabricator - 2nd SG Tubesheet Forging Unit 3                              $4,194,694       Fixed 0%/year
                                                  Completion of Outlet Nozzle Welding to Flange Nozzle Shell-
             Auq-11                 RV            Unit 3                                                                               $2,470,347       Fixed 0%/year

             Aug-11                ACT            Completion of Upper Head Fabrication - Unit 3                                          $488,858           Handy
             Sep-11                 RV            Completion of Closure Head Claddinq - Unit 3                                         $2,470,347       Fixed 0%/year
                                                  Completion of Initial Forging/Rough Machine to Hollow - Unit
             Sep-11              RCL Pipe         3                                                                                    $5,169,000       Fixed 0%/year
             Sep-11           Fuel Hand'I Mch     Issue PO for Single Failure Hoist - Units 2 & 3                       $508,236         $508,236           Handy
             Sep-11               CRDMs           Attach Latch Assembly to Travel Housings - Unit 2                   $1,380,047                        Fixed 0%/year
             Sep-11               CRDMs           Start Machininq of Latch Assembly Components - Unit 3                                $1,380,047       Fixed 0%/year
             Sep-11                 T/G           Start Fabrication TG Unit 2                                       $24,000,000                        Fixed 5.2%/year
             Sep-11                 T/G           Start Condenser Fabrication Unit 3                                                  $30,000,000      Fixed 5.2%/year
             Sep-11           Refueling Mach      Issue PO for Mast - Units 2 & 3                                       $627,735         $627,735           Handy
             Oct-11                RCP            Completion of Stator Core - Unit 2                                  $8,861,794                            Handy
                                                  Receipt at Fabricator - 1st SG Transition Cone Forging Unit
             Oct-11                S/G            3                                                                                    $4,194,694       Fixed 0%/year
             Oct-11                RVI            Start Welding of Core Shroud Panel Ring - Unit 2                    $1,195,573                        Fixed 0%/year
             Oct-11                ACT            Shipment of Equipment to Site - Unit 2                                $241,138                            Handy
             Oct-11                ACT            Completion of Lower Head Fabrication - Unit 3                                          $488,858           Handy
             Oct-11                IHP            Completion of Fabrication of Insulation Support Plate - Unit 2      $1,100,004                        Fixed 0%/year
                                                  Completion of Welding of Lower Shell to Bottom Head - Unit
             Oct-11             Pressurizer       2                                                                    $313,705                         Fixed 0%/year
 ~           Oct-11            l&C/Simulator      Issue MWO for Unit 2 DAS                                             $748,001                        Fixed 6.5%/year
 CD
 ~           Oct-11            l&C/Simulator      Issue MWO for Unit 2 Rod Control System                             $2,849,750                       Fixed 6.5%/year
 :::J
co           Oct-11            l&C/Simulator      Issue MWO for Unit 3 DAS                                                              $537,682       Fixed 6.5%/year
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 0           Oct-11            l&C/Simulator      Issue MWO for Unit 3 Rod Control System                                              $2,048,474      Fixed 6.5%/year
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 ~         Estimated                                                                                             Unit 2           Unit 3
 m          Invoice                                                                                             Invoice          Invoice
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 CD
 en           Date          Component         Milestone                                                         Amount           Amount            Adjustment
 0           Oct-11            Project        Design Finalization Payment 14                                    $3,281,250                        Fixed 0%/year
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'<          Nov-11              S/G           Completion of 1st SG Tubinq Installation Unit 2                   $4,194,694                        Fixed 0%/year
            Nov-11              RVI           Receipt of Core Support Plate Material - Unit 3                                    $1,195,573       Fixed 0%/year
            Nov-11          Squib Valves      Receipt of LLMs by Sub-supplier - Unit 2                          $1,902,396                        Fixed 0%/year
            Nov-11        Passive RHR Hx      Final Post Weld Heat Treatment of 1st Tubesheet - Unit 2            $244,904                        Fixed 0%/year
            Nov-11             CRDMs          Shipment of CROM - Unit 2                                         $1,380,047                        Fixed 0%/year
            Nov-11             CRDMs          Start Machining of Travel Housing - Unit 3                                         $1,380,047       Fixed 0%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 2 TOS (DEH l&C)                                 $811,664                        Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 2 DDS                                          $2,672,208                       Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 3 Rod Position Indication System               $2,943,079                       Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 2 Plant Control System (PLS-1)                 $6,879,917                       Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 3 TOS (DEH l&C) Long-lead items                                   $583,446      Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 3 DDS                                                           $1,920,853      Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 3 Rod Position Indication System                                $2,115,562      Fixed 6.5%/year
            Nov-11         l&C/Simulator      Issue MWO for Unit 3 Plant Control System                                          $4,963,704      Fixed 6.5%/year
            Nov-11       Spt Fuel Strq Rack   PO Issue Unit 2 & 3                                               $1,724,331       $1,724,331           Handy
             Dec-11             S/G           Completion of 2nd SG Tubinq Installation Unit 2                   $4,194,694                        Fixed 0%/year
             Dec-11              RV           Receipt of Transition Ring Forging - Unit 3                                        $2,470,347       Fixed 0%/year
             Dec-11           RCL Pipe        Shipment of Equipment to Site - Unit 2                              $878,475                        Fixed 0%/year
             Dec-11           RCL Pipe        Completion of Machininq, Heat Treatment and NOE - Unit 3                           $2,635,426       Fixed 0%/year
             Dec-11          Pressurizer      Completion of Welding of Heater Sleeves - Unit 2                    $627,410                        Fixed 0%/year
             Jan-12             RVI           Completion of Machining of Core Shroud Panel - Unit 3                              $1,195,573       Fixed 0%/year
             Jan-12       Passive RHR Hx      Final Post Weld Heat Treatment of 2nd Tubesheet - Unit 2            $244,904                        Fixed 0%/year
             Jan-12             IHP           Completion of Fabrication of Seismic Support Plate - Unit 2         $916,670                        Fixed 0%/year
             Jan-12            Project        Design Finalization Payment 15                                    $3,281,250                        Fixed 0%/year
             Feb-12       Passive RHR Hx      Completion of 1st Tubesheet Drilling - Unit 2                       $244,904                        Fixed 0%/year
             Feb-12         Polar Crane       Completion of Girder Fabrication - Unit 2                           $951,493                            Handy
 ~           Mar-12             VFD           Satisfactory Completion of FAT - Unit 2                           $1,105,725                            Handy
 CD
 ~           Mar-12             S/G           Receipt at Fabricator - 2nd CH Forging Unit 3                                      $4,194,694       Fixed 0%/year
 :::J
co           Mar-12             S/G           Completion of 2nd SG Tube Expansion Unit 2                        $4,194,694                        Fixed 0%/year
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 ~         Estimated                                                                                              Unit 2           Unit 3
 m          Invoice                                                                                              Invoice          Invoice
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 CD
 en           Date            Component       Milestone                                                          Amount           Amount            Adjustment
 0           Mar-12             CMT           Completion of Lower Head Fabrication - Unit 3                                         $408,904          Handy
 :::J
'<                                            Completion of Welding of Upper and Lower Assembly - Unit
             Mar-12          Pressurizer      2                                                                    $627,410                        Fixed 0%/year
             Mar-12           CRDMs           Ship Latch Housings - Unit 3                                                        $1,380,047       Fixed 0%/year
             Mar-12             T/G           MSR/FWH Ready to Ship Unit 2                                     $15,000,000                        Fixed 5.2%/year
             Mar-12             T/G           Condenser ready to ship Unit 3                                                     $26,000,000      Fixed 5.2%/year
             Mar-12        Aux-Res Xfmr       Issue PO - Units 2 & 3                                             $1,296,567       $1,296,567           Handy
             Mar-12      Spt Fuel Strg Rack   Issue PO for Major Materials - Units 2 & 3                         $2,873,886       $2,873,886           Handy
             Mar-12      Spt Fuel Strq Rack   Completion of Fixture Manufacture- Unit 2                          $2,299,109       $2,299,109           Handy
             Apr-12             RCP           Delivery of Casinqs - Unit 2                                       $2,726,706                            Handy
             Apr-12             RCP           Completion of Shell & Flange Machining - Unit 2                    $4,771,735                            Handy
             Apr-12             RCP           Completion of Wound Stator - Unit 2                                $3,408,382                            Handy
             Apr-12             RVI           Completion of Welding of Core Shroud Panel Ring - Unit 2           $1,195,573                        Fixed 0%/year
             Apr-12              RV           Receipt of Core Shell Forging - Unit 3                                              $2,470,347       Fixed 0%/year
             Apr-12              RV           Completion of Core Shell Welding to Flange Shell - Unit 2          $1,235,173                        Fixed 0%/year
             Apr-12         Squib Valves      Completion of Squib Valve Fabrication - Unit 2                     $1,268,264                        Fixed 0%/year
             Apr-12         Squib Valves      Sub-supplier Order Lonq Lead Material - Unit 3                                      $3,804,792       Fixed 0%/year
             Apr-12       Passive RHR Hx      Completion of the 2nd Tubesheet Drilling - Unit 2                    $244,904                        Fixed 0%/year
             Apr-12             ACT           Completion of Support Skirt Base Plate Fabrication - Unit 3                           $488,858           Handy
             Apr-12         Polar Crane       Completion of Trolley Fabrication Unit 2                             $951,493                            Handy
             Apr-12          Pressurizer      Satisfactory Completion of Hydrotest - Unit 2                        $313,705                        Fixed 0%/vear
             Apr-12        l&C/Simulator      Complete Unit 2 PMS FAT procedures                                 $4,228,217                       Fixed 6.5%/year
             Apr-12            Project        Design Finalization Payment 16                                     $3,281,250                        Fixed 0%/year
             May-12             VFD           Start VFD Manufacturing - Unit 3                                                    $1,658,588           Handy
             Mav-12             CMT           Completion of Uooer Head Fabrication - Unit 3                                         $204,452           Handy
             May-12             IHP           Completion of Manufacturing of the Upper Lifting Rig - Unit 2        $916,670                        Fixed 0%/year
             May-12          Pressurizer      Perform Claddinq on Bottom Head - Unit 3                                              $627,410       Fixed 0%/year
 ~           May-12        Aux-Res Xfmr       Issue Material PO - Units 2 & 3                                    $2,593,133       $2,593,133           Handy
 CD
             Jun-12         Squib Valves      Satisfactory Completion of Valve Hydrotest Unit 2                  $1,902,396                        Fixed 0%/year
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co           Jun-12             IHP           Completion of Fabrication of Shroud - Unit 2                         $916,670                        Fixed 0%/year
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 0           Jun-12          Pressurizer      Shipment of Equipment to Site - Unit 2                               $313,705                        Fixed 0%/year
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 ~         Estimated                                                                                                 Unit 2           Unit 3
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 en           Date            Component         Milestone                                                           Amount           Amount            Adjustment
 0           Jun-12             VFD             Shipment of Equipment to Site - Unit 2                                $552,862                           Handy
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'<           Jul-12             RCP             Completion of Stator Core - Unit 3                                                   $8,861,794          Handy

             Jul-12               S/G           Receipt at Fabricator - 1st SG Tubinq Unit 3                                         $4,194,694       Fixed 0%/year
             Jul-12               S/G           Completion of 1st CH to Tubesheet Assy Weldinq Unit 2               $4,194,694                        Fixed 0%/year
                                                Completion of Welding of Core Shroud Panel and Flange -
             Jul-12             RVI             Unit 3                                                                               $1,195,573       Fixed 0%/year
             Jul-12              RV             Completion of Bottom Head Weldinq To Core Shell - Unit 3                             $1,235,173       Fixed 0%/year
             Jul-12       Passive RHR Hx        Completion of Tubing -Unit 2                                          $244,904                        Fixed 0%/year
             Jul-12             ACT             Satisfactory Completion of Hydrotest - Unit 3                                          $488,858           Handy
             Jul-12         Polar Crane         Completion of Electric Panel Assembly - Unit 2                        $634,329                            Handy
             Jul-12         Pressurizer         Completion of Weldinq of Uooer Shell to Top Head - Unit 3                              $313,705       Fixed 0%/year

             Aug-12               RVI           Completion of Final Machining of Core Shroud - Unit 2               $1,195,573                        Fixed 0%/year
             Aug-12               RV            Satisfactory Completion of Hydrotest - Unit 2                       $1,235,173                        Fixed 0%/year
                                                Satisfactory Completion of Factory Operational Test of First
             Aug-12        Squib Valves         Valve - Unit 2                                                      $1,268,264                        Fixed 0%/year
             Aug-12             IHP             Completion of Assembly of IHP - Unit 2                                $916,670                        Fixed 0%/year
             Aug-12             T/G             Start Fabrication TG Unit 3                                                         $24,000,000      Fixed 5.2%/year
             Auq-12      Main Transformers      Start Transformer Desiqn                                            $1,600,000       $1,600,000           Handy
             Sep-12             S/G             Completion of 2nd CH to Tubesheet Assy Weldinq Unit 2               $3,355,755                        Fixed 0%/year
             Sep-12           CRDMs             Attach Latch Assembly to Travel Housings - Unit 3                                    $1,380,047       Fixed 0%/year
             Oct-12             RVI             Start Weldinq of Core Shroud Panel Rinq - Unit 3                                     $1,195,573       Fixed 0%/year
             Oct-12            ACT              Shipment of Equipment to Site - Unit 3                                                 $241,138           Handy
             Oct-12             IHP             Shipment of Equipment to Site - Unit 2                                $550,002                        Fixed 0%/year
             Oct-12             IHP             Completion of Fabrication of Insulation Support Plate - Unit 3                       $1,100,004       Fixed 0%/year
                                                Completion of Welding of Lower Shell to Bottom Head - Unit
             Oct-12            Pressurizer      3                                                                                      $313,705       Fixed 0%/year
 ~           Oct-12           l&C/Simulator     Complete Unit 2 SMS FAT procedures                                   $397,730                        Fixed 6.5%/year
 CD
 ~           Oct-12           l&C/Simulator     Complete Unit 2 118 (Cabinets) FAT procedures                        $615,368                        Fixed 6.5%/year
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co           Oct-12           l&C/Simulator     Complete Unit 2 RMS FAT                                             $1,727,016                       Fixed 6.5%/year
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 ~         Estimated                                                                                            Unit 2           Unit 3
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 en           Date          Component        Milestone                                                         Amount           Amount            Adjustment
 0           Oct-12        l&C/Simulator     Complete Unit 3 SMS FAT procedures                                                   $285,899      Fixed 6.5%/year
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'<          Nov-12              RCP          Completion of Final Stator Assembly - Unit 2                      $3,408,382                            Handy
            Nov-12              RCP          Completion of Shell & Flanqe Machininq - Unit 3                                    $4,090,059           Handy
            Nov-12              RCP          Completion of Wound Stator - Unit 3                                                $3,408,382           Handy
            Nov-12              S/G          Completion of 1st SG Tubinq Installation Unit 3                                    $4,194,694       Fixed 0%/year
            Nov-12               RV          Shipment of Equipment to Site - Unit 2                            $2,470,345                        Fixed 0%/year
            Nov-12          Squib Valves     Sub-supplier Receipt of Long lead materials - Unit 3                               $1,902,396       Fixed 0%/year
            Nov-12        Passive RHR Hx     Satisfactory Completion of Hydrotest - Unit 2                       $244,904                        Fixed 0%/year
            Nov-12        Passive RHR Hx     Final Post Weld Heat Treatment of 1st Tubesheet - Unit 3                             $244,904       Fixed 0%/year
            Nov-12            CRDMs          Shipment of CROM - Unit 3                                                          $1,380,047       Fixed 0%/year
             Dec-12             S/G          Completion of 2nd SG Tubing Installation Unit 3                                    $4,194,694       Fixed 0%/year
             Dec-12             S/G          Satisfactory Completion of 1st SG Hydrotest - Unit 2              $5,033,633                        Fixed 0%/year
                                             Trial Assembly of Upper/Lower Internals, Guide tubes - Unit
             Dec-12             RVI          2                                                                 $1,195,573                        Fixed 0%/year
             Dec-12            CMT           Completion of Lower Head to Upper Head Welding- Unit 3                               $204,452           Handy
             Dec-12         Polar Crane      Satisfactory Completion of FAT - Unit 2                             $317,163                            Handy
             Dec-12          RCL Pipe        Shipment of Equipment to Site - Unit 3                                               $878,475       Fixed 0%/year
             Dec-12         Pressurizer      Completion of Welding of Heater Sleeves - Unit 3                                     $627,410       Fixed 0%/year
             Dec-12        l&C/Simulator     Complete Unit 2 Pl Temperature Sensor FAT                         $2,611,085                       Fixed 6.5%/year
             Jan-13       Passive RHR Hx     Final Post Weld Heat Treatment of 2nd Tubesheet - Unit 3                             $244,904       Fixed 0%/year
             Jan-13       Passive RHR Hx     Shipment of Equipment to Site - Unit 2                              $489,807                        Fixed 0%/year
             Jan-13             IHP          Completion of Fabrication of Seismic Support Plate - Unit 3                          $916,670       Fixed 0%/year
             Jan-13        l&C/Simulator     Complete Unit 2 DDS FAT procedures                                $1,068,883                       Fixed 6.5%/year
             Feb-13       Passive RHR Hx     Completion of the 1st Tubesheet Drilling - Unit 3                                    $244,904       Fixed 0%/year
             Feb-13            CMT           Satisfactory Completion of Hydrotest - Unit 3                                        $204,452           Handy
             Feb-13         Polar Crane      Completion of Girder Fabrication - Unit 3                                            $951,493           Handy
             Feb-13       Refuelinq Mach     Satisfactory Completion of FAT - Unit 2                            $753,283                             Handy
 ~           Feb-13        l&C/Simulator     Complete Unit 2 TOS (DEH l&C) FAT procedures                       $324,666                        Fixed 6.5%/year
 CD
             Feb-13        l&C/Simulator     Complete Unit 2 Plant Control System FAT procedures               $2,751,967                       Fixed 6.5%/year
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co           Feb-13        l&C/Simulator     Complete Unit 2 NIS Detector FAT                                   $935,651                        Fixed 6.5%/year
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 0           Mar-13             VFD          Satisfactory Completion of FAT - Unit 3                                            $1,105,725           Handy
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 ~         Estimated                                                                                            Unit 2           Unit 3
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 CD
 en           Date            Component       Milestone                                                        Amount           Amount            Adjustment
 0           Mar-13              S/G          Completion of 2nd SG Tube Expansion Unit 3                                        $4,194,694       Fixed 0%/year
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'<           Mar-13              RVI          Shipment of Equipment to Site - Unit 2                           $2,391,145                        Fixed 0%/year
             Mar-13             CMT           Shipment of Equipment to Site - Unit 3                                              $204,452           Handy
                                              Completion of Welding of Upper and Lower Assembly - Unit
             Mar-13          Pressurizer      3                                                                                   $627,410       Fixed 0%/year
             Mar-13        l&C/Simulator      Complete Unit 2 DAS FAT procedures                                $299,200                        Fixed 6.5%/year
             Mar-13        l&C/Simulator      Complete Unit 2 Rod Control System FAT procedures                $1,139,900                       Fixed 6.5%/year
             Mar-13        l&C/Simulator      Complete Unit 2 Rod Pas Ind Sys FAT procedures                   $1,177,232                       Fixed 6.5%/year
             Apr-13             RCP           Delivery of Casinqs - Unit 3                                                      $2,045,029           Handy
             Apr-13             S/G           Shipment of Equipment to Site - Unit 2                           $8,389,389                        Fixed 0%/year
             Apr-13             RVI           Completion of Welding of Core Shroud Panel Ring - Unit 3                          $1,195,573       Fixed 0%/year
             Apr-13              RV           Completion of Core Shell welding to Flange Shell - Unit 3                         $1,235,173       Fixed 0%/year
             Apr-13             T/G           T/G Ready to Ship Unit 2                                       $47,500,000                        Fixed 5.2%/year
             Apr-13      Main Transformers    Issue PO for Material - Unit 2                                  $8,000,000                             Handy
             Apr-13         Squib Valves      Fabrication Completion - Unit 3                                                   $1,268,264       Fixed 0%/year
             Apr-13       Passive RHR Hx      Completion of the 2nd Tubesheet Drillinq - Unit 3                                  $244,904        Fixed 0%/year
             Apr-13         Polar Crane       Completion of Trolley Fabrication Unit 3                                           $951,493            Handy
             Apr-13          Pressurizer      Satisfactory Completion of Hydrotest - Unit 3                                      $313,705        Fixed 0%/year
             Apr-13       Fuel Hand'I Mch     Satisfactory Completion of FAT - Unit 2                            $609,882                            Handy
             Apr-13        l&C/Simulator      Complete Unit 3 PMS FAT procedures                                                $3,039,353      Fixed 6.5%/year
             May-13             RCP           Satisfactory Completion of FAT - Unit 2                          $3,408,382                            Handy
             May-13         Polar Crane       Shipment of Equipment to Site - Unit 2                             $317,163                            Handy
             May-13             IHP           Completion of Manufacturing of Lifting Rig - Unit 3                                 $916,670       Fixed 0%/year
             May-13       Fuel Hand'I Mch     Shipment of Equipment to Site - Unit 2                             $406,587                            Handy
             May-13       Refuelinq Mach      Shipment of Equipment to Site - Unit 2                             $502,190                            Handy
             May-13        l&C/Simulator      Simulator FAT                                                    $4,785,728                       Fixed 6.5%/year
             May-13      Spt Fuel Strq Rack   Completion of rack modules - Unit 2                              $2,299,109                            Handy
 ~           Jun-13             VFD           Shipment of Equipment to Site - Unit 3                                              $552,862           Handy
 CD
             Jun-13         Squib Valves      Satisfactory Completion of Valve Hydrotest - Unit 3                               $1,902,396       Fixed 0%/year
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co           Jun-13             IHP           Completion of Fabrication of Shroud - Unit 3                                        $916,670       Fixed 0%/year
 :::,
 0           Jun-13          Pressurizer      Shipment of Equipment to Site - Unit 3                                              $313,705       Fixed 0%/year
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 ~         Estimated                                                                                              Unit 2           Unit 3
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 en           Date          Component         Milestone                                                          Amount           Amount            Adjustment
 0           Jun-13        l&CISimulator      Complete Unit 2 OCS FAT                                            $3,451,382                       Fixed 6.5%lyear
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'<           Jun-13      Spt Fuel Strq Rack   Shipment of first rack module - unit 2                             $1,149,554                            Handy
             Jul-13             RCP           Shipment of Equipment to Site - Unit 2                             $3,408,382                            Handy
             Jul-13             SIG           Completion of 1st CH to Tubesheet Assy Welding Unit 3                               $4,194,694       Fixed Oo/olyear
             Jul-13       Passive RHR Hx      Completion of Tubinq - Unit 3                                                         $244,904       Fixed Oo/olyear
             Jul-13         Polar Crane       Completion of Electric Panel Assembly - Unit 3                                        $634,329           Handy
             Jul-13             RCP           Completion of Final Stator Assembly - Unit 3                                        $3,408,382           Handy

             Aug-13             RVI           Completion of Final Machining of Core Shroud - Unit 3                               $1,195,573       Fixed Oo/olyear
             Aug-13             RV            Satisfactory Completion of Hydrotest - Unit 3                                       $1,235,173       Fixed Oo/olyear
                                              Satisfactory Completion of Factory Operational Test of First
             Auq-13         Squib Valves      Valve - Unit 3                                                                      $1,268,264       Fixed Oo/olyear
             Auq-13             IHP           Completion of Assembly of IHP - Unit 3                                                $916,670       Fixed Oo/olvear
             Aug-13       Aux-Res Xfmr        Satisfactory Completion of FAT - Unit 2                            $3,025,321                            Handy
             Sep-13             SIG           Completion of 2nd CH to Tubesheet Assy Welding Unit 3                               $3,355,755       Fixed Oo/olyear
             Sep-13             TIG           MSRIFWH Ready to Ship Unit 3                                                       $15,000,000      Fixed 5.2%lyear
             Sep-13      Main Transformers    Main Transformers Ready to Ship - Unit 2                           $4,800,000                            Handy
             Sep-13       Aux-Res Xfmr        Shipment of Equipment to Site Unit 2                               $1,728,755                            Handy
             Oct-13             IHP           Shipment of Equipment to Site - Unit 3                                                $550,002       Fixed Oo/olyear
             Oct-13        l&CISimulator      Ship Unit 2 DAS Equipment to Site                                    $224,400                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 TOS (DEH l&C) Equipment to Site                          $243,499                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 SMS Equipment to Site                                    $298,297                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 IIS (Cabinets) Equipment to Site                         $461,526                       Fixed 6.5%lvear
             Oct-13        l&CISimulator      Ship Unit 2 NIS Detectors to Site                                    $701,738                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 DDS Equipment to Site                                    $801,662                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 Rod Control System Equipment to Site                     $854,925                       Fixed 6.5%lyear
             Oct-13        l&CISimulator      Ship Unit 2 Rod Pas Ind Sys Equipment to Site                        $882,923                       Fixed 6.5%lyear
 ~           Oct-13        l&CISimulator      Ship Unit 2 RMS to Site                                            $1,295,262                       Fixed 6.5%lyear
 CD
             Oct-13        l&CISimulator      Ship Unit 2 Pl Temperature Sensors to Site                         $1,958,314                       Fixed 6.5%lyear
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co           Oct-13        l&CISimulator      Ship Unit 2 Plant Control System Equipment to Site                 $2,063,975                       Fixed 6.5%lyear
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 0           Oct-13        l&CISimulator      Ship Unit 2 OCS Equipment to Site                                  $2,588,536                       Fixed 6.5%lyear
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 ~         Estimated                                                                                             Unit 2           Unit 3
 m          Invoice                                                                                             Invoice          Invoice
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 CD
 en           Date          Component         Milestone                                                         Amount           Amount            Adjustment
 0           Oct-13        l&C/Simulator      Ship Unit 2 PMS Equipment to Site                                 $3,171,163                       Fixed 6.5%/year
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'<           Oct-13        l&C/Simulator      Complete Unit 3 118 FAT Cabinets) procedures                                        $442,343       Fixed 6.5%/year
             Oct-13        l&C/Simulator      Complete Unit 3 RMS FAT                                                            $1,234,129      Fixed 6.5%/year
             Oct-13        l&C/Simulator      Ship Simulator Equipment to Site                                  $2,051,027                       Fixed 6.5%/year
            Nov-13              RV            Shipment of Equipment to Site - Unit 3                                             $2,470,341       Fixed 0%/year
            Nov-13        Passive RHR Hx      Satisfactory Completion of Hydrotest - Unit 3                                        $244,904       Fixed 0%/year
             Dec-13             SIG           Satisfactory Completion of 1st SG Hydrotest - Unit 3                               $5,033,633       Fixed 0%/year
                                              Trial Assembly of Upper/Lower Internals, Guide tubes - Unit
             Dec-13             RVI           3                                                                                  $1,195,573       Fixed 0%/year
             Dec-13         Polar Crane       Satisfactory Completion of FAT - Unit 3                                              $317,163           Handy
             Dec-13        l&C/Simulator      Complete Unit 3 Pl Temperature Sensor FAT                                          $1,876,915      Fixed 6.5%/year
             Dec-13      Spt Fuel Strg Rack   Shipment of last rack module Unit 2                               $1,149,554                            Handy
             Jan-14             RCP           Satisfactory Completion of FAT - Unit 3                                            $3,408,382           Handy
             Jan-14       Passive RHR Hx      Shipment of Equipment to Site - Unit 3                                               $489,807       Fixed 0%/year
             Jan-14        l&C/Simulator      Complete Unit 3 DDS FAT procedures                                                   $768,341      Fixed 6.5%/year
             Feb-14       Refuelinq Mach      Satisfactory Completion of FAT - Unit 3                                              $753,283           Handy
             Feb-14        l&C/Simulator      Complete Unit 3 PMS TOS (DEH l&C) FAT procedures                                     $233,378      Fixed 6.5%/year
             Feb-14        l&C/Simulator      Complete Unit 3 Plant Control System FAT procedures                                $1,985,481      Fixed 6.5%/year
             Feb-14        l&C/Simulator      Complete Unit 3 NIS Detector FAT                                                     $672,571      Fixed 6.5%/year
             Mar-14             RVI           Shipment of Equipment to Site - Unit 3                                             $2,390,638       Fixed 0%/year
             Mar-14        l&C/Simulator      Complete Unit 3 DAS FAT procedures                                                   $215,073      Fixed 6.5%/year
             Mar-14        l&C/Simulator      Complete Unit 3 Rod Control System FAT procedures                                    $819,389      Fixed 6.5%/year
             Mar-14        l&C/Simulator      Complete Unit 3 Rod Pas Ind Sys FAT procedures                                       $846,225      Fixed 6.5%/year
             Apr-14             S/G           Shipment of Equipment to Site - Unit 3                                             $8,389,388       Fixed 0%/year
             Apr-14             T/G           T/G Ready to Ship Unit 3                                                          $47,500,000      Fixed 5.2%/vear
             Apr-14      Main Transformers    Issue PO for Material - Unit 3                                                     $8,000,000           Handy
             Apr-14       Fuel Hand'I Mch     Satisfactory Completion of FAT - Unit 3                                              $609,882           Handy
 ~           May-14         Polar Crane       Shipment of Equipment to Site - Unit 3                                               $317,163           Handy
 CD
             May-14       Fuel Hand'I Mch     Shipment of Equipment to Site - Unit 3                                               $406,587           Handy
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co           May-14       Refuelinq Mach      Shipment of Equipment to Site - Unit 3                                               $502,190           Handy
 :::,
 0           May-14      Spt Fuel Strq Rack   Completion of rack modules - Unit 3                                                $2,299,109           Handy
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 ~         Estimated                                                                                             Unit 2           Unit 3
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 en           Date          Component         Milestone                                                         Amount           Amount            Adjustment
 0           Jun-14        l&C/Simulator      Complete Unit 3 OCS FAT                                                            $2,480,944      Fixed 6.5%/year
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'<           Jun-14      Spt Fuel Strq Rack   Shipment of first rack module - unit 3                                             $1,149,554           Handy
             Jul-14             RCP           Shipment of Equipment to Site - Unit 3                                             $3,408,382           Handy
            Aug-14         Aux-Res Xfmr       Satisfactory Completion of FAT - Unit 3                                            $3,025,321           Handy
            Sep-14       Main Transformers    Main Transformers Ready to Ship - Unit 3                                           $4,800,000           Handy
            Sep-14         Aux-Res Xfmr       Shipment of Equipment to Site Unit 3                                               $1,728,754           Handy
             Oct-14        l&C/Simulator      Ship Unit 3 DAS Equipment to Site                                                    $161,305      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 TOS (DEH) Equipment to Site                                              $175,033      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 SMS Equipment to Site                                                    $215,724      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 IIS (Cabinets) Equipment to Site                                         $331,757      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 NIS Detectors to Site                                                    $504,428      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 DDS Equipment to Site                                                    $576,256      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 Rod Control System Equipment to Site                                     $614,543      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 Rod Pas Ind Sys Equipment to Site                                        $634,669      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 RMS to Site                                                              $925,597      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 Pl Temperature Sensors to Site                                         $1,407,687      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 Plant Control System Equipment to Site                                 $1,489,111      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 OCS Equipment to Site                                                  $1,867,208      Fixed 6.5%/year
             Oct-14        l&C/Simulator      Ship Unit 3 PMS Equipment to Site                                                  $2,279,823      Fixed 6.5%/year
             Dec-14      Spt Fuel Strq Rack   Shipment of last rack module Unit 3                                                $1,149,556           Handy
             Apr-16            Project        Substantial Completion Unit 2                                   $29,529,263                             Handy
             Jan-19            Project        Substantial Completion Unit 3                                                     $20,786,924           Handy




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          F .1.3    Westinghouse Milestone Payments
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 en        Estimated                                                                                   Unit 2            Unit 3
 0          Invoice                                                                                   Invoice           Invoice
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'<            Date             Component                     Milestone Payment                        Amount            Amount           Adjustment
                                               Issue LLM PO to Fabricator - Units 2 and 3 for
           Apr-08        RCP, SG, RV           RCP, S/G and RV                                        11,025,000        10,172,500     Handy-Whitman

           Jul-08        VFD                   Issue PO to VFD Fabricator - Units 2 and 3                 583,676          236,966     Handy-Whitman
                                               Issue Transformer PO by Fabricator - Units 2
           Aug-08        VFD                   and 3                                                  14,537,852        13,735,864     Handy-Whitman

           Sep-08        S/G                   Issue Final S/G PO To Fabricator for Unit 2 & 3          1,147,207          236,966     Handy-Whitman

           Oct-08        CMT                   Issue CMT Material PO - Units 2 & Unit 3                 1,295,536          236,966     Handy-Whitman

           Nov-08        S/G                   Issue SG Tubing PO for Unit 2 & 3                        3,307,439          357,418     Handy-Whitman

           Jan-09        RCP                   Issue Final RCP PO to Fabricator - Units 2 and 3       33,258,540         9,702,733     Handy-Whitman

           Apr-09        T/G                   Issue TG PO to Fabricator - Units 2 and 3              12,242,461           901,954     Handy-Whitman

           Jun-09        CMT                   Receipt of GMT Material - Lower Head - Unit 2          53,804,601         2,262,140     Handy-Whitman
                                               Vendor Issue PO for TG Condenser Material -
           Sep-09        T/G                   Unit 2                                                 34,096,852         3,264,585     Handy-Whitman
                                               Receipt at Fabricator - RV Flange Nozzle Shell
           Dec-09        RV                    ForQinQ Unit 2                                         11,247,924         2,556,428     Handy-Whitman

           Jan-10        RVI                   Receipt of RVI Core Shroud Material - Unit 2           10,959,432          1,384,831    Handy-Whitman
                                               Vendor Issue PO for TG MSR/FWH Material -
           Feb-10        T/G                   Unit 2                                                 12,498,226          1,502,445    Handy-Whitman

           Mar-10        RCL Pipe              Acceptance of Raw Material - Unit 2                    29,322,098          1,628,074    Handy-Whitman

 ~         May-10        Pressurizer           Perform Cladding on Bottom Head - Unit 2 PZR           15,417,168        20,066,630     Handy-Whitman
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           Jun-10        l&C/Simulator         Issue MWO for Unit 2 PMS Long-lead items               16,052,117         2,508,668     Handy-Whitman
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 ~         Estimated                                                                                  Unit 2            Unit 3
 m          Invoice                                                                                  Invoice           Invoice
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 en           Date            Component                     Milestone Payment                        Amount            Amount           Adjustment
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 :::J      Aug-10       T/G                   Issue PO for TG Condenser Material - Unit 3            14,726,338         2,690,441     Handy-Whitman
'<
           Sep-10       Polar Crane           Issue PO to Polar Crane Fabricator - Unit 2 and 3        9,284,613       24,832,029     Handy-Whitman

           Oct-10       l&C/Simulator         Issue MWO for Unit 2 IIS (Cabinets)                    15,561,847         8,639,905     Handy-Whitman
                                              Receipt at Fabricator - RV Flange Nozzle Shell
           Dec-10       RV                    Forging Unit 3                                           6,887,325        3,447,041     Handy-Whitman

           Jan-11       RVI                   Receipt of Core Shroud Material - Unit 3                 8,787,347        3,011,772     Handv-Whitman
                                              Issue PO for Main Hoist Drum and Wire Rope -
           Feb-11       Polar Crane           Unit 2                                                   5,631,866        3,336,606     Handy-Whitman

           Mar-11       S/G                   Receipt at Fabricator - 2nd CH Forqinq Unit 2            5,815,668        3,122,328     Handy-Whitman

           Apr-11       T/G                   Condenser Ready to Ship - Unit 2                         6,521,712        4,211,702     Handy-Whitman

           May-11       l&C/Simulator         Issue MWO for Unit 2 Special Monitoring System           6,830,994       13,192,561     Handy-Whitman

           Jun-11       Fuel Hand'I Mch       Issue PO - Unit 2 & 3                                    5,367,008        4,340,803     Handy-Whitman

           Jul-11       S/G                   Receipt at Fabricator - 1st SG Tubinq Unit 2             3,876,944        4,931,841     Handy-Whitman
                                              Completion of Outlet Nozzle Welding to Flange
           Auq-11       RV                    Nozzle Shell- Unit 3                                     3,408,666        4,364,875     Handy-Whitman

           Sep-11       T/G                   Start Fabrication TG Unit 2                              4,098,004        5,339,531     Handy-Whitman

           Oct-11       RCP                   Completion of Stator Core - Unit 2                       3,333,068        5,488,773     Handy-Whitman

           Nov-11       S/G                   Completion of 1st SG Tubing Installation Unit 2          3,098,184        6,643,612     Handy-Whitman

 ~         Dec-11       S/G                   Completion of 2nd SG Tubinq Installation Unit 2          2,967,518        6,053,316     Handy-Whitman
 CD
 ~                                            Final Post Weld Heat Treatment of 2nd
 :::J
co         Jan-12       Passive RHR Hx        Tubesheet - Unit 2                                       4,882,443       18,063,266     Handy-Whitman
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 ~         Estimated                                                                                    Unit 2            Unit 3
 m          Invoice                                                                                    Invoice           Invoice
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 en           Date            Component                      Milestone Payment                         Amount            Amount           Adjustment
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 :::J      Mar-12       VFD                   Satisfactory Completion of FAT - Unit 2                    2,206,954        5,053,867     Handy-Whitman
'<
           Apr-12       RCP                   Delivery of Casings - Unit 2                               3,350,228        9,198,465     Handy-Whitman

           May-12       VFD                   Start VFD Manufacturing - Unit 3                           3,027,825        5,678,192     Handy-Whitman

           Jun-12       Pressurizer           Shipment of Equipment to Site - Unit 2                     2,056,485        4,974,680     Handy-Whitman

           Jul-12       ACT                   Satisfactory Completion of Hydrotest - Unit 3              2,106,421        4,553,575     Handy-Whitman

           Aug-12       RV                    Satisfactory Completion of Hydrotest - Unit 2              1,681,404        5,911,451     Handy-Whitman
                                              Completion of 2nd CH to Tubesheet Assy
           Sep-12       SIG                   Weldinq Unit 2                                             2,948,338        3,539,247     Handy-Whitman

           Oct-12       IHP                   Shipment of Equipment to Site - Unit 2                     1,270,235        2,557,420     Handy-Whitman

           Nov-12       RCP                   Completion of Final Stator Assembly - Unit 2               2,837,346        2,471,869     Handy-Whitman
                                              Satisfactory Completion of 1st SG Hydrotest -
           Dec-12       SIG                   Unit 2                                                     3,155,567        2,406,796     Handy-Whitman

           Jan-13       l&CISimulator         Complete Unit 2 DDS FAT procedures                         5,583,962        2,193,908     Handy-Whitman
                                              Complete Unit 2 Plant Control System FAT
           Feb-13       l&CISimulator         procedures                                                 6,263,279        2,480,545     Handy-Whitman

           Mar-13       RVI                   Shipment of Equipment to Site - Unit 2                     1,730,963         1,932,490    Handy-Whitman

           Apr-13       SIG                   Shipment of Equipment to Site - Unit 2                     2,944,647        5,554,939     Handy-Whitman

           May-13       RCP                   Satisfactory Completion of FAT - Unit 2                    1,299,749         1,040,699    Handy-Whitman

 ~         Jun-13       l&CISimulator         Complete Unit 2 OCS FAT                                    1,673,793         1,644,981    Handy-Whitman
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co         Jul-13       RCP                   Shipment of Equipment to Site - Unit 2                     1,832,889         1,731,163    Handy-Whitman
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 ~         Estimated                                                                                       Unit 2            Unit 3
 m          Invoice                                                                                       Invoice           Invoice
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 en           Date            Component                        Milestone Payment                          Amount            Amount           Adjustment
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 :::J      Aug-13       Aux-Res Xfmr             Satisfactory Completion of FAT - Unit 2                    2,409,431         1,188,257    Handy-Whitman
'<
           Sep-13       Main Transformers        Main Transformers Ready to Ship - Unit 2                   2,036,009        2,957,827     Handy-Whitman

           Oct-13       l&CISimulator            Ship Unit 2 DDS Equipment to Site                          1,593,463          931,531     Handy-Whitman

           Nov-13       Passive RHR Hx           Satisfactory Completion of Hydrotest - Unit 3              1,888,636         1,716,017    Handy-Whitman
                                                 Satisfactory Completion of 1st SG Hydrotest -
           Dec-13       SIG                      Unit 3                                                     1,150,706         1,263,259    Handy-Whitman

           Jan-14       RCP                      Satisfactory Completion of FAT - Unit 3                    1,356,979        2,098,417     Handy-Whitman
                                                 Complete Unit 3 Plant Control System FAT
           Feb-14       l&CISimulator            procedures                                                 1,710,691        7,265,453     Handy-Whitman

           Mar-14       RVI                      Shipment of Equipment to Site - Unit 3                     1,677,022        3,274,664     Handy-Whitman

           Apr-14       SIG                      Shipment of Equipment to Site - Unit 3                       693,355        4,869,949     Handy-Whitman

           May-14       Polar Crane              Shipment of Equipment to Site - Unit 3                     1,464,798        2,786,411     Handy-Whitman

           Jun-14       l&CISimulator            Complete Unit 3 OCS FAT                                      636,891         1,793,910    Handy-Whitman

           Jul-14       RCP                      Shipment of Equipment to Site - Unit 3                       624,622        2,014,584     Handy-Whitman

           Aug-14       Aux-Res Xfmr             Satisfactory Completion of FAT - Unit 3                      649,204        4,200,999     Handy-Whitman

           Oct-14       l&CISimulator            Ship Unit 3 DAS Equipment to Site                            134,675        2,891,474     Handy-Whitman

           Dec-14       Spt Fuel Strg Rack       Shipment of last rack module Unit 3                          233,862        5,393,878     Handy-Whitman

 ~         Mar-15       Rx Vessel                Begin Installation Unit 3 Rx Vessel                          119,400        4,682,401     Handy-Whitman
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 ~         Jul-15       Project                  Unit 2 Commence Fuel Load                                     10,366         1,089,897    Handy-Whitman
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 ~         Estimated                                                                                      Unit 2            Unit 3
 m          Invoice                                                                                      Invoice           Invoice
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 en           Date            Component                       Milestone Payment                          Amount            Amount           Adjustment
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 :::J      Aug-15       Containment Vessel      Install Containment Vessel Ring #3 - Unit 3                   26,647        2,155,721     Handy-Whitman
'<
           Jan-16       Project                 Unit 2 Commercial Operation                                                   379,767     Handy-Whitman

           Mar-16       Turbine Generator       Begin Installation Unit 3 High Pressure TG Rotor                             1,230,978    Handy-Whitman
                                                Begin Installation of Turbine Turning Gear EHC
           Jul-16       Turbine Generator       Valve Assembly                                                               1,396,242    Handy-Whitman

           Dec-16       TG Bldq                 Install Gland Sealinq Steam Condenser - Unit 3                                550,402     Handy-Whitman

           Dec-17       Project                 RCS - Pressurize to Cold Hydro - Unit 3                                         54,380    Handy-Whitman

           Jul-18       Project                 Unit 3 Commence Fuel Load                                                       51,964    Handy-Whitman




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             F.1.5   Stone & Webster Firm Price Milestone Payment Schedule

                                                     Stone & Webster Firm Price
                                                     Milestone Payment Schedule


                                                Activit Name                     Unit      Start       Pa ment Due

                                                                                 U2
                                                                                 U3

                                  U2 Contract Execution                          U2       5/1/2008          $1,316,942
                                  U3 Contract Execution                          U3       5/1/2008                  $0

                                  U2 Milestone TBD                               U2       6/1/2008          $1,316,941
                                  U3 Milestone TBD                               U3       6/1/2008                  $0

                                  U2 Milestone TBD                               U2       7/1/2008          $1     338
                                  U3 Milestone TBD                               U3       7/1/2008                  $0

                                  U2 Milestone TBD                               U2       8/1/2008          $1,992,338
                                  U3 Milestone TBD                               U3       8/1/2008                  $0

                                  U2 Milestone TBD                               U2       9/1/2008          $1,992,338
                                  U3 Milestone TBD                               U3       9/1/2008                  $0

                                  U2 Milestone TBD                               U2      10/1/2008          $2,761,499
                                  U3 Milestone TBD                               U3      10/1/2008                  $0

                                  U2 Milestone TBD                               U2      11/1/2008          $2,761,499
                                  U3 Milestone TBD                               U3      11/1/2008                  $0

                                  U2 Milestone TBD
                                  U3 Milestone TBD                               U3      12/1/2008                  $0

                                  U2 Milestone TBD                               U2       1/1/2009          $6,063,081
                                  U3 Milestone TBD                               U3       1/1/2009                  $0

                                  U2 Milestone TBD                               U2       2/1/2009          $6,063,081
                                  U3 Milestone TBD                               U3       2/1/2009                  $0

                                  U2 Milestone TBD                               U2       3/1/2009          $6,063,081
                                  U3 Milestone TBD                                                                  $0

                                  U2 Milestone TBD                                                        $25,741,621
                                  U3 Milestone TBD                                                                 $0

                                  U2 Milestone TBD
                                  U3 Milestone TBD



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                                                     Stone & Webster Firm Price
                                                     Milestone Payment Schedule


                                                Activit Name                     Unit      Start       Pa ment Due

                                  U2 Milestone TBD                               U2       6/1/2009        $25,741,621
                                  U3 Milestone TBD                               U3       6/1/2009                 $0

                                  U2 Milestone TBD                               U2       7/1/2009        $13,654,286
                                  U3 Milestone TBD                               U3       7/1/2009                 $0

                                  U2 Milestone TBD                               U2       8/1/2009        $13,654,286
                                  U3 Milestone TBD                               U3       8/1/2009                 $0

                                  U2 Milestone TBD                               U2       9/1/2009        $13,654,286
                                  U3 Milestone TBD                               U3       9/1/2009                 $0

                                  U2 Milestone TBD                               U2      10/1/2009        $12,839,878
                                  U3 Milestone TBD                               U3      10/1/2009           $156,431

                                  U2 Milestone TBD                               U2      11/1/2009                 878
                                  U3 Milestone TBD                               U3      11/1/2009            $156,431

                                  U2 Milestone TBD                               U2      12/1/2009        $12,839,878
                                  U3 Milestone TBD                               U3      12/1/2009           $156,427

                                  U2 Milestone TBD
                                  U3 Milestone TBD

                                  U2 Milestone TBD
                                  U3 Milestone TBD

                                  U2 Milestone TBD                               U2       3/1/2010        $11,218,515
                                  U3 Milestone TBD                               U3       3/1/2010         $2,840,809

                                  U2 Milestone TBD
                                  U3 Milestone TBD

                                  U2 Milestone TBD                               U2       5/1/2010        $12,687,436
                                  U3 Milestone TBD                               U3       5/1/2010         $2,882,174

                                  U2 Milestone TBD                               U2       6/1/2010          12,687,436
                                  U3 Milestone TBD                               U3       6/1/2010          $2,882,174

                                  U2 Milestone TBD                               U2       7/1/2010        $14,527,888
                                  U3 Milestone TBD                               U3       7/1/2010         $2,005,930

                                  U2 Milestone TBD                               U2       8/1/2010        $14,527,888



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              Activity ID                       Activit Name                     Unit     Start        Pa ment Due
                                  U3 Milestone TBD                               U3       8/1/2010        $2,005,930

                                  U2 Milestone TBD                               U2       9/1/2010        $14,527,888
                                  U3 Milestone TBD                               U3       9/1/2010         $2,005,930

                                  U2 Milestone TBD                               U2      10/1/2010        $15,012,445
                                  U3 Milestone TBD                               U3      10/1/2010         $2,271,864

                                  U2 Milestone TBD                               U2      11/1/2010        $15,012,445
                                  U3 Milestone TBD                               U3      11/1/2010         $2,271,864

                                  U2 Milestone TBD                               U2      12/1/2010        $15,012,445
                                  U3 Milestone TBD                               U3      12/1/2010         $2,271,864

                                  U2 Milestone TBD                               U2       1/1/2011        $13,870,453
                                  U3 Milestone TBD                               U3       1/1/2011         $2,821,782

                                  U2 Milestone TBD                               U2       2/1/2011        $13,870,453
                                  U3 Milestone TBD                               U3       2/1/2011         $2,821,782

                                  U2 Milestone TBD                               U2       3/1/2011        $13,870,453
                                  U3 Milestone TBD                               U3       3/1/2011         $2,821,782

                                  U2 Milestone TBD                               U2       4/1/2011        $10,505,468
                                  U3 Milestone TBD                               U3       4/1/2011         $2,831,912

                                  U2 Milestone TBD
                                  U3 Milestone TBD

                                  U2 Milestone TBD                               U2       6/1/2011        $10,505,468
                                  U3 Milestone TBD                               U3       6/1/2011         $2,831,912

                                  U2 Milestone TBD                               U2       7/1/2011          10,012,667
                                  U3 Milestone TBD                               U3       7/1/2011          $3,218,475

                                  U2 Milestone TBD                               U2       8/1/2011        $10,012,667
                                  U3 Milestone TBD                               U3       8/1/2011         $3,218,475

                                  U2 Milestone TBD                               U2       9/1/2011        $10,012,667
                                  U3 Milestone TBD                               U3       9/1/2011         $3,218,475

                                  Unit 3 milestone TBD
               N0003CC001         Cure Time for Nuclear Island Basemat




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                                                    Stone & Webster Firm Price
                                                    Milestone Payment Schedule


              Activity ID                        Activit Name                     Unit      Start       Pa ment Due
                                  Aux Bldg - Begin Concrete Rebar Installation
               C2103CROOO          Does Not Include CA20 , EL 66'6                U2      17-0ct-11          $3,166,294
                                  Place Concrete for Unit 2 Nuclear Island
                                                                                  U2       3-0ct-11          $3,166,294

                                   Unit 3 milestone TBD                           U3       1-Nov-11          $3,599,002
                                  Aux Bldg - Begin Installation of Aux Bldg
               C2153MH100         Elevator, Clean & Dirty Sides, EL 66'6          U2      10-Nov-11          $3,166,294
                                  Aux Bldg - Begin Electrical Equipment
               C2103EFOOO         Installation, EL 66'6 All Areas                 U2      10-Nov-11          $3,166,294
                                  Aux Bldg - Begin Installation of Large Bore
                                  Pipin , EL 66 16                                U2       4-Nov-11          $3,166,294

                                   Unit 3 milestone TBD                           U3       1-Dec-11          $3,599,002
                                  Aux Bldg - Begin Concrete Fill of CA20
              C2103CCCAOOO        Structural Module, EL 66'6                      U2      16-Dec-11          $3,166,294
                                   Containment - Place Concrete to EL 71'-6 &
               C1103CC003          Containment Sump Curbs (KQ11)              U2 12-Dec-11      $3,166,294
                                   Aux Bldg - Begin Placement of Concrete, EL
               C2213CCOOO         _8_2_'6_ _ _ _ _ _ _ _ _ _ _ _ _ _U_2_,_____2-_D_e_c-_1_1_ _ _$3~,_16_6~,2_9__,4

                                   Unit 3 milestone TBD                           U3       1-Jan-12          $3,594,868
                                  Aux Bldg - Begin Installation of R251
              C2253R251000        SFS/WLS Commodit Module EL 82'6                 U2      13-Jan-12          $3,068,461
                                  Aux Bldg - Begin Installation of Spent Fuel
               C2253ME0100        Pool Heat Exchan ers, EL 82'-6                  U2      11-Jan-12          $3,068,461
                                  Aux Bldg - Place Concrete Floor at Column
               C2233CC101         Line 1-2, EL 82'6 Area 5 & 6                    U2     30-Dec-11           $3,068461

                                  Unit 3 milestone TBD                            U3       1-Feb-12          $3,594,868
                                  ITAAC 3.3. 11 - Concrete Over Soft Soil @
               C1 OOITAC01        84'                                             U2       7-Feb-12          $3     461
                                  Aux Bldg - Place Concrete Floor Slabs, EL
               C2213CC101         82'6 Area 1
                                  Aux Building - Place Concrete Under
                                  Containment Vessel (CV), EL 74'6 to 82'6
               C2173CC002         Areas 7 & 8                                     U2      31-Jan-12          $3,068,461

                                   Unit 3 milestone TBD                           U3       1-Mar-12          $3,594,868
                                  Aux Bldg - Begin Installation of CA22 Floor
               C2413CAOOO         Module, EL 82'6
               C2133MXOOO
                                  Aux Bldg - Begin Installation of Standard
                                  Service Modules {KU), EL 66'6 Corridor Areas
               C2103KUOOO         3, 4 & 5                                        U2       2-Mar-12          $3,068,461




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                                                 Activit Name                     Unit      Start       Pa ment Due

                                  Unit 3 milestone TBD                            U3       1-A r-12          $5,167,905
                                  Turbine Bldg - Concrete Cure for Condensate
               T2203CC033         Trench Bottom Mat, EL 89' Area 0                U2      27-Mar-12          $2,703,564
                                  Annex Bldg - Place Slab On Grade, Rooms
                                  40311 & 40325 Column Lines 7.8 - 13 & A-
               A4243CC002         E, EL 100' Area 4                               U2       2-Apr-12          $2,703,564
                                  Annex Bldg - Install Underground Plumbing
                                  Piping, Rooms 40326 - 40327& 40350 -
               A4243PP004         40357 EL 89' Area 4                             U2      23-Mar-12          $2,703,564

                                  Unit 3 milestone TBD                            U3       1-May-12          $5,167,905
                                  Turbine Bldg - Install Rebar for Circ Water
                                  (CWS) Trench Turbine Bldg - West Wall, EL
               T2203CR012         89' Area 0                                      U2      3-Ma -12                  564
                                  Aux Bldg - Install Fire Protection Equipment,
               C2203AF110         EL 82'6 - 100'                                  U2      17-Apr-12          $2,703,564
                                  Turbine Bldg - Install Rebar for Circ Water
                                  (CWS) Trench North and South Walls, EL 89'
               T2203CR011         Area 0                                          U2      23-Apr-12          $2,703,564

                                  Unit 3 milestone TBD                            U3       1-Jun-12          $5,167,905
                                  Annex Bldg - Install Floor Drains, Piping &
               A4213PP002         Embeds in Basemat, EL 89' Areas 1, 2 & 3        U2     25-Ma -12           $2,703,564
                                  Containment- Install & Connect Rebar
                                  Adjacent to Containment Vessel to 107'2,
               C1203CR112         West Side                                       U2     24-Ma -12           $2,703,564
                                  Turbine Bldg - Place Concrete (CWS) Trench
               T2203CC010         Walls 89' to 100'                               U2     30-Ma -12           $2,703,564

                                  Unit 3 milestone TBD                            U3        1-Jul-12         $5,878,558
                                  Annex Bldg - Install & Connect Rebar For 2'
                                  Wall at Col 9, E-H.03/6.5, EL 100' - 118'2
               A4313CR002         Areas 1 & 2                                     U2        5-Jul-12         $2,577,833
                                  Containment- Begin Installation of PXS
               C1233MTOOO         Accumulator Tanks, EL 84'6
                                  Annex Bldg - Install & Connect Rebar for
                                  North Grade Wall at Column Line 4.1, EL 100'
               A4323CR014         to 107'2 Areas 2 & 3                            U2      22-Jun-12          $2,577,833

                                  Unit 3 milestone TBD
                                  Turbine Bldg - #1 Install and Connect Rebar
                                  for Turbine Bldg Basemat at Column Lines
               T2203CR042         18-20, EL 100', Area 3                          U2       1-Au -12          $2,577,833




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              Activity ID                        Activity Name                    Unit      Start       Payment Due
                                  Turbine Bldg - #4 Install and Connect Rebar
                                  for Turbine Bldg Basemat at Column Line 14-
               T2203CR052         17 & Column Line 1.2 - R, EL 100'               U2       1-Aug-12          $2,577,833
                                  Annex Bldg - Place East Grade Wall at
               A4323CC011         Column Line E, EL 100'-107'2 Areas 2 & 3        U2       3-Aug-12          $2,577,833

                                  Unit 3 milestone TBD                            U3       1-Sep-12          $5,878,558
                                  Containment - Install KQ23 Upper Chemical
                                  Volume Control System (CVS) Module, EL
               C1203KQ2301        84'6 Room 11209 Area 2                          U2     28-Aug-12           $2,577,833
                                  Annex Bldg - Install Roof Ventilator VXS-MY-
               A4443MSV02         V02, EL 118'6 Area 4                            U2     30-Aug-12           $2,577,833
                                  Containment- Place Mass Concrete to EL
               C1203CC007         107'2 with Curbs 108'-2 Northeast               U2     31-Aug-12           $2,577,833

                                  Unit 3 milestone TBD                            U3       1-0ct-12          $7,020,140
                                  Containment- Prepare & Prime Floors and
               C1443AX021         Walls, EL 107'2 to 118'6                        U2     24-Sep-12           $2,318,645
                                  Turbine Bldg - Install T/G Support Module
               T2313CH81A         2031-CH-81A                                     U2       1-0ct-12          $2,318,645
                                  Turbine Bldg - Install Cable Trays & Supports
               T2203ER010         EL 89' to 100' O"                               U2       7-Seo-12          $2,318,645

                                  Unit 3 milestone TBD                            U3       1-Nov-12          $7,020,140
                                  Turbine Bldg - Erect Structural Steel at
                                  Column Line 1.2-L.1 12.1-14, EL 116'9 -134'6
               T2343SS001         Area4                                           U2      29-0ct-12          $2,318,645
                                  Annex Bldg - Install & Finish Plumbing
               A4343PP002         Fixtures, EL 100' Area 4                        U2      22-0ct-12          $2,318.645
                                  TURBINE BLDG- SET & INSTALL
               T2403C3010         MONORAILS EL 117' 6" to 135' 3"                 I                          -      -·-
                                  Unit 3 milestone TBD                            U3       1-Dec-12          $7,020,140
                                  Annex Bldg - Install Lighting & Complete
               A4343EL002         Electrical, EL 100' Area 4                      U2      14-Nov-12          $2,318,645
               A4343PX1DO         Annex Bldo - Paint Pioino, EL 100' Area 4       U2      19-Nov-12          $2,318,645
                                  Aux Bldg - Begin Preparation & Priming of
               C2353AXOOO         Surfaces, EL 100' to 117'6                      U2       3-Dec-12          $2,318,645

                                  Unit 3 milestone TBD                            U3       1-Jan-13          $6,543,977
                                  ERECT - HYDROGEN STORAGE TANK
               Y0223MT500         AREA                                            U2     26-Dec-12           $2,281,490
                                  Aux Bldg - Prepare & Prime Surfaces, EL 100'
               C2353AX001         to 117'6 Areas 5 & 6                            U2      19-Dec-12          $2,281,490




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              Activity ID                         Activit Name                    Unit      Start       Pa ment Due
                                  Annex Bldg - Perform Piping Integrity Check,
               A4323TXOOO         EL 100' Area 2                                  U2      19-Dec-12          $2,281,490

                                  Unit 3 milestone TBD                            U3       1-Feb-13          $6,543,977
                                  Turbine Bldg - Set & Install VFD's EL 135' 3"
               T2503EV010         to 161' O"                                      U2       7-Feb-13          $2,281,490
                                  Turbine Bldg - Place Concrete Slab above
                                  Grade {SAG) at Column Line K. 1-P.1 & 12.1-
               T2303CC101         14, EL 117'6 Area O                             U2      31-Jan-13          $2,281,490
                                  Aux Bldg - Place Concrete Floor, EL 117'-6
               C2453CC100         Areas 5 & 6                                     U2      31-Jan-13          $2,281,490

                                  Unit 3 milestone TBD                            U3       1-Mar-13          $6,543,977
                                  Containment - Install Concrete Reinforcing
               C1403CF001         Slab at EL 135'3                                U2      21-Feb-13          $2,281,490
                                  Turbine Bldg - Ground Structural Steel at
               T2383EG001         Heater Ba , EL 100'                             U2      27-Feb-13          $2,281,490
                                  Aux Bldg - Perform Piping Integrity Check, EL
               C2173TX005         66'-6 Areas 7 & 8                               U2      18-Feb-13          $2,281,490

                                  (EDS) TEST SWITCH BOARDS                        U2       8-Apr-13          $2,443,631
                                   TCS TEST PUMPS                                 U2       4-A r-13          $2,443,631
                                  Aux Bldg - Begin Installation of Reinforcing
                                  Assemblies , EL 262'9 to 333'9                  U2       8-A r-13          $2     631

                                  Annex Bldg - Install Battery Room Exhaust
               A4513MA001         Fan VXS-MA-09A & B, EL 135"3 Area 1             U2      2-Ma -13           $2,443,631
                                  Turbine Bldg - Install High Pressure Turbine
                                  Cross Under Exhaust East & West Pipe
               T2313PL001         Spool, EL 100' Area 1                           U2      15-Apr-13          $2,443,631
                                  Aux Bldg - Form Deck Roof Slab at Column
               C2653CF101         Line I-J1 & 2-4, EL 153' Area 5                 U2      26-Apr-13          $2,443,631

                                   Turbine Bldg - Install Turbine Lower casings,
               T2513MG001           EL 161'-2 Area 1
               C2103CR131          Aux Bid - Install Groundin
                                   Install Nuclear Island Basemat Lower Rebar &
               N0003CR500         JE;rm~b~e~d~s_ _ _ _ _ _ _ _ _ _ __jjfL_LJ!Qj~::!l_L_.fil~:@Jllij

                                  Aux Bldg - Assemble Wall Rebar for EL 1OO'-
               C2353CM900         135'3 Areas 1 - 8                               U3      29-A r-13          $3,    315
                                  Turbine Bldg - Install Piping Make Up Pieces
                                  to Auxiliary Boiler Equipment & Modules, El
               T2323PL035         100' Area 2                                     U2      11-Jun-13          $5,397,370
               STIDS65000          IDS TEST SWITCH BOARDS                         U2      25-Jun-13          $5,397,370



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                                                 Activit Name                      Unit     Start       Pa ment Due


                                  Aux Bldg - Install Forms for Butting Wall J-2
               C2153CF005         & K-2 EL 66'-84' Area 6                          U3     14-Au -13          $3,548,315
                                  Aux Bldg - Begin Installation of Concrete
               C2103CFOOO         Forms, EL 66 16                                  U3     12-Au -13          $3,548,315
                                  Place Concrete for Unit 3 Nuclear Island
               N0003CCOOO         Basemat                                          U3      1-Au -13          $3,548,315

                                  Aux Bldg - Prepare & Prime Surfaces, EL 66'6
               C2153AX030         Area4                                            U3      5-Sep-13          $3,548,315
                                  Aux Bldg - Begin Electrical Equipment
               C2103EFOOO         Installation, EL 66'6 All Areas                  U3     11-Sep-13          $3,548,315
                                  Turbine Bldg - Perform Piping Integrity Check,
               T2303TXOOO         EL 89' & 100' Area 0                             U2     22-Au -13          $5,397,370

                                   ASS TEST CIRCUIT BREAKERS                       U2     23-Se -13          $3,103,228
                                  Aux Bldg - Install Wall Form at Column Line
                                  9.5 From I to K, EL 66'6 - 84'6 Area 2           U3      3-0ct-13          $6,985,199
                                   CCS TEST CIRCUIT BREAKERS                       U2     16-Sep-13          $3,103,228

                                  Aux Bldg - Begin Installation of Wall Forms,
               C2343CFOOO         EL 100'                                          U3      7-Nov-13                 199
                                  Turbine Bldg - Pull & Terminate Cable, EL89'
               T2393EWOOO         & 100' Area 9                                                              $3,103,228
                                  Aux Bldg - Install Instruments to Support
               C2123JE011         H dro Test, EL 66'6 to 82'6 Areas 1 & 2          U2      1-Nov-13          $3,103,228

                                   RNS TEST CIRCUIT BREAKERS                       U2     22-Nov-13          $3,103,228
                                  Containment - Install Rebar for Steam
               C1103CR010         Generator Floors, EL 83'                         U3      3-Dec-13          $6,985,199
                                  Containment- Install CB51 Steam Gen #1
                                  Room Wall Panel Module {A), EL 80'-83'
               C1243CB510         Room 11201 Areas 1 & 2                           U3     25-Nov-13          $6,985,199


                                  ECS ENERGIZE 4160V SWGEAR TURB EL
               SOEC9TE021         135' A 7 14.                                     U2      6-Jan-14
               C1203CC087         Containment- Place Concrete to EL 87' 6
                                  Containment- Begin Concrete Placement, EL
               C1203CCOOO         84'6 - 108'2

               SOCW3TXOOO         CWS - SYSTEM HYDRO TURB & YARD                   U2     17-Feb-14          $2,086,526
                                  CVS FLUSH P 1 W/TMP PMP THRU CVS
               SOCV3TX011         SKID TO SF POOL                                  U2     10-Feb-14          $2,086,526
                                  Containment - Remove Bracing from CA04
               C1133CA045         Reactor Vessel Gavit / RCDT Structural           U3     30-Jan-14          $9,070,776



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              Activity ID                        Activit Name                      Unit     Start       Pa ment Due
                                  Module, EL 87'6



                                  CCS HYDRO PKG A IN AUX BUILDING
               SOCC3TX005         FROM 100' to 135'3                               U2      6-Mar-14          $2,086,526
                                  FPS HYDRO PKG H AUX 3,4,5,6 ABOVE
               SOFP3TX009         135' & Above                                     U2      6-Mar-14          $2,086,526
                                   MSS TEST RELIEF VALVES                          U2     12-Feb-14          $2,086,526

                                  Aux Bldg - Begin Installation of Concrete Wall
               C2403CFOOO         Forms, EL 118'6 - 133'                           U3     25-Apr-14          $3,817,178
                                  Aux Bldg - Install Make Up Piping for Cradle
               C2173PL001         Reinforcement South, EL 66'6 Area 7              U3     14-Apr-14          $3,817,178
                                  Aux Bldg - Place Concrete at Column Line
                                  North Wall Column Line 2 - 4, EL 89' thru 98'1
               C2263CC002         Area 6                                           U3     15-Apr-14          $3,817,178
               STCDS25000          CDS TEST MOTOR HEATERS                          U2      3-A r-14          $3,113,903
                                  Turbine Bldg - Flush & Hydro all Large Bore
                                  Pi e, B S stem, El All                           U2     11-Feb-14          $3,113,903

                                  Aux Bldg - Place Concrete Floor Slabs, EL
                                  82'6 Area 2                                      U3     14-Ma -14          $3,817,178
                                  Aux Bldg - Place Concrete Beams at Column
                                  Line 9.1 - 9.5, J & K to 81'-6                   U3     14-Ma -14          $3,817,178

                                  Aux Bldg - Begin Installation of Degasifier
                                  Column, EL 74'6                                  U3     17-Jun-14          $3,817,178
                                  Annex Bldg - Excavate for Basemat (Check
                                  Soil Conductivit , EL 89' Area 1A                U3      9-Jun-14          $3,817,178

                                  Annex Bldg - Install Basemat Grounding Grid,
                                  Column Lines 2 - 13 & A-11, EL 89' Areas 1,
               A4213EG001         2, 3&4                                           U3     26-Jun-14          $4,131,950
                                  Annex Bldg - Install Masonry Wall Column
                                  Line C.5 Corridor Wall, Rooms 40311 &
               A4343AM001         40319, EL 100' - 118' Area 4                     U3     25-Jun-14          $4,131,950

                                  Aux Bldg - Begin Concrete Placement, EL
               C2343CCOOO         107'2                                            U3     21-Au -14          $4,131,950
                                  Aux Bldg - Install Precast Panels, EL 100' for
               C2343CP013         Room 12351 Area 4                                U3     18-Au -14          $4,131,950




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                                                 Activit Name                     Unit      Start       Pa ment Due

                                  Aux Bldg - Begin Installation of Personnel
                                  Access Hatch from Aux Bldg to Containment,
               C2333PHOOO         EL107'2                                         U3      12-Sep-14          $4,131,950
                                  Turbine Bldg- Install 6" Work Mat below
               T2203CC020         Turbine Bid Basemat, EL 95'6 Area 0             U3       9-Sep-14          $4,131,950

                                  Annex Bldg - Cure 2' Wall at Column Line
               A4313CY001         9,E-H.03/6.5 Room 40309, EL 100' Area 1         U3       9-0ct-14          $1,819,340
                                  Aux Bldg - Place Concrete Wall at Column I
               C2523CC005         7.3-10, EL 133'- 149' Area 2                    U3      14-0ct-14          $1,819,340
                                  Annex Bldg - Place 2' Wall at Col 12-13 &
                                  G.2-H.03 (Room 40305), EL 100' - 117'2
               A4313CC003         Area 1                                          U3      13-0ct-14          $1,819,340

                                  Turbine Bldg - #2 Place Turbine Bldg
               T2203CC032         Basemat, Areas 8 & 9, EL 100'0                  U3      12-Nov-14          $1,819,340
                                  Aux Bldg - Prepare & Prime Walls, EL 117'6
               C2473AX078         to 135'3 Areas 7 And 8                          U3      27-0ct-14          $1,819,340
                                  Aux Bldg - Install Shield Wall Form at 5-N EL
               C2673CF002         165'-181' Areas 7 & 8                           U3       4-Nov-14          $1,819,340

                                  Annex Bldg - Install Forms East Grade Wall
                                  Col. Line E, Rooms 40326, 40353, 40357,
               A4323CF013         40340, EL 100' -107'2 Areas 2 & 3               U3       1-Dec-14          $1,819,340
                                  Turbine Bldg - #5 Place Turbine Bldg
               T2203CC062         Basemat at Column Line 11-12.1, EL 100'         U3       4-Dec-14          $1,819,340
                                  Annex Bldg - Install Roof Ventilator VXS-MY-
               A4443MSV02         V02, EL 118'6 Area 4                            U3     20-Nov-14           $1,819,340

                                  Turbine Bldg - Install CH81C North Turbine
                                  Turning Gear (TG)Support Module 2033-
               T2333CH81C         CH81C, EL 100' Area 3                           U3       6-Jan-15          $1,896,781
                                  Annex Bldg - Install Forms for Area 1, EL
               A4313CF105         117'6                                           U3     22-Dec-14           $1,896,781

                                  Aux Bldg - Place Concrete Shield Wall at
               C2673CC007         Column 5-Q EL 179' - 213' Areas 7 & 8           U3       2-Feb-15          $1     781
                                  Annex Bldg - Install Forms for 1' Wall at
                                  Column Line 4 E-H, EL 120' To 134' Areas 2
               A4433CF006         &3                                              U3      23-Jan-15          $1,896,781
                                  Turbine Bldg - Install Cable Trays & Supports
               T2403CT010         EL 117' 6" to 135' 3"                           U3       9-Jan-15          $1,896,781

                                  Turbine Bldg - Ground Structural Steel at
               T2303EG001         Column Line 12-14, EL 100'                      U3       9-Mar-15          $1,896,781



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                                                     Stone & Webster Firm Price
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              Activity ID                         Activit Name                     Unit     Start       Pa ment Due
                                  ECS ENERGIZE MCC'S 132/232 TEMP POW
               S0EC3TE116         AUX 100'                                         U3     11-Mar-15          $1,896,781
                                  Containment- Install Ring #2 Including
                                  Walkway, Horizontal CircularTray and Piping,
               C1503MV502         EL 135'3                                         U3     11-Mar-15          $1,896,781

                                  Annex Bldg - Install 5 Ton Crane and Hook
                                  Column Line 2 - 4 & G - H Room 40358, EL
               A4433MH002         107'2 Area 3                                     U3     13-Apr-15          $1,525, 128
                                  Turbine Bldg - Place Concrete Slab above
                                  Grade (Slab above Grade (SAG)) at 1.2-K.1 &
               T2343CC101         12.1-14, EL 117'-6 Area 4                        U3     10-A r-15          $1,525,128
                                  Annex Bldg - 1D, Cure 2' Wall at Column Line
               A4613CY001         9,E-H.03/6.5                                     U3      6-Apr-15          $1,525,128

                                  Annex Bldg - Install Exhaust Fans (VBSNXS-
               A4513MA009         MA-09/13 , EL 135'3 Area 1                       U3     6-Ma -15           $1,525,128
                                  Turbine Bldg - Install Lighting Transformers,
               T2303ET100         EL 100' Area O                                   U3     23-Apr-15          $1,525,128
                                  Aux Bldg - Install Structural Steel Roof
                                  Framin & Deck, EL 160' Areas 3 & 4               U3     22-Apr-15          $1,525,128

                                  Containment- Align & Tack Structural
                                  Modules CA02, CA03, & CA56, EL 84'6 -
               C1203CA026         135'3                                            U3     15-Jun-15          $1     128
                                  Turbine Bldg - Install Lower (CDS) Condenser
               T2323ME011         Shell C, El 100' Area 2
                                  Aux Bldg - Install CH67 Upper Annulus
               C2703CH6701        Stair/Lift Platform, EL 243' to 261              U3     12-Jun-15          $1,525,128

                                  Turbine Bldg - Install KT04 Service Water
                                  System (SWS) Strainer Module, EL 100'
                                  Area 0                                           U3      15-Jul-15         $1,658,275
                                  Aux Bldg - Install Conduit, EL 153' to 264'-6"   U3     18-Jun-15          $1,658,275

                                                                                   U3      28-Jul-15         $1,658,275
                                  Annex Bldg - Install Elevator Mechanical
               A4723AR001         E ui ment, EL 180' Areas 2 & 3                   U3                        $1,658,275
                                  Turbine Bldg - Install Cable Tray Along
               T2213ER101         Column Line R 13.1-17, EL 99' Area 1

                                  Turbine Bldg - Install W480 Feedwater
                                  (FWS)Booster Pump Suction Pipe Module, EL
               T2483W4800         117'6 Area 8                                     U3      4-Sep-15          $1,658,275




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                                                    Stone & Webster Firm Price
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              Activity ID                        Activit Name                      Unit     Start       Pa ment Due
                                  Annex Bldg - Perform Construction Pre -
                                  Turnover Electrical Check Out, EL 107'-2
               A4323TEOOO         Area 2                                           U3      3-Se -15          $1,658,275
                                  Turbine Bldg - Fitup Gire Water System
                                  (CWS) Supply & Return Piping to the
               T2323PL010         Condenser, EL 100' Area 2                        U3     26-Au -15          $1,658,275

                                  Turbine Building-INSTALL MODULE W581-
               TW581048           South Heater Bay Vertical Pipe Chase             U3      7-0ct-15          $1,410,675
                                  Turbine Bldg - Install Piping from Condensate
                                  Pump Discharge to CPS Equipment Package,
               T2363PL025         EL 100' Area 6                                   U3     28-Se -15          $1,410,675

                                  Turbine Bldg - Install KT48 VYS Module, EL
               T2483KT480         117'-6 Area8                                     U3     17-Nov-15          $1,410,675
                                  Turbine Building-INSTALL MODULE KT34-
               TKT34021           LOS Clean Oil Transfer Pum Module                U3     12-Nov-15          $1,410,675
                                  Turbine Bldg - Install W680 Feedwater (FWS)
               T2683W6800         Min-Flow Pi e Module, EL 135 Area 8              U3     11-Nov-15          $1,410,675
                                  Aux Bldg - Begin Construction Testing (Hot &
                                  Cold Checks) of Electrical Components, EL
               C2113TEOOO         66'-6                                            U3     16-Nov-15          $1,410,675

                                  Turbine Bldg - Install Dike Wall at Column
                                  Lines 12.1-13.1 & P.1-R in LOS Room, EL
                                  117'-6                                           U3      4-Dec-15          $1,410,675

                                  Turbine Bldg - Perform Piping Integrity Check,
               T2693TXOOO         EL 161' Area 9                                   U3     31-Dec-15            $824,163
                                  Aux Bldg - Install EDS Batteries in Division B
               S2213DC011         Batte Room 12204, EL 82'-6 Area 1                                            $824,163
                                  Turbine Bldg - Pull Cable from MCC'S on EL
               T2393EW101         117'6 to all Areas, EL 100'                      U3     19-0ct-15            $824,163
                                  Aux Bldg - Begin Piping Integrity Checks, EL
               C2513TXOOO         135'-3                                           U3      5-Jan-16            $824,163

                                                                                   U3     29-Jan-16            $824,163
                                                                                   U3     25-Jan-16            $824,163
                                  RNS HYDRO PKG B FROM PUMP DISC TO
                                  ISO VALVE                                        U3     22-Jan-16            $824,163

                                  ECS ELECTR CHECK OUT MCC'S 312/313
               S0EC3TE125         TURB 117'                                        U3     16-Mar-16            $824,163
                                  Yard - Excavate & Install Underground Diesel
               Y0213PFOOO         Fuel Lines                                       U3      8-Jan-16            $824,163




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                                                     Stone & Webster Firm Price
                                                     Milestone Payment Schedule


                                                  Activit Name                     Unit      Start       Pa ment Due

                                   IDS TEST SWITCH BOARDS                          U3      12-A r-16            $749,012
                                   IDS TEST FUSE PANELS                            U3       5-Apr-16            $749,012
                                  ECS ENERGIZE LOAD CENTRS TURB 135'
                                  A7                                               U3       5-Apr-16           $749,012
                                  UNIT 2 Substantial Completion                    U2       1-Apr-16        $13,630,690

                                  Turbine Bldg - Perform Piping Integrity Check,
               T2553TXOOO         EL 135'-3 Area 5                                 U3      6-Ma -16             $7   012
                                  Turbine Bldg - Perform Piping Integrity Check,
               T2503TXOOO         EL 135'-3 Area O                                 U3      6-May-16             $749,012
                                  Containment - Install CA31 Steel Floor, EL
                                  107'2 Reactor Vessel Cavity Floor Module
                                   11105 Ceil in , Floor 11504                     U3     11-Ma -16             $749,012

                                  RNS - HYDRO PKG B FM IRWST/CVS 7&8
               SORN3TX002         TO RNS PUMPS                                     U3       6-Jun-16            $749,012
               STVWS20000         (VWS) TEST PUMP MOTORS                           U3       8-Jun-16            $749,012
                                  Turbine Bldg - Install Fire Protection
               T2503AF100         Equipment, EL 135'3                              U3      27-Apr-16            $749,012


                                  Aux Bldg - Install WLS PDT-160 Waste After
                                  Filter Differential Pressure Transmitter, EL
               C214PDT160         66'6 Room 12151 Area 4                           U3       19-Jul-16           $666,387
                                  Aux Bldg - Begin Installation of
               C2113JEOOO         Instrumentation in all Rooms, EL 66'6 to 82'6    U3       19-Jul-16           $666,387
                                  Containment - Perform Piping Integrity Check,
               C1403TX100         EL 118'6 - 135'3                                 U3        8-Jul-16           $666,387

                                  Annex Bldg - Pull Cable & Terminate, EL 117'
               A4413DR002         Area 1                                           U3       22-Jul-16           $666,387
                                  Turbine Bldg - Perform Piping Integrity Check,
               T2433TXOOO         EL 117'-6 Area 3                                 U3                           $666 387
               STDWS15000         (DWS) TEST CIRCUIT BREAKERS                      U3       1-Aug-16            $666,387

                                  Radwaste Bldg - Pull Cable, Room 50353,
                                  EL 100' Area 3                                   U3       8-Se -16            $666,387
                                   RNS TEST PUMP MOTORS                            U3       6-Se -16            $666,387
                                  Turbine Bldg - Pull Cable & Terminate ,EL
                                  117'6 Area 1                                     U3     22-Au -16             $666,387

                                  Turbine Bldg - Perform Pre - Turnover
                                  Construction Electrical Check Out, EL 117'-6
               T2433TEOOO         Area 3                                           U3       6-0ct-16            $547,179




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                                                    Stone & Webster Firm Price
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              Activity ID                         Activit Name                      Unit    Start       Pa ment Due
                                  Aux Bldg - Activate Class 1E DC and UPS
                                  System (IDS) A/BID DK-1 to RNS Isolation
               C2323ES005         Valve Control Power                               U3     13-0ct-16           $547,179
                                  Turbine Bldg - Pull Cable from MCC'S on EL
               T2573EW001         117' to all Areas EL 135'3                        U3     29-Jul-16           $547,179

                                  FPS HYDRANT FLUSH & PRESSURE TEST                 U3     16-Nov-16           $547,179
                                  Containment - Petiorm Testing of Polar Crane
               C1703MH011          MHS-MH-01 , EL 135'3 Area 1                      U3     10-Nov-16           $547,179
                                  Turbine Bldg - Pull & Terminate Cable, EL
                                  135'-3 Area 4                                     U3     18-0ct-16           $547,179

                                  Diesel Gen Bldg - Pull Cable & Terminate -
                                  Drain Sump Pump (WWS-MP-B), EL 100
               D6323EW120         Area 2                                            U3     12-Dec-16           $547,179
                                  Containment - Petiorm Construction Testing
                                  (Hot & Cold Checks) of Electrical
               C1203TE040         Components, EL 84'6 to 107'2                      U3     16-Nov-16           $547,179
                                  Containment- Perform Piping Integrity Check,
               C1603TX110         EL162'1&above                                     U3     10-Nov-16           $547,179

                                  Containment- Install Balance of Piping
                                  Insulation (as required), EL 66'6 to 71 '6 All
               C1103PN011         Areas                                             U3     13-Jan-17           $551,508
                                  Aux Bldg - Begin Installation ofl Balance of
                                  Piping Insulation after Hydro, EL EL 135'3 to
               C2513PNOOO         153'                                              U3     16-Jan-17           $551 508
                                  Turbine Bldg - Perform Piping Integrity Check,
               T2523TXOOO         EL 135'-3 Area 2                                  U3      4-Jan-17           $551,508

                                  Turbine Bldg - Activate Switchgear &
               T2503AR010         Electrical Rooms, EL 135'-3                       U3      2-Feb-17           $551 508
                                  Containment - Install KU05AZ Standard
                                  Service Module South, EL 135'3 Room
               C1503KU05AZ        11500 Area 1                                      U3     14-Feb-17           $551,508
                                  Turbine Bldg - Perform Piping Integrity Check,
               T2743TXOOO         EL 226' Area 4                                    U3      7-Feb-17           $551,508

                                  VYS HYDRO PKG D TURB PIPING ABOVE
               SOVY3TX003         117' TO 161'                                      U3     17-Mar-17           $551,508
                                  Containment- Install Piping & Equipment
                                  Insulation (as required), EL 135'3 to 162'1 All
               C1503PN110         Areas                                             U3      8-Feb-17           $551,508
                                  Containment- Petiorm Construction Testing
                                  (Hot & Cold Checks) of Electrical
               C1503TEOOO         Com onents, EL 135'3                              U3      2-Mar-17           $551,508



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                                                    Stone & Webster Firm Price
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                                                 Activit Name                      Unit     Start       Pa ment Due


                                  Aux Bldg - Complete Make Up Piping, EL
               G2773PL 100        298'9 Room 12703 Areas 7 & 8                     U3     31-Mar-17            $556,125
               STMTS40000         (MTS) TEST MAIN TURBINES                         U3     15-Mar-17            $556,125
                                  Aux Bldg - Perform Piping Integrity Check, EL
               G2873TX100         258' Area 7 Annulus                              U3     31-Mar-17            $556,125

                                  Turbine Bldg - Perform Pre - Turnover
                                  Construction Electrical Check Out, EL 135'-3
               T2523TEOOO         Area 2                                           U3      9-Ma -17            $556,125
               STPSS30000          PSS TEST PUMP MOTORS                            U3     10-Ma -17            $556,125

                                                                                   U3      6-Mar-17            $556,125

                                  Aux Bldg - Perform Construction Testing {Hot
                                  & Gold Checks) of Electrical Components, EL
               G2373TE078         100' Areas 7 and 8                               U3      2-Jun-17            $556,125
                                  Aux Bldg - Begin Activation of AC & DC
               G2523ESOOO         Power to Plant E ui ment, EL 135'3               U3      2-Jun-17            $556,125
                                  Aux Bldg - Begin Construction Testing {Hot &
                                  Gold Checks) of Electrical Components, EL
               G2433TEOOO         117'6                                            U3      2-Jun-17            $556,125

                                  RXS VERIFY ROD CONTROL INTERLOCK
               SORX9TP001         AND SIGNAL                                       U3       5-Jul-17                 $0
                                  RXS COMP FILL & VENT RV &
               SORX9TP012         PRESSURIZE PIPE                                  U3       3-Jul-17                 $0
                                  Aux Bldg - Perform Normal Residual Heat
               SORN3TEOOO         Removal RNS Electrical S stem Checkout           U3     22-Jun-17                  $0

                                  Turbine Bldg - Pull & Terminate Cable, EL
               T2673EWOOO         135'-3 Area 7                                    U3      7-Au -17                  $0
                                  Containment- Perform Communication
               G1009TE110         S stem Pa in Only Phase I Testin                 U3      20-Jul-17                 $0
                                  LOS - VERIFY PERFORMANCE TURBINE
               SOL09TP003         ON TURNING GEAR                                  U3      2-Au -17                   $0

                                  Turbine Bldg - Perform Construction Electrical
                                  Checkout {Hot & Cold Checks), EL 100'
               T2TEMP0004         Areas 3 & 7                                      U3     29-Au -17                  $0
                                  Containment - Install Reactor Vessel (RV)
               C1543MV001         Head to Su ort Cold H dro                        U3      7-Se 17                   $0
               STTDS20000         (TDS) TEST CIRCUIT BREAKERS                      U3     31-Aug-17                  $0

                                   VES TEST RELIEF VALVES                          U3     16-0ct-17                  $0




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                                                   Stone & Webster Firm Price
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              Activity ID                        Activit Name                     Unit      Start       Pa ment Due
                                  CDS FLUSH PKG 1 TURBINE BUILDING
               SOCD3TX002         BELOW 135'                                      U3      10-0ct-17                  $0
                                   PGS TEST PUMP                                  U3      10-0ct-17                  $0

                                  (DRS) TEST STORM DRAIN SYSTEM
               STDRS15000         (MECH)                                          U3     21-Nov-17                    $0
                                  (RDS) TEST GRAVITY & ROOF DRAINAGE
               STRDS15000         SYSTEM                                          U3      17-Nov-17                  $0
                                  CDS - HYDRO PKG B TURB BUILDING
               SOCD3TXOOO         ABOVE 135'                                      U3      27-0ct-17                   $0

                                  Align Primary & Secondary Systems for Cold
                                  H ro/Establish Pre-re uisites                   U3       6-Dec-17                  $0

                                  Containment - Install TE 121 A RCS Cold Leg
                                  1A Narrow Range RTD 1, EL 104' Room
               C153TE121A         11201                                           U3       1-Jan-18                   $0
                                  BDS-14.2.8.1.54 DRN SGS AFTER 2NDRY
               S0BD9TP002         HYDRO                                           U3       2-Jan-18                  $0
                                  Containment- Begin Installation of RCS Main
               C122FTOOO          Loop Instrumentation, EL 84'6                   U3       1-Jan-18                  $0

               SOTURBROLL         MTS TURBINE ROLL                                U3      15-Feb-18                  $0
                                  RCS 14.2.8.1.67 VER OPERATION RCS 240
               SORC9TP200         HRS HFT                                                                            $0
                                  Containment - Install Balance of Piping &
                                  Equipment Insulation after Hydro, EL 118'6 to
               C1403PN081         135'3                                           U3                                 $0

               SOVU9TI004         VUS ISO VALVE ALIGNMENT                                                            $0
                                  VUS 14.2.8.1.102 ILRT- CONTAINMENT
               SOVU9TI001         VESSEL                                          U3       6-Mar-18                  $0
                                  VUS 14.2.8.1.93 SIT- CONTAINMENT
               SOVU9TI002         VESSEL                                          U3      22-Feb-18                  $0

                                  No Milestones available

                                  No Milestones available

                                  No Milestones available

                                  READY FOR FUEL LOAD - UNIT 3                    U3

               SORX9FT009         INITIAL CRITICALITY & LPPT Unit 3                                                  $0
                                  RCS HEATUP & RESOLVE HFT PUNCH
               SORX9FT005         LIST ITEMS                                                                         $0



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                                                   Stone & Webster Firm Price
                                                   Milestone Payment Schedule


                                                Activit Name                     Unit      Start       Pa ment Due

                                  ESCALATE TO 10% SYNCH ON GRID                  U3      11-Se -18                  $0
                                  POWER ASCENSION TO 5%-SECONDARY
                                  SIDE WORK                                      U3       3-Sep-18                  $0

                                  MAINTENANCE OUTAGE                             U3     11-0ct-18                   $0
                                  50% POWER TESTING                              U3      5-0ct-18                   $0
                                  POWER ASCENSION TO 30% POWER                   U3     27-Sep-18                   $0

                                  LOSS OF OFFSITE POWER TEST                     U3     22-Nov-18                   $0
                                  LOAD SWING TESTING                             U3      2-Nov-18                   $0
                                  100% POWER TESTING                             U3     29-0ct-18                   $0

                                  100 HOUR PERFORMANCE TEST Unit 3               U3      14-Dec-18                  $0

                                  UNIT 3 Substantial Completion                  U3       1-Jan-19          $8,250,351




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                                            AGREEMENT

AMENDMENT TO THE ENGINEERING, PROCUREMENT AND CONSTRUCTION
AGREEMENT BETWEEN SOUTH CAROLINA ELECTRIC & GAS COMPANY, FOR
ITSELF AND AS AGENT FOR THE SOUTH CAROLINA PUBLIC SERVICE AUTHORITY
AND A CONSORTIUM CONSISTING OF WESTINGHOUSE ELECTRIC COMPANY LLC
AND STONE & WEBSTER, INC., FOR APlOOO® NUCLEAR POWER PLANTS

         THIS AMENDMENT ("October 2015 Amendment") to the Engineering, Procurement
and Construction Agreement dated May 23, 2008 ("EPC Agreement") for the APlOOO Power
Plants at the Virgil C. Summer Nuclear Generating Station ("Project") is entered into this 27th
day of October 2015, by and between South Carolina Electric & Gas Company ("SCE&G"), for
itself and as agent for the South Carolina Public Service Authority ("SCPSA") (collectively
"Owner") and a consortium consisting of Westinghouse Electric Company LLC
("Westinghouse") and CB&I Stone & Webster, Inc. ("Stone & Webster") (collectively
"Contractor"). Owner and Contractor may be referred to individually as a "Party" and
collectively as the "Parties."

       WHEREAS, Westinghouse has represented to Owner that it intends to acquire the stock
of Stone & Webster from Chicago Bridge & Iron ("CB&I") (the "Transaction"); that CB&I will
have no further involvement in the Project except for certain supply agreements; and that
Westinghouse intends to hire Fluor Corporation ("Fluor") or its affiliate(s) as a subcontracted
construction manager;

       In consideration of the mutual promises herein and other good and valuable
consideration, the receipt and sufficiency of which the Parties acknowledge, the Parties,
intending to be legally bound, stipulate and agree as follows:

1.      The Parties agree that this October 2015 Amendment will be a binding obligation
between Owner and Westinghouse upon the approval of the boards of directors of both Owners
and the authorization of the board of SCPSA for its management to execute the necessary
documentation and the execution of those documents, which shall become effective upon the
consummation of the Transaction ("Effective Time"), and in the event the Transaction is not
consummated by March 31, 2016, this October 2015 Amendment shall be null and void in all
respects. Westinghouse shall cause its wholly owned subsidiary, Stone & Webster, to execute
this October 2015 Amendment.

2.      Contractor hereby grants Owner until November 1, 2016 ("Option Deadline"), the
irrevocable option to exercise an agreement, subject to regulatory approvals, to amend the EPC
Agreement by revising the Contract Price and other specific aspects of the EPC Agreement, as
stated in the amendment that is attached as Exhibit D ("Option Amendment").
Contemporaneously with the execution of this October 2015 Amendment, Contractor will
execute the Option Amendment. Thereafter, Owner may, in its sole discretion, implement the
Option Amendment by executing it at any time on or before the Option Deadline. The Option
Amendment will not take effect unless and until Owner executes the Option Amendment, before



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the Option Deadline, and all conditions precedent to effectiveness stated in the Option
Amendment are satisfied or waived by Owner.

3.      Owner agrees to pay Contractor the total sum of $300,000,000 (current year U.S. Dollars)
and increase the Fixed Price Contract Price by said amount. Further, Contractor agrees to
provide Owner with a credit to the Target Price in the amount of $50,000,000 (current year U.S.
Dollars). The net $250,000,000 will be paid in twelve equal monthly installments beginning five
days after the Effective Time. In exchange, Owner and Contractor agree to a full resolution by
settlement and release of any and all disputes outstanding under the EPC Agreement or otherwise
concerning the Project as of the Effective Time, including the following:

       a.      Contractor claims for additional payments for any of the items on Exhibit A, as
       well as claims for additional payment for cyber security and the site layout phase 2
       Change Order (Change Order 26).
       b.      Contractor claims for amounts referenced in letters no. VSP _ VSG_ 003111, VSP
       _ VSG_003115, VSP _ VSG_ 3145, VSP _ VSG_3502 and VSP _ VSG_3522, which
       totaled approximately $83,518,046 as of August 21, 2015, as set forth on Exhibit B.
       c.      Contractor claims for amounts in other cases in which the entitlement is in
       dispute, which totaled approximately $29,729,785 as of August 31, 2015, as set forth on
       Exhibit B.
       d.     Contractor claims for amounts in dispute due to billings that have been held
       because a Change Order has not been executed, which totaled approximately $5,565,845
       as of August 31, 2015, as set forth on Exhibit B.
       e.     Contractor claims for all amounts in dispute in cases in which only the timing is
       disputed, which totaled approximately $110,190,504 as of August 31, 2015, as set forth
       on Exhibit B.
       f.      Contractor claims for the balance of 10% withheld by Owner in connection with
       certain invoices for which the Owner has only paid 90% because the Owner disputed the
       mvo1ce
       g.      Owner claims for refunds in connection with invoiced amounts for which Owner
       has paid 90% of the invoiced amount and for which Owner had previously intended to
       seek a refund.
       h.      Owner claims arising out of the employee fuel expense audit and procurement
       irregularities.
Subparagraphs a through h do not provide an exhaustive list of all claims, disputes, and amounts
that are satisfied by this October 2015 Amendment, it being the Parties' intent that all disputes
outstanding under the EPC Agreement or concerning the Project as of the Effective Time are
settled and resolved. By way of further clarifications, under this October 2015 Amendment, the
Parties waive and settle any and all claims currently pending or threatened by either Party against
the other Party and of any and all claims currently known or reasonably foreseeable by either
Party against the other Party. Whether or not the Option Amendment becomes effective, all
pending Change Orders, and formal and informal notices of potential Change Orders, including
but not limited to those arising from Uncontrollable Circumstances and Changes in Law, are

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hereby settled and resolved. Each Party represents and warrants to the other Party that it is not
aware of the basis for any other claim against the other, including but not limited to those arising
from Uncontrollable Circumstances and Changes in Law, and that it is not aware of any facts or
circumstances that could be expected to give rise to a claim, the sole exceptions being those
claims addressed in paragraph 4. For the avoidance of doubt, in the event that the Option
Amendment becomes effective, the $300,000,000 payment and the $50,000,000 credit to the
Target Price set forth in this paragraph 3 will be part of (and not in addition to) the total Fixed
Price amount of $6.082 billion set forth in the Option Amendment.

The Parties shall execute a mutual release effectuating the provisions of this paragraph 3.

4.      Notwithstanding the foregoing, the Parties have identified on Exhibit C to this
Amendment all work items that they contend are required or contemplated for the Project but
that are not included within the release contained in paragraph 3. Said work items are not
resolved, settled or released under this October 2015 Amendment. The Parties shall cooperate in
good faith to resolve all such work items expeditiously so as to not impact the Project. In the
event a work item cannot be resolved, it shall be submitted to the Dispute Resolution Board as
referenced in paragraphs 13 and 16. Similarly, with respect to the cyber security item listed in
Exhibit A, the Parties shall cooperate in good faith to resolve all issues relating to scope
expeditiously. Contractor acknowledges its obligation to commence and continue work in
compliance with current NRC regulations on cyber security, pending issuance of a Change
Order, so as not to impact the Project schedule, and its obligation to complete the Cyber Security
work within the GSCDs stated in paragraph 6In the event a scope item cannot be resolved, it
shall be submitted to the Dispute Resolution Board as referenced in paragraphs 13 and 16.
Except for the items on Exhibit C and the Time and Material Work set forth in paragraph 2 of the
Option Agreement, the cyber security item listed in Exhibit A and without waiving its rights
concerning unknown Changes under Article 9 of the EPC Agreement, Contractor is not aware of
any additions to the Scope of Work that will be required for the Project to reach Substantial
Completion.

5.    The Contractor acknowledges and agrees that its Scope of Work includes providing
Owner with a Facility that meets the standards ofDCD Rev. 19.

6.       The Guaranteed Substantial Completion Dates ("GSCDs") are revised, as follows:
August 31, 2019 for Unit 2 and August 31, 2020 for Unit 3. The Standard Equipment Warranty
Period(s) and the Services Warranty Period(s) shall commence upon Substantial Completion of
each Unit at no additional cost to Owner. To the extent a Change under Article 9 of the EPC
Agreement adversely affects Contractor's ability to achieve Substantial Completion as provided
in this paragraph 6, Contractor shall be entitled to equitable adjustment of the EPC Agreement as
appropriate.

7.      Section 13 .1 of the EPC Agreement is revised to state that Delay Liquidated Damages for
each Unit will commence on the applicable GSCDs stated in paragraph?, and will be computed
as follows:

       a.      For the first thirty (30) days following the GSCD: $200,000/day; and


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       b.      For the next thirty-one (31) to ninety (90) days: $300,000/day; and
       c.      For the next ninety-one (91) to one hundred fifty (150) days:$ 400,000/day; and
       d.      For the next one hundred fifty-one (151) to seven hundred thirty (730) days:
               $500,000/day; and
        e.     Seven hundred thirty-one (731) days or beyond: $0/day.

8.       The Parties agree to share the loss if either or both Units do not qualify for production tax
credits under Federal law. If a Unit is not "placed in service," as that term is used in Section 45J
of the Internal Revenue Code, before January 1, 2021, Contractor agrees to reimburse Owner by
February 1, 2021, the sum of $250 million per Unit, expressed as a one-time lump sum payment.
For purposes of this paragraph, the January 1, 2021 date can only be extended for the following
reasons (i) material actions or omissions of Owner that cause a Unit not to qualify for tax credits;
or (ii) extension of the tax credit date by the U.S. government. If Contractor becomes aware of
any actions or omissions of Owner that Contractor believes may cause a Unit not to qualify for
tax credits, Contractor shall provide Owner with reasonable notice of such actions or omissions.

9.      The maximum amount paid by Contractor to Owner under paragraphs 7 and 8 above will
be limited to $338 million per Unit, if the Option Amendment becomes effective. In the event
the Option Amendment does not become effective, the maximum amount paid by Contractor to
Owner under paragraphs 7 and 8 above will be limited to $463 million per Unit.

10.      Owner will pay Contractor an early completion bonus consisting of $150,000,000 per
Unit for each Unit that is "placed in service," as that term is used in Section 45J of the Internal
Revenue Code, in advance of January 1, 2021, ifthe Option Amendment becomes effective. In
the event the Option Amendment does not become effective, Owner will pay Contractor an early
completion bonus consisting of $275,000,000 per Unit for each Unit that is "placed in service,"
as that term is used in Section ·45J of the Internal Revenue Code, in advance of January 1, 2021.
For purposes of this paragraph, the January 1, 2021 date can only be extended for the following
reasons (i) material actions or omissions of Owner that cause a Unit not to qualify for tax credits;
or (ii) extension of the tax credit date by the U.S. government. If Contractor become aware of
any actions or omissions of Owner that Contractor believes may cause a Unit not to qualify for
tax credits, Contractor shall provide Owner with reasonable notice of such actions or omissions.

11.      The Parties agree that no new Inspection, Tests, Analyses and Acceptance Criteria
("ITAACs") have been issued or proposed as of the Effective Time that would affect the GCSDs
or entitle the Contractor to a Change Order.

12.     The Parties shall cooperate in good faith to develop a new milestone payment schedule
("Construction Milestone Payment Schedule") to include all unpaid or overpaid amounts. While
such good faith efforts are ongoing, Owner agrees to make payments to Contractor in the amount
of $100,000,000 per month for the first five (5) months following the Effective Time. Said
payments shall be in lieu of all payments for Fixed Price, Firm Price, Target Price and Time and
Material Work. Once developed, Contractor agrees that Owner is to make such payments to
Contractor according to the Construction Milestone Payment Schedule, instead of the existing
Payment Schedules. If the Parties fail to agree to a Construction Milestone Payment Schedule by
the date that is six months from the Effective Time, the matter shall be referred to the Dispute


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Resolution Board ("DRB") process for resolution. Unless otherwise agreed by the Parties, the
DRB shall issue its report on the Construction Milestone Payment Schedule within sixty (60)
days. For the 60 day period during which the DRB is reviewing the Construction Milestone
Payment Schedule, Owner shall pay the sum of $100,000,000 per month in lieu of all other
payments, and such payments will be treated in the same manner as the payments referenced in
paragraph 3.

Contractor will continue to invoice Owner according to previous procedures (i.e. Contractor will
provide parallel invoices for Target, T&M, and Firm and Fixed Price categories) to enable
calculation of the amount by which the payments described in paragraphs 3 and 12 exceed what
would otherwise be due Contractor. After these advance payments cease, the excess or deficit
portion of such advance payments shall be adjusted against future invoices submitted by
Contractor to Owner under the EPC Agreement, at the Owner's sole discretion. Actual payments
will be trued up to parallel invoices in months 6, 12 or when the Option Amendment becomes
effective.

In the event that the Option Amendment is exercised and takes effect, the actual payments made
under paragraphs 3 and 12 will be deducted from the amount referenced in section 1 of the
Option Amendment. If the Option Amendment does not take effect, billing procedures for
Target and T &M Work scopes will revert back to the EPC Agreement terms, as amended,
incorporating the adjusted terms in paragraph 3 above, and Firm Price and Fixed Price scopes
will continue to be billed based on the Construction Milestone Payment Schedule. For the
avoidance of doubt, the cash flows of the Construction Milestone Payment Schedule will be
reduced to reflect the lower amounts remaining in the Fixed Price and Firm Price categories as
defined in Exhibit H of the EPC Agreement.

13.   Within ten (10) days of establishing the Construction Milestone Payment Schedule,
Owner shall advance a deposit of seventy-five million dollars ($75,000,000) with the Contractor.

           a. After the deposit is made, Owners will not be obligated to pay to Contractor the
              disputed portion of any invoiced amounts submitted by Contractor to Owners.
           b. The Parties shall revise the dispute resolution procedures in Article 27 of the EPC
              Agreement to eliminate the requirement or ability to institute litigation during the
              course of the Project absent a suspension or termination of the EPC Agreement.
           c. The Parties shall establish a DRB process for the interim, non-final resolution of
              disputes, as described more fully in paragraph 16 below and Exhibit E.
           d. Owner agrees to make payment to Contractor within thirty (30) days of any award
              entered in favor of Contractor by the DRB.
           e. At Project completion, the deposit amount of $75,000,000 shall be credited
              against Owner's final milestone payment owed Contractor.

14.      The definition of "Change in Law" in the EPC Agreement is modified so that a Change in
Law occurs only in case of (a) the formal written adoption by a Government Authority of a new
statute, regulation, requirement or code that did not exist as of the date of the October 2015
Amendment; or (b) where the NRC is the involved Government Authority, the NRC's official
issuance or promulgation, after the date of the October 2015 Amendment, of a final and official


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version of Regulatory Guides (NUREGs), Branch Technical Positions, Standard Review Plans,
Interim Staff Guidance, Bulletins, Orders, or written directives, in which NRC acknowledges a
new regulatory requirement or a change to an existing requirement that did not apply before the
date of the October 2015 Amendment. Where Contractor cannot demonstrate a Change in Law
under this paragraph, Contractor shall also be precluded from claiming that the purported Change
in Law is an Uncontrollable Circumstance.

15.     The Parties agree to participate in meetings with the Nuclear Regulatory Commission
("NRC") and develop strategies in an effort to alleviate issues that have arisen due to the NRC's
inspections at the Project, while still affording the NRC the ability to conduct appropriate
inspections. Owner cannot agree in advance to adopt the Contractor's position on every issue,
but Owner wUI work with Contractor in good faith. In the event the Option becomes effective,
Owner shall have no obligation to pay Contractor for regulatory support associated with License
Amendment Requests or ITAA Cs, except those that arise due to a Change. In the event the
Option Amendment does not become effective, such matters shall be submitted to the DRB
process established pursuant to this October 2015 Amendment. For the period of time between
the Effective Time and the Option Deadline, the Parties agree to suspend the DRB process for
matters relating to regulatory support associated with License Amendment Requests and
ITAACs. In the event the Option Amendment does not become effective, the suspended DRB
matters will be administered. If the Option becomes effective, those matters suspended by the
preceding sentence shall be deemed to be included in the Fixed Price.

16.     Consistent with paragraph 13 above, Article 27 of the EPC Agreement is revised to
eliminate the requirement or ability to bring suit during the course of the Project. The Parties
agree to empanel a DRB for the interim, non-final resolution of disputes in accordance with the
Dispute Resolution Agreement that is attached as Exhibit E.

17.     Owner hereby waives and cancels the Chicago Bridge & Iron Parent Company Guaranty.
Owner agrees that Contractor shall be relieved of any obligation to furnish a parent company
guaranty on behalf of S& W under the EPC Agreement. Owner and CB&I shall execute a mutual
release of all claims relating to the EPC Agreement, the Project, the S&W Parent Guarantee and
the CB&I Guarantee.

18.     The Parties agree to hold a face-to-face meeting among Owner, Westinghouse, the
President and Chief Executive Officer of Power Systems Company, and Mr. Shiga Shigenori, the
Representative Executive Officer and Corporate Senior Executive Vice President of Toshiba
Corporation (or his successor) to allow Owner to describe its concerns with the Project to date
and to discuss Toshiba's commitment to completing the Project and to the terms of this
Agreement. In addition, at Owner's option, Toshiba, Owner, Contractor, and Fluor will hold
quarterly meetings to discuss Project progress.

19.    Contractor's profit on any future Change Orders under the EPC Agreement shall be
capped at 7 %%.

20.    The Parties agree that Article 13.3 is deleted from the EPC Agreement.



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21.     The provisions of Section 8.6(d) of the EPC Agreement are revised to provide that
SCE&G or Santee Cooper shall not be required to furnish Contractor with an irrevocable,
standby letter of credit, provided the Credit Rating of SCE&G or Santee Cooper, as applicable,
remains at or above investment grade (Standard and Poor's BBB-; Moody's Baa3). If the Credit
Rating of SCE&G or Santee Cooper falls below investment grade, Contractor may request the
letter of credit, and SCE&G or Santee Cooper must furnish the letter of credit at no expense to
Contractor.

22.    The Parties agree to cooperate with respect to the involvement of Owner's Project
consultant and/or Owner's Engineer with the work scheduled to be done by Owner's consultant.

           a. Contractor shall carefully consider all matters raised by the consultant, however
              the consultant shall have no authority to direct the Work of Contactor.
           b. Contractor agrees to provide the consultant with access to relevant documents
              reasonably requested by the consultant, provided such documents are necessary
              for the consultant to complete its work for Owners.
           c. For relevant documents provided under subparagraph (b) above, Contractor may
              provide confidential and proprietary documents in redacted form, including
              redaction of any pricing information. Contractor will provide unredacted
              documents to the consultant, provided Contractor determines in its reasonable
              discretion that it is given suitable protections from Owners and/or the consultant
              against misuse or further disclosure of such documents.

23.     Contractor acknowledges Owner's right to discuss any and all operational and project
execution issues with the Vogtle owners. Owner is not permitted to disclose to the Vogtle
owners information relating to any disputes, commercial issues or the terms and conditions of
this agreement and any related documents or agreements.               ·

24.   All capitalized terms in this October 2015 Amendment, except for those defined in this
October 2015 Amendment, shall have the meanings given to them in the EPC Agreement.

25.    All provisions of the EPC Agreement not modified, expressly or by necessary
implication, remain in full force and effect. All Exhibit references are to this October 2015
Amendment.

26.     While the Parties acknowledge the existence of various confidentiality agreements
between themselves, they also recognize that certain disclosures must be made to satisfy various
securities laws and for regulatory purposes. Each Party is free to make such disclosures as it
deems prudent, but the disclosing Party must provide a copy of any intended written disclosure
to the other Parties before such disclosure is made.

27.      Upon execution of this October 2015 Amendment, Contractor will provide written details
of its relationship and structure with Fluor, including a scope of work description, sufficient to
allow the Owner to understand the roles and responsibilities of Fluor on the Project. In the event
of a material change in the relationship, structure, or scope, Contractor will provide details of the


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change. In the event the Option Amendment does not become effective, Contractor shall submit
construction related billings consistent with the existing provisions of the EPC Agreement.

28.      To the extent not prohibited by its existing contracts, Contractor agrees to afford Owner
and Owner's consultant access to its facilities and those of its suppliers and subcontractors at any
tier, for the purpose of completing Owner's consultant's assessment and monitoring of the
Project and the Project Schedule.

29.     In the form of Exhibit F, Contractors will provide written consent of Toshiba Corporation
to this October 2015 Agreement, affirming that the corporate guaranty of Toshiba remains in
place, notwithstanding this October 2015 Agreement. This signed exhibit must be provided to
Owner's prior to the Effective Time.




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   IN WITNESS WHEREOF, the Parties have duly executed this October 2015 Amendment to
   the EPC Agreement as of the date first above written, with Toshiba Corporation, as the parent
   corporation of Westinghouse, indicating its express consent hereto.

   SOUTH CAROLINA ELECTRIC & GAS
   COMPANY, for itself and as agent for South
   Carolina Publi~    erv·xe A thority
   By:
   Name:        \                    -
   Title: {_ h4 ' ( NI{/, ~ l £ fJ

   WESTINGHOUSE ELECTRIC COMP ANY LLC                                STONE & WEBSTER, INC.
   By:                                                               By:
   Name:  ~~~~~~~~~-
                                                                     Name:    ~~~~~~~~~~




   Tit1e:                                                            Title:




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IN WITNESS WHEREOF, the Parties have duly executed this October 2015 Amendment to
the EPC Agreement as of the date first above written, with Toshiba Corporation, as the parent
corporation of Westinghouse, indicating its express consent hereto.

SOUTH CAROLINA ELECTRIC & GAS
COMPANY, for itself and as agent for South
Carolina Public Service Authority
By:
Name:    ~~~~~~~~~~




Title:

WESTINGHOUSE ELECTRIC COMP ANY LLC                                 STONE & WEBSTER, INC.
By:~                                                               By:
Name:~                                                             Name:
                     &Chief
                                                                           ~~~~~~~~~~




Title:   President               Executive Officer                 Title:




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                                ExhibitD
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                                            AGREEMENT

AMENDMENT TO THE ENGINEERING, PROCUREMENT AND CONSTRUCTION
AGREEMENT BETWEEN SOUTH CAROLINA ELECTRIC & GAS COMPANY, FOR
ITSELF AND AS AGENT FOR THE SOUTH CAROLINA PUBLIC SERVICE AUTHORITY
AND A CONSORTIUM CONSISTING OF WESTINGHOUSE ELECTRIC COMPANY LLC
AND STONE & WEBSTER, INC., FOR APlOOO® NUCLEAR POWER PLANTS

        THIS AMENDMENT to the Engineering, Procurement and Construction Agreement
dated May 23, 2008 ("EPC Agreement") for the APlOOO Power Plants at the Virgil C. Summer
Nuclear Generating Station ("Project") by and between South Carolina Electric & Gas Company,
for itself and as agent for the South Carolina Public Service Authority ("Owner") and a
consortium consisting of Westinghouse Electric Company LLC ("Westinghouse") and CB&I
Stone & Webster, Inc. ("S& W"), (collectively "Contractor") is executed on behalf of
Westinghouse, shall be executed on behalf S&W upon the consummation of the Transaction (as
defined in the October 2015 Amendment) and shall become effective upon execution by Owner
and approval of the Public Service Commission of South Carolina, so long as execution occurs
by the 1st day of November 2016, unless such approval is waived by the Owner or the date is
waived by the Contractor ("Option Amendment"). If execution does not occur by November 1,
2016, this Option Amendment shall be null and void in all respects. Owner and Contractor may
be referred to individually as a "Party" or collectively as the "Parties."

       In consideration of the mutual promises herein and other good and valuable
consideration, the receipt and sufficiency of which the Parties acknowledge, the Parties,
intending to be legally bound, stipulate and agree as follows:

1.      Except as provided in paragraph 2, all remaining Work under the EPC Agreement as of
the Effective Time (defined in the October 2015 Amendment referenced below) shall be
converted to a Fixed Price in exchange for the remaining Contract Price being adjusted to $6.082
billion in current U.S. Dollars. The. remaining Contract Price adjustment represents the cost to
complete the Project beyond what has been paid through June 30, 2015. Payments made after
June 30, 2015 will be credited against the $6.082 billion amount.

2.      The following Time and Material Work is not included in the Fixed Price described in
paragraph 1: sales tax, performance bond and insurance premiums, import duties, Mandatory
Spare Parts and Extended Equipment Warranty costs (other than the costs associated with the
warranty extensions provided for in paragraph 7 of the October 2015 Amendment, because those
warranty extensions are at no cost to Owner). This Work will be billed under the existing terms
of the EPC Agreement.

3.     The categories of Target Price and Firm Price are eliminated.

4.      The capitalized terms in this Amendment, except for those defined in this Amendment,
shall have the meanings given to them in the EPC Agreement.

5.     All provisions of the EPC Agreement not modified, expressly or by necessary
implication, remain in full force and effect.




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IN WITNESS WHEREOF, the Parties have duly executed this Amendment as of the date first
above written.

SOUTH CAROLINA ELECTRIC & GAS
COMPANY, for itself and as agent for South
Carolina Public Service Authority
By:
Name:~~~~~~~~~~
Title:

WESTINGHOUSE ELECTRIC COMP ANY LLC
By:~
Name:~
Title:   President &Chief Executive Officer


STONE & WEBSTER, INC.
By:
Name:    ~~~~~~~~~~




Title:




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